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  4. Rationales for not identifying SCC were rarely linked to the best available scientific information
  The planning rule requires that the Forest Service use—and document the use of—best available
  scientific information (BASI) in making SCC determinations. However, we found that if a rationale
  was provided for not identifying a SCC, it was rarely explicitly linked to a scientific source that
  rebuts established concerns about the species’ vulnerability that warranted its consideration as a
  SCC.

  5. Inconsistent results for the same species across forests
  We did not comprehensively review whether species were treated consistently across regions and
  among forests. However, there are instances of species being identified as an SCC on one forest and
  not on an adjacent forest, and without explanation for the distinction. There are also cases where
  different forests provided different rationales for SCC identification, even where they arrived at the
  same decision for a given species.

  6. Inconsistent application of occurrence criteria
  The guidance for SCC is clear that species may only be excluded from SCC consideration if they are
  “accidental” or “transient,” or are “well outside the species’ existing range.” Forests frequently
  expanded this concept to include occurrences that are infrequent, occasional or “peripheral”. Some
  required that species must have nesting or breeding habitat or known nest sites on the forest, which
  effectively excluded some migratory species.

  Several forests excluded species based on the length of time since it was last recorded on the forest,
  even as recently as within the past 10 years. One forest excluded species because there were “no
  known surveys.” No mention was made of any species “becoming established” in a plan area, as
  provided in the directives; one species was actually excluded in part because the plan area was at the
  northern end of the species’ range, even though its range could be expected to move northward with
  climate change.

  7. Inconsistent treatment of Forest Service sensitive species and NatureServe rankings; use of plan
  area information, current or potential management, and other rationales to exclude species
  Three forests in three different regions explicitly recognized Forest Service sensitive species as
  species that they needed to consider as SCC. However, in most or all regions sensitive species on at
  least some forests were not identified as SCC. In their decisions to exclude species from SCC
  consideration, none of the forests addressed the original rationale for sensitive species designation.

  The forests and regions have also not used NatureServe rankings consistently in making SCC
  decisions, and have varied in whether and how they have used other authoritative sources listed in
  the directives. In many cases, the Forest Service either implicitly disagreed with a NatureServe
  “vulnerable” ranking (instead finding a species to be “secure” or “stable”) without any explanation,
  or found insufficient information to agree with the existing broader-scale classification. One region’s
  forests used a “vulnerable” ranking by NatureServe as the justification for not identifying a few SCC.


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  In all regions where rationale was provided, the Forest Service frequently used information about a
  species in the plan area as its entire justification for not identifying SCCs, and it did so without
  explaining why such a justification could be made in light of broader-scale concerns. Such
  justifications were based on lack of information about the species in the plan area, lack of habitat in
  the plan area, lack of threats to habitat in the plan area, or favorable status or trend in the plan area
  of populations or habitat.

  Current or potential management of the plan area was also considered a factor for excluding SCC
  (even though that management could be changed by plan revision). The identification of SCC is not
  dependent on management of the national forest because, by regulation, management of the
  national forest depends on which species are identified as SCC and the ecological conditions that
  they require. In three regions, some species were not identified as SCC because planners concluded
  that the forest plan would mitigate threats to the species in the plan area. In four regions the
  rationale indicated lack of control over threats (which included climate change in one case).

  Two regions determined that a finding of “not warranted” for listing under the Endangered Species
  Act also meant there is not a substantial concern about persistence, regardless of the species’
  classification by any other authority (wolverine and bi-state sage grouse, though the latter was
  subsequently identified after public comment). Three regions believe that designation as a “game
  species” demonstrates a lack of scientific concern for persistence (gray wolf, band-tailed pigeons and
  two subspecies of bighorn sheep). Regions took different approaches to considering the effects of
  other laws on likelihood of persistence, with one relying on the Bald Eagle and Golden Eagle
  Protection Act requirements as a reason for not identifying a species as SCC.

  Policy for Identifying Species of Conservation Concern
  This section provides background and policy information on the SCC identification process,
  including an interpretation of the identification process as outlined in the directives, and provides
  the basis for our review.

  When the Forest Service adopted its new planning regulations in 2012, the agency included a new
  approach for meeting its requirement under the National Forest Management Act to “provide for
  the diversity of plant and animal communities.” It embraced a “complementary ecosystem and
  species-specific approach.” Ecosystem plan components are expected to provide the ecological
  conditions for the persistence of most species in the plan area, while species-specific plan
  components would be developed where ecosystem components are insufficient for some species
  deemed to be at-risk. The planning rule requires that the combined ecosystem and species plan
  components provide “the ecological conditions necessary” for these species.

  The Forest Service established what amounts to a two-step process for demonstrating compliance
  with the requirement for conserving at-risk species. First, it requires the regional forester to identify
  the species that must be addressed during the forest planning process. These include federally listed


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  threatened and endangered species, species proposed for listing and candidate species, determined in
  accordance with the Endangered Species Act. Plans must also address SCC. SCC are defined as
  species that are 1) “known to occur in the plan area,” and 2) “the regional forester has determined
  that the best available scientific information indicates substantial concern about the species’
  capability to persist over the long-term in the plan area.”

  The second step is for the responsible official (normally a forest supervisor) to develop plan
  components that provide ecological conditions that are necessary for these species. For the ESA-
  recognized species, the conditions are those necessary to contribute to conservation and recovery of
  the species. For SCC, the conditions are those necessary to “maintain a viable population” within
  the plan area (or for some species, “to contribute to maintaining a viable population of the species
  within its range”).

  We reviewed how SCC were treated in the assessment and found that there appears to be confusion
  over the use of “potential” SCC in the SCC identification process, which has implications for which
  species are considered for SCC, and for who actually makes those decisions. The directives
  (Section12.52) cite the planning rule 219.6(b)(5), which requires that an assessment discuss “available
  information relevant to the plan area for^potential species of conservation concern present in the
  plan area.” The directives however state that the planning rule requires the responsible official to
  actually identify potential SCC. However, the planning rule does not say this; the rule actually says
  that the responsible official must identify information about potential species that the regional
  forester has identified.

  There is also confusion over which species are considered for SCC, and who is responsible for
  applying criteria that exclude species from consideration. The directives in Section 12.52b direct
  responsible officials to use the criteria in Section 12.52d to select the species to consider. This
  section distinguishes between species that “must” be considered and species that “should” be
  considered. This is an unnecessary distinction.1 Since only the regional forester can determine
  which species are identified as SCC, a forest supervisor cannot determine which species will not be
  considered.2 Therefore the responsibility of the responsible official is simply to identify the species
  in any of the categories listed in the directives because they may meet the criteria for SCC, and to
  suggest any other species that might meet the criteria. The regional forester must then determine
  which of these species actually meet the two criteria in the planning rule.

  It is worth thinking about what it means to “consider” in this administrative context. It requires that
  the regional forester document the information that was taken into account, and provide a rationale


  1 There should be no practical difference between species that “must” and “should” be considered as SCC in any case.

  The Handbook explains the degree of compliance required by the term “should” (Section 05.1): “Action is mandatory,
  unless a justifiable reason exists for not taking action. Employees must fully consider, but may depart from based on a
  written finding as applied to specific circumstances that the deviation will enhance program management efficiency or
  better achieve desired results or other objectives.”
  2 “This authority to identify species of conservation concern may not be delegated” (directives Section 21.22a(1)(b))

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  for including or rejecting a species. Moreover, the information must include the “best available
  scientific information.”3 With regard to SCC, the documentation must explain how the information
  indicated or did not indicate “substantial concern about the species’ capability to persist over the
  long-term in the plan area.” Note that this is referring to scientific concern that has been expressed
  that is applicable to species persistence in the plan area rather than a subjective perception of
  concern by the regional forester.

  The directives also make an important distinction between species of broader-scale concern and
  those where there is local conservation concern. All but one of the categories in the directives
  address the former by encompassing concerns expressed by NatureServe or government agencies
  about viability of the species at a broader scale than the plan area. The overall approach is to cast a
  wide net so that the regional forester can consider species where concern about persistence is
  indicated for either or both of these reasons. Local conditions in a plan area are relevant at the SCC
  identification stage as a basis for including additional species for which there might not be broader
  concern; not as a sole basis for rejecting species for which there is a broader concern.

  The directives are clear about the approach that should be taken for one category of species. For
  species with status ranks of G/T1 or G/T2 in the NatureServe ranking system, the directives specify
  that these species are “expected to be included unless it can be demonstrated and documented that
  known threats for these species, such as those threats listed for the species by NatureServe, are not
  currently present or relevant in the plan area.” (“Included” means identified or selected as a SCC.)
  It is important to note that this evaluation is not limited to only those threats present in the plan
  area, but includes threats from outside of the plan area that are relevant because they affect species
  in the plan area.

  This language establishes a presumption that should be applied to any species that the regional
  forester considers identifying as a SCC. Species are considered because there is some evidence that
  they may meet the criteria for SCC. The regional forester is thus obligated to document why the
  threats suggested by that evidence “are not currently present or relevant in the plan area.”

  Missing from these directives’ categories of broader viability concerns are species identified as
  sensitive by the Forest Service because of viability concerns in the region. This prior determination
  by the Forest Service creates a similar obligation to refute the scientific arguments upon which the
  region based its original decision. Also missing are species considered vulnerable at the state level
  (S3) by NatureServe. While we recognize that the directives do not explicitly reference them as
  species to consider when identifying potential SCC, our review notes cases where the Forest Service
  rejected sensitive and vulnerable species without rebutting the science-based finding that those
  species are in fact of viability concern within the plan area.


  3 A requirement of all aspects of the planning process, but repeated in 36 CFR 219.9(c)). “Such documentation must:
  Identify what information was determined to be the best available scientific information, explain the basis for that
  determination, and explain how the information was applied to the issues considered” (36 CFR 219.3).

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  The last category of species to be considered is, “Species for which the best available scientific
  information indicates there is local conservation concern about the species' capability to persist over
  the long-term in the plan area ^” The directives list possible reasons for the local concern. This
  section is clearly intended as an additional reason for inclusion as a SCC, not as a basis for excluding
  species considered because of broader-scale conservation concerns.

  The regional forester is then directed to use the two criteria from the planning rule for identifying
  SCC. Here the directives also provide two criteria that could be used to not identify species as SCC.
  One is that a species is “secure,” and “its long term-persistence in the plan area is not at risk ^”4
  This is simply the reverse of the criterion to include species where persistence is at risk, but it
  highlights the need for BASI to counter the findings of vulnerability that led to considering the
  species in the first place. The other criterion, insufficient scientific information about likelihood of
  persistence in the plan area, may also be a reason, but that would be a difficult case to make where
  there is sufficient information at a broader scale to put the species in the categories to consider. The
  directives also include two criteria for not identifying SCC in 12.52b(4).5 None of these criteria for
  excluding species suggest that conditions in the plan area alone would be sufficient to exclude
  species already determined to have broader scale persistence concerns.

  Species may also be excluded from consideration if they are not “known to occur” in the plan area.
  This may occur if individual occurrences in a plan area are merely “accidental” or “transient,” or are
  “well outside the species’ existing range at the time of plan development” (directives Section 12.52c).
  A species’ range includes all areas where it regularly occurs even where that is seasonal or migratory
  use. The directives also acknowledge that a species range may include places where any of these
  uses are “becoming established.” In the context of the planning rule’s acknowledgement of the
  need to plan for climate change this should be understood to include species predicted to occur in
  the plan area in the same “long-term” timeframe encompassed by the definition of SCC. If habitat
  exists (or is expected to exist) for the species, lack of recent (or any) documented occurrences
  should not by itself justify not identifying that species as a SCC.

  Overall, the process developed by the Forest Service is very expansive and inclusive in identifying
  SCC. The actual needs of these species related to management of the national forest may then be
  determined when plan components are being developed. Having a large number of SCC does not
  necessarily lead to pages of plan components if their necessary ecological conditions can be provided
  by ecosystem plan components.

  The assessment is intended to provide information on potential SCC to help determine the “status”
  of the species in the plan area (directives Section 12.53). This section does address management

  4 The only species found to be “secure” by NatureServe are those with 4 and 5 rankings.
  5 Document the best available scientific information that supports not identifying a species that was considered but not
  identified as a potential species of conservation concern. Such rationale may include: a. Knowledge of the species
  abundance, distribution, lack of threats to persistence, trends in habitat, and responses to management, or b. Lack of
  sufficient scientific information available about the species status.

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  under the current plan and whether stressors are subject to Forest Service management. This is
  because the primary value of the assessment of species status is “in identifying the need for change
  and in developing plan components that provide the ecological conditions necessary to sustain the
  species.” It may also provide the basis for adding SCC based on local concern. It could be used to
  support not identifying SCC only if the information it includes is “relevant to the plan area,” is the
  BASI, and it indicates there is not “substantial concern about the species’ capability to persist over
  the long-term in the plan area” as explained above.

  Detailed Forest Evaluation6
  The evaluation of the SCC identification process is based on a review of various documents from
  these 14 national forests:

  Region 1
         Nez Perce-Clearwater
         Flathead
         Helena-Lewis & Clark
  Region 2
         Rio Grande
  Region 3
         Cibola
         Carson
         Santa Fe
  Region 5
         Inyo
         Sequoia
         Sierra
  Region 8
         El Yunque
         Francis Marion
         Nantahala-Pisgah
  Region 10
         Chugach

  Review Question: Did the assessment include potential species of conservation concern as
  required by 219.6(b)(5)?

  Region 1: For the Nez Perce-Clearwater, the regional forester selected 13 terrestrial SCC in
  September 2013 and these were documented in the assessment in 2014. The assessment also


  6 This evaluation is based largely on the reviews of individual forest plan documents by different reviewing
  organizations, and more in-depth discussion can be found in the comments they have submitted to the Forest Service on
  these planning documents.


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  includes aquatic and plant potential SCCs. The Flathead assessment includes the “species review
  process” in Appendix D for species to “recommend” as potential SCC (apparently not yet approved
  by the regional forester). The Helena-Lewis & Clark assessment includes tables showing all species
  considered and their recommendations.

  Region 2: The Rio Grande included a list of 82 species that “meet the criteria developed in the 2012
  Planning Rule” for SCC in its wildlife assessment dated February 22, 2016.

  Region 3: The assessments for the three forests identify potential SCC.

  Region 5: The assessments for the three forests identify potential SCC.

  Region 8: The Francis Marion assessment includes lists of plant, aquatic and terrestrial animals of
  “potential” conservation concern. These appear to be lists of all species considered. The El
  Yunque assessment also includes a list of species, but they have already been narrowed from those
  considered. A 2014 update to the Nantahala-Pisgah assessment identified potential SCC using the
  Handbook criteria for species that “must be included on the potential list” or may be. The
  assessment also made “recommendations” for species to be removed from the SCC list based on
  stated rationale (and sometimes refers to them as “proposed” SCC).

  Region 10: The Chugach assessment lists potential SCC (four birds and five plants).

  Review Question: Is it clear that the regional forester considered all species that must or
  should be considered, and was rationale provided for not doing so (if applicable)? The
  directives list the criteria the Forest Service must follow when selecting species for SCC
  consideration.

  Region 1: The Nez Perce-Clearwater assessment describes a process that includes the directives
  direction as “primary guidance Criteria,” for species that were considered. The Flathead frames the
  SCC question as part of a choice that also included “species of public interest” and focal species.
  The Flathead assessment stated that it considered NatureServe ranks 1-4 for SCC, but also that “S3
  species were considered if there was/is scientific information showing the species is in decline or at
  risk on Flathead NFS lands.” The assessment also considered the Montana wildlife action plan and
  “a variety of bird assessments.” The Helena-Lewis & Clark assessment follows the directives’
  criteria rigorously (for plants, even stating that all factors listed in the directives “must” be given
  consideration).

  Region 2: The Rio Grande assessment lists the criteria used to determine which species to consider,
  and these are the criteria from the directives.




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  Region 3: Several species that appear to meet the criteria for consideration were not addressed or
  mentioned by the three forests in their assessments, including mountain plover (imperiled in New
  Mexico according to NatureServe). Reasons for not considering species were not disclosed.

  Region 5: The documentation displays the rationales for evaluating those species that were
  considered and it results in species that are “proposed SCC.” It does not state that all of the
  directives’ categories have been considered or address any species that were not included in the
  displays.

  Region 8: The Francis Marion assessment cites the sources for the lists of potential SCC, and they
  appear to follow the direction within the directives. The Nantahala-Pisgah also appeared to use the
  appropriate criteria. However, it only treated the “must consider” categories as mandatory, and it
  excluded some G/T3 ranked plant species that “did not meet the criteria for inclusion on the
  potential SCC list.” The El Yunque assessment includes a list of sources of species that were
  considered. It is not clear that they include all of those in the directives that are available (plants
  were based on a model).

  Region 10: NatureServe G/T 1-2 produced an initial list. Additional “watch lists” were “evaluated
  against the SCC evaluation criteria” to eliminate species (which are not identified, but appear to be
  the criteria for adding local species of concern).

  Review Question: Did the regional forester provide the rationale for identifying or not
  identifying SCC from among those species considered? The two regulatory criteria that
  may be used are 1) “known to occur in the plan area,” and 2) “the best available scientific
  information indicates substantial concern about the species’ capability to persist over the
  long-term in the plan area.”

  Region 1: The Nez Perce-Clearwater Notice of Intent soliciting comments on SCC provided only a
  list of identified SCC and information about these species. The NOI included no substantive
  information explaining why other species that were considered were not selected. When the
  Flathead solicited comments on SCC, the proposed action did not include a list. No documentation
  explained the process or criteria by which potential SCC went from being considered (Assessment
  Appendix D) to recommended/potential (Assessment Table 55) to non-selection (Proposed
  Action), nor was there any indication of regional forester involvement. The assessment does include
  explanations of why nine species received “no special designation.” The Helena-Lewis & Clark
  assessment included rationale for recommendations to identify or not. There was no indication of
  regional forester involvement.

  Region 2: A “basis” is provided for each species “not carried forward for analysis as SCC” that
  addresses both regulatory criteria for each species. However, the criteria listed for “determining
  ‘substantial concern’” are only the criteria designated in the directives to be used for species of “local


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  concern” (directives Section 12.52d(3)(f)). Thirty-seven species were considered but not carried
  forward.

  Region3: The forests established criteria to use as a basis for not identifying species as SCC. Several
  of these criteria were not included in the directives (some details below).

  Region 5: The forests provided draft lists in July 2015 without accompanying rationale. They
  provided rationale several months later consisting of “information we considered in determining
  whether a species satisfies the criteria that must be met to be considered an SCC.”

  Region 8: The Francis Marion DEIS includes a list of SCC. There is no explanation for why the
  majority of the potential SCC were not carried forward into the DEIS. (DEIS Appendix E explains
  the process, but is not species-specific and includes no rationales.) Neither the DEIS nor the
  assessment contain any information about individual SCCs. (Documentation of the rationale was
  received on March 1, but has not been reviewed.) The regional forester provided a list that “has
  been identified as 308 SCC”(sic) in a letter to the Nantahala-Pisgah forest supervisor in July 2015.
  This letter did not include any rationale or any discussion of changes from what the assessment
  recommended. The El Yunque documentation does not include rationale for not selecting species
  as SCC.

  Region 10: The regional forester issued a letter in December 2015 finding that one species met the
  requirement for SCC on the Chugach. The regional forester also rejected forest recommendations
  to include other species, and considered (but rejected) species that the forest did not recommend.
  Rationale was provided.

  Review Question: Did the regional forester document the use of BASI to support decisions
  to not identify species as SCC? The use of BASI is required for all planning actions and
  explicitly required for determination of SCC.

  Region 1: No information cited for species on the Nez Perce-Clearwater. The Flathead assessment
  includes some scientific information for some species that relates to concern about persistence. The
  Helena-Lewis & Clark assessment provides little information about the species not selected.

  Region 2: The rationales in the assessment consist of conclusory statements, with no reference to
  supporting science. However, “species overviews” have been prepared for each species considered
  for SCC (but were not readily available in conjunction with the draft assessment), and they may
  include the scientific basis for the rationale.

  Region 3: Determining how BASI was used to remove species from consideration was difficult in
  several cases. The forests used secondary data sources that did not reveal the specific information
  used to support the rationale.


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   Region 5: Although the rationale spreadsheets include sources used, clear connections between the
   rationale and sources used was rarely established.

   Region 10: The regional forester’s December 2015 letter includes conclusory statements with no
   scientific references.

   Review Question: Is the rationale internally consistent on a national forest?

   In most or all regions, the processes used for fish wildlife and plants are not the same.

   Region 5: Rationale within invertebrates is not consistent and is also inconsistent between
   invertebrates and vertebrates.

   Review Question: Is there an explanation of differences among national forests for the same
   species?

   Region 1: The Flathead does not mention the species previously selected by the regional forester for
   the Nez Perce-Clearwater (which is one of the directives’ criteria). While the Helena-Lewis & Clark
   considered species because they were recommended on the adjacent Flathead, some species are
   treated differently without adequate explanation. For example, the Flathead designated the Veery as
   a potential SCC citing dramatic declines in western Montana whereas the Helena-Lewis & Clark
   states that information does not indicate regional concern.

   Region 3: “Game species” was used as a criterion for exclusion on two of the three forests, but not
   on the Santa Fe. The Cibola used different criteria than the other two forests. There are ten species
   where the evaluation and/or conclusion pertaining to SCC differed among the forests for the same
   species. These differences were not explained.

   Region 5: The rationales for many species are different across the three national forests, but the
   final identification is the same, with one exception: The Mt. Pinos sooty grouse is identified as a
   SCC only on the Sequoia National Forest (based on essentially the same rationale for not identifying
   it on the other forests).

   Review Question: Did the rationale for not identifying SCC include relevant and appropriate
   factors?

   We identified the following 16 situations where regional foresters have provided justification for not
   identifying species as SCC that are not relevant factors, as defined by the two regulatory criteria.




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   1. Species not known to occur in the plan area because there are no known surveys. BASI
      does not require population surveys. The rationale must explain what information was used.
      (Region 1 and Region 10 did not include a specific discussion of species not “known to occur.”)

   Region 3: The Cibola excluded species where there were no known surveys.

   2. Species known to occur in the plan area, but on an infrequent basis. The directives are
      clear that species may be excluded if they are “accidental” or “transient,” or are “well outside the
      species’ existing range. A species’ range includes all areas where it regularly occurs even where
      that is seasonal or migratory use.

   Region 2: The basis for several species not being selected is occurrence that is “peripheral,” “very
   few documented,” or “very limited.” It is not clear whether these meet the criteria in the directives.

   Region 3: Species were not selected if they used the plan area only seasonally (“migrants”) or
   “occasionally” (such as for forging) and did not nest or breed on the national forest.

   Region 5: White Mountains copper was not identified as an SCC on the Inyo even though the
   rationale concluded, “There are less than 5 occurrence records suggesting that on this Forest, this
   species could be critically imperiled.”

   3. Species known to occur in the plan area, but not recently. Where occurrence records are
      old, this could substantiate the decline of the species and suggest potential recovery and
      restoration needs. Age of occurrence records should not be a justification for ignoring a species
      in the planning process without demonstrating that the likelihood of future occurrence is
      remote.

   Region 1: The Helena-Lewis & Clark excluded the black rosy-finch because of no documented
   presence in 30 years and because the plan area is at the northern edge of its range (whereas climate
   change might move its range northward into the plan area).

   Region 2: One species was excluded because the most recent occurrence record was 1972.

   Region 3: The Cibola excluded a number of species with past observations that ranged from 1963
   to 1998, while citing as the rationale “no known surveys.”

   Region 5: Seven species on the Sequoia were excluded due to the age of occurrence records.

   Region 8: Some species were included for the Francis Marion “although they have not been
   recorded on the FMNF in the last 10 to 15 years.” Plants were excluded on both forests by the
   regional forester if the most recent occurrence records were older than 50 years.


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   4. Species included on the regional forester’s list of sensitive species. If the Forest Service
      has listed a species as “sensitive,” there should be a substantial burden on the Forest Service to
      explain why the BASI no longer supports a concern for viability. It must specifically address the
      prior agency findings regarding viability.

   Region 1: While the Nez Perce-Clearwater assessment points out that 9 of the 13 SCC are currently
   sensitive species, it does not explain why the other 11 existing sensitive species were not selected.
   Nine Flathead sensitive animal species and several plant species were not included, without any
   explanation. Sensitive species were explicitly considered by the Helena-Lewis & Clark, but seven
   species of terrestrial wildlife were not selected without rationale being provided.

   Region 2: The existing regional sensitive species list provided the “initial starting point” for species
   to consider, in addition to the directives’ categories. Many sensitive species were identified as SCC,
   and one was explicitly not identified because it had been removed from the sensitive species list.

   Region 3: The Carson and Cibola failed to consider two species each that are existing sensitive
   species.

   Region 5: Seven sensitive species were not identified as SCC.

   Region 8: The Francis Marion considered sensitive species addressed by the existing forest plan.
   The same appears to be true for the El Yunque, since the need for change documentation states
   that, “Some old Regional Forester's sensitive species did make the new scc list.” There is no
   mention of sensitive species in the Nantahala-Pisgah documentation.

   Region 10: The regional sensitive species list was included in the assessment and apparently
   considered. Only 1 of the 23 sensitive species was found to have substantial concerns for
   persistence in the plan area, and no rationale was provided for most of them.

   5. Species identified as vulnerable by NatureServe or others, but no alternative justification
      provided. It is not appropriate to categorically take a position that NatureServe “vulnerable”
      ranks (level 3) necessarily demonstrate that there is not a substantial concern for persistence in
      the plan area.

   Region 5: Sierra marten (S3), western pond turtle (G3S3), Sierra ambersnail (G3), three
   invertebrates (G3G4).

   6. Species identified as vulnerable by NatureServe or others, but considered “secure” by
      the Forest Service with no justification. If a species is “vulnerable” at either the global or
      state level (G3 or S3), they are not considered “secure”. Statements by the Forest Service



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      dismissing them as SCC because the species is considered “secure” or “stable” (or better) must
      be supported by BASI that addresses the species’ vulnerability and demonstrates security.

   Region 5: This rationale was used for 15 species.

   7. Species identified as vulnerable by NatureServe or others, but insufficient information
      for the Forest Service. If there is sufficient information to find that a species is vulnerable at a
      global or state level, the Forest Service must demonstrate that the same information is not
      adequate to show substantial concern for persistence in the plan area.

   Region 2: Uncertainty was part of the rationale for INCLUSION of some species as SCC.

   Region 3: The Cibola excluded 9 species, “for which specific threats have not been identified.” The
   Carson (6) and Santa Fe (1) excluded species where “there is insufficient information to evaluate
   whether or not the species is at risk for persistence within the plan area.”

   Region 5: This criterion was used to exclude 5 vertebrate species and 29 invertebrates.

   Region 10: The regional forester cited taxonomic uncertainty.

   8. Species identified as vulnerable by NatureServe or others, but lack of threats in the plan
      area. Infrequent presence or limited habitat in the plan area, and lack of threats from national
      forest management activities are insufficient to demonstrate that species vulnerable at a broader
      scale are secure in the plan area. (Limited habitat might suggest the opposite.) If a species is
      “known to occur” in a plan area, the apparent absence of habitat is not a relevant justification.
      (It may be appropriate to consider when developing plan components.)

   Region 1: Clark’s nutcracker was not recommended on the Helena-Lewis & Clark because,
   “Declines in whitebark pine not as severe in plan area as on other NFs.” Common loon was
   excluded because of lack of breeding habitat. Golden eagle was not recommended because, “No
   clear evidence of decline in plan area, or of impact of forest management activities on population.”
   The trumpeter swan was excluded because of, “lack of established breeding activity, probable lack of
   suitable breeding and wintering habitat except on two GAs ...” Wolverine was not recommended in
   part because, “most forest management activities have little impact on wolverines.”

   Region 2: The basis for not including several vulnerable species was “very little suitable habitat on
   the Rio Grande National Forest.” The big free-tailed bat was not selected because there are “no
   known roosting or breeding areas.”




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   Region 3: Excluded several species that inhabit areas within the plan area not known to be affected
   by the threats to the species (especially rocky, cliff or talus areas that have not changed from
   historical reference condition).

   Region 5: This criterion was used for 21 bird species and 2 mammals.

   Region 10: The Aleutian cress was excluded in part because mining is a “hypothetical” threat.

   9. Species identified as vulnerable by NatureServe or others, but favorable population or
      habitat status or trend in the plan area. Localized trends are relevant to adding a SCC that is
      secure at a broader scale but may be at risk in the plan area (directives Section 12.52d(3)(f)).
      However, localized trends do not counter broader scale circumstances.

   Region 1: The Flathead did not “recommend” several species as potential SCC “based on Flathead
   NF observation records and habitat trends.”

   Region 2: Using the directives’ criteria for including additional species, the Rio Grande excluded
   species of concern at a broader scale but having stable populations on the forest or because they are
   “widespread,” “common” or had “good viability” on the Forest.

   Region 3: Excluded species having stable or upward habitat trends on the forest.

   Region 10: The rusty blackbird was excluded because “the existing population on the Chugach
   National Forest ... is stable and growing and there is therefore not currently a viability concern ^ on
   National Forest System lands.” Similar rationale was used for Alaska yellow-cedar and Aleutian
   cress.

   10. Species identified as vulnerable by NatureServe or others, but insufficient information
       about the species specifically in the plan area. If a species has either a global or state
       ranking as “vulnerable,” uncertainty about the status of a population in the plan area should not
       disqualify such species from SCC designation because it does not address the condition of the
       larger population.

   Region 1: The Helena-Lewis & Clark did not recommend the Brewer’s sparrow as a SCC because
   there was “not enough information regarding contribution of NFS lands to overall population,” and
   the gray crowned rosy-finch because, “Not enough information regarding presence and distribution
   in plan area.”

   Region 2: The basis for excluding many vulnerable species was “Lack of sufficient information
   regarding the species status in the general area.”



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   Region 5: This rationale was used for 1 vulnerable vertebrate species and 19 vulnerable
   invertebrates.

   11. Species identified as vulnerable by NatureServe or others, but current or expected
       management mitigates any threats in the plan area. The existence of current management
       direction or expectations about the revised forest plan are never relevant to determining SCC
       status because they may change as a result of the planning process.

   Region1: The regional forester stated that "management actions that would contribute to those
   threats and stressors" were considered in identifying SCC on the Nez Perce-Clearwater. On the
   Flathead, most of the species not recommended for special designation include current forest plan
   components in the rationale. (Some rely on Amendment 21, which is specifically proposed for
   change in the revision.)

   Region 3: Species were excluded because they are not affected by management activities under the
   current Cibola forest plan. They include bald eagle, ferruginous hawk, golden eagle, northern
   harrier, osprey, and Wilson’s warbler. Also excluded were three plant species that are found on
   rocky outcrops or other areas “not suitable for typical forest-management activities such as timber
   harvest or cattle grazing.” Also excluded were three species where declines that have been
   associated with “legacy management actions” that are “no longer practiced” by the Cibola.

   Region 5: Northern goshawk, black swift, black-backed woodpecker, Sierra marten

   12. Species identified as vulnerable by NatureServe or others, but no control over threats by
       the Forest Service. The directives specifically recognize climate change as an example of a
       threat to a species that might warrant identifying it as a SCC even though it is beyond the control
       of national forest management actions.

   Region 1: The Helena-Lewis & Clark failed to include the Brewer’s sparrow because habitats occur
   “primarily off NFS lands” (though it is known to occur in the plan area).

   Region 2: The sage sparrow was not identified as a SCC because of “very limited ability to influence
   species through management actions of Rio Grande National Forest.”

   Region 5: Mt. Lyell shrew

   Region 10: Aleutian cress was excluded in part because climate change is “outside the control of the
   agency.” Sessileleaf scurvygrass was excluded in part because its habitat “may be within the
   regulatory control of the State of Alaska.”




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   13. Species identified as vulnerable by NatureServe or others, but does not contribute to
       larger population. This criterion is not included in the directives. Its use appears to confuse
       the criteria for identifying SCC with requirements for plan components to provide ecological
       conditions for viable populations.

   Region 1: The Helena-Lewis & Clark excludes the white-tailed ptarmigan and fisher for this reason.

   14. Species identified as vulnerable by NatureServe or others, but a not warranted finding
       under ESA. The criteria for listing under ESA are more stringent than for SCC, so the failure
       to list a species under ESA is irrelevant to the SCC determination (risk of extinction is not
       required of SCC). A previous positive 90-day finding is compelling evidence that there is
       substantial concern for persistence.

   Region 1: Wolverine

   Region 5: The bi-state sage grouse was initially not included but apparently added in response to
   comments.

   15. Species identified as vulnerable by NatureServe or others, but designated as a game
       species in a state. The fact that a species is hunted does not provide a scientific justification
       for lack of concern about persistence.

   Region 1: The Helena-Lewis & Clark excluded gray wolf for this reason.

   Region 3: Game species was used as a criterion for the Carson (band-tailed pigeon and Rocky
   Mountain bighorn sheep).

   Region 5: Nelson desert bighorn sheep, Mt. Pinos sooty grouse

   16. Existing laws or regulations applicable to the Forest Service cited as alleviating
       concerns about persistence in the plan are. Unless these directly address and mitigate all of
       the threats to a species they do not necessarily affect concerns for persistence in the plan area.

   Region 3: The Bald Eagle and Golden Eagle Protection Act requirements were assumed to alleviate
   a concern for the continued persistence of these species.

   Region 8: Bird species protected by the Migratory Bird Treaty Act WERE recommended as SCC by
   the Nantahala-Pisgah, as well as fish protected by the Clean Water Act and North Carolina Sediment
   and Pollution Control Act.




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                                Appendix B




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   Antora Meadows recommended wilderness

   Proposed Wilderness Designation
   Rio Grande National Forest
   Saguache Ranger District                       27,700 acres


   General Description

   One of Colorado's least-known segments of the Continental Divide runs between the San
   Juan and Sawatch ranges along the northern rim of the San Luis Valley. The proposed
   Antora Meadows wilderness contains a large portion of an easy to overlook forested length
   of the divide and is a primary component of one of Colorado's largest unprotected roadless
   areas in the Cochetopa Hills. The proposed wilderness would fill one of the largest
   remaining gaps in the wilderness system in the Southern Rockies, and complete the
   ecological connection between the large protected wilderness areas of the San Juans to the
   south and the equally important preserves of the Elk, Sawatch, and Sangre de Cristo ranges
   to the north and east. The area is generally a refuge for wildlife, including robust deer and
   elk herds. It is also home to a pure population of the imperiled Rio Grande cutthroat trout.

   Antora Meadows lies in the Saguache Creek watershed north of Saguache. The area is
   bounded on the north by the Continental Divide National Scenic Trail, but the primary
   access point is the Middle Creek Trailhead on its south side. Fescue grasslands and open
   ponderosa pine forest are typical in the lowest portions of the area starting at an elevation
   of 8,800 feet. Large stands of aspen and lodgepole pine forest become more common as one
   travels deeper into the area towards the Continental Divide at 10,600 feet. The area tops
   out at 13,269-foot Antora Peak. The area is adjacent to a 3,600-acre wilderness-quality
   portion of the Starvation Creek roadless area on the Pike-San Isabel NF.

   Naturalness

   Antora Meadows is a compact shape
   comprised of several tributary
   watersheds. It has escaped prior
   intensive timber management
   typical of adjacent areas. The PSCO
   gas pipeline is excluded from the
   area and forms the western
   boundary. The boundary
   cherrystems areas of mineral
   exploration and development along
   with the patented mining claims and
   access road in the Antora Meadows
   vicinity. It also omits the 5 miles of
   the Continental Divide National




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   Scenic Trail open to motorized use along the northern boundary of the unit. Within these
   boundaries, there is no evidence of significant human imprints.

   Outstanding Opportunities for Solitude or Unconfined Primitive Recreation
   This large expanse of roadless landscape offers solitude that is hard to find in other
   mountainous regions of Colorado. Due to its dry environment and lack of large bodies of
   water, this is a relatively unvisited part of the state. Visitors can readily achieve solitude in
   any of the several tributary valleys leading to the Continental Divide.
   The area’s remoteness and lack of roads makes it an ideal refuge for deer and elk, a fact that
   provides outstanding opportunities for backcountry hunting. The area offers angling
   opportunities for a pure Rio Grande cutthroat trout population. The area’s 20 miles of non­
   motorized trails in many cases parallel lush riparian zones of willow, blue spruce and
   aspen that makes it an outstanding destination for horseback riding, hiking and wildlife
   viewing. The Middle Creek trailhead is popular with backcountry horse users, and the trails
   are signed as closed to mountain bikes.
   Size and Roadlessness

   Antora Meadows contains 27,700 acres on the Rio Grande National Forest. It is contiguous
   with 3,600 acres of wilderness quality lands in the adjacent Starvation Creek roadless area
   on the Pike-San Isabel NF. The area’s boundaries are the PSCO gas pipeline on the west and
   the edge of past timber harvests in the Slaughterhouse Creek watershed to the east, with
   the national forest boundary and Forest Road 880.2B on the south, and the Continental
   Divide/national forest boundary to the north.

   Supplemental Values

   While Antora Meadows provides habitat for recovering lynx and potential wolverine
   populations, perhaps its most important ecological role comes in the form of undisturbed
   watersheds for core conservation populations of Rio Grande cutthroat trout. The core
   conservation populations in East Middle Creek and Tuttle Creek are >99% pure,
   phenotypically true, and representative of the species’ historic genome. East Middle Creek
   is also a Colorado Natural Heritage Program Potential Conservation Area of moderate
   biodiversity significance because of the trout population. (Conservation Plan for Rio
   Grande Cutthroat Trout in Colorado, CDOW, 2004; CNHP PCA Report, 2015)

   Antora Meadows helps fill the largest gap in the wilderness system in the Southern Rockies.
   The area is part of the ecological connection between the large protected wilderness areas
   of the San Juans to the south and the equally important preserves of the Elk, Sawatch, and
   Sangre de Cristo ranges to the north and east. (SREP Wildlands Network Vision 2003;
   Aplet et al Indicators of Wildness 2000.)

   Antora Meadows provides one of the few areas in Colorado where all of the state’s major
   forest types coexist. Ecologists can find an abundance of conifer species here in uncommon
   proximity, including Douglas fir, white fir, subalpine fir, lodgepole pine, limber pine,




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   ponderosa pine, Colorado blue spruce and Engelmann spruce. The area is located amidst
   the only portion of the Rio Grande NF where lodgepole pine naturally occurs.

   Antora Meadows contains several ecosystems under-represented among existing
   wilderness areas on the Rio Grande National Forest. The lowest slopes consist of rolling
   grasslands at the national forest boundary with adjacent BLM lands, while forests of
   lodgepole pine and Douglas fir blanket the higher slopes, above meadows and stream
   valleys banded by aspen groves. By protecting this area, the Rio Grande NF can increase the
   ecological representation within its wilderness areas of Rocky Mountain Lodgepole Pine
   Forest, Rocky Mountain Aspen Forest and Woodland, and Southern Rocky Mountain
   Montane-Subalpine Grassland. (TWS ecosystem representation report, 2016)

   Manageability

   Antora Meadows is a compact unit that is comprised of the Middle Creek watershed and
   has readily identifiable boundaries on the ground. It is bounded on the north by the
   motorized Continental Divide National Scenic Trail and on the south by the forest
   boundary, and by Forest Road 880.2B. The western boundary is readily delineated by the
   PSCO gas pipeline corridor, and the eastern boundary approximately by Forest
   Development Road 861 in the Slaughterhouse Creek watershed. The area’s eastern
   boundary, north of Mosquito Lake, is contiguous with several thousand acres of
   wilderness-quality lands on the Pike-San Isabel NF.

   Patented mining claims at Antora Meadows are
   cherry-stemmed out of the unit boundary along with
   the access route via FDR 880.2B. These are on top of
   a ridge and out of sight of wilderness users. A short,
   dead-end and unmaintained motorized trail (#764)
   extends two miles north of Antora Meadows (see
   photo). The 2015 Rio Grande NF TAP ranked this
   trail as low value and high risk owing to its fords
   across four headwaters tributaries of East Middle
   Creek, which are inhabited by Rio Grande cutthroat
   trout. There are no oil and gas leases within the
   boundaries.

   Information Resources

   Item                                           Data Source

   Roadlessness                               Colorado Roadless Rule at 36 CFR 294
                                              subpart D
                                              Forest Service inventory pursuant to FSH
                                              1909.12,chapter 70, section 71
   Naturalness; Outstanding Opportunities for Forest Service inventory pursuant to FSH
   Solitude or Unconfined Primitive           1909.12,chapter 70, section 72



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   Recreation
                                        USDA Forest Service, R2, Profiles of
                                        Colorado Roadless Areas 2008
                                        SLVEC Roadless area description 2002
   Supplemental Values
    Rio Grande Cutthroat Trout          Conservation Plan for the Rio Grande
                                        Cutthroat Trout in Colorado. Colorado
                                        Division of Wildlife; CNHP PCA Report 2015
    Connectivity                        SREP Wildlands Network 2003,
                                        Aplet et al Indicators of Wildness 2000
    Ecosystem representation            TWS Ecosystem Representation 2016




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                                          Antora Meadows
                                   Recommended Wilderness Boundary




                                                     Legend
                           GO©
                      ROCKY MOUNTAIN WILD
                                                          A Summit            Lake/Pond
                                                                                                                 Land Ownership
                                                                                                                      USFS
                                                     ■_     RGNF District------- Stream/River                         BLM
                                                     L      iCitv                Recommended Wilderness
                   Data Sources: BLM, CDOT, SRCA,                                                                [   InPS
                   USFS, U5GS, wilderne5s.net              Major Road    HI Designated Wilderness
                                                                                                                      State
                   Map Prepared By; Alison Gallensky_____ USFS Roac           Roadless Land In Adjacent Forest
                   Rocky Mountain Wild                                                                                Other Public
                   9/3/2015 16-112 v7 __        __   _      USFS Trail                                           1^^ Private/Tribe
                                       0             12 Miles




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   Elkhorn Peak recommended wilderness

   Proposed Wilderness Designation
   Rio Grande National Forest                      15,800 acres
   Saguache Ranger District


   General Description

   The proposed Elkhorn Peak wilderness serves an important role in landscape connectivity
   between the Sangre de Cristo range and the Cochetopa Hills of the northern San Juan
   Mountains. Elkhorn Peak straddles the ridge between Villa Grove and Bonanza south of
   Poncha Pass. Sweeping vistas of the Sangre de Cristo range are obtained from the summits
   of Elkhorn and Hayden peaks, enhancing the outstanding sense of isolation in this remote
   corner of the northern San Luis Valley. Several non-motorized trails provide ready access
   into the heart of the area, such as the trail that traverses Kelly Creek and Elkhorn Gulch.

   Elkhorn Peak extends from grasslands and ponderosa pine characteristic of the uplands of
   the San Luis Valley to two peaks over 12,000 feet - Elkhorn and Hayden. The elevational
   gradient creates a continuum of ecosystems through large stands of aspen to lodgepole
   pine and extensive forests of Engelmann spruce and subalpine fir. Bristlecone pine and
   limber pine can be found on wind blown dry rocky ridges and slopes.

   Naturalness

   Elkhorn Peak is a roughly square area
   with boundaries defined by the forest
   boundary and surrounding roads. The
   boundary excludes past mining
   impacts and patented mining claims in
   the vicinity of Bonanza and in the
   Kerber Creek valley. The resulting area
   is natural with no substantially
   noticeable human impacts.

   Outstanding Opportunities for Solitude
   or Unconfined Primitive Recreation
   Outstanding opportunities for solitude and ample vistas are commonplace when exploring
   Elkhorn Peak. The feeling of seclusion and remoteness is particularly enhanced in the
   area’s western portion, amidst the rugged Elkhorn and Hayden peaks. Visitors can barely
   ascertain highways and farms more than a half-dozen miles distant in the San Luis Valley.
   The separation from the sights and sounds of civilization further heightens the sensation of
   solitude and isolation gained within the unit.




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   Elkhorn Peak includes approximately ten miles of non-motorized trails. These are popular
   destinations for horseback riding and hiking, particularly from the Kelley Creek trailhead.
   Scenic vistas and direct access to the crest of the area combine to create outstanding
   opportunities for primitive and unconfined recreation. The area’s primary drainages
   contain beaver ponds and trout fisheries, and important deer and elk winter range sustains
   healthy big game herds that draw fall hunters.
   Size and Roadlessness

   The proposed Elkhorn Peak wilderness is a free-standing unit of 15,800 acres. The area’s
   topography and compact boundary configuration enhances the practicality of managing it
   for its preservation and use in an unimpaired condition.

   Supplemental Values

   The proposed Elkhorn Peak wilderness contains the entirety of the 2,014-acre Kelly Creek
   Potential Conservation Area, a Colorado Natural Heritage Program ranked as High
   Biodiversity Significance. The Kelly Creek PCA includes a wetland complex with a robust
   montane riparian shrubland where the undergrowth is still dominated by native species,
   an increasingly rare occurrence. Beaver ponds expand the floodplain habitat and constitute
   an important component in maintaining this healthy ecosystem. Shrubland associations at
   lower elevations like this one in Kelly Creek are usually impacted by water diversions,
   livestock grazing, invasive plant species and agricultural conversion, which makes the PCA
   all the more unusual. (CNHP PCA Report, 2015)

   Elkhorn Peak helps fill the largest gap in the wilderness system in the Southern Rockies
   and provides connectivity across the landscape between the northern San Juan Mountains
   and the Sangre de Cristo range. The area is immediately south of the important Poncha
   Pass lynx linkage area. (SREP Wildlands Network Vision 2003; Aplet et al Indicators of
   Wildness 2000.)

   Elkhorn Peak contains several ecosystems under-represented among existing wilderness
   areas on the Rio Grande National Forest. The lowest slopes consist of rolling grasslands and
   ponderosa pine woodland at the national forest boundary with adjacent BLM lands, while
   forests of lodgepole pine and Douglas fir blanket the higher slopes. By protecting this area,
   the Rio Grande NF can substantially increase the ecological representation within its
   wilderness areas of Southern Rocky Mountain Montane-Subalpine Grassland, Southern
   Rocky Mountain Ponderosa Pine Woodland, Rocky Mountain Lodgepole Pine Forest, and
   Rocky Mountain Aspen Forest and Woodland. (TWS ecosystem representation report,
   2016)

   Manageability

   Elkhorn Peak can be easily managed to preserve its wilderness character. The area is a
   compact shape with readily identifiable topographic boundaries. The forest boundary
   defines the eastern, western and southern boundaries and are largely buffered by adjacent




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   BLM administered lands. The northern boundary generally consists of forest roads and
   patented mining claims. The area’s lower reaches may be within the WUI boundary for
   Kelly Creek and Bonanza, which can be easily offset with a boundary cushion. There are no
   non-federal inholdings as all patented mining claims are excluded from the boundary.
   There are no oil and gas leases.

   Information Resources

   Item                                         Data Source

   Roadlessness                               Colorado Roadless Rule at 36 CFR 294
                                              subpart D
                                              Forest Service inventory pursuant to FSH
                                              1909.12,chapter 70, section 71
   Naturalness; Outstanding Opportunities for Forest Service inventory pursuant to FSH
   Solitude or Unconfined Primitive           1909.12,chapter 70, section 72
   Recreation
                                              USDA Forest Service, R2, Profiles of
                                              Colorado Roadless Areas 2008
                                              SLVEC Roadless area description 2002
   Supplemental Values
    High Biodiversity Significance            CNHP PCA Report 2015
    Connectivity                              SREP Wildlands Network 2003,
                                              Aplet et al Indicators of Wildness 2000
    Ecosystem representation                  TWS Ecosystem Representation 2016




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   Lake Fork addition to La Garita Wilderness

   Proposed Wilderness Designation
   Rio Grande National Forest                        3,800 acres
   Saguache Ranger District


   General Description

   The Lake Fork addition to the La Garita Wilderness finalizes wilderness protection for the
   watershed upstream of the remote Middle Fork trailhead on the wilderness area’s eastern
   boundary. The addition is characterized by large aspen stands and mountain-bunchgrass
   parks, and completes wilderness protection for three miles of the Continental Divide. The
   wilderness boundary at present follows the center of the Middle Fork of Saguache Creek;
   this addition creates a topographically sensible wilderness boundary on both sides of the
   valley that incorporates the entirety of the Middle Fork watershed to the wilderness
   trailhead.

   The added lands provide excellent range for summering elk herds, and enhance habitat
   protection for documented use by lynx. Machin Lake sits at the headwaters of the Middle
   Fork and the Middle Fork trail provides direct access to this recreation destination in the
   La Garita Wilderness.

   Naturalness

   The proposed wilderness addition applies to the Upper Tier portion of the Lake Fork
   Colorado Roadless Area, or
   about 3,800 acres of the larger
   10,700-acre roadless area. The
   addition consists of the Middle
   Fork valley and adjacent
   forests and hillsides that are
   consistent in natural
   appearance with the adjacent
   wilderness lands. The aspen
   and grasslands result from
   wildfires 100 years prior.
   There are no vehicle routes or
   past management activities
   within the proposed
   wilderness addition.

   Outstanding Opportunities for
   Solitude or Unconfined Primitive Recreation




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   The Middle Fork Trailhead is a remote wilderness access point into the adjacent La Garita
   Wilderness. It is located at the end of six miles of four-wheel-drive road. The Middle Fork
   trail is the gateway to a network of wilderness trails higher in the watershed and
   terminates in the alpine basin of Machin Lake. Multiple looping wilderness trips extend
   from the Middle Fork trail, such as those incorporating the Halfmoon Pass and Machin
   Basin trails. The Middle Fork trail provides outstanding opportunities for backpacking,
   fishing, horsepacking, and hunting. The remoteness of the trailhead helps guarantee
   outstanding opportunities for solitude, which is particularly notable along the trail-less
   portion of the Continental Divide and in the Lake Fork drainage in the addition's northern
   end.
   Size and Roadlessness
   The proposed Lake Fork addition to the La Garita Wilderness is 3,800 acres out of the
   larger 10,700-acre Colorado Roadless Area. The northern boundary of this pie-shaped
   addition is the Lake Fork of Saguache Creek, where the Tarbell Ditch diverts water across
   the Continental Divide out of the Cochetopa Creek watershed into the Saguache Creek
   watershed. The remainder of the roadless area boundary is the existing wilderness
   boundary.

   Supplemental Values

   The proposed wilderness addition includes a portion of the Saguache Creek Potential
   Conservation Area identified by the Colorado Natural Heritage Program. Saguache Creek is
   ranked as High Biodiversity Significance owing to its montane and subalpine willow carr
   associations within the creek's floodplain and valley toe slopes. The Middle Fork of
   Saguache Creek is noted specifically for a good stand of beaked sedge (Carex utriculata)
   wetland and numerous smaller wetlands in the upper watershed (CNHP PCA Report for
   Saguache Creek, 2015).

   The Middle Fork of Saguache Creek hosts a high purity, recreation population for Rio
   Grande Cutthroat Trout that extends all the way into the headwaters at Machin Lake.
   (Conservation Plan for Rio Grande Cutthroat Trout in Colorado, CDOW, 2004)

   The proposed Lake Fork addition enhances the ecological effectiveness of the La Garita
   Wilderness by expanding the size of the protected area. Larger protected areas are more
   likely to provide conditions for species persistence over the long term than smaller areas,
   as are areas with more compact boundaries. The addition increases the wilderness acreage
   of La Garita while reducing the length of the wilderness boundary, thereby increasing the
   ratio of acreage to boundary. (SREP Wildlands Network Vision 2003; Aplet et al Indicators
   of Wildness 2000.)

   The proposed Lake Fork wilderness addition increases the ecological representation within
   Rio Grande National Forest wilderness areas of Southern Rocky Mountain Montane-
   Subalpine Grassland, an ecosystem type currently with less than 5% representation of the
   overall ecosystem acreage on the forest. (TWS ecosystem representation report, 2016)




                                                                   Rvsd Plan - 00002495
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   Manageability

   The Lake Fork addition is readily manageable as wilderness, and increases the
   compactness of the adjacent La Garita Wilderness by its addition. The only trail within the
   area is the non-motorized Middle Fork trail leading several miles to the existing wilderness
   boundary. The transbasin water diversion out of Cochetopa Creek into Saguache Creek is
   excluded from the proposed wilderness boundary and forms the northern boundary. There
   are no oil and gas leases or non-federal inholdings.

   Information Resources

   Item                                          Data Source

   Roadlessness                               Colorado Roadless Rule at 36 CFR 294
                                              subpart D
                                              Forest Service inventory pursuant to FSH
                                              1909.12,chapter 70, section 71
   Naturalness; Outstanding Opportunities for Forest Service inventory pursuant to FSH
   Solitude or Unconfined Primitive           1909.12,chapter 70, section 72
   Recreation
                                              USDA Forest Service, R2, Profiles of
                                              Colorado Roadless Areas 2008
                                              SLVEC Roadless area description 2002
   Supplemental Values
    High Biodiversity Significance            CNHP PCA Reports 2015
    Rio Grande Cutthroat Trout                Conservation Plan for the Rio Grande
                                              Cutthroat Trout in Colorado. Colorado
                                              Division of Wildlife; CNHP PCA Report 2015
    Connectivity                              SREP Wildlands Network 2003,
                                              Aplet et al Indicators of Wildness 2000
    Ecosystem Representation                  TWS Ecosystem Representation 2016




                                                                   Rvsd Plan - 00002496
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                                                       Rvsd Plan - 00002497
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   Wannamaker Creek-Deep Creek addition to La Garita
   Wilderness

   Proposed Wilderness Designation
   Rio Grande National Forest                        10,900 acres
   Saguache Ranger District


   General Description

   The Wannamaker Creek-Deep Creek addition to the La Garita Wilderness consists of two
   wild valleys draining north from the 12,000-13,000 foot escarpment of the La Garita
   Mountains. These two intact roadless watersheds lie adjacent to the wilderness area’s
   eastern boundary, and support primitive recreation on more than 15 miles of backcountry
   trails. The trails are remote, and in some cases difficult to access, creating an experience of
   outstanding solitude.

   At its lowermost elevations, the addition greatly enhances the ecosystems protected within
   the existing wilderness by incorporating thousands of acres of grasslands typical of those
   in expansive Saguache Park. The area provides high quality habitat for elk and deer, and
   angling opportunities for Rio Grande cutthroat trout. The addition encompasses almost five
   miles along the South Fork of Saguache Creek.

   Naturalness

   The proposed wilderness addition
   applies to the northern half of the
   Deep Creek-Boot Mountain Colorado
   Roadless Area. The private inholding
   and historic mining activity at Sky
   City is cherrystemmed out of the
   wilderness boundary, and past
   timber harvest areas east of Deep
   Creek are similarly excluded. There
   are no vehicle routes or past
   management activities within the
   proposed wilderness addition, and
   the area reflects unmodified
   naturally-occurring ecological
   conditions.

   Outstanding Opportunities for Solitude or Unconfined Primitive Recreation
   Both Wannamaker Creek and Deep Creek watersheds are remote and lightly visited. The
   steep northern escarpment of the La Garita Mountains creates a natural topographic
   barrier at the highest elevations, separating the two drainages from motorized routes



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   including the La Garita Stock Driveway to the south of the mountain crest. This topographic
   isolation maintains outstanding opportunities for solitude.
   The Sky City inholding blocks public access from the lower end of Wannamaker Creek, but
   other trails provide several access alternatives into the upper end of Wannamaker Creek.
   These include the Deep Creek trail from the east, the Coyote Trail coming over the divide
   from the La Garita Wilderness to the west, and the Wannamaker Creek trail itself from the
   top of the high escarpment. The alternate access requires more effort and imagination by
   backcountry users, meaning the Wannamaker Creek watershed retains outstanding
   solitude and challenging primitive recreation opportunities. Similarly, there is a lightly-
   used and unobtrusive trail along the length of Deep Creek that begins at its confluence with
   the South Fork of Saguache Creek.
   The trail systems provide access for those seeking remote backcountry hunting
   experiences in the fall, and Wannamaker Creek supports a hybridized Rio Grande cutthroat
   trout population for anglers.
   Size and Roadlessness
   The proposed Wannamaker Creek-Deep Creek addition to the La Garita Wilderness is
   10,900 acres out of the larger 27,600-acre Colorado Roadless Area. The watershed divide
   atop the La Garita Mountains escarpment defines the southern boundary, while the
   northern boundary is the South Fork of Saguache Creek. The area adjoins the La Garita
   Wilderness to the west, and the Deep Creek watershed divide forms the eastern boundary.

   Supplemental Values

   The proposed Wannamaker Creek-Deep Creek addition includes a portion of the Saguache
   Creek Potential Conservation Area identified by the Colorado Natural Heritage Program.
   The Saguache Creek PCA is ranked as High Biodiversity Significance owing to its montane
   and subalpine willow carr associations within the creek’s floodplain and valley toe slopes.
   According to CNHP, the upper watershed of Saguache Creek supports a broad diversity of
   aquatic and terrestrial habitats and maintains a largely undisturbed hydrological regime.
   The headwaters streams provide a valuable refuge for species that have been impacted by
   land use in the lower watershed, such as the Rio Grande cutthroat trout. (CNHP PCA Report
   for Saguache Creek, 2015).

   Wannamaker Creek hosts a conservation population for Rio Grande Cutthroat Trout.
   (Conservation Plan for Rio Grande Cutthroat Trout in Colorado, CDOW, 2004)

   The proposed Wannamaker Creek-Deep Creek addition enhances the ecological
   effectiveness of the La Garita Wilderness by expanding the size of the protected area.
   Larger protected areas are more likely to provide conditions for species persistence over
   the long term than smaller areas. (SREP Wildlands Network Vision 2003; Aplet et al
   Indicators of Wildness 2000.)




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   The proposed Wannamaker Creek-Deep Creek wilderness addition increases by thousands
   of acres the ecological representation within Rio Grande National Forest wilderness areas
   of Southern Rocky Mountain Montane-Subalpine Grassland, an ecosystem type currently
   with less than 5% representation of the overall ecosystem acreage on the forest. (TWS
   ecosystem representation report, 2016)

   Manageability

   The Wannamaker Creek-Deep Creek wilderness addition has a clearly defined topographic
   boundary denoted by watershed divides to the east and south, and by the South Fork of
   Saguache Creek to the north (the existing wilderness boundary is to the west). This
   boundary readily excludes incompatible uses such as motorized vehicles. This subset of the
   larger Deep Creek-Boot Mountain Colorado Roadless Area eliminates the irregularities of
   shape and also excludes all motorized trails characteristic of the southern half of the
   roadless area. The Sky City private inholding and its mile-long access road #787 are
   cherrystemmed out of the lower end of the six-mile long Wannamaker Creek valley. There
   are no oil and gas leases in the area.

   Information Resources

   Item                                         Data Source

   Roadlessness                               Colorado Roadless Rule at 36 CFR 294
                                              subpart D
                                              Forest Service inventory pursuant to FSH
                                              1909.12,chapter 70, section 71
   Naturalness; Outstanding Opportunities for Forest Service inventory pursuant to FSH
   Solitude or Unconfined Primitive           1909.12,chapter 70, section 72
   Recreation
                                              USDA Forest Service, R2, Profiles of
                                              Colorado Roadless Areas 2008
                                              SLVEC Roadless area description 2002
   Supplemental Values
    High Biodiversity Significance            CNHP PCA Reports 2015
    Rio Grande Cutthroat Trout                Conservation Plan for the Rio Grande
                                              Cutthroat Trout in Colorado. Colorado
                                              Division of Wildlife; CNHP PCA Report 2015
    Connectivity                              SREP Wildlands Network 2003,
                                              Aplet et al Indicators of Wildness 2000
    Ecosystem Representation                  TWS Ecosystem Representation 2016




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   Wason Park addition to La Garita Wilderness

   Proposed Wilderness Designation
   Rio Grande National Forest                        22,000 acres
   Divide Ranger District


   General Description

   Wason Park is a large roadless area adjacent to the La Garita Wilderness’ western
   boundary and just outside of Creede. Wason Park adds wilderness protection for up to 8
   miles of the Continental Divide on the Rio Grande National Forest, significantly enhancing
   the presence of the La Garita Wilderness south of the divide. The La Garita Wilderness at
   present is situated predominately north of the Continental Divide on the neighboring
   Gunnison National Forest.

   Wason Park’s addition to the wilderness would greatly expand ecological representation of
   the La Garita Wilderness by incorporating south-facing slopes dominated by grasslands
   and ponderosa characteristic of the Rio Grande valley that transition continuously through
   aspen and spruce-fir to the Continental Divide. The addition spans an elevation range from
   8,700 feet in the valley to over 13,000 feet on the Continental Divide. Its western flank
   consists of the steeply incised valley of East Willow Creek. Several non-motorized trails
   lead through the area to the adjacent wilderness boundary, including Farmers Trail from
   the valley floor, the Wason Trail from Creede, and the La Garita Stock Driveway from
   Phoenix Park.

   Naturalness

   Wason Park is a broad, unfragmented
   area of undisturbed habitat blanketing
   the western approaches to the La Garita
   Wilderness. While some mining
   remnants are visible adjacent to the
   lower Bachelor Loop Road at its lowest
   elevations near Creede, Wason Park is
   otherwise free of any substantial
   unnatural impacts.

   Outstanding Opportunities for Solitude or
   Unconfined Primitive Recreation
   Wason Park is a large landscape with intact forests and drainages leading to a remote
   section of the Continental Divide. The Continental Divide National Scenic Trail is located
   north of the actual divide in this section, thus making the southern flanks of the Divide in
   Wason Park an area of outstanding isolation and solitude. Upper East Willow Creek is




                                                                     Rvsd Plan - 00002502
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   exceedingly remote and trail-less, and invokes a sense of vastness and impenetrability that
   further enhances the impression of solitude.

   Wason Park contains over a dozen miles of non-motorized trails. These trails near Creede
   offer the closest wilderness access into the La Garita Wilderness from any surrounding
   communities. Several trails traverse the roadless area before reaching the existing
   wilderness boundary and provide excellent routes for hikers, backpackers, and horse users
   heading into the adjacent wilderness. These include the Farmers Creek Trail from the
   valley floor, the Wason Trail from Creede, and the La Garita Stock Driveway from Phoenix
   Park. The expansive, intact wildlife habitat provides outstanding opportunities for remote
   backcountry big-game hunting experiences.

   Size and Roadlessness

   Wason Park contains 22,000 acres. It is bounded on the east and north by the existing La
   Garita Wilderness, and on the south by the forest boundary in the Rio Grande valley. The
   area’s western boundary is generally defined by roads and patented mining claims.

   Supplemental Values

   Wason Park contains outstanding supplemental values for a variety of wildlife species. It is
   in close proximity to high use lynx areas, contains lynx habitat, and provides an important
   landscape connectivity link for lynx. Wason Park provides important winter range for elk,
   deer, and bighorn sheep. Wason Park encompasses a migration route for bighorn sheep
   from the Bellows Creek herd to the San Luis Peak and Bristol Head herds. Wason Park also
   is adjacent to priority habitat for moose in West Willow Creek.

   The proposed Wason Park wilderness addition enhances the ecological effectiveness of the
   La Garita Wilderness by expanding the size of the protected area. The Wason Park addition
   would boost the size of the La Garita Wilderness by 15%. Larger protected areas are more
   likely to provide conditions for species persistence over the long term than smaller areas.
   (SREP Wildlands Network Vision 2003; Aplet et al Indicators of Wildness 2000.)

   Wason Park contributes thousands of acres of one of the most under-represented
   ecosystem types among existing wilderness areas on the Rio Grande National Forest. By
   protecting this area, the Rio Grande NF can significantly increase the ecological
   representation within its wilderness areas of Southern Rocky Mountain Montane-
   Subalpine Grassland. (TWS ecosystem representation report, 2016)

   Wason Park includes a pair of scenic waterfalls above Phoenix Park that are popular focal
   points for photographers.

   Manageability

   Wason Park is readily manageable as wilderness. It is characterized by a broad, three-mile­
   wide belt of forests and streams banding the southern and western boundary of the



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   existing La Garita Wilderness. Steep topography out of the East Willow Creek drainage
   precludes ready trespass by motorized vehicles. Adjacent patented mining claims are
   excluded from the boundary, and access to those private lands is via non-wilderness lands
   from the west. The primary Creede mineral belt along the famous Amethyst silver vein is
   situated along West Willow Creek and lies significantly outside the proposed wilderness
   addition. All of the existing trails are designated non-motorized. There are no oil and gas
   leases or non-federal inholdings within the area.

   Information Resources

   Item                                          Data Source

   Roadlessness                               Colorado Roadless Rule at 36 CFR 294
                                              subpart D
                                              Forest Service inventory pursuant to FSH
                                              1909.12,chapter 70, section 71
   Naturalness; Outstanding Opportunities for Forest Service inventory pursuant to FSH
   Solitude or Unconfined Primitive           1909.12,chapter 70, section 72
   Recreation
                                              USDA Forest Service, R2, Profiles of
                                              Colorado Roadless Areas 2008
                                              SLVEC Roadless area description 2002
   Supplemental Values
    Connectivity                              SREP Wildlands Network 2003,
                                              Aplet et al Indicators of Wildness 2000
    Ecosystem representation                  TWS Ecosystem Representation 2016




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   North Fork Rock Creek recommended wilderness

   Proposed Wilderness Designation
   Rio Grande National Forest                       16,500 acres
   Divide Ranger District


   General Description

   The proposed North Fork Rock Creek wilderness consists of the northeastern portion of
   the Bennet Mountain Colorado Roadless Area unit. It neatly encompasses the watershed of
   the North Fork of Rock Creek along with adjacent lands to the north. The area provides
   coverage of a lower elevation ecological transition in the foothills of the southern San Luis
   Valley south of Del Norte. In the fall, spectacular displays of colorful aspen foliage dominate
   the landscape.

   Elevation ranges from a low of 8,880 feet at the national forest boundary along Rock Creek
   to 12,800-feet atop Pintada Mountain. Fescue dominated grasslands are common in the
   lowest elevations, then transition into pinyon-juniper habitats. Depending on slope aspect
   and elevation, mixed-conifer habitats of ponderosa pine, Douglas fir can be enjoyed at low
   to mid elevations. The highest elevations include alpine terrain above timberline. Two non­
   motorized trails offer abundant opportunities for hiking, angling, hunting, and horseback
   riding.

   Naturalness

   North Fork Rock Creek is a subset of a
   much larger, and more convoluted,
   roadless area. This smaller component
   is free of human imprints and displays
   a substantial level of naturalness
   throughout the area.

   Outstanding Opportunities for Solitude
   or Unconfined Primitive Recreation
   The North Fork of Rock Creek watershed provides an isolated setting shielded from the San
   Luis Valley. Visitors can readily experience outstanding opportunities for solitude. The
   area’s high points above timberline atop Windy Mountain and Pintada Mountain offer
   outstanding vistas and similarly impart a sense of isolation amidst a large, undeveloped
   landscape.
   The area is traversed by two non-motorized trails, North Rock Trail #701 and Dry Creek
   Trail #700. These trails each offer a half-dozen miles of exploration for hikers, anglers and
   equestrians. One trail parallels the creek and crosses back and forth multiple times, while
   the other trail navigates the high slopes above treeline and meanders down through a




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   range of forest transitions. The area provides important winter range for deer and elk,
   which translates also into outstanding opportunities for backcountry hunting.
   Size and Roadlessness

   The proposed North Fork Rock Creek wilderness unit is 16,500 acres in size.

   Supplemental Values

   North Fork Rock Creek provides good representation of several ecosystem types under­
   represented among existing wilderness areas on the Rio Grande National Forest. The area
   covers the ecological transition from the San Luis Valley to alpine slopes, and at is lowest
   margins includes grasslands and pinyon-juniper woodlands, as well as ponderosa pine and
   dry mixed-conifer forests. Recommending this area for wilderness designation will
   increase the ecological representation on the Rio Grande NF of Southern Rocky Mountain
   Montane-Subalpine Grassland, Southern Rocky Mountain Ponderosa Pine Woodland, Rocky
   Mountain Pinyon-Juniper Woodland, and Southern Rocky Mountain Mesic Montane Mixed-
   Conifer Forest and Woodland, all of which are currently represented at less than 5% on the
   forest. (TWS ecosystem representation report, 2016)

   Manageability

   North Fork Rock Creek can be readily managed to preserve its wilderness character. The
   boundary is clearly delineated on three sides by easily identifiable topographic features
   such as ridgelines and streams, and is bounded on the east by the national forest boundary
   with adjacent undeveloped rural landscapes and BLM administered lands. The western
   boundary excludes the Middle Frisco Creek trail, which is utilized by mountain bikes. The
   area includes no non-federal inholdings and there are no oil and gas leases.

   Information Resources

   Item                                           Data Source

   Roadlessness                                   Colorado Roadless Rule at 36 CFR 294
                                                  subpart D
                                                  Forest Service inventory pursuant to FSH
                                                  1909.12,chapter 70, section 71
   Naturalness; Outstanding Opportunities for     Forest Service inventory pursuant to FSH
   Solitude or Unconfined Primitive Recreation    1909.12,chapter 70, section 72
                                                  USDA Forest Service, R2, Profiles of
                                                  Colorado Roadless Areas 2008
                                                  SLVEC Roadless area description 2002
   Supplemental Values
    High Biodiversity Significance                CNHP PCA Report 2015
    Connectivity                                  SREP Wildlands Network 2003,
                                                  Aplet et al Indicators of Wildness 2000




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    Ecosystem representation             TWS Ecosystem Representation 2016




                                                       Rvsd Plan - 00002508
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   Pole Creek Mountain - Sheep Mountain recommended
   wilderness

   Proposed Wilderness Designation
   Rio Grande National Forest                       24,800 acres
   Divide Ranger District


   General Description

   The Pole Creek Mountain roadless area is an important piece of the puzzle in protecting
   landscape connectivity across the San Juan Mountains. The area fills a critical gap between
   the Weminuche Wilderness to the south and La Garita, Uncompahgre, Handies Peak and
   Red Cloud Peak wildernesses and wilderness study areas to the north. The roadless area
   incorporates an uncommon triple watershed divide, the high point amidst the Rio Grande,
   Lake Fork of the Gunnison, and Animas Rivers. The vast, sweeping expanses of upper Pole
   Creek bring to mind the immensity of Alaskan wilderness. Three distinct landscapes define
   the area: vertical cliffs rise out of the Lake Fork valley on the north, with numerous
   waterfalls and grottoes; rolling tundra interspersed with rugged volcanic peaks
   characterizes the central portion; while the southern end contains several deep, glaciated
   valleys.

   The proposed Pole Creek Mountain and Sheep Mountain wilderness units are along 12
   miles of the Continental Divide, from Stony Pass to Cataract Lake. The Colorado Trail and
   the Continental Divide National Scenic Trail traverse the area, paralleling the divide, and
   draw numerous hikers and backpackers. Others find Pole Creek equally intriguing for its
   oddly eroded volcanic formations called beehives and hoodoos.

   The proposed wilderness consists of two units. Pole Creek Mountain is the central core of
   the roadless area, and is defined by the motorized trails along Pole Creek and West Lost
   Trail Creek, which are excluded. The Sheep Mountain unit is west of Pole Creek, largely
   within San Juan County, and extends to the Continental Divide.

   Naturalness

   Pole Creek Mountain is a large, primarily
   alpine roadless area along the Continental
   Divide. The imprints of human activity are
   few and substantially unnoticeable. There
   are a few scattered remnants of historic
   mining activity at the headwaters of the
   Rio Grande near Sheep Mountain. The
   area is generally indistinguishable in
   natural character from the adjacent
   Weminuche Wilderness to the south.




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   Outstanding Opportunities for Solitude or Unconfined Primitive Recreation
   Pole Creek Mountain and Sheep Mountain form the core of Colorado's largest alpine
   expanse of tundra. Visitors experience a sensation of vastness and isolation unparalleled
   amongst existing wilderness areas across the Southern Rockies. From many vantage points,
   all one can see is undulating tundra ridges retreating into the distance, interrupted here
   and there by soaring peaks.

   The Continental Divide National Scenic Trail/Colorado Trail defines the northern boundary
   of the proposed wilderness and is a popular with hikers and backpackers. Most long­
   distance backpackers through this segment are completing the entirety of the Colorado
   Trail from Denver to Durango. The route of the trail from Stony Pass to Cataract Lake
   follows a generally moderate grade above tree-line making it one of the most accessible
   high routes in Colorado. The trail system in Pole Creek Mountain is part of a larger
   interconnected trail system over the Continental Divide with the non-mechanized trails in
   Cuba Gulch and Cataract Gulch on the Grand Mesa-Uncompahgre-Gunnison National Forest
   and nearby lands managed by BLM within the Handies Peak Wilderness Study Area.

   Size and Roadlessness
   The Pole Creek Mountain roadless area is one of the largest freestanding areas on the Rio
   Grande National Forest. Even with separating the larger roadless area into two units along
   the motorized Pole Creek trail, the two separate Pole Creek Mountain and Sheep Mountain
   units are still 16,500 acres and 8,300 acres, respectively. The areas are bounded by the
   Stony Pass road to the south, the Continental Divide trail to the west and north, and West
   Lost Trail Creek/Lost Trail Creek to the east.

   Supplemental Values

   Pole Creek Mountain is important for several species of significant conservation concern. It
   is an area of high use by lynx and provides connections for lynx moving through the heart
   of the core population of the San Juan Mountains. The area contains one of the few known
   populations of the Uncompahgre fritillary butterfly, and also the only known global
   occurrences of the stonecrop gilia. Pole Creek Mountain provides high quality habitat for
   future wolverine populations.

   Pole Creek Mountain includes portions of two Potential Conservation Areas identified by
   the Colorado Natural Heritage Program. Two globally vulnerable riparian plant
   communities, Booth's willow (Salix boothii}/mesic forbs shrubland and Wolf's willow (Salix
   wolfii}/mesic forbs shrubland, occur within a large subalpine willow carr along the upper
   reaches of the Pole Creek PCA and are ranked as High Biodiversity Significance. The Sheep
   Mountain portion includes the entirety of the Sheep Mountain in San Juans PCA, which is
   ranked as Very High Biodiversity Significance owing to the existence of one of only two
   known global occurrences of the critically imperiled stonecrop gilia (Aliciella sedifolia). The




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   best known worldwide occurrence of stonecrop gilia is located in the Half Peak PCA along
   the northern edge of the proposed wilderness (CNHP PCA Report, 2015).

   Pole Creek Mountain includes over 20 miles of streams managed for recreation populations
   of Rio Grande cutthroat trout. Pole Creek, Lost Trail Creek, and West Lost Trail Creek
   create a large connected population along with adjacent streams in the headwaters of the
   Rio Grande below Stony Pass. (Conservation Plan for Rio Grande Cutthroat Trout in
   Colorado, CDOW, 2004)

   The lower slopes of Pole Creek Mountain along the Rio Grande would increase the
   ecological representation within Rio Grande National Forest wilderness areas of Southern
   Rocky Mountain Montane-Subalpine Grassland, an ecosystem type currently with less than
   5% representation of the overall ecosystem acreage on the forest. (TWS ecosystem
   representation report, 2016)

   Manageability

   The proposed Pole Creek Mountain and Sheep Mountain wilderness units are readily
   manageable as wilderness. The areas have compact boundaries and are situated in perhaps
   the most remote location in the Rio Grande National Forest, at the very headwaters of the
   Rio Grande. One cluster of non-federal inholdings in the form of patented mining claims is
   located in the Sheep Mountain unit near the Continental Divide but is presently under
   negotiation for federal acquisition. There are no oil and gas leases.

   Information Resources

   Item                                         Data Source

   Roadlessness                               Colorado Roadless Rule at 36 CFR 294
                                              subpart D
                                              Forest Service inventory pursuant to FSH
                                              1909.12,chapter 70, section 71
   Naturalness; Outstanding Opportunities for Forest Service inventory pursuant to FSH
   Solitude or Unconfined Primitive           1909.12,chapter 70, section 72
   Recreation
                                              USDA Forest Service, R2, Profiles of
                                              Colorado Roadless Areas 2008
                                              SLVEC Roadless area description 2002
   Supplemental Values
    High Biodiversity Significance            CNHP PCA Reports 2015
    Rio Grande Cutthroat Trout                Conservation Plan for the Rio Grande
                                              Cutthroat Trout in Colorado. Colorado
                                              Division of Wildlife; CNHP PCA Report 2015
    Connectivity                              SREP Wildlands Network 2003,
                                              Aplet et al Indicators of Wildness 2000




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    Ecosystem Representation            TWS Ecosystem Representation 2016




                                                       Rvsd Plan - 00002512
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                                                       Rvsd Plan - 00002513
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                                              Sheep Mountain
                                       Recommended Wilderness Boundary




                                                              Legend
                             ooe
                      ROCKY MOUNTAIN WILD
                                                                 A Summit                Lake/Pond
                                                                                                                  Land Ownership
                                                                                                                       USFS
                                                             ‘      RGNF District--------Stream/River                  BLM
                                                             L      I City               Recommended Wilderness
                   Data Sources: BLM, CDOT, SRCA,                                                                 I   iNPS
                   USFS, U5GS, wilderne5s.net                        Major Road      HI Designated Wilderness     m State
                   MSP Prepared By: Alison Gallensky-------- Ro.idl-,: Land in Adjacent Forest
                                                                                                                  H other Public
                   Rocky Mountain Wild
                   9/3/2015 16-112 v7---------------------------------- USFS Trail                                1^^ Private/Tribe




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   Saguache Creek recommended wilderness

   Proposed Wilderness Designation
   Rio Grande National Forest                      27,100 Acres
   Saguache Ranger District


   General Description

   The proposed Saguache Creek wilderness offers the opportunity to add thousands of acres
   of high quality wilderness landscapes among grasslands and ponderosa pine woodlands
   that are poorly represented ecosystem types within the National Wilderness Preservation
   System. Saguache Creek is an unusual wild landscape - an undeveloped lower elevation
   stream corridor lacking road access. A Saguache Creek wilderness would fill both a
   geographic and ecological gap in the system of designated wilderness in the Southern
   Rocky Mountains. It is a large, intact wild landscape located in one of the largest remaining
   gaps in the wilderness system in the Southern Rockies.

   The proposed Saguache Creek wilderness offers both popular and remote recreation
   opportunities. Saguache Creek itself is an identified wild and scenic river candidate whose
   seven-mile canyon is frequented by fly-fishing anglers, while the grasslands and ponderosa
   forests of lower Fourmile Creek and Luders Creek provide quiet sanctuaries for hikers,
   horse users, and wildlife watchers. The Colorado Natural Heritage Program ranks the
   area’s high-quality riparian willow-carr and shrublands ecosystems along Saguache Creek
   and Luders Creek as possessing high biodiversity significance.

   Naturalness

   The central feature of the proposed
   Saguache Creek wilderness is the
   undeveloped seven-mile long canyon of
   Saguache Creek immediately below the
   confluence of its source forks. A several-
   mile long tributary of California Gulch
   enters from the south. The grasslands,
   forests, and riparian zones extending a
   half-dozen miles north of Saguache
   Creek are dissected by the lower
   reaches of Fourmile Creek and Luders
   Creek. The deep valleys of Saguache
   Creek and its tributaries are
   topographically isolated from access
   roads above the canyon rims, and the western boundary excludes roads, past timber sales,
   and grazing developments in the Fourmile Creek and Luders Creek watersheds. The area
   within the defined boundary appears natural.




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   Outstanding Opportunities for Solitude or Unconfined Primitive Recreation
   Saguache Creek is a premier destination for angling with trout fishing a popular
   recreational activity in the proposed wilderness. Fly fishermen avidly cast the seven-mile
   length of Saguache Creek for brown and rainbow trout using flies and lures only. Hikers
   and backpackers enjoy the stream corridor as well, relishing the rugged grandeur of the
   1,500-foot deep canyon. Hikers can find complete isolation trekking into the lower reaches
   of Fourmile Creek and Luders Creek amidst lush riparian zones surrounded by stately
   ponderosa pines along infrequently maintained trails.
   The area’s eastern boundary is effectively blocked by private land, so access is restricted to
   the west via Saguache Park. A network of rugged four-wheel drive routes define the area’s
   western boundary, and these receive light use other than during hunting season. Even in
   the peak of the summer camping season, just a handful of visitors explore the remote road
   network and even fewer venture cross-country into the surrounding roadless landscape.
   The area’s topography enhances the sensation of outstanding solitude owing to rocky fin-
   shaped ridges that separate small meadows and canyons in between.
   Size and Roadlessness
   The proposed Saguache Creek wilderness is 27,100 acres, which places it among the largest
   stand-alone roadless areas on the forest. The boundary excludes all roads ML2 and above.
   Even some of these excluded ML2 roads are effectively just ATV trails at this point owing to
   significant erosion and deterioration such as FDR 736 to Duck Creek.

   Supplemental Values

   The proposed wilderness centered on Saguache Creek, lower Fourmile Creek, and Luders
   Creek includes significant portions of two Colorado Natural Heritage Program Potential
   Conservation Areas (PCAs) - Saguache Creek and Luders Creek. The seven miles of
   Saguache Creek’s mainstem comprises the lowest segment of the Saguache Creek PCA.
   Saguache Creek is ranked as High Biodiversity Significance owing to its montane willow
   carr associations within the creek’s floodplain and valley toe slopes. The lower half of the
   Luders Creek PCA within the proposed wilderness is also ranked as High Biodiversity
   Significance because of its montane riparian shrublands, which combined with aspen
   forests and shrubby cinquefoil shrublands on adjacent terraces creates a structurally and
   floristically diverse assemblage of riparian and moist toe slope plant communities. (CNHP
   PCA Reports for Luders Creek, Saguache Creek, 2015).

   Saguache Creek through the proposed wilderness was previously determined eligible for
   Wild and Scenic River designation under the wild classification owing to its outstandingly
   remarkable scenic, historic, and cultural values. (Rio Grande Forest Plan, 1996)

   The proposed Saguache Creek wilderness helps fill the largest geographic gap in the
   wilderness system in the Southern Rockies. The area is part of the ecological connection
   between the large protected wilderness areas of the San Juans to the south and the equally




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   important preserves of the Elk, Sawatch, and Sangre de Cristo ranges to the north and east.
   The proposed wilderness also provides ecological continuity from the grasslands along
   lower Saguache Creek extending up through to its headwaters amidst the alpine tundra of
   the nearby La Garita Wilderness. (SREP Wildlands Network Vision 2003; Aplet et al
   Indicators of Wildness 2000.)

   The proposed Saguache Creek wilderness includes the largest expanses of grassland and
   ponderosa pine forest available for addition to the National Wilderness Preservation
   System among all of the available candidate areas on the Rio Grande National Forest. These
   two ecosystem types are critically under-represented among existing wilderness both
   regionally within the Southern Rockies and at the national level. By protecting this area,
   the Rio Grande NF can increase the ecological representation within its wilderness areas of
   Southern Rocky Mountain Montane-Subalpine Grassland and Southern Rocky Mountain
   Ponderosa Pine Woodland from less than 5% of the overall ecosystem acreage on the
   forest. (TWS ecosystem representation report, 2016)

   Manageability

   Saguache Creek along with its neighboring Fourmile Creek and Luders Creek is a relatively
   compact unit with one or two cherrystemmed routes penetrating its boundary. The area’s
   eastern boundary is largely inaccessible to public use owing to private lands controlling the
   valley bottom along Saguache Creek. The boundary along Saguache Creek section is the
   topographically distinct canyon rim. The western boundary in the Fourmile Creek and
   Luders Creek watersheds is defined along remote four-wheel-drive routes, primarily Forest
   Development Road 740. All trails in the proposed wilderness are designated non­
   motorized. There are no oil and gas leases or non-federal inholdings.

   Information Resources

   Item                                           Data Source

   Roadlessness                                   Colorado Roadless Rule at 36 CFR 294
                                                  subpart D
                                                  Forest Service inventory pursuant to FSH
                                                  1909.12,chapter 70, section 71
   Naturalness; Outstanding Opportunities for     Forest Service inventory pursuant to FSH
   Solitude or Unconfined Primitive Recreation    1909.12,chapter 70, section 72
                                                  USDA Forest Service, R2, Profiles of
                                                  Colorado Roadless Areas 2008
                                                  SLVEC Roadless area description 2002
   Supplemental Values
    High Biodiversity Significance                CNHP PCA Reports 2015
    Wild and Scenic River Eligibility             Rio Grande Forest Plan, 1996
    Connectivity                                  SREP Wildlands Network 2003,
                                                  Aplet et al Indicators of Wildness 2000




                                                                   Rvsd Plan - 00002517
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    Ecosystem Representation             TWS Ecosystem Representation 2016




                                                       Rvsd Plan - 00002518
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   Blanca Peak addition to Sangre de Cristo Wilderness

   Proposed Wilderness Designation
   Rio Grande National Forest                       4,200 acres
   Conejos Peak Ranger District


   General Description

   The Blanca Peak addition to the Sangre de Cristo Wilderness includes two prominent
   Colorado fourteeners - 14,345-foot Blanca Peak and its neighboring 14,037-foot Little Bear
   Peak. The proposed addition abuts a contiguous wilderness addition that is comprised of
   Lily Lake and the Huerfano River headwaters on the adjacent San Isabel National Forest.
   Most mountaineers probably assume these rugged peaks are already included within the
   wilderness, but a comprehensive boundary expansion that incorporates that portion of the
   Blanca massif on national forest lands would significantly enhance the integrity of existing
   wilderness.

   Blanca Peak is revered by many indigenous cultures in the Southwest, and has been
   identified as a potential Special Interest Area in recognition of its tribal cultural
   significance. The addition's landscape consists of sweeping glaciated valleys, soaring
   granitic peaks, and high alpine lakes. Elevations range from the pinyon-juniper dominated
   lower slopes of the San Luis Valley through a seamless transition of ecotypes to the rock
   summits of the high peaks. The challenging jeep trail to Lake Como is excluded from the
   wilderness addition.

   Naturalness

   The proposed Blanca Peak
   wilderness addition is remote and
   protected from prior development
   by its ruggedness, sheer topography
   and the adjacent private ranch that
   precluded access from the south.
   The Lake Como jeep trail forms the
   northern boundary of the proposed
   wilderness addition and is excluded
   from the wilderness. A block of
   patented mining claims on Little
   Bear Peak's west shoulder show
   scant evidence of surface disturbing
   activity and does not impair the
   appearance of naturalness across
   the larger area.




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   Outstanding Opportunities for Solitude or Unconfined Primitive Recreation

   The Blanca Peak addition at its highest point rises almost 7,000 feet above the San Luis
   Valley. The area’s soaring elevation, precipitous alpine ridges, and secluded glacial valleys
   conspire to create outstanding opportunities for solitude. This is particularly the case for
   the trail-less valley of Little Bear Lake.

   Blanca Peak and Little Bear Peak draw mountaineers hoping to reach the summits and test
   their mountaineering abilities in highly challenging circumstances. Little Bear Peak ranks
   among the most technically difficult summits among Colorado’s 54 fourteeners, which
   enhances the outstanding character of this primitive recreational pursuit. An estimated
   1,000-3,000 climbers attempt Blanca Peak annually, while less than 1,000 pursue Little
   Bear’s summit (Colorado Fourteeners Initiative, 2015). A half-dozen alpine lakes draw
   hikers, campers, and photographers keen on experiencing jaw-dropping mountain scenery.

   Size and Roadlessness
   The proposed Blanca Peak wilderness addition is 4,200 acres in size. The area is bounded
   on the north by the adjacent Sangre de Cristo Wilderness.

   Supplemental Values

   Blanca Peak has outstanding value to native peoples of the Southwest. The Navajo, Ute, and
   Jicarilla Apache consider the peak sacred, and it is also important within the cultural
   landscape of the Upper Rio Grande pueblos. The tribes have a strong interest in
   maintaining the area’s pristine nature. The Navajo Nation has proposed designation as a
   Traditional Cultural Property. (Rio Grande NF tribal assessment, 2015)

   The proposed Blanca Peak addition enhances the ecological effectiveness of the Sangre de
   Cristo Wilderness by expanding the size of the protected area. It specifically interconnects
   to the Huerfano River headwaters and Lily Lake on Blanca Peak’s northern slope, creating
   overarching protection for the entirety of the Blanca Peak massif when considered in
   conjunction with the conserved lands on the adjacent Trinchera Ranch to the south.
   Larger protected areas are more likely to provide conditions for species persistence over
   the long term than smaller areas. (SREP Wildlands Network Vision 2003; Aplet et al
   Indicators of Wildness 2000.)

   Ecosystem types along the lower slopes of the proposed addition are poorly represented
   within the Rio Grande’s existing wilderness areas. Wilderness designation of the Blanca
   Peak addition would increase ecological representation of Southern Rocky Mountain
   Montane-Subalpine Grassland, Southern Rocky Mountain Ponderosa Pine Woodland, and
   Southern Rocky Mountain Pinyon-Juniper Woodland, each of which occur in designated
   wilderness at less than 5% on the forest. (TWS ecosystem representation report, 2016)




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   Manageability

   The Blanca Peak addition is comprised of remote and steep ridges and peaks of the Sangre
   de Cristos, and intervening glaciated valleys. The area is generally bounded on the north by
   the adjacent Sangre de Cristo Wilderness. The southerly and easterly boundary is the
   private Trinchera Ranch, which is managed compatibly under a conservation easement.
   Rural lands administered by BLM abut the area’s western boundary. The northeast slopes
   of Blanca Peak are contiguous with adjacent wilderness-quality lands managed by the Pike­
   San Isabel National Forest at the headwaters of the Huerfano River. The rugged jeep trail to
   Lake Como is adjacent to the existing wilderness boundary and forms the northern
   boundary of the addition, and would be a cherry-stem into the Sangre de Cristo Wilderness
   boundary once the addition is completed. There are no oil and gas leases in the area. There
   is a 51.65-acre block of largely inaccessible patented mining claims on the precipitous
   western ridge of Little Bear Peak for which there is no vehicular access. Is it unlikely these
   will pose a conflict with wilderness as many similarly situated inholdings have been
   acquired in wilderness areas throughout Colorado and elsewhere, and historic access has
   been by foot and horse.

   Information Resources

   Item                                           Data Source

   Roadlessness                               Colorado Roadless Rule at 36 CFR 294
                                              subpart D
                                              Forest Service inventory pursuant to FSH
                                              1909.12,chapter 70, section 71
   Naturalness; Outstanding Opportunities for Forest Service inventory pursuant to FSH
   Solitude or Unconfined Primitive           1909.12,chapter 70, section 72
   Recreation
                                              SLVEC Roadless area description 2002
                                              Colorado Fourteeners Initiative hiker use
                                              estimates, 2015
   Supplemental Values
    Cultural significance                     Rio Grande NF Assessment 12, Areas of
                                              Tribal Importance, 2015
    Connectivity                              SREP Wildlands Network 2003,
                                              Aplet et al Indicators of Wildness 2000
    Ecosystem representation                  TWS Ecosystem Representation 2016
   Manageability
    Sangre de Cristo Conservation Area        USFWS Sangre de Cristo Conservation Area
                                              Land Protection Plan, 2012




                                                                    Rvsd Plan - 00002521
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   Butterfly Creek-Miller Creek addition to Sangre de
   Cristo Wilderness

   Proposed Wilderness Designation
   Rio Grande National Forest                            4,100 acres
   Saguache Ranger District


   General Description

   The Butterfly Creek and Miller Creek additions bring the Sangre de Cristo Wilderness
   boundary to a more logical contour along the range’s lower slopes in the northern San Luis
   Valley. Large undulating alluvial fans characterize the wilderness additions, and a rare oak
   savanna ecosystem occurs across the lower slopes and riparian corridors of the two areas.
   It also includes sagebrush habitat for the only population of Gunnison sage grouse in the
   San Luis Valley.

   The additions create a continuous wilderness ecosystem transition from sagebrush, oak
   and grasslands at the foot of the range through aspen and spruce-fir forests to the crest of
   the Sangre de Cristo mountains. This is a remote and lightly visited portion of the Sangres,
   with outstanding sensation of isolation.

   Naturalness

   Butterfly Creek and Miller Creek have intact ecological processes in a setting free of
   substantially noticeable human imprints. Roads and ways are excluded from the boundary.

   Outstanding Opportunities for Solitude or Unconfined Primitive Recreation

   The draws and riparian corridors
   found within Butterfly Creek and
   Miller Creek create immediate
   opportunities to experience
   outstanding solitude and remoteness.
   For those willing to scale the steeply
   rising slopes, the elevation quickly
   establishes a strong sense of
   separation from the San Luis Valley’s
   rural landscapes and distant Highway
   285.

   Butterfly Creek and Miller Creek are
   both free of trails, but two-track
   vehicle ways provide access through
   adjacent BLM lands and terminate at




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   the area’s boundary. Visitors take advantage of the area’s remote character for high-quality,
   backcountry hunting opportunities in fall.

   Size and Roadlessness
   The proposed Butterfly Creek and Miller Creek
   wilderness additions comprise about 4,100
   acres and both share extensive boundaries
   with the adjacent Sangre de Cristo Wilderness.
   The boundary includes the now closed and
   revegetating ends of several forest roads.
   Forest Road #993 along Eaglebrook Creek does
   not exist on the ground, is marked as closed to
   motorized use, and there is no evidence that
   any motorized use has occurred on this route
   for many years (see photo). The last one-third
   mile of Forest Road #992 along Butterfly Creek
   receives no motor vehicle use after it crosses
   Butterfly Creek, and is being reclaimed by
   vegetation. The former road (#994) along
   Raspberry Creek ends on BLM land one-half
   mile below the national forest boundary.

   Supplemental Values

   The rare oak savanna at the lowest elevations of the Butterfly Creek and Miller Creek
   additions lies within the Sangres Alluvial Fan Potential Conservation Area, ranked by the
   Colorado Natural Heritage Program as High Biodiversity Significance. The Sangres Alluvial
   Fan PCA supports an excellent and large occurrence of an unusual association of Gambel's
   oak (Quercus gambelii) with needle-and-thread grass (Hesperostipa comata), the only
   documented occurrence in the world. In addition, the creeks that run through the savanna
   from the Sangre de Cristo mountains exhibit unusually high quality occurrences of riparian
   forest dominated by either aspen or oak. (CNHP PCA Report, 2015)

   The lower portion of the Butterfly Creek addition is also within the Decker Creek PCA,
   which Colorado Natural Heritage Program also ranks as High Biodiversity Significance. This
   PCA was identified for its value as sagebrush habitat for the small and only population of
   Gunnison sage grouse in the San Luis Valley. (CNHP PCA Report, 2015)

   The proposed Butterfly Creek and Miller Creek additions enhance the ecological
   effectiveness of the Sangre de Cristo Wilderness by expanding the size of the protected
   area. In these locations, the current wilderness boundary extends less than one mile down
   from the crest of the range. With the additions, the boundary would double in width and
   incorporate a more defensible topographic contour. Larger protected areas are more likely
   to provide conditions for species persistence over the long term than smaller areas. (SREP
   Wildlands Network Vision 2003; Aplet et al Indicators of Wildness 2000.)



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   Butterfly Creek and Miller Creek are particularly valuable wilderness additions for their
   contribution of Rocky Mountain Gambel Oak-Mixed Montane Shrubland to the range of
   ecological representation within Rio Grande National Forest wilderness areas. This is a
   very poorly represented ecosystem both within the Rio Grande as well as nationally.
   Wilderness designation of these two additions will bring representation of this oak savanna
   ecosystem to over 20% on the forest. (TWS ecosystem representation report, 2016)

   Manageability

   The Butterfly Creek and Miller Creek additions can be managed to preserve their
   wilderness characteristics. The additions are bounded on one side by the existing
   wilderness and on the other by undeveloped lands managed by BLM. There is one patented
   mining claim in the steep headwaters of South Rock Creek that lacks vehicle access, but the
   only two other similar inholdings in the Sangres were quickly acquired 20 years ago soon
   after wilderness designation. There are no oil and gas leases.

   Information Resources

   Item                                         Data Source

   Roadlessness                               Colorado Roadless Rule at 36 CFR 294
                                              subpart D
                                              Forest Service inventory pursuant to FSH
                                              1909.12,chapter 70, section 71
   Naturalness; Outstanding Opportunities for Forest Service inventory pursuant to FSH
   Solitude or Unconfined Primitive           1909.12,chapter 70, section 72
   Recreation
                                              USDA Forest Service, R2, Profiles of
                                              Colorado Roadless Areas 2008
                                              SLVEC Roadless area description 2002
   Supplemental Values
    High Biodiversity Significance            CNHP PCA Report 2015
    Connectivity                              SREP Wildlands Network 2003,
                                              Aplet et al Indicators of Wildness 2000
    Ecosystem representation                  TWS Ecosystem Representation 2016




                                                                  Rvsd Plan - 00002525
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                                                       Rvsd Plan - 00002526
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   Cotton Creek-Crestone addition to Sangre de Cristo
   Wilderness

   Proposed Wilderness Designation
   Rio Grande National Forest                         11,000 acres
   Saguache Ranger District


   General Description

   The proposed Cotton Creek-Crestone addition refers to approximately 11,000 acres along
   the front of the Sangre de Cristo mountains ranging over a dozen miles between Crestone
   and Valley View Hot Springs. This one or two-mile wide strip extends the wilderness
   boundary to a more obvious contour at the national forest boundary.

   This addition incorporates the lower few miles of six or seven trails leading into the
   adjacent wilderness from wilderness trailheads at the forest boundary. The addition is
   extremely rich in biodiversity, encompassing significant portions of a half-dozen
   conservation areas identified for their biodiversity value by the Colorado Natural Heritage
   Program largely because of the excellent condition and uncommon quality of the riparian
   corridors. Not surprisingly, these low elevation lands are dominated by ecosystem types
   poorly represented within existing wilderness, such as pinyon-juniper woodlands,
   montane grasslands, and ponderosa pine.

   Naturalness

   The Cotton Creek-Crestone addition
   is characterized by steep slopes and
   deep canyons with few apparent
   unnatural impacts. The riparian
   corridors in these canyons are
   almost uniformly pristine and in
   excellent ecological condition. The
   few areas with more substantial
   historic mineral prospecting impacts
   situated nearby clusters of patented
   mining claims are excluded from the
   boundary.

   Outstanding Opportunities for Solitude or Unconfined Primitive Recreation

   The Cotton Creek-Crestone addition is a region of rugged terrain, with steep
   mountainsides and plunging valley bottoms. Each of the parallel valleys is topographically
   isolated from its neighbors, and each provides an outstanding sense of remoteness and
   solitude.




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   The Cotton Creek-Crestone wilderness addition abuts a half-dozen wilderness trailheads
   along the lower flanks of the Sangre de Cristo mountains between Crestone and Valley
   View Hot Springs. The addition takes in the first mile or two of these wilderness access
   trails that include Cotton Creek, Wild Cherry Creek, Rito Alto Creek, San Isabel Creek, Major
   Creek, Garner Creek, and Hot Springs Canyon. Many of these trails lead to high alpine
   basins and lakes and find great popularity among hikers, anglers, and horsepackers
   enjoying the outstanding opportunities for primitive recreation pursuits. Most of the high
   lakes accessed by these trails contain recreational populations of Rio Grande cutthroat
   trout. The wilderness addition provides key winter range for bighorn sheep, mule deer, and
   elk and draws backcountry hunters in fall seeking an outstanding primitive hunting
   experience.

   Size and Roadlessness
   The proposed Cotton Creek-Crestone wilderness addition spans about 11,000 acres and
   shares over a dozen miles of boundary with the adjacent Sangre de Cristo Wilderness.

   Supplemental Values

   The long length of the proposed Cotton Creek-Crestone wilderness addition spans six
   Potential Conservation Areas identified by the Colorado Natural Heritage Program. Each of
   these incorporate several miles of drainages that possess uncommon riparian forest and
   streamside ecological communities in excellent condition.
       • Starting at the northernmost end of the addition, Valley View PCA is a site of High
          Biodiversity Significance that includes the slopes and stream bottom of Hot Springs
          Canyon. The site was identified because of the excellent example of bristle cone pine
          distributed throughout the canyon.
       • The Garner Creek PCA supports a dense stand of Douglas-fir with an understory of
          Rocky Mountain maple. Garner Canyon is wider than most of the other gorges
          draining the western flank of the Sangre de Cristo Mountains, and the valley bottom
          is less steep. It is of Moderate Biodiversity Significance.
       • The lower end of the Cotton Creek PCA includes a streamside community that is a
          very diverse collection of aspen, river birch, Rocky Mountain maple, Drummond's
          willow, and Woods rose. A key feature of the Cotton Creek PCA is its unusually
          healthy and large stands of river birch occurring in a high-quality montane riparian
          forest, along with adjacent foothills riparian shrubland. It ranks as a site of High
          Biodiversity Significance.
       • The addition includes the lower segment of the Wild Cherry Creek PCA, where a
          good example of a quaking aspen and red-osier dogwood community fills the
          canyon and ranks as Moderate Biodiversity Significance.
       • The upper portion of Rito Alto Bosque PCA is located within the wilderness addition
          and ranks as High Biodiversity Significance. Extensive stands of aspen/western
          birch and narrow-leaf cottonwood/western birch riparian forests line the riparian
          corridor that extends along the alluvial fan from the mouth of Rito Alto Canyon.




                                                                   Rvsd Plan - 00002528
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      •   The Dimick Gulch PCA is the highest ranked site within the wilderness addition, and
          is considered of Very High Biodiversity Significance. The entirety of this 1,747-acre
          conservation area is situated within the proposed wilderness addition. The site
          contains very uncommon narrowleaf cottonwood and Rocky Mountain juniper
          dominated riparian areas, and occurs here because of the narrow character of this
          steep-sided canyon. (CNHP PCA Report, 2015)

   Mill Creek is a seventh drainage of biodiversity significance. The lower half of the
   designated Mill Creek Research Natural Area is located within the proposed wilderness
   addition. The RNA is notable for its extensive and high quality pinyon-juniper woodlands
   on gentle alluvial fan slopes as well as adjacent steeper bedrock.

   The proposed Cotton Creek-Crestone addition enhances the ecological effectiveness of the
   Sangre de Cristo Wilderness by expanding the size of the protected area. This addition
   would create the widest portion of the entire Sangre de Cristo Wilderness, expanding the
   boundary to a full 10 miles across the range for almost the entire length of this dozen-mile
   long expansion. Larger protected areas are more likely to provide conditions for species
   persistence over the long term than smaller areas. (SREP Wildlands Network Vision 2003;
   Aplet et al Indicators of Wildness 2000.)

   As to be expected with the abundance of lower elevation slopes along the foot of the Sangre
   de Cristo mountains, the Cotton Creek-Crestone addition would significantly contribute to
   several ecosystem types most under-represented within the Rio Grande’s existing
   designated wilderness. The most substantial increases in ecological representation occur
   for Southern Rocky Mountain Montane-Subalpine Grassland, Southern Rocky Mountain
   Ponderosa Pine Woodland, and Southern Rocky Mountain Pinyon-Juniper Woodland.
   Collectively, the addition would add over 6,000 acres of these poorly represented
   ecosystem types for which less than 5% of available acreage is presently contained within
   designated wilderness. (TWS ecosystem representation report, 2016)

   Manageability

   The Cotton Creek-Crestone addition can be readily managed to preserve its wilderness
   characteristics. The additions are bounded on one side by the existing wilderness and on
   the valley side either by undeveloped lands managed by BLM or rural agricultural lands.
   The proposed boundary generally excludes the patented mining claims in North Crestone
   Creek, but does include the single isolated patented mining claims in Cedar Creek and Wild
   Cherry Creek. These inholdings lack vehicle access. The Forest Service successfully
   acquired similar inholdings after the Sangre de Cristo Wilderness was first designated
   in1993. There are no oil and gas leases.

   Information Resources

   Item                                          Data Source

   Roadlessness                                  Colorado Roadless Rule at 36 CFR 294



                                                                   Rvsd Plan - 00002529
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                                              subpart D
                                              Forest Service inventory pursuant to FSH
                                              1909.12,chapter 70, section 71
   Naturalness; Outstanding Opportunities for Forest Service inventory pursuant to FSH
   Solitude or Unconfined Primitive           1909.12,chapter 70, section 72
   Recreation
                                              USDA Forest Service, R2, Profiles of
                                              Colorado Roadless Areas 2008
                                              SLVEC Roadless area description 2002
   Supplemental Values
    High Biodiversity Significance            CNHP PCA Report 2015
    Connectivity                              SREP Wildlands Network 2003,
                                              Aplet et al Indicators of Wildness 2000
    Ecosystem representation                  TWS Ecosystem Representation 2016




                                                               Rvsd Plan - 00002530
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                                                       Rvsd Plan - 00002531
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   Kit Carson Peak addition to Sangre de Cristo
   Wilderness

   Proposed Wilderness Designation
   Rio Grande National Forest                       12,300 acres
   Saguache Ranger District


   General Description

   The proposed Kit Carson Peak wilderness addition is most renowned for the three 14,000-
   foot summits of the Kit Carson massif, including Challenger Point and Columbia Point. The
   12,300-acre addition consists entirely of that portion of the Baca Mountain Tract conveyed
   into Forest Service jurisdiction by the Great Sand Dunes National Park Act of 2000. The
   peaks form the backdrop of one of the San Luis Valley’s most photogenic settings as the
   towering crest at the heart of the Sangre de Cristos.

   As this was previously part of a private ranch for the prior hundred years, there are no
   formal forest recreation trails, though the summits of the peaks draw numerous
   mountaineers. This isolation has helped preserve an area of remarkable biological
   significance, with the four major drainages all encompassed by one of a half-dozen
   conservation areas identified for their biodiversity value by the Colorado Natural Heritage
   Program. Each stream corridor has an excellent condition narrowleaf cottonwood-Rocky
   Mountain juniper montane riparian forest. A designated Research Natural Area is located
   immediately adjacent within the existing wilderness.




                                                                      Photo USDA Forest Service


   Naturalness

   The proposed Kit Carson Peak wilderness addition has been isolated and largely
   inaccessible to most development activities owing to its private status. The area is
   characterized by the steep western slopes of the Sangre de Cristo mountains and deep



                                                                   Rvsd Plan - 00002532
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   canyons with few apparent unnatural impacts. The riparian corridors in these valleys are
   almost uniformly pristine and in excellent ecological condition. The southern end of the
   area with impacts associated with historic mining activity around Liberty and Duncan is
   cherry-stemmed out of the proposed wilderness boundary.

   Outstanding Opportunities for Solitude or Unconfined Primitive Recreation

   The Kit Carson Peak proposed wilderness addition consists of the rugged west slope of the
   Sangre de Cristo range south of Crestone. The fault block uplift creates a region of craggy
   terrain, with steep mountainsides and plunging valley bottoms. The area includes several
   parallel valleys, each topographically isolated from its neighbors, and each provides an
   outstanding sense of remoteness and solitude.

   The Kit Carson Peak addition has no designated national forest system trails owing to its
   prior status as part of a private ranch, and thus receives significantly less use than other
   valleys on the western slope of the Sangres. The Baca Grande subdivision blocks public
   access from the west, but there are informal routes along several of the valleys, including
   Cottonwood, Spanish, and Deadman creeks. These routes provide some of the most
   challenging primitive recreation opportunities for hikers and backpackers in the Sangre de
   Cristo mountains. Lower Deadman Creek does have public access from the Liberty Road
   and provides outstanding opportunities for equestrians as well as hikers and backpackers.
   A substantial number of mountaineers climb the collection of fourteeners as part of the Kit
   Carson Peak massif, and while the summits are within the wilderness addition in its far
   northeast corner, the hiking access routes to the summits such as along Willow Creek are
   located in the existing wilderness. (Baca Mountain Tract EA, 2009)

   Size and Roadlessness
   The proposed Kit Carson Peak wilderness addition is about 12,300 acres in size, and is
   bounded on the north and east by the adjacent Sangre de Cristo Wilderness.

   Supplemental Values

   The proposed Kit Carson Peak wilderness addition spans six Potential Conservation Areas
   identified by the Colorado Natural Heritage Program. These encompass each of the primary
   drainages that flow west off the crest of the Sangres - Willow Creek, Spanish Creek,
   Cottonwood Creek, and Deadman Creek. As with the drainages farther north of Crestone,
   the biodiversity values are associated with healthy riparian corridors.
       • The upper portion of the Willow Creek-Western Sangres PCA in Copper Gulch is
           located within the proposed wilderness addition. The PCA is ranked as High
           Biodiversity Significance, but primarily for a narrowleaf cottonwood-Rocky
           Mountain juniper woodland at the lowest elevations below the proposed
           wilderness. At the elevation of subalpine forest within the potential wilderness unit,
           the riparian corridor is a mixed conifer and deciduous forest and shrubland that
           includes Douglas-fir, white fir, blue spruce, Engelmann spruce, aspen, Rocky
           Mountain maple, and mountain spray.



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      •   The Head of Spanish Creek PCA site encompasses the ridge and south-facing open
          slopes above Spanish Creek and below Challenger Point, and is entirely within the
          proposed wilderness. This 110-acre site is ranked as High Biodiversity Significance
          for a globally rare mustard species.
      •   The entire length of the Spanish Creek drainage comprises the Spanish Creek PCA,
          most of which is located within the proposed wilderness. This is a site of Very High
          Biodiversity Significance owing to its narrowleaf cottonwood-Rocky Mountain
          juniper montane riparian forest. The upstream watershed is included within the site
          boundary to protect the floodplain and the sources of both surface and groundwater
          recharge and flow, which are responsible for supplying water to the riparian plant
          community.
      •   Cottonwood Creek-Western Sangres is another PCA of Very High Biodiversity
          Significance, also for its globally imperiled narrowleaf cottonwood-Rocky Mountain
          juniper montane riparian forest. In addition, the site includes a Douglas fir-water
          birch community, which is considered globally rare. As with Spanish Creek, the
          majority of the PCA is within the proposed wilderness, and the upstream watershed
          is included to protect water sources.
      •   The central portion of the Deadman Creek-Western Sangres PCA is located within
          the proposed wilderness. Deadman Creek is ranked as Very High Biodiversity
          Significance owing to the state’s exemplary and largest occurrence of narrowleaf
          cottonwood-Rocky Mountain juniper montane riparian forest. The PCA also
          includes an excellent example of aspen-Rocky Mountain maple, a breeding colony of
          the pale lump-nosed bat and a hybridized Rio Grande cutthroat trout population.
      •   Cedar Canyon is another PCA with a quality example of narrowleaf cottonwood-
          Rocky Mountain juniper montane riparian forest. It is also ranked Very High
          Biodiversity Significance. The creek is a clear stream that runs over the alluvial fan
          at the canyon’s mouth. (CNHP PCA Report, 2015)

   Immediately upstream on Deadman Creek is a designated Research Natural Area. The RNA
   was designated for its good representation of aspen over a wide range of elevations, slopes,
   and aspects. The RNA includes the riparian corridor and source water for the downstream
   CNHP Potential Conservation Area.

   The higher elevations of the proposed wilderness are bighorn sheep habitat, which is
   relatively uncommon on the Rio Grande National Forest. Bighorn sheep habitat comprises
   about one-half of the proposed wilderness addition.

   The proposed Kit Carson Peak addition enhances the ecological effectiveness of the Sangre
   de Cristo Wilderness by expanding the size of the protected area. This addition would
   complete the wilderness boundary and eliminate the unnatural 90-degree corner boundary
   of the existing wilderness that is a relic of the Baca Grant. The addition would also take this
   portion of the Sangre de Cristo Wilderness to a width of eight miles or more. Larger
   protected areas are more likely to provide conditions for species persistence over the long
   term than smaller areas. (SREP Wildlands Network Vision 2003; Aplet et al Indicators of
   Wildness 2000.)




                                                                     Rvsd Plan - 00002534
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   The area’s prevalence of lower elevation slopes along the foot of the Sangre de Cristo
   mountains means the Kit Carson Peak addition would greatly expand several ecosystem
   types most under-represented within the Rio Grande’s existing designated wilderness.
   Substantial increases would occur in ecological representation for Southern Rocky
   Mountain Montane-Subalpine Grassland, Southern Rocky Mountain Ponderosa Pine
   Woodland, and Southern Rocky Mountain Pinyon-Juniper Woodland. Collectively, the
   addition would add over 5,000 acres of these poorly represented ecosystem types for
   which less than 5% of available acreage is presently contained within designated
   wilderness. (TWS ecosystem representation report, 2016)

   Manageability

   The Kit Carson Peak addition is comprised of remote, steep, and largely inaccessible
   western slopes of the Sangre de Cristos. The topography creates impediments to
   incompatible activities, and allows managers to preserve its wilderness characteristics. The
   area is bounded on north and east by the existing wilderness and on the valley side by
   Great Sand Dunes National Park and by the agricultural-zoned open space component of
   the Baca Grande.

   The mineral estate beneath the wilderness addition is privately held. A Mineral
   Assessment Report completed in 2011 concluded slight likelihood of development of
   metallic minerals beneath the proposed wilderness, although there could be high potential
   for occurrence of gold, silver or other metallic minerals. The low prospect of development
   is predicated on several factors - lack of mining infrastructure, societal resistance as per
   experience from other large mining operations around the San Luis Valley, and likely
   removal of high-grade deposits by historic mining operations. Although the current mineral
   owner drilled several prospecting holes in the early 1990s, there has not been any viable
   commercial mineral extraction from the Sangre de Cristos since the 1930s. (Rare Earth
   Science Mineral Assessment Report, 2011)

   The National Park Service identified 53,000 acres of adjacent lands as wilderness eligible in
   Great Sand Dunes National Park with the identical split-estate mineral ownership as the Kit
   Carson Peak unit. The National Park Service concluded likelihood of mineral extraction was
   low, and combined with the expected eventual acquisition of the mineral interests, NPS
   determined its lands wilderness-eligible and formally recommended its lands overlying the
   private mineral estate for wilderness designation. The NPS recommended wilderness is
   directly adjacent to the Kit Carson Peak unit south of the Liberty Road. If the Forest Service
   declines to pursue wilderness designation for the Kit Carson Peak area, it will still be
   surrounded on three sides by designated and recommended wilderness. (Great Sand Dunes
   NP GMP/Wilderness Study, 2007)

   The Great Sand Dunes National Park Act of 2000 authorized the acquisition of lands and
   interests therein, such as mineral rights, and transfer to the appropriate agency jurisdiction
   for management. The Forest Service has the authority, as does the National Park Service, to
   pursue future acquisition of the split-estate minerals in proposed or potential wilderness.



                                                                    Rvsd Plan - 00002535
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   Information Resources

   Item                                         Data Source

   Roadlessness                                 Colorado Roadless Rule at 36 CFR xx
                                                Forest Service inventory pursuant to FSH
                                                1909.12,chapter 70, section 71
   Naturalness; Outstanding Opportunities for   Forest Service inventory pursuant to FSH
   Solitude or Unconfined Primitive             1909.12,chapter 70, section 72
   Recreation
                                                USDA Forest Service, R2, Profiles of
                                                Colorado Roadless Areas 2008
                                                SLVEC Roadless area description 2002
   Supplemental Values
    High Biodiversity Significance              CNHP PCA Report 2015
    Connectivity                                SREP Wildlands Network 2003,
                                                Aplet et al Indicators of Wildness 2000
   Ecosystem representation                     TWS Ecosystem Representation 2016
   Manageability
    Mineral Assessment Report                   Rare Earth Science, 2011
    NPS Wilderness Recommendation               Great Sand Dunes NP General Management
                                                Plan/Wilderness Study, 2007
    Wilderness eligibility analysis             Baca Mountain Tract EA, 2009




                                                                  Rvsd Plan - 00002536
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                                     Kit Carson Peak addition Sangres
                                   Recommended Wilderness Boundary




                                                                               Challenger Point

                                                                           Kit Carson Mountain




                                                                                                                         Lexes _
                                                                                                             Lake
                                                                                                                         Crestone
                                                                                                                         Broken Hand Peak
                                                                                                                                   Milwaukee Peal
                                                                                                                                Pico Aislado




                                                                       Kit Carson                      Sangre de Cristo
                                                                          Peak                            Wilderness
                                                                        addition
                                                                        Sangres




                                                                                                                                        Lakes

                                                                                                                                    Cleveland




                                                                                                                          Sangre de CristC
                                                                                                                              Wilderness




                                                              Summit                                                            USFS
                      ROCKY MOUNTAIN WILD                     RGNF District------- Stream/River                                 BLM
                   Data Sources: BLM, CDOT, SRCA,             City                    Recommended Wilderness                    NPS
                   USFS, USGS, wilderne&s.net                 Major Road       IB Designated Wilderness                         State
                   Map Prepared By: Alison Gallonsky
                                                       ------- USFS Road              Roadless Land in Adjacent Forest          Other Public
                   Rocky Mountain Wild
                   9/3/2015 16-112 v7    _____                USFS Trail
                                         0                1                    2 Miles




                                                                                                   Rvsd Plan - 00002537
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   Sawlog recommended wilderness

   Proposed Wilderness Designation
   Rio Grande National Forest                       17,900 acres
   Saguache Ranger District


   General Description

   The proposed Sawlog wilderness generally encompasses the watershed of the North Fork
   of Carnero Creek, northwest of La Garita. It extends from the foothills of the San Luis Valley
   to 10,849-foot Storm King Mountain, spanning ecosystems ranging from grasslands and
   ponderosa pine woodlands at the lowest elevations to aspen and spruce-fir at highest
   elevations.

   The North Fork of Carnero Creek is a stronghold for Rio Grande cutthroat trout and its
   headwaters have been identified as one of the premier wetland complexes on the Rio
   Grande National Forest. Sawlog provides important big game habitat year-round for elk,
   deer, and bighorn sheep, and offers excellent backcountry hunting for those willing to
   invest the effort.

   Naturalness

   The proposed Sawlog wilderness
   includes areas with prior two-track
   vehicle routes made by hunters and
   wood gatherers that have since been
   closed and rehabilitated. The
   boundary is drawn to exclude exterior
   roads and timber harvest areas.

   Outstanding Opportunities for Solitude
   or Unconfined Primitive Recreation
   The valley of the North Fork of
   Carnero Creek and its tributary creeks
   are isolated by rugged surrounding ridges, creating outstanding opportunities for solitude.
   The area lacks a well-developed trail system other than the non-motorized trail along the
   North Fork, a factor that enhances opportunities for solitude in tributaries including
   Sawlog Creek and Poison Gulch.
   Sawlog provides abundant, quality opportunities for primitive backcountry hunting and
   fishing. The areas of Sawlog Creek and the North Fork of Carnero Creek provide important
   production habitat for the local bighorn sheep herd. Elk and deer winter on the southern
   aspects and will move up and down in elevations depending on the winter and are often




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   discovered during the remainder of the year. The prime habitat draws hunters seeking a
   more remote and challenging hunting opportunity during fall months.
   Size and Roadlessness
   The proposed Sawlog wilderness is ample size at 17,900 acres. It is bounded on the east
   and south by the national forest boundary and adjacent BLM lands for the most part. The
   western boundary is well-delineated by County Road 41G along Carnero Creek’s Middle
   Fork, and the northern boundary is defined by Forest system roads and past areas of
   timber harvest.

   Supplemental Values

   The proposed Sawlog wilderness includes a portion of the Carnero Creek Potential
   Conservation Area identified by the Colorado Natural Heritage Program. Carnero Creek is
   ranked as High Biodiversity Significance owing to its bristlecone pine woodland, a montane
   grassland, and a Rio Grande cutthroat trout population, all of which are state rare. This
   population of Rio Grande cutthroat progresses in quality as one continues up the stream.
   (CNHP PCA Report for Saguache Creek, 2015).

   The North Fork of Carnero Creek hosts a high purity, core conservation population for Rio
   Grande cutthroat trout. (Conservation Plan for Rio Grande Cutthroat Trout in Colorado,
   CDOW, 2004)

   The proposed Sawlog wilderness addition greatly increases the ecological representation
   within Rio Grande National Forest wilderness areas of several of the most under­
   represented ecosystem types on the forest. Sawlog includes thousands of acres of Southern
   Rocky Mountain Montane-Subalpine Grassland, Southern Rocky Mountain Ponderosa Pine
   Woodland, and Southern Rocky Mountain Pinyon-Juniper Woodland - all ecosystem types
   currently with less than 5% representation of the overall ecosystem acreage on the forest.
   (TWS ecosystem representation report, 2016)

   Manageability

   The proposed Sawlog wilderness is manageable as wilderness. The area is bounded on two
   sides by adjacent unroaded BLM lands. The western boundary is well-defined by County
   Road 41G and the steep slopes of Storm King Mountain. Forest system roads and past
   timber management areas define the northern boundary. There is just one trail within the
   area, the non-motorized trail along the North Fork of Carnero Creek. One 160-acre private
   inholding exists in the center of the area, but there is presently no motorized access to it.
   There are no oil and gas leases.




                                                                    Rvsd Plan - 00002539
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   Information Resources

   Item                                       Data Source

   Roadlessness                               Colorado Roadless Rule at 36 CFR 294
                                              subpart D
                                              Forest Service inventory pursuant to FSH
                                              1909.12,chapter 70, section 71
   Naturalness; Outstanding Opportunities for Forest Service inventory pursuant to FSH
   Solitude or Unconfined Primitive           1909.12,chapter 70, section 72
   Recreation
                                              USDA Forest Service, R2, Profiles of
                                              Colorado Roadless Areas 2008
                                              SLVEC Roadless area description 2002
   Supplemental Values
    High Biodiversity Significance            CNHP PCA Reports 2015
    Rio Grande Cutthroat Trout                Conservation Plan for the Rio Grande
                                              Cutthroat Trout in Colorado. Colorado
                                              Division of Wildlife; CNHP PCA Report 2015
    Connectivity                              SREP Wildlands Network 2003,
                                              Aplet et al Indicators of Wildness 2000
    Ecosystem Representation                  TWS Ecosystem Representation 2016




                                                               Rvsd Plan - 00002540
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                                                       Rvsd Plan - 00002541
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   Snowshoe Mountain addition to Weminuche
   Wilderness

   Proposed Wilderness Designation
   Rio Grande National Forest                      34,300 acres
   Divide Ranger District


   General Description

   Snowshoe Mountain is the largest roadless area adjacent to the Weminuche Wilderness.
   Moderate to steep forested slopes rise out of the Rio Grande valley immediately south of
   Creede, with the mountain bisected by the long undeveloped watershed of Deep Creek. The
   proposed wilderness addition is split into two units along the Deep Creek trail in order to
   accommodate mountain bike use of the trail.

   This large forested extension north of the Weminuche comprises important and highly
   utilized habitat for lynx. Snowshoe Mountain also provides valuable habitat for big game
   and outstanding backcountry recreation opportunities at Creede’s doorstep. The mountain
   offers intriguing geologic interest as a resurgent dome within the Creede caldera bisected
   by conspicuous graben faults.

   Naturalness

   Snowshoe Mountain is a
   compact oval-shaped unit
   nearly 9 miles across. The Lime
   Creek Road (FDR #528)
   accesses areas previously
   managed for timber harvest at
   the southern end of the area,
   but the road and past timber
   management areas are
   excluded from the proposed
   wilderness addition. The area
   is free of noticeable human
   improvements and possesses
   ecologically intact forest and
   grassland ecosystems.

   Outstanding Opportunities for Solitude or Unconfined Primitive Recreation
   Snowshoe Mountain consists of steeply forested slopes looming over the Rio Grande valley.
   The area’s size and forbidding slopes create ideal opportunities for outstanding solitude.




                                                                   Rvsd Plan - 00002542
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   This large area is bisected by a non-motorized trail along Deep Creek. The Deep Creek Trail
   is easily accessible from Creede and is popular among hikers, anglers, and horse users. It
   offers an easy gradient for recreationists to quickly penetrate the area’s remote interior. A
   second trail atop the mountain descends to a dead-end at private property on Pierce Creek.
   This trail provides access to a very remote and lightly visited portion of the area. Both trails
   provide access to outstanding opportunities for primitive and unconfined recreation.

   Size and Roadlessness

   The proposed Snowshoe Mountain wilderness addition contains 34,300 acres. It is
   bounded on the north, west and east by the private lands of the Rio Grande valley. The area
   is split into two units by the Deep Creek Trail. The Lime Creek Road and associated past
   timber harvest areas define the remainder of the boundary. The area connects at the south
   to the adjacent Weminuche Wilderness across a two-mile wide neck of forest and ridges.

   Supplemental Values

   The existence of highly utilized, high-quality lynx habitat comprises a significant
   supplement wilderness value for Snowshoe Mountain. Important habitat for western
   boreal toad occurs at the southern end of the area.

   Snowshoe Mountain provides geologic features of interest. The mountain is a resurgent
   volcanic dome formed in the Creede caldera, and the Deep Creek graben is conspicuous at
   the mountain’s crest. (USGS pamphlet Central San Juan Caldera Cluster, 2006)

   Snowshoe Mountain includes the entirety of the 417-acre Deep Creek Uplands West PCA,
   which is a Potential Conservation Area ranked as Very High Biodiversity Significance. This
   PCA includes one of the best known populations of Smith whitlow-grass, a Colorado
   endemic and globally imperiled species, as well as a population of globally imperiled black
   canyon gilia. Snowshoe Mountain includes a portion of the 3,346-acre Spar City Potential
   Conservation Area identified by the Colorado Natural Heritage Program. Spar City PCA is
   ranked as Moderate Biodiversity Significance owing to its large and excellent quality
   occurrence of a state rare bristlecone pine/Thurber fescue (Pinus aristata/Festuca
   thurberi) montane woodland, a plant association limited to the southern Rocky Mountain
   ecoregion. (CNHP PCA Report, 2015).

   Snowshoe Mountain enhances the ecological effectiveness of the Weminuche Wilderness
   by expanding the size of the protected area by over 30,000 acres. Larger protected areas
   are more likely to provide conditions for species persistence over the long term than
   smaller areas. (SREP Wildlands Network Vision 2003; Aplet et al Indicators of Wildness
   2000.)

   Snowshoe Mountain contributes thousands of acres of one of the most under-represented
   ecosystem types among existing wilderness areas on the Rio Grande National Forest. By
   protecting this area, the Rio Grande NF can significantly increase the ecological




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   representation within its wilderness areas of Southern Rocky Mountain Montane-
   Subalpine Grassland. (TWS ecosystem representation report, 2016)

   Manageability

   Snowshoe Mountain is readily manageable as wilderness owing to its compact
   configuration. The mountain rises steeply from the surrounding valley floor on the north
   and east, which offers an imposing topographic delineation. The proposed wilderness
   addition excludes the Deep Creek Trail in order to avoid conflicts with mountain biking.
   Identified areas of potential snowmobiling interest in the Seven Parks are excluded along
   the southern boundary. The area has no geologic potential for oil and gas resources, and
   there are no oil and gas leases or non-federal inholdings within the area. Portions of
   Snowshoe Mountain are within a Wildland Urban Interface area along the national forest
   boundary at Kid Peak Estates and at Wagon Wheel Gap identified within the Mineral
   County Community Wildfire Protection Plan. These can be buffered out of the wilderness
   boundary if determined necessary.

   Information Resources

   Item                                         Data Source

   Roadlessness                               Colorado Roadless Rule at 36 CFR 294
                                              subpart D
                                              Forest Service inventory pursuant to FSH
                                              1909.12,chapter 70, section 71
   Naturalness; Outstanding Opportunities for Forest Service inventory pursuant to FSH
   Solitude or Unconfined Primitive           1909.12,chapter 70, section 72
   Recreation
                                              USDA Forest Service, R2, Profiles of
                                              Colorado Roadless Areas 2008
                                              SLVEC Roadless area description 2002
   Supplemental Values
    High Biodiversity Significance            CNHP PCA Reports 2015
    Geologic                                  USGS pamphlet Central San Juan Caldera
                                              Cluster, 2006
    Connectivity                              SREP Wildlands Network 2003,
                                              Aplet et al Indicators of Wildness 2000
    Ecosystem representation                  TWS Ecosystem Representation 2016




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                                          Snowshoe West
                                   Recommended Wilderness Boundary




                                                       Legend
                           GO©
                      ROCKY MOUNTAIN WILD
                                                            Summit
                                                                                                                   Land Ownership
                                                                                                                        USFS
                                                            RGNF District------- Stream/River                           BLM
                   Data Sources: BLM, CDOT, SRCA,           City                Recommended Wilderness             !   : NFS
                   USFS, USGS, w1lderness.net               Major Road     HI Designated Wilderness                m State
                   Map Prepared By: Alison Gallensky
                                                       ------- USFS Road        Roadless Land in Adjacent Forest   Ml Other Public
                   Rocky Mountain Wild
                   9/3/2015 16-112 v7                       USFS Trail                                             1^^ Private/Tribe
                                         0                                     2 Miles




                                                                                                Rvsd Plan - 00002546
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   Adams Fork - Three Forks Addition to South San Juan
   Wilderness

   Proposed Wilderness Designation
   Rio Grande National Forest                            2,700 acres
   Conejos Peak Ranger District


   General Description

   The proposed Adams Fork-Three Forks addition to the South San Juan Wilderness consists
   of the slopes surrounding the Three Forks and Adams Fork trailheads at the headwaters of
   the Conejos River above Platoro Reservoir. The addition incorporates the lowest mile of the
   Adams Fork trail into the adjacent wilderness and encompasses steep and forested slopes
   of the Conejos River valley. This addition enhances wilderness protection for the area
   surrounding these two wilderness trailheads that are popular with anglers, hikers,
   backpackers and horse users. The additions are part of two larger Colorado Roadless Areas,
   Gold Creek-Cascade Creek and Tobacco Lakes.

   Naturalness

   The proposed Adams Fork-Three Forks wilderness addition is affected primarily by the
   forces of nature. Much of the unit’s mature spruce has succumbed to beetles, similar to
   surrounding forests. The Adams Fork component consists of the lower mile of the Adams
   Fork creek corridor. The Three Forks portion includes the steep, forested slopes rising to
   hanging glacial valleys looming over the Conejos River valley. Topography excludes roads
   or any other management activities.

   Outstanding Opportunities for Solitude or Unconfined Primitive Recreation
   The Adams Fork is a deep, forested
   stream corridor where visitors
   immediately encounter a sense of
   remoteness and solitude upon
   departing the trailhead. The steep
   slopes of the Three Forks
   component is free of trails and
   consequently receives little to no
   recreational use, but from the
   highest points above the Conejos
   River valley visitors experience an
   enhanced sense of solitude owing
   to the separation from the valley
   floor and expansive vistas.




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   The Adams Fork trail provides outstanding opportunities for primitive and unconfined
   recreation in the form of wilderness-related activities such as hiking, backpacking,
   horsepacking, angling, and backcountry hunting. The Three Forks addition enhances the
   primitive recreation experience by ensuring protection of the wilderness qualities of the
   landscape that envelops the Three Forks wilderness trailhead. Both trailheads are easily
   accessed from Platoro Reservoir.

   Size and Roadlessness
   The Adams Fork-Three Fork wilderness addition is 2,700 acres and is adjacent to the
   existing South San Juan wilderness to the west and south. The wilderness addition
   surrounds forest road #247 and effectively creates a short cherry-stem along the road to
   the Three Forks trailhead.

   Supplemental Values

   The Adams Fork addition is a documented high use area for lynx and was part of one of the
   initial core areas lynx established after reintroduction. The steep north-facing slopes and
   drainages of the Adams Fork-Three Forks addition potentially support lynx reproduction
   and serve as hunting territory. (USDA Forest Service, R2, Profiles of Colorado Roadless
   Areas, 2008)

   The Adams Fork addition includes a portion of the Adams Fork of the Conejos River
   Potential Conservation Area identified by the Colorado Natural Heritage Program. The PCA
   is drawn to include the riparian habitat necessary to support the Rio Grande cutthroat
   trout, and the PCA is ranked as High Biodiversity Significance. The Adams Fork supports a
   recreation population of Rio Grande cutthroat trout. (Conservation Plan for Rio Grande
   Cutthroat Trout in Colorado, CDOW, 2004; CNHP PCA Report, 2015)

   The proposed Adams Fork-Three Forks wilderness addition enhances the ecological
   effectiveness of the South San Juan Wilderness by expanding the size of the protected area.
   Larger protected areas are more likely to provide conditions for species persistence over
   the long term than smaller areas. (SREP Wildlands Network Vision 2003; Aplet et al
   Indicators of Wildness 2000.)

   Manageability

   The Adams Fork-Three Forks unit adds areas with easily distinguishable boundaries to the
   adjacent South San Juan Wilderness. The Adams Fork portion extends the existing
   wilderness boundary about one mile downstream to a new boundary along forest road
   #247 and effectively results in the entirety of the Adams Fork drainage being included
   within the wilderness boundary. The Three Forks component lies east of the Conejos River
   and its steep slopes provide a topographic barrier to incompatible uses. There are no oil
   and gas leases and no non-federal inholdings within the area.




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   Information Resources

   Item                                       Data Source

   Roadlessness                               Colorado Roadless Rule at 36 CFR 294
                                              subpart D
                                              Forest Service inventory pursuant to FSH
                                              1909.12,chapter 70, section 71
   Naturalness; Outstanding Opportunities for Forest Service inventory pursuant to FSH
   Solitude or Unconfined Primitive           1909.12,chapter 70, section 72
   Recreation
                                              USDA Forest Service, R2, Profiles of
                                              Colorado Roadless Areas 2008
                                              SLVEC Roadless area description 2002
   Supplemental Values
    High Biodiversity Significance            CNHP PCA Reports 2015
    Rio Grande Cutthroat Trout                Conservation Plan for the Rio Grande
                                              Cutthroat Trout in Colorado. Colorado
                                              Division of Wildlife; CNHP PCA Report 2015
    Connectivity                              SREP Wildlands Network 2003,
                                              Aplet et al Indicators of Wildness 2000
    Ecosystem Representation                  TWS Ecosystem Representation 2016




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   Elk Creek addition to South San Juans Wilderness

   Proposed Wilderness Designation
   Rio Grande National Forest                       3,200 acres
   Conejos Peak Ranger District


   General Description

   The proposed Elk Creek addition to the South San Juan Wilderness adds the lower four
   miles of the stream valley to the wilderness. The lowermost elevations of Elk Creek at less
   than 9,000 feet include impressive stands of several-hundred-year-old ponderosa pines,
   many of which display old-growth characteristics. The low-elevation ponderosa pine­
   grassland ecosystem adds substantial diversity to the existing wilderness, and the majestic
   trees offer an appealing contrast to the generally subalpine and alpine character of the
   wilderness.

   Elk Creek is a large tributary of the Conejos River and drains the southern quadrant of the
   wilderness. The Elk Creek trail is a gentle gradient along a clear tumbling stream that
   provides a popular wilderness access point for hikers, anglers, and horse users. The
   proposed wilderness addition creates a topographically defined boundary that
   incorporates the entirety of the stream valley into the wilderness, as opposed to only a
   portion of the south half as is currently within the wilderness.

   Naturalness

   The Elk Creek addition to the South
   San Juans is a smaller subset of the
   Cumbres roadless area. The addition
   is entirely natural with no evidence
   of past management activities. The
   unit’s ponderosa pine-grasslands are
   a particularly good example of a pine
   forest in the condition expected
   from a natural fire regime. Other
   portions of the Cumbres roadless
   area that might display more
   evidence of noticeable human
   activities are excluded from the
   proposed wilderness addition.

   Outstanding Opportunities for Solitude or Unconfined Primitive Recreation
   The Elk Creek watershed is a premier destination within the existing South San Juan
   Wilderness owing to its outstanding opportunities for solitude. The lower Elk Creek
   addition contributes to that through its topographic isolation as it carves a deep and



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   narrow valley downstream of the existing wilderness boundary. Soon after departing the
   Elk Creek trailhead, visitors round into the valley’s secluded confines and immediately
   leave behind civilization’s hustle and bustle.
   The non-motorized Elk Creek trail traverses the length of the proposed wilderness addition
   to the wilderness boundary approximately four miles distant from the trailhead. Elk Creek
   is an easily accessible and popular wilderness access point for both hikers and horse users.
   Many day-hikers and overnight backpackers enjoy outstanding opportunities for fishing,
   photography, and wildlife viewing. Horsepackers share the trail and similarly enjoy access
   to the longest wilderness valley in the South San Juans. The area provides excellent habitat
   for elk and mule deer, which in turns leads to high-quality backcountry hunting
   opportunities in the fall.
   Size and Roadlessness

   The proposed Elk Creek addition to the South San Juan Wilderness consists of 3,200 acres
   adjacent to the existing wilderness. Elk Creek is bounded on the west by the wilderness
   boundary, and significant topographic features in the form of cliff rims and precipitous
   ridge tops create boundaries to the north and south.

   Supplemental Values

   Adding lower Elk Creek to the wilderness notably expands the range of ecosystems present
   within the existing wilderness because of the presence of uncommon stands of robust
   ponderosa pine at its lower end. These classic stands of stately ponderosa pine intermixed
   with park-like grasslands create a welcome entrance to the wilderness. This is an
   ecosystem type noticeably absent within the existing wilderness on the Rio Grande
   National Forest. (TWS ecosystem representation report, 2016)

   The proposed Elk Creek addition enhances the ecological effectiveness of the South San
   Juan Wilderness by expanding the size of the protected area. Larger protected areas are
   more likely to provide conditions for species persistence over the long term than smaller
   areas. (SREP Wildlands Network Vision 2003; Aplet et al Indicators of Wildness 2000.)

   Manageability

   The Elk Creek addition is readily manageable as wilderness and significantly enhances the
   existing wilderness boundary by bringing the entirety of the Elk Creek valley into the
   wilderness as compared to the current boundary that protects only the southern half of the
   valley. The significant topographic barriers of the proposed addition separate the addition
   from influences on adjacent national forest lands. There are no oil and gas leases or non-
   federal inholdings.




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   Information Resources

   Item                                       Data Source

   Roadlessness                               Colorado Roadless Rule at 36 CFR 294
                                              subpart D
                                              Forest Service inventory pursuant to FSH
                                              1909.12,chapter 70, section 71
   Naturalness; Outstanding Opportunities for Forest Service inventory pursuant to FSH
   Solitude or Unconfined Primitive           1909.12,chapter 70, section 72
   Recreation
                                              USDA Forest Service, R2, Profiles of
                                              Colorado Roadless Areas 2008
                                              SLVEC Roadless area description 2002
   Supplemental Values
    Connectivity                              SREP Wildlands Network 2003,
                                              Aplet et al Indicators of Wildness 2000
    Ecosystem representation                  TWS Ecosystem Representation 2016




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                                    Elk Creek addition South San Juan
                                   Recommended Wilderness Boundary




                                                     Legend
                           ooe
                      ROCKY MOUNTAIN WILD
                                                        A Summit              Lake/Pond
                                                                                                               Land Ownership
                                                                                                                     USFS
                                                    \     RGNF District------- Stream/River                          BLM
                                                    L     ^Citv                Recommended Wilderness
                   Data Sources: BLM, CDOT, SRCA,                                                              I .   INPS
                   USFS, USGS, wilderness.net                Major Road   HI Designated Wilderness             m State
                   MSP Prepared By: Alison Gallensky--------
                                                                                                               IH Other Public
                   Rocky Mountain Wild
                   9/3/2015 16-112 v7                                                                          1^^ Private/Tribe
                                                                                                     2 Miles




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   August 1,2011




   Christine Canaly
   San Luis Valley Ecosystem Council
   Post Office Box 223
   Alamosa, Colorado 81101


   Re: Mineral Assessment Report
       Luis Maria Baca Grant No. 4 Property - Saguache County, Colorado


   Dear Christine:

   Rare Earth Science, LLC (Rare Earth) has completed this Mineral Assessment Report (MAR)
   for the Luis Maria Baca Grant No. 4 (Baca Grant) property located in southeast Saguache
   County. The purpose of the MAR was to evaluate the mineral-resource and mineral­
   development potential in those areas of the Baca Grant, and adjoining lands, where Lexam
   Explorations (USA) Inc. (also known as Lexam VG Gold Inc. [hereafter, “Lexam”]) holds the
   subsurface mineral rights.

   1. Project Overview

   The MAR project included a review of documented historical, or currently-permitted and active,
   mineral mining or drilling operations in Baca Grant vicinity. A general location map for the study
   area is attached as Figure 1. For this project, Rare Earth reviewed a variety of published
   geologic, mining and economic mineral-resource data. Available maps, mining-related permit
   files, and scientific literature were acquired from sources that include the U.S. Geological
   Survey (USGS); Bureau of Land Management (BLM); U.S. Forest Service (USFS); U.S. Fish &
   Wildlife Service (USFWS); National Park Service (NPS); Colorado Division of Reclamation,
   Mining and Safety (DRMS); Colorado Geological Survey (CGS); Colorado Oil & Gas
   Conservation Commission (COGCC); San Luis Valley Ecosystem Council and their associates;
   and Alamosa & Saguache Counties.

   This report presents a brief description of the Baca Grant and the local geology, a review of
   various economic mineral resources (categorized separately as locatable, leasable and saleable
   minerals), along with a summary of our findings. Rare Earth did not perform a detailed review of
   land-ownership records or title information for any of the study area; nor was site
   reconnaissance performed, or sampling & analysis of geologic materials. This MAR is in no way
   intended to be a mineral appraisal or mineral-examination report. Nor is this report considered
   to be an opinion on mineral title, mineral valuation or mining-claim validity; or a quantitative
   analysis of actual mineral resources and/or reserves.


           PO Box 4523 | Grand JuncTion, Colorado 81502-4523 | 970.241.1762 | jiM@RaReeaRThscieNce.coM

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   2. Site Location & Description

   The attached Figures 1 & 2 show the boundaries of the Baca Grant, which encompass
   approximately 100,000 acres (12.5 square miles) in all, or portions of, Townships 41 to 43 North
   and Ranges 10 to 12 East (New Mexico Principal Meridian). Surface ownership and
   administration of the Baca Grant includes NPS (Great Sand Dunes National Park), USFWS
   (Baca National Wildlife Refuge [NWR]), Rio Grande National Forest, and numerous private
   landowners in the Baca Grande Subdivision adjacent to the town of Crestone.

   The Baca Grant is located about 25 miles north-northeast of the City of Alamosa and 4 miles
   east of Colorado State Highway 17. Adjoining lands to the south-southeast are administered by
   the NPS, by the USFWS to the south and west, and by the Rio Grande National Forest to the
   north and east. Smaller tracts of privately-owned land also adjoin the Baca Grant in all
   directions. The terrain is quite varied and encompasses part of the level San Luis Valley floor,
   upslope over the mountain front and to the crest of the Sangre de Cristo Range.

   USGS topographic maps show the ground surface elevation ranging from a low point of
   approximately 7,500 feet above mean sea level along the west boundary, to a high point of
   more than 14,000 feet near the northeast corner of the Baca Grant on Kit Carson Mountain and
   Challenger Point. Numerous drainages traverse all or part of the Baca Grant in a general
   northeast-to-southwest direction, including (from north to south): Crestone Creek, Willow Creek,
   Spanish Creek, Cottonwood Creek, Deadman Creek, Pole Creek and Sand Creek. The Baca
   Grant area is also located within the San Luis Creek district within a closed basin having no
   known external drainage.

   3. Geologic Overview of the Baca Grant Area

   The Baca Grant is positioned within the Southern Rocky Mountains physiographic province, with
   its characteristic rugged, high-elevation peaks and broad intermontane basins. In general, the
   topography and geology of this area were influenced by several major features including the
   Sangre de Cristo Range to the east and the San Juan Volcanic Field to the west-southwest. The
   Baca Grant also lies on the eastern margin of the San Luis Valley and along the western front of
   the Sangre de Cristo Range. The San Luis Valley coincides with the structural feature called the
   San Luis Basin, which is a broad, east-dipping half graben that is hinged on the west in the San
   Juan Mountains and bounded on the east by the Sangre de Cristo Fault at the base of the
   Sangre de Cristo Range. The San Luis Basin is part of the Rio Grande Rift, a major
   intracontinental extensional feature from Mexico to central Colorado that originated about 26 to
   27 million years ago late during the Oligocene Epoch.

   The study area lies on the Baca Half Graben adjacent to the Sangre de Cristo Range to the
   east. Two major southeast-northwest-trending faults traverse the Baca Grant, in the western
   part of the property and at the base of the mountains to the east (known as the Sangre de Cristo
   Fault). Thrust faulting is a common feature in the east-central and northeast corner of the Baca
   Grant, in those areas east of the Sangre de Cristo Fault.

   The Geologic Map of Saguache County (CGS Resource Series 44, 2007) was reviewed for an
   understanding of local surface and subsurface geologic conditions. According to the map, a

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   majority of the Baca Grant is comprised of Quaternary- to Oligocene-age rocks in the Santa Fe
   Group (Map Unit QTs), described as red sand and conglomerate, volcanic-rich conglomerate,
   and interbedded basaltic andesite flows in the lower part. Map Unit QTs ranges in thickness
   from 300 to 11,000 feet. Along the mountain front to the east, there are Holocene & Pleistocene
   glacial and alluvial surficial deposits (Map Units Qa and Qpt), along with Quaternary eolian
   deposits ([transverse & parabolic dunes] Map Units Qdt, Qdpf, and Qdpa) in the southeast
   corner of the Baca Grant in Great Sand Dunes National Park.

   Bedrock Paleoproterozoic exposures in the rugged Sangre de Cristo Range along the east
   boundary and northeast corner of the Baca Grant include a broad area of mafic & felsic gneiss
   (Map Unit Xgn), and a lesser amount of quartz monzonite of Music Pass (Map Unit Xqm) found
   between Deadman and Pole Creeks. An overturned bed of Lower Mississippian to Upper
   Cambrian Leadville Limestone, Chaffee Group, Fremont Dolomite, Harding Quartzite, Manitou
   Formation and isolated patches of Sawatch Quartzite, undivided (Map Unit MOr) is also
   exposed at the Deadman Creek thrust fault, which forms an asymmetric east-verging anticline.
   The northeast corner (and highest reach) of the Baca Grant consists primarily of Middle or
   Upper Pennsylvanian & Lower Permian Sangre de Cristo Formation (Map Unit PPsc), with a
   lesser amount of Middle Pennsylvanian Minturn Formation (Map Unit Pm).

       3.1. Review of Regional Geology

   Precambrian rocks, also known as basement rocks, underlie the entire Baca Grant. They crop
   out in the Sangre de Cristo Range and are buried by younger rocks and deposits west of the
   mountains. Most of the Precambrian rocks are estimated to be around 1.7 billion years old. A
   thick package of younger rocks overlies these Precambrian rocks at the Baca Grant. A
   sequence of relatively thin clastic and carbonate rocks were deposited over the Precambrian
   during the lower and middle Paleozoic throughout much of Colorado, probably including the
   Baca Grant area. During the Pennsylvanian Period the Ancestral Rocky Mountains rose in a
   series of uplifted highlands and depositional basins developed between the uplifts. Lower and
   Middle Paleozoic rocks were stripped off the Ancestral Rocky Mountain highlands, and
   Pennsylvanian sediments accumulated in the basins.

   Much, and perhaps all, of modern San Luis Valley was a highland during the Pennsylvanian
   Period (known as either the San Luis or San Luis-Uncompahgre highland). The exact eastern
   margin of the ancestral San Luis Highland is not well constrained. Lower and Middle Paleozoic
   rocks, as well as Pennsylvanian sediments are preserved in the Sangre de Cristo Range, so
   these areas were likely in the depositional basin known as the Central Colorado Trough, which
   lay east of the ancestral San Luis Highland.

   During Late Cretaceous time, the Western Interior Seaway transgressed across the region
   depositing sand along the shoreline that would eventually become sandstone; mud beneath the
   bottom of the sea that would lithify into shale; and local deposits of limestone. These sediments
   would later become the source and host of much of the oil & gas in Colorado. More sediment
   was deposited as the seaway retreated from the area, including thick beds of peat on the
   landward side of the retreating seaway. The peat beds turned into coal as they were
   subsequently buried by younger sediment.



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   Another major period of mountain-building, the Laramide Orogeny, was initiated around 70
   million years ago (mya). Rocks were again eroded off the uplifts, including the Mesozoic rocks,
   and sediment deposition occurred in adjacent basins. Modern San Luis Valley was again the
   site of an ancient mountain uplift whose boundaries are also poorly understood. Drill holes
   scattered across much of the San Luis Valley encountered Precambrian rocks beneath the
   Tertiary fill, indicating those locations were the site of the Laramide uplifts. However, two small
   remnants of the Mesozoic rocks reportedly crop out in arroyos cut into the alluvial fans in the
   vicinity of Deadman Creek on the Baca Grant, and Lexam has reported the existence of
   Mesozoic rocks in the subsurface beneath the Baca Grant based on their Baca Nos. 1 and 2
   drill holes (discussed below in Section 4.2.1.) and geophysical studies, suggesting those areas
   did not undergo mountain uplift and erosional stripping of the Mesozoic sediment.

   These Laramide uplifts formed in response to compressional squeezing of the earth’s crust.
   This led to the development of large, low-angle, thrust faults along the flanks of the uplifts where
   Precambrian rocks were thrust up and over younger rocks. Scattered igneous intrusions were
   also emplaced during the Laramide Orogeny, which ended around 45 mya. Starting about 35
   mya, widespread volcanism began in the San Juan Mountains west of the San Luis Valley.

   Initially the volcanic activity involved andesitic lava flows and volcanic mudflows associated with
   stratovolcanoes. Rocks from this period of volcanism are commonly called the Conejos
   Formation; they extended eastward from the San Juan Volcanic Field, perhaps as far east as
   the Baca Grant. Around 30 mya the volcanism became more silicic and explosive, resulting in
   the formation of multiple calderas, many of which collapsed when large volumes of ash-flow tuff
   were violently erupted. Thick sequences of ash-flow tuff filled many of the collapsed calderas,
   and rapidly moving flows of ash flowed downslope away from the calderas, extending locally at
   least as far as the modern range front of the Sangre de Cristo Range. Available data suggest
   ash-flow tuffs may exist in the subsurface beneath the Baca Grant.

   Minor precious metal deposits developed in and near the igneous intrusions associated with the
   Conejos Formation stratovolcanoes, and major precious metal deposits such as those at
   Creede, Bonanza and Summitville formed in and near the calderas. These types of metal
   deposits are unlikely to exist at the Baca Grant because neither the Conejos stratovolcanoes
   nor the calderas associated with the ash-flow tuffs are known to exist in the vicinity of the Baca
   Grant.

   Starting about 27 to 26 mya, the earth’s crust began to pull apart in response to east-west-
   directed extension. A major tear in the earth’s crust called the Rio Grande Rift broke open from
   Mexico at least as far north as central Colorado. San Luis Valley coincides with one of the major
   structural depressions that formed along the rift, the San Luis Basin. Subsurface sediments and
   volcanic rocks in the San Luis Basin and beneath the Baca Grant property include Map Unit
   QTs along with other formations. Attached Figure 3 presents a geologic cross-section (from
   Brister & Gries, 1994), which depicts the subsurface geology in an east-west alignment just
   south of the Baca Grant. The cross-section indicates that Oligocene ash-fluffs likely overlie
   Precambrian rocks beneath much of the Baca Grant, and the western part of the property may
   have an eastward-thinning wedge of Oligocene Conejos Formation volcanics (mostly andesitic
   flows and volcaniclastic rocks) between the Precambrian rocks and the ash-flow tuffs. These



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   rocks were deposited in San Luis Basin prior to initiation of rifting; and, rift-related Map Unit QTs
   overlies the ash-flow tuffs.

   4. Evaluation of Mineral Resources

   Although Rare Earth did not review land-title records or County assessor’s records as part of
   this project, it is understood that Lexam holds an undivided 75% interest in the subsurface oil &
   gas rights, and ConocoPhillips owns the remaining 25% oil & gas interests on the 100,000-acre
   Baca Grant. Lexam also apparently holds 100% of the subsurface rights for all other minerals
   on the entire Baca Grant. According to Watts, et al (2006), 50% of the hard mineral rights were
   acquired from Baca Minerals, Inc. in 1987, and the other 50% interest in the hard mineral rights
   and 50% of the oil & gas rights were purchased from the Newhall Land and Farming Company
   in 1997. Lexam’s additional 25% interest in oil & gas rights were acquired from the Baca
   Corporation in 1996.

   For this project, mineral resources were evaluated on the Baca Grant where Lexam holds a
   majority interest in subsurface oil & gas rights, and 100% interest in the rights to other minerals.
   This study also includes a lesser amount of acreage to the west and north of the Baca Grant (in
   Townships 42 & 43 North, Range 10 East; and Township 43 North, Range 11 East) where
   Lexam apparently owns mineral rights (ranging from an undivided one-sixth to one-half interest)
   on a patchwork of Baca NWR and private lands (see attached Figure 2) totaling roughly 5,400
   acres.

   A number of information sources were reviewed for documented historical, or currently
   permitted, mining activities at the Baca Grant and adjoining properties, and for determining the
   likelihood of potential on-site mineral resources. For purposes of this report, “minerals” do not
   include surface water or groundwater. Mineral resources are typically divided by USGS and
   other Federal agencies into three distinct categories: locatable, leasable and saleable. Each of
   these categories is described in detail below in the following Sections 4.1., 4.2. and 4.3.

   Examples of the geological & mineral-resource data sources utilized for this project include:

            •    Mineral and Surface Management Status Map, Blanca Peak (BLM, 2010);

            •    Great Sand Dunes National Monument, Colorado: A Preliminary Literature Search,
                 Inventory, and Assessment of Mines and Prospects in and near the National
                 Monument with Emphasis on Potential Water Quality Degradation (Colorado Division
                 of Water Resources [DWR], 1995);

            •    Colorado’s Hydrothermal Resource Base - An Assessment (CGS Resource Series 6,
                 1979);

            •    Inventory of Nonmetallic Mining and Processing Operations in Colorado (CGS Map
                 Series 17, 1981);

            •    Location Map and Descriptions of Metal Occurrences in Colorado with Notes on
                 Economic Potential (CGS Map Series 28, 1994);

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            •    Evaluation of Mineral and Mineral Fuel Potential of Saguache County, State Mineral
                 Lands Administered by the Colorado State Land Board (CGS Open-File Report 00­
                 11,2000);

            •    Oil and Gas Fields Map of Colorado (CGS Map Series 33, 2002);

            •    Radioactive Mineral Occurrences of Colorado (CGS Bulletin 40, 2005);

            •    Coal Resource Maps of Colorado (CGS Map Series 43, 2006);

            •    Geology and Mineral Resources of Saguache County, Colorado (CGS Resource
                 Series 44, 2007);

            •    Critical and Strategic Minerals - Can Colorado Play a Role? (CGS Information
                 Circular, 2011);

            •    BLM’s National Integrated Land System transaction applications (online at
                 www.geocommunicator.gov/GeoComm/index.shtm ) and Land & Mineral Legacy
                 Rehost 2000 System (online at www.blm.gov/lr2000/index.htm);


            •    DRMS database for active and inactive mines (online at
                 www.mining.state.co.us/GIS%20Data.htm );

            •    COGCC database for oil & gas wells (online at www.oil-gas.state.co.us/);

            •    7.5-minute series Crestone, Deadman Camp, Deadman Camp Southwest, Hooper
                 East, Medano Ranch, Moffat South, Sand Camp and Sheds Camp, Colorado
                 topographic maps (USGS, 1967-2010);

            •    Mineral Resource Potential of the Sangre de Cristo Wilderness Study Area, South­
                 Central Colorado (USGS Miscellaneous Field Studies Map MF-1635-A, 1984);

            •   An Assessment of the Mineral Resource Potential of the San Isabel National Forest,
                South-Central Colorado (USGS Bulletin 1638, 1984);

            •    Petroleum Geology and Hydrocarbon Plays of the Albuquerque-San Luis Rift Basin,
                 New Mexico and Colorado (USGS Open-File Report 87-450-S, 1988);

            •    Copper and Uranium in Pennsylvanian and Permian Sedimentary Rocks, Northern
                 Sangre de Cristo Range, Colorado (USGS Bulletin 2116, 1995);

            •    The Principal Rare Earth Element Deposits of the United States - A Summary of
                 Domestic Deposits and a Global Perspective (USGS Scientific Investigations Report
                 2010-5220, 2010);


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            •   Final Scoping Report - San Luis Valley Geothermal Leasing Analysis, Environmental
                Assessment and Resource Management Plan Amendment (BLM San Luis Valley
                Public Lands Center, November 2010);

            •    Environmental Assessment of Proposed Oil and Gas Exploration, Baca National
                 Wildlife Refuge, Saguache County, Colorado (USFWS, April 2011);

            •    Tertiary Stratigraphy and Tectonic Development of the Alamosa Basin (Northern San
                 Luis Valley), Rio Grande Rift, South-Central Colorado (Brister & Gries [in Geological
                 Society of America Special Paper 291], 1994);

            •    General Geology of the Northern San Luis Valley, Colorado (GEO-HAZ Consulting,
                 1996);

            •   A Summary Review Including A Work Plan And Budget Proposal To Test Oil And
                Gas Prospects On The San Luis Basin Property, Colorado, USA - For Lexam
                Explorations Inc. (Watts, Griffis and McOuat Limited, June 2006); and

            •    Personal communication with Federal- and State-agency geologists and permitting
                 representatives, along with local geologist Robert Kirkham (GeoLogical Solutions
                 [Alamosa, CO]).

   The following sections present an overview of mining and drilling history in the Baca Grant
   vicinity along with a discussion of known/documented mineral resources, which primarily include
   precious metals and sand & gravel.

       4.1. Locatable Minerals

   This category includes all minerals for which exploration, production and development are
   regulated by the Federal General Mining Law of 1872, including most of the metallic minerals
   (e.g., gold, silver, copper, molybdenum, lead, rare-earth elements, zinc, tungsten, uranium,
   vanadium, etc.) and some industrial minerals (e.g., high-calcium limestone, gypsum, fluorite,
   perlite, vermiculite, pegmatite-hosted non-metallics, etc.). Locatable minerals are typically found
   in lode, vein, disseminated, or placer deposits. The known metallic-mineral deposits in Colorado
   have been widely studied and are well documented in the literature.

            4.1.1. Precious & Base Metals

   The Baca Grant is located outside and southeast of the Colorado Mineral Belt, a 10- to 60-mile­
   wide southwest-northeast-trending zone of hydrothermal mineral deposits that extends roughly
   from the La Plata Mountains near Durango to the Front Range north of Boulder. However, the
   eastern part of the Baca Grant falls within two mineralized areas and named mining districts
   known as Crestone and Liberty (see attached Figure 4). The east-central boundary and
   northeast corner of the Baca Grant (comprised of both Rio Grande National Forest and
   privately-owned surface estates) contain both known and geologically-favorable areas for the
   occurrence of base & precious metal deposits. USGS has assigned a moderate potential for the


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   occurrence of locatable mineral deposits in this mineralized area following the northwest­
   trending fault zone on the east side of the Sangre de Cristo Fault.

   Archaeological evidence in the Crestone area indicates that oxidized quartz veins containing
   limonite and pyrite were first worked by Spanish explorers (USGS, 1984). Mining activity peaked
   during the years 1880 to 1904 from numerous underground and placer mines throughout the
   surrounding mountainous and outwash areas. The largest mine and primary producer was the
   Independence Mine (also known as the Independent Mine) situated south of Spanish Creek in
   the northeast corner of the Baca Grant, about 4 miles southeast of Crestone in the mountain
   foothills. Between 1890 and 1900, several prospectors began mining operations in the Crestone
   area and produced precious metals worth approximately 7 to 8 million Us dollars (CGS, 2007).

   The former townsite of Duncan (approximately 9.5 miles southeast of Crestone on the east­
   central boundary of the Baca Grant, north of Pole Creek) was another base for mining
   operations in the area during the 1880’s and 1890’s. Since it was court-determined that mineral
   rights were privately owned on the Baca Grant, the trespassing miners were forced to relocate
   around 1900-1904 to the newly-created Liberty townsite about 1.4 miles southeast of Duncan
   and immediately east of the Baca Grant boundary. At least five different mining & milling
   companies operated out of Liberty until about 1915 at the Myrtle K, Aztac [ sic], Irena A lode
   mines and the Revenue placer claim (DWR, 1995). The cyanide process was also used in the
   1930’s for gold extraction in the Crestone District prior to World War II. According to CGS 1,337
   ounces of gold and 533 ounces of silver, plus minor amounts of copper and lead, were
   produced from the Crestone District between 1932 and 1939.

   Mining in the Crestone and Liberty Districts is generally associated with northwest-trending
   quartz veins and thrust faults commonly found along the west flank of the Sangre de Cristo
   Range in Proterozoic rocks. The dominant mineral deposits are quartz-hematite and quartz­
   pyrite-chalcopyrite veins, with some of the veins having grades as high as 5 ounces of gold per
   ton (CGS, 2007). These polymetallic veins host important base & precious metals such as gold,
   silver, copper, lead, zinc and iron. Historic placer gold mining is also reported southeast of the
   Baca Grant in the Great Sand Dunes vicinity along Medano Creek in the 1927-1938 timeframe.
   The placer mining proved to be unsuccessful on a commercial basis.

   Around 1990, Lexam’s predecessor (“Challenger Gold Inc.”; referred to as Lexam in this report)
   began prospecting for gold in the Deadman Creek area of the Baca Grant, about 8 miles
   southeast of Crestone, by drilling and sampling 42 shallow boreholes. Gold mineral deposits at
   this prospect are related to a low-angle detachment fault similar to that found at the San Luis
   Gold Mine, which is about 50 miles south in Costilla County (CGS, 2007). The Deadman Creek
   prospect is located in strongly silicified breccia of feldspar and quartz in a chloritic matrix; the
   gold is associated with pyrite, and the gold grades are as rich as 0.13 ounces per ton (CGS,
   2007). Lexam had apparently obtained a DRMS prospecting permit (No. P1992-002) for this
   project; however, no information was available in the online DRMS database. Rare Earth also
   contacted DRMS’ Grand Junction office and was told that these prospecting files were
   confidential and could not be released to the public. Therefore, no actual borehole or assay data
   were available for review.




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   Another large, historic mine in the Baca Grant vicinity is the Orient Mine, approximately 15 miles
   north in Section 25, T46N, R10E. The Orient Mine was the only commercially important iron
   mine ever developed in Colorado (CGS, 2000). The mine produced about 2 million tons of iron
   ore (limonite) from an oxidized replacement deposit in a sheared zone in the lower part of the
   Mississippian Leadville Limestone, just east of the Sangre de Cristo Fault. Colorado Fuel & Iron
   Company (CF&I) acquired the mine in 1880 and shipped the iron ore to their Pueblo smelter via
   railroad until 1905, when there was an apparent exhaustion of high-grade ore. The mine was
   operated intermittently by CF&I and other lessees until 1931. According to USGS, the Orient
   Mine still contains identified resources estimated at 5 million tons of 43 percent iron.

   The most recent mining permit identified in the DRMS database for the surrounding area was
   issued in 1981 at the Blue Moon Mine, about 10 miles north of the Baca Grant (in the SE % of
   the NE % of Section 20, T45N, R11E). This was a small gold, silver and copper operation
   owned by Demure Mining Company, Inc. (Villa Grove, CO) on 9.8 acres of Rio Grande National
   Forest land. The permit has since been revoked & terminated by DRMS. The nearest active
   gold & silver mine listed in the DRMS database is Indian Creek Mining Corporation’s Profitt
   Mine, located near the Bonanza District (T47N, R7E in northeastern Saguache County), more
   than 28 miles northwest of the Baca Grant.

            4.1.2. Other Locatable Minerals

   Historically, Saguache County has been a fairly large uranium-producing county in Colorado,
   primarily from the Cochetopa, Marshall Pass, and Kerber Creek mining districts. The nearest
   active uranium mine listed in the DRMS database is Homestake Mining Company’s Pitch
   Project, located in the Marshall Pass Uranium District (T48N, R6E in northern Saguache County
   & southern Gunnison County), more than 35 miles northwest of the Baca Grant. Open-pit
   mining at the Pitch Project occurs in the Pennsylvanian Belden Formation on or near the
   Chester Fault, which displaces Precambrian rocks against remnants of Paleozoic rocks (CGS,
   2007).

   Other favorable uranium host rocks in Saguache County include the Lower Cretaceous Dakota
   Sandstone and Jurassic Morrison Formation. There are small USGS-reported occurrences of
   uranium mapped about 2 miles northeast of Crestone, known as the historic Mercury-Alpine and
   Venus 1-14 claims (in Section 33, T44N, R12E); and 1.5 miles east of the Baca Grant in Custer
   County at the King Midas, Damn Fool and Bonanza claims near the east foot of Crestone
   Needle (in Section 17, T24S, R73W). These uranium occurrences are typically found in bedded
   carbonaceous sandstone deposits of the Permian Sangre de Cristo Formation. According to
   CGS, there are no reported uranium occurrences in nearby Alamosa County.

   No actively-permitted rare-earth elements (REE) mines were identified in the study area or in
   Colorado. The geology of this study area in the San Luis Valley and north-central Sangre de
   Cristo Range does not fit the USGS profile for REE occurrences on a commercially-minable
   scale. The majority of viable REE deposits in Colorado are found in Fremont, Gunnison and
   Moffat Counties. UsGS classifies the major United States REE deposits as occurring only in
   four distinct geologic associations:

       •    Carbonatites & alkaline igneous complexes;

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       •    Veins related to alkaline intrusions;
       •    Some iron-ore deposits associated with magmatic-hydrothermal processes; and
       •    Stream and beach deposits (placers) derived from the erosion of alkaline igneous
            terranes.

   Pegmatites (i.e., dike- or vein-like features characterized by coarse grain sizes & interlocking
   crystal texture with bulk feldspar, high-purity quartz, and several mica minerals) are known to
   intrude Proterozoic rocks found north-northwest of the Baca Grant in the Crestone District on
   the west flank of the Sangre de Cristo Range. CGS reports that small amounts of thorium, REE,
   uranium and vanadium were produced from pits at the Bob Cat Mine pegmatite area, about 4
   miles north of the Baca Grant. Accessory minerals in pegmatites can also include beryl, lithium,
   garnet, and tourmaline. In Colorado, the known REE mineral deposits in pegmatites are found in
   Chaffee County (Mount Antero) and Jefferson County (South Platte Pegmatite District).

   Outcrops of high-purity limestone & dolomite are also known to be present east of Villa Grove
   and in the Hayden Pass area. However, these resources are probably not economically
   competitive with larger deposits found close to railroad & highway transportation routes, and
   commercial markets, near Salida and along the Arkansas River valley to the north.

   No currently-permitted locatable mineral operations were identified in the DRMS database for
   the study area in Saguache County, or nearby lands in Alamosa and Custer Counties. At the
   time of preparing this mineral assessment report, no plans, permits or proposals were identified
   for metallic-mineral, REE, uranium or other locatable-mineral mining operations that would
   impact the Baca Grant.

       4.2. Leasable Minerals

   This category includes oil, natural gas, coal, coalbed methane, oil shale, geothermal energy,
   and several other minerals (e.g., potash, sodium, phosphate, native asphalt, bitumen or
   bituminous rock, etc.). These minerals are defined as “leasable commodities” by the Mineral
   Leasing Act of 1920 and the Geothermal Steam Act of 1970.

            4.2.1. Oil & Gas Resources

   According to CGS, Saguache County does not contain any commercial oil & gas resources. A
   total of 17 oil and gas wells were drilled in the County since the early 1920’s, mostly in the San
   Luis Basin, with total depths ranging from 365 to 12,0oO feet. All failed in discovery of producible
   hydrocarbons and accordingly all these wells were plugged and abandoned. The only
   productive oil well in the San Luis Basin was the Kirby Jynnifer No. 1, which was drilled in 1985
   just south of the Saguache County line in Section 9, T40N, R 5E. This well produced 30 barrels
   of oil per day from a volcanic sill in the Cretaceous Mancos Shale. (CGS, 2000 & 2007)

   No oil & gas fields have been mapped in the area by USGS & CGS or are known to underlie the
   Baca Grant. A search of the COGCC database revealed two wells that were drilled on the Baca
   Grant by Lexam in September & October 1995. Both wells are reported as dry & abandoned,
   meaning they were either “dry holes” (with no hydrocarbons) or unable to produce marketable
   quantities of oil and/or gas. The wells, known as Baca Nos. 1 & 2, were drilled immediately west

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   of the Deadman Creek area (see attached Figure 2) where Lexam had performed its gold
   prospecting program that was discussed previously in Section 4.1.1. of this report. During their
   gold prospecting activities in 1992 & 1993, Lexam apparently encountered biodegraded crude­
   oil shows in several (either 17, 27 or 28, depending upon the publication) of the 42 shallow
   boreholes that were drilled in breccia and fractured gneiss.

   At the time, Lexam’s laboratory analysis claimed that the crude oil was sourced from
   Cretaceous sediments underlying the thrust-fault zone. Lexam also claimed that they had
   identified surface outcrops of Jurassic-Cretaceous sediments (i.e., Morrison Formation, Dakota
   Sandstone, and Mancos Shale) along the west flank of the Sangre de Cristo Range. Portions of
   these outcrops have apparently been viewed by local geologists and NPS employees.

   The Baca Nos. 1 & 2 wells were drilled as wildcats to explore the underlying Cretaceous section
   on the Deadman Creek block. Both wells encountered a thin, faulted section of Mancos Shale in
   the hanging wall of the detachment fault, and traces of biodegraded oil were observed in thick
   intervals (including the Santa Fe Formation, Mancos Shale, and Precambrian gneiss) of both
   wells. The strongest oil shows were present in a 350-foot interval of the Baca No. 2 well starting
   at 6,620 feet. (Watts, et al, 2006)

   According to the COGCC well-completion reports, the Baca No. 1 was drilled to a total depth of
   4,322 feet into Precambrian rock, with 3,566 feet of overlying Santa Fe Formation and 18 feet of
   Mancos Shale. And, the Baca No. 2 was drilled to a total depth of 6,932 feet into Precambrian
   rock, with 6,272 feet of Alamosa & Santa Fe Formations and 115 feet of Mancos Shale. The
   COGCC completion report indicates that the Baca No. 2 was converted to a water well. DWR
   records show that the well was abandoned by Lexam to a depth of 1,000 feet and converted to
   a monitoring well for use by Stockman’s Water Company.

   Lexam continued their evaluation of the Baca Grant though geophysical exploration programs in
   1996 and 1998-2004. From this data they delineated the Crestone Prospect, which was further
   divided into eastern and western fault blocks known as the Crestone East and Crestone West
   Prospects. Between 2000 and 2009, Lexam filed COGCC Applications for Permit to Drill (APDs)
   on five single-zone gas wells located generally 6-7 miles northwest of the Baca No. 2 in the
   newly-created Baca NWR. Baca Nos. 3 & 4 are identified by COGCC as abandoned locations,
   and Baca Nos. 5-7 all have expired APDs as of May 2010.

   The Baca Nos. 5 & 7 wells (see Figure 2) became the subject of the USFWS’ April 2011
   Environmental Assessment (EA) for proposed oil & gas exploration in the Baca NWR. Lexam’s
   proposal calls for two 14,000-foot-deep vertical wells with the Dakota Sandstone as the
   objective formation on the Crestone East Prospect. Their 2006 Work Plan and Budget Proposal
   estimated the costs for drilling & completion of one of these wells to be roughly $8.8 million. It
   should be noted that two of the three authors of the work plan & budget include a former Lexam
   employee (Tom Watkins) and a Lexam shareholder (Kim Parsons). On April 1,2011 USFWS
   issued a Finding of No Significant Impact (FONSI) for Lexam’s drilling proposal. A FONSI is
   issued when the environmental analysis & interagency review find a project proposal to have no
   significant impacts on the quality of the environment.




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   The EA’s preferred alternative outlines 43 terms & conditions to be imposed upon Lexam by
   USFWS in addition to those required by COGCC and Saguache County, which ensure the
   exploration program will not have a significant impact on the natural and human environment. Of
   particular interest are those measures intended to minimize disturbance to wildlife by restricting
   the seasons of exploration activity to reduce or eliminate interference with migratory bird
   breeding and big game calving; minimize the risk of ground and surface water contamination;
   minimize or eliminate impacts to wetland habitat, sensitive fish populations and plant types;
   reduce probability of noxious weed infestations; manage fugitive dust; and reduce air, noise and
   light pollution from exploration activities. Appendix D of the final EA contains a full description of
   the required protective measures. (USFWS, 2011)

   About half of the Baca Grant is mapped as “Sensitive Wildlife Habitat” (SWH) for all species,
   and the northeast high-elevation corner and Sand Creek drainage corridor are mapped by
   COGCC as “Restricted Surface Occupancy” (RSO), as defined and regulated by their 1200-
   Series Rules. These rules require oil & gas operators to consult with the Colorado Division of
   Wildlife, the surface owner, and the COGCC Director whenever a new oil & gas location is
   proposed in SWH or RSO areas. The proposed Baca No. 5 well location is included in the SWH
   area.

   According to CGS, Saguache County is considered to have only two hypothetical hydrocarbon
   plays: the San Luis Valley Biogenic Gas Play, and the San Juan Sag. The gas play covers an
   elongate area about 70 miles long and 20 miles wide in the east-central part of the San Luis
   Valley where shallow biogenic gas has been historically produced from the underlying Alamosa
   Formation. Whether or not a commercial accumulation of gas exists in this play is speculative.
   The San Juan Sag is located on the west side of the San Luis Valley in hydrocarbon traps found
   below a thick section of volcanic rocks along the foothills of the San Juan Mountains. The Sag
   extends from the Del Norte area westward beneath the San Juan volcanic field and connects
   with the San Juan Basin. The San Juan Sag in Saguache County is considered to have a fair
   potential for hydrocarbon accumulations (CGS, 2000).

   No active Federal oil & gas leases are indicated on adjoining lands with Federal-owned oil &
   gas rights. As mentioned above, the only reported hydrocarbon production activity in the
   regional area was the Jynnifer No. 1 well located in the small Del Norte Field, about 33 miles
   west-southwest of the Baca Grant. Due to sub-economic production, the well was abandoned in
   July 1998 by Faith Energy Exploration Inc. (Ennis, TX); however, the wellsite has yet to be
   reclaimed. The nearest oil and/or gas production occurs about 32 miles northeast in the
   Florence-Canon City Field in Fremont County, where oil is produced from numerous wells in the
   Upper Cretaceous Pierre Shale. The Sheep Mountain Field (more than 20 miles southeast in
   Huerfano County) has also produced more than a trillion cubic feet of carbon dioxide (CO2)
   since its discovery in 1971.

            4.2.2. Coal Resources

   No on-site or nearby coal mines, coal fields, or coalbed methane operations were identified in
   the CGS, DRMS, or USGS literature. The Upper Cretaceous Vermejo Formation or Mesaverde
   Group coal-bearing intervals do not underlie the Baca Grant, nor is coalbed methane known to
   be present beneath the area. The nearest historic coal mines are located more than 35 miles

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   east-northeast in the Canon City Coal Field in Fremont County, where coal was produced from
   more than 175 mines in the lower part of the Vermejo Formation. In 2000, the last underground
   mine in the field closed, ending 122 years of continuous coal production. The nearest, active
   coal mining currently occurs more than 60 miles southeast of the Baca Grant at the New Elk
   Mine located west of Trinidad in Las Animas County (in the Trinidad Coal Field).

            4.2.3. Other Leasable Minerals

   Because the Rio Grande Rift is characterized by high heat flow, there are several geothermal
   springs identified in the San Luis Valley. The nearest geothermal resource is located about 2.5
   miles northeast of Hooper in Section 27, T41N, R10E, known as the Sand Dunes Swimming
   Pool Hot Water Well. The operation includes public pools, a restaurant, and RV/camping
   facilities. The hot-water well was originally drilled as an oil & gas test by San Luis Valley Oil &
   Gas Company in 1924, to a total depth of 4,308 ft in the deepest part of the San Luis Valley
   where there are 20,000+ feet of valley-fill sediments.

   This artesian well flows at a rate of 340 gallons per minute and can be pumped at a rate of
   1,480 gallons per minute; the temperature of the water flowing from the well is 111° to 115° F
   (CGS, 2007). In 1979, CGS estimated that this is a sedimentary reservoir with an areal extent of
   approximately 1.5 square miles around the well. More than 10 miles north of the Baca Grant
   (and east of the town of Saguache), Valley View Hot Springs and Mineral Hot Springs are also
   developed as spa resorts for public use.

   The Baca Grant is not currently identified by BLM as a known geothermal leasing area or
   geothermal lease nomination area. However, BLM and USFS lands in Colorado include about
   5.8 million acres that are open to geothermal leasing. And, there are current nominations for
   geothermal leases in Chafee and Gunnison Counties on both public & private lands with
   Federal mineral estates. The San Luis Valley Public Lands Center is also currently preparing an
   EA to consider whether to issue geothermal leases. The EA includes an amendment to BLM’s
   San Luis Resource Management Plan, which is necessary since their 1991 plan did not
   adequately address geothermal resources.

       4.3. Saleable Minerals

   This category includes both nonmetallic and several industrial minerals (e.g., dimension stone,
   sand & gravel, clay, petrified wood, volcanic cinders, etc.), falling under the purview of the
   Materials Act of 1947 and the Multiple Surface Use Mining Act of 1955. None of these
   commodities has been commercially mined at the Baca Grant according to the CGS, DRMS and
   USGS literature reviewed for this report, other than possible small historic borrow-pit areas that
   were utilized for extraction of road-fill material during construction of local ranch roads.

   According to DRMS, the nearest active sand & gravel mine (known as the Skoglund Pit) is
   located about 2 miles north of the Baca Grant in the SE % of Section 34, T44N, R11E, in
   Pleistocene outwash (Map Unit Qpf) and Holocene/Pleistocene eolian sand (Map Unit Qes)
   deposits found south of San Isabel Creek. This 30-acre pit is operated by Skoglund Excavating
   Inc. near Crestone and was permitted by DRMS in 1997 under Permit No. M1996089. Another
   nearby pit (about 3.5 miles southwest of the Baca Grant near Hooper) is identified as the Curtis

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   Pit in the SE % of Section 33, T41N, R10E. This 9.5-acre pit is operated by the Colorado
   Department of Transportation near Highway 17 and was permitted by DRMs in 1985 under
   Permit No. M1985084. The pit appears to be located in similar geologic materials as those
   found at the Baca Grant (i.e., Map Unit QTs).

   Local streams have created large alluvial-fan gravel deposits where they emerge from steep
   mountain fronts into the San Luis Valley, and there are large deposits of valley-fill alluvium (i.e.,
   common varieties of sand & gravel, with abundant silt & clay in Map Unit QTs). However, all of
   these resources have only been used to a very small degree due to the remoteness of major
   population and growth centers to the County (CGS, 2000). Saleable minerals generally have a
   low unit value (i.e., value per ton), and their exploitation is dependent on easy access to
   transportation and local markets.

   USGS also reports that a small vein near Crestone was historically worked for decorative
   quartz. Pegmatites and gneiss (and other Precambrian rocks) can be utilized for decorative
   materials or building stone. No clay, dimension stone, high-purity silica sand (i.e., oil- & gas-field
   fracking sand) or other saleable mineral mining activities were identified near the Baca Grant.

   5. Conclusion

   Rare Earth prepared this MAR for the Baca Grant property located within southeast Saguache
   County in south-central Colorado. The project included a review of published documents related
   to historical and currently-permitted mining and drilling operations for the study area. This report
   is intended to provide an overview of the various mineral resources and the mineral­
   development potential for those areas of Lexam’s holdings on and near the Baca Grant. Based
   upon our findings during this MAR process, we conclude the following:

       5.1. Oil & Gas Resource Development Potential

   The potential for commercial oil & gas reserves beneath the Baca Grant is reliant on limited data
   and is the subject of geologic controversy regarding the likelihood of underlying Cretaceous
   sediments. Unfortunately, the controversy between Lexam’s data and the published literature
   extends beyond the scope and budget of this MAR. The reality is that Lexam’s former attempt at
   locating oil & gas by drilling the Baca Nos. 1 & 2 wells proved unsuccessful, and other geologic
   studies in the area by CGS and USGS have similarly concluded that there is a low probability of
   discovering commercial oil & gas reserves at the Baca Grant. In January 2005, BLM prepared a
   Mineral Potential Report as part of a land-exchange program which involved approximately
   61,000 acres of State-owned surface and mineral estates located west and south of the Baca
   Grant, including adjoining lands to the west. BLM stated that the oil & gas resource potential on
   these lands was low, based upon insufficient data; however, they concluded that “the lands are
   prospectively valuable for oil and gas.”

   As owner of the subsurface oil & gas rights on the Baca Grant and other nearby & adjoining
   lands, Lexam is entitled to make continued use of the surface lands for exploration activities
   according to Colorado’s split-estate laws. Since their failed attempt at locating oil & gas in 1995,
   Lexam has committed additional resources for acquiring seismic data and preparing well­
   planning and -permitting documents. In our opinion, this could be viewed as: A) a method of

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   attracting potential investors for funding drilling on the high-risk Crestone East Prospect; B) a
   way to justify the valuation of underlying mineral rights on the Baca Grant; or, C) a legitimate
   attempt at locating previously undiscovered oil & gas resources in the San Luis Valley.

   Because a majority of the surface estate at the Baca Grant is owned by the Federal
   government, there are additional protections in place for wildlife and surface usage as
   prescribed by USFWS, USFS and NPS. Given the high level of concern for protection of wildlife
   and their habitat on these lands, not to mention protection of water quality & quantity, any future
   drilling plan at the Baca Grant would be carefully evaluated by those Federal agencies along
   with COGCC and possibly the Colorado Division of Wildlife.

   As evidenced by USFWS’ recent EA for the proposed Baca Nos. 5 & 7 wells, this results in
   increased overall costs for Lexam and longer time frames to complete the necessary site
   analysis and permitting process; stricter conditions on siting well pads, roads, flow lines and
   other infrastructure; and stringent mitigation measures. Further complicating the situation and
   increasing any production costs are the lack of hydrocarbon infrastructure and transportation
   (i.e., pipelines) options in the San Luis Valley. All of this adds up to an expensive and
   challenging location for economical recovery of hydrocarbons.

   Future oil and/or natural-gas exploration activities are very difficult to project & predict since they
   are primarily market-driven. Lexam’s APDs for the Baca Nos. 5, 6 and 7 wells expired in May
   2010. And, as of July 26th, Lexam has filed for COGCC bond release on the Baca Nos. 6 & 7
   wells, which are now shown as “abandoned locations.” Lexam would need to resubmit an APD
   to COGCC in order to restart the permitting process for the Baca No. 5 well. The COGCC
   website and permitting records should be monitored for future oil & gas activities that may
   adversely affect the Baca Grant and adjoining lands. This also includes the potential for
   additional geophysical or seismic exploratory programs.

   Since ConocoPhilips owns 25% of the oil & gas rights on the Baca Grant, their involvement in
   the Crestone East Prospect should also be evaluated. Oil & gas operators sometimes have
   lease agreements and funding mechanisms amongst themselves, which are not recorded or
   transparent to the public. ConocoPhillips’ level of interest or involvement for oil & gas
   exploration on the Baca Grant is unknown. The Saguache County Assessor’s records should
   also be checked for the status of Lexam’s mineral-estate tax assessments.

       5.2. Metallic Mineral Resource Development Potential

   There is a moderate to high potential for the occurrence of metallic mineral deposits
   (predominantly gold & silver, with lesser amounts of copper & lead) along the east-central
   boundary and northeast corner of the Baca Grant property (primarily in the Rio Grande National
   Forest [Baca Mountain Tract] and underlying parts of the Baca Grande Subdivision), due to
   identified resources and nearby historic mining activity in the Crestone and Liberty Districts. The
   development potential is also moderate to high, based largely on the sustained high market
   price for gold (currently at $1,630 per ounce). Typically, as market prices rise and fall, so do the
   levels of exploration & production. Additionally, Lexam has already acquired on-site borehole
   and assay data from their previous exploration activities in the Deadman Creek area during the
   early 1990’s, and CGS reports gold grades up to 0.13 ounces per ton on the Lexam prospect.

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   The viability of any mineralized area is usually dependent more on economic factors rather than
   local geology. USGS describes typical impediments to future hard-rock mining that include: A)
   lack of mining infrastructure, including mills and mining experience; B) fluctuating market prices
   for metals; and C) societal resistance to mining and fear of environmental pollution from mining.
   In order for commercial mining of vein deposits to produce a significant tonnage, a large mining
   & milling operation is mandated.

   Because of the mixed surface land status in the Baca Grant area (i.e., Baca NWR, Great Sand
   Dunes National Park, private lands, nearby Sangre de Cristo Wilderness), a large mining &
   milling operation would face enormous public resistance and a lengthy permitting process.
   Modern-day gold-mining operations in the regional area (including Galactic Resources’
   Summitville mine [to the southwest in Rio Grande County] and the Battle Mountain/Newmont
   San Luis Project [to the south-southeast in San Luis County]) have all realized severe
   environmental limitations due to permitting & litigation costs, surface- and groundwater
   contamination, and mine waste disposal issues.

   It is likely that many of the historic mining operations in the Baca Grant area have extracted the
   highest-grade ores; however, small-scale mining of local pockets of rich ore may be viable,
   particularly if an operator can find a way to mill and smelt their ore off site. At the time of
   preparing this MAR, no plans, permits or proposals were identified for metallic-mineral mining
   operations that would impact the Baca Grant property.

       5.3. Aggregate Resource Development Potential

   There is a moderate to high potential for large deposits of aggregate in Map Unit QTs at the
   Baca Grant property; however, the commercial demand is deemed to be fairly low. It is not
   known whether these mineral rights for common varieties of sand & gravel are united with the
   current surface estate (which includes the Federal government and other private landowners),
   or owned by Lexam. Typically in Colorado, the mineral rights for sand & gravel remain united
   with the current surface estate unless those rights have been expressly reserved in mineral
   deeds affecting the Baca Grant. However, a legal opinion would be necessary in order to make
   that determination.

   It is our opinion that commercial sand & gravel mining would not be a permissible or permittable
   activity at the Baca Grant since an access agreement, lease or easement (i.e., a legal “right-to-
   enter”) must be in place with all affected landowners prior to DRMS issuing a mining permit.

       5.4. Geothermal Resource Development Potential

   There is also a moderate potential for private development of geothermal resources beneath the
   Baca Grant property. Subsurface geothermal fluids are considered to be part of Colorado’s
   groundwater resources, and are therefore administered by the State Engineer. As a result, well
   drilling for direct-use geothermal projects (e.g., greenhouse heating, warm-water aquaculture,
   space heating, swimming pools & and spas) is regulated by DWR. However, it is our opinion
   that private development of geothermal resources for direct-use or electrical power generation
   would not be a compatible use with the existing surface estates on the Baca Grant.



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   The Geothermal Steam Act of 1970 also authorizes BLM to lease development rights to the
   “heat” of the public’s mineral estate which could, at some point, potentially affect lands adjoining
   the Baca Grant with Federal subsurface mineral ownership. SLVEC or other stakeholders
   should continually monitor the BLM geothermal EA process and their leasing & permitting
   activities on adjoining lands, which have the potential to adversely affect the surface and
   subsurface of the Baca Grant.

   We appreciate the opportunity to provide SLVEC with these mineral assessment services.
   Please contact me at 970/241-1762 or jim@rareearthscience.com if you have any questions or
   need additional information about the content of this report.

   Respectfully Submitted,

   Rare Earth Science, LLC




   James C. Armstrong
   Principal Geologist

   cc:       J. Corzine (TPL)


   Attachments

         •   Preparer’s Qualifications
         •   Figure 1 - Locator Map
         •   Figure 2 - Lexam Mineral Rights
         •   Figure 3 - Geologic Cross Section
         •   Figure 4 - Map Showing Mineralized Areas




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   Preparer’s Qualifications

   James Armstrong is a professional geologist with 18 years residency in Colorado, and has lived
   in Grand Junction and Gunnison since 1998. He received a BS in Petroleum Geology from
   Kansas State University in 1983, and completed additional graduate-level coursework in
   environmental and natural resource studies at the University of Alaska/Anchorage. Mr.
   Armstrong spent 7 years working in various private-industry technical positions related to oil and
   gas exploration & production, geophysical consulting, and petroleum refining & marketing
   operations in the central U.S., Texas and the Gulf of Mexico.

   Since 1990, he has been employed as a consulting geologist and environmental scientist
   serving oil & gas, mining, private-sector, non-profit, and government-agency clients in Alaska,
   Hawaii, and the central & western United States. Mr. Armstrong is accomplished in field studies,
   mineral-reserve evaluations, project management and regulatory compliance, and has prepared
   numerous mineral assessment reports for conservation-easement and habitat-protection
   projects. He has completed mineral studies for a diverse client base in south-central Colorado
   that includes Colorado Division of Wildlife, Colorado Open Lands, Costilla County, Orient Land
   Trust, Rocky Mountain Elk Foundation, and The Nature Conservancy. Mr. Armstrong is the
   founder of (and a partner in) Rare Earth Science, LLC.




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Locations of boundaries and                                                            Figure 1: Locator Map
features are approximate.
                                                                                             Baca Grant No. 4
Base Map Source:                                  Legend
http://services.arcgisonline.com/        Luis Maria Baca Grant No. 4                                July 25, 2011
World Base Map
                                         Additional Lexam Mineral Holdings



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                                                                                                     PO Box 4523
                                                                                        Grand Junction, CO 81502
                               □ Miles                                                      Phone: 970/241-1762
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Locations of boundaries and                                                                                       Figure 2: Lexam Mineral Rights
features are approximate.
                                                                                                                                Baca Grant No. 4
                                                                              Legend
Base Map Source:
http://services.arcgisonline.com/         -(•)- Dry and Abandoned Lexam Wells        ■ Baca National Wildlife Refuge                         July 25, 2011
USA Topographic Map                       O Proposed Lexam Well Locations            H Great Sand Dunes National Park
                                              Luis Maria Baca Grant No. 4*           H Rio Grande National Forest

                                              Additional Lexam Mineral Holdings**        TNC Conservation Easement
N
                                            * Lexam 75% / ConocoPhillips 25% oil & gas rights; Lexam 100% other mineral rights    Rare Earth Science, LLC
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                                           ** Varying percentages of mineral rights                                                           PO Box 4523
                                                                                                                                 Grand Junction, CO 81502
                                □ Miles                                                                                              Phone: 970/241-1762
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WEST                                                                                               EAST
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                                       Indicators of Wildness: Using Attributes of
                                       the Land to Assess the Context of
                                       Wilderness
                                       Gregory Aplet
                                       Janice Thomson
                                       Mark Wilbert


 Abstract—Land can be described in a space defined by two funda­                  ^an area of undeveloped Federal land retaining its prime­
 mental qualities: naturalness and freedom. The axis of naturalness               val character and influence, without permanent improve­
                                                                                  ments or human habitation, which is protected and man­
 describes the wholeness of the ecosystem relative to a historical
                                                                                  aged so as to preserve its natural conditions and which (1)
 norm, while the axis of freedom describes the degree to which land
                                                                                  generally appears to have been affected primarily by the
 remains outside of human control. Some land can be natural but not               forces of nature, with the imprint of man’s work substan­
 free, and vice versa, but the most natural and free are the most wild            tially unnoticeable; (2) has outstanding opportunities for
 — they are the lands we recognize as wilderness. These concepts are              solitude or a primitive and unconfined type of recreation; (3)
 illustrated through the mapping of indicators of wildness, derived               has at least five thousand acres of land or is of sufficient size
 from readily available data in a Geographic Information System.                  as to make practicable its preservation and use in an unim­
                                                                                  paired condition; and (4) may also contain ecological, geo­
                                                                                  logical, or other features of scientific, educational, scenic, or
                                                                                  historical value.
    The past few years have witnessed considerable attention
 to conceptions of wilderness. Generally, this attention has                   But this is a carefully crafted legal definition resulting from
 taken the form of a “debate” between critics of wilderness as                 years of debate and compromise. Surely, we are not to
 idea on one side and defenders of wilderness as place on the                  believe that all the places wild enough to count as wilderness
 other (see for example, Callicott and Nelson 1998). Critics                   are limited to federal land. And why 5,000 acres? These are
 contend that white, male, American minds have produced a                      legal constraints necessary for the implementation of the
 concept that separates humans from nature, denigrates                         Wilderness Act. A general definition of wilderness remains
 native peoples, and freezes ecosystems in time. Defenders                     elusive.
 point out all the myriad values, including wildlife habitat,                     In his exploration of the legislative direction provided by
 watershed protection and spiritual healing, provided by the                   the Wilderness Act, ecologist David Cole (1996) notes that
 places we call wilderness and conclude that wilderness                        wilderness is expected to be both “untrammeled,” or uncon­
 therefore must be good. Both sides assume they understand                     trolled and free, and “pristine,” or “what would have existed
 what they mean by wilderness; neither states it clearly.                      in the absence of post-aboriginal humans.” Cole concludes
    Robert Marshall begins his classic 1930 essay, The Prob­                   that these two goals provide conflicting direction for manag­
 lem of the Wilderness, “It is appalling to reflect how much                   ers, as manipulation is often needed to repair damage
 useless energy has been expended in arguments which                           caused by overuse, exotic species invasions, fire exclusion
 would have been inconceivable had the terminology been                        and other processes that have altered ecosystems away from
 defined.” Seventy years after Marshall offered his observa­                   natural conditions. Cole argues that these goals are “to some
 tions, it appears we are still suffering from the same misun­                 extent mutually exclusive” and suggests that we must choose
 derstandings. The debate over the value of wilderness is                      one or the other of these goals to emphasize when managing
 being conducted without a common understanding of its                         wilderness.
 meaning. Before any more “useless energy” is expended, it is                     Alternatively, Aplet (1999) suggests that these two out­
 worthwhile to stop and consider what exactly we mean by                       comes, freedom and naturalness, rather than providing
 wilderness.                                                                   conflicting direction, actually describe two independent quali­
    One of the first places to look, of course, is the Wilderness              ties of wilderness. Wilderness is that portion of the land that
 Act itself. The Act (Public Law 88-577) defines wilderness                    is most wild, and wildness is a function of both naturalness
 straightforwardly enough as:                                                  and freedom from human control. This dualistic nature of
                                                                               wildness can be illustrated with a simple figure (fig. 1) that
                                                                               represents landscapes in the two-dimensional space created
                                                                               by freedom and naturalness. In this conception, wildness
    In: McCool, Stephen F.; Cole, David N.; Borrie, William T.; O’Loughlin,    increases in two directions: from the controlled to the “self-
 Jennifer, comps. 2000. Wilderness science in a time of change conference—     willed” along a gradient of freedom, and from the artificial to
 Volume 2: Wilderness within the context of larger systems; 1999 May 23-27;
 Missoula, MT. Proceedings RMRS-P-15-VOL-2. Ogden, UT: U.S. Department
                                                                               the pristine along a gradient of naturalness. At the most
 of Agriculture, Forest Service, Rocky Mountain Research Station.              controlled and artificial ends of the continuum are the least
    Gregory Aplet is Forest Ecologist and Director, Center for Landscape       wild lands - the built environment of the city. Where freedom
 Analysis, The Wilderness Society, 7475 Dakin Street, Suite 410, Denver, CO,
 80221 U.S.A. Janice Thomson is Remote Sensing Coordinator and Mark            and naturalness are highest is the wilderness, regardless of
 Wilbert is GIS Analyst, Center for Landscape Analysis, The Wilderness         size or ownership. In between, lands can possess any combi­
 Society, 1424 Fourth Ave., Suite 816, Seattle, WA, 98101 U.S.A.               nation of freedom and naturalness, and an intermediate


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                                                                       19th century as a place to escape the stranglehold of civiliza­
                                                                       tion. In contrast, The Wilderness Act speaks of wilderness as
                                                                       “an area where the earth and its community of life are
                                                                       untrammeled by man,” suggesting that it is the land itself
                                                                       that is free in wilderness. While wilderness will likely
                                                                       always be highly valued for the experience it provides, it is
                                                                       this second sense, the character of wild land itself, that is the
                                                                       focus of the following discussion.
                                                                          Though perceptions of wildness vary with each individual,
                                                                       there appears to be a limited set of characteristics that
                                                                       contribute to the freedom and naturalness of a place. Gener­
                                                                       ally, the literature exploring wild land characteristics sug­
                                                                       gests that the attributes of the land that contribute to its
                                                                       freedom are 1) the degree to which land provides opportuni­
                                                                       ties for solitude, 2) the remoteness of the land from mechani­
                                                                       cal devices and 3) the degree to which ecological processes
                                                                       remain uncontrolled by human agency. The attributes that
Figure 1—The “continuum of wildness.” Wildness increases as a          contribute to the naturalness of the land are 1) the degree to
function of both its naturalness and its freedom from human control.   which it maintains natural composition, 2) the degree to
                                                                       which it remains unaltered by artificial human structure
                                                                       and 3) the degree to which it is unpolluted. Each of these
                                                                       attributes need not exist at an absolute maximum in wilder­
                                                                       ness, but, collectively, they define the qualities of freedom and
degree of wildness. All lands fall somewhere within this two­          naturalness and therefore facilitate the measurement of
dimensional continuum of wildness.                                     wildness.
   If wilderness is that portion of the landscape that is most
natural and free, it follows that the wilderness manager’s job
is to maximize simultaneously both of these characteristics.           Solitude
This is where the job becomes difficult, and tradeoffs arise.
                                                                          Solitude has been described as “the opportunity to meet
Maintaining freedom may compromise naturalness — for
                                                                       the wilderness, or its maker, personally, quietly, on terms
example, where exotic species are allowed to invade from the
                                                                       only you prescribe” (Whitney 1997). The “outstanding oppor­
outside. Likewise, restoring natural conditions often re­
                                                                       tunities for solitude” afforded by wilderness have long been
quires bringing the land under tighter control. Just like the
                                                                       recognized as a key part of the “wilderness experience.”
parent who simultaneously struggles to instill discipline
                                                                       Thoreau (1862) enjoyed his opportunity to “walk ten, fifteen,
and independent thought, the key for managers is to strive
                                                                       twenty, any number of miles, commencing at my own door,
always toward both goals. When intervention is required,
                                                                       without going by any house, without crossing a road except
heed Wilderness Watch president Bill Worf’s good advice:
                                                                       where the fox and mink do.” Robert Marshall (1933) required
“Manipulation should generally be limited to those mini­
                                                                       that wilderness have “no permanent inhabitants,” and Sigurd
mum actions that will establish conditions that will allow
                                                                       Olson (1938) exalted in “the ordinary phenomena of life in
natural processes to hold sway once again” (Worf 1997).
                                                                       the open.” Though solitude is clearly an experience of the
   These qualities of freedom and naturalness help clarify
                                                                       wild, the ability to provide it is a measurable attribute of the
what we mean by wildness, but they themselves are rather
                                                                       land. That the most wild land must be the least inhabited
vague descriptors that cry out for further explanation. Man­
                                                                       follows naturally from the notion that, at some population
agers need to know what exactly to pay attention to in order
                                                                       density, people necessarily bring land under control to serve
to achieve these twin goals. The remainder of this paper is
                                                                       their purposes (such as occupancy, transportation, recre­
devoted to exploring the attributes of the land that contrib­
                                                                       ation and hygiene). The degree of human-to-human contact
ute to its naturalness and freedom from control. Ultimately,
                                                                       is one of the defining measures of the freedom of the land.
we would like to be able to measure these qualities to ensure
                                                                          The requirement that wilderness be uninhabited has been
that we are protecting and sustaining the wildness of wilder­
                                                                       interpreted by some as ignoring or even subjugating indig­
ness. The measurement of wildness raises the possibility of
                                                                       enous people, who occupied (or occupy) the land even as it
mapping the wildness of the land, and this paper presents
                                                                       was (or is) considered wilderness (see Bayet 1994; Birch
the results of some recent progress toward this goal and
                                                                        1990; Denevan 1992; Gomez-Pompa and Kaus 1992; Nabhan
discusses how this method differs from other approaches to
                                                                        1995; Plumwood 1998). But it need not be. As the poet Gary
mapping our precious wild places.
                                                                       Snyder (1990) has pointed out, every landscape has its “fire
                                                                       in the kitchen” and its “place less traveled.” Where popula­
Indicators of Wildness                                                 tion density is high, whether in the pre-Columbian or mod­
                                                                       ern era, the ability of the land to afford solitude is dimin­
  Throughout the history of the idea, wilderness has been              ished. In the “kitchen,” the land may still be “natural” (see
thought of both as a place that is free and as a place in which        below), but it will not be as free.
to be free. In other words, wilderness has been thought of                In practice, we may gauge opportunity for solitude by
both as a real place and as an experience. For example, Nash           measuring population density. Over large areas, such as
(1982) notes the value of wilderness to the Romantics of the           states or continents, we are usually limited to looking at


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 where people reside, but how people use the land is also a            The equation of uncontrolled processes with presettlement
 factor. Over smaller landscapes, we may be able to gauge the       influences again raises the question of the role of indigenous
 opportunity for solitude by examining recreation use pat­          people in landscape dynamics. Clearly, indigenous people
 terns. In any case, we look to represent some measure of the       have had tremendous influence on the character of the land
 probability of encountering others.                                in localized instances and may have altered the nature of
                                                                    ecosystems over broad areas through the use of fire and
                                                                    hunting practices (see, for example, Denevan 1992). Where
  Remoteness                                                        this influence was intensive, we must view the land as under
    Roadlessness is also widely recognized as a defining char­      tight control and not free. However, where influence was
 acteristic of wilderness. Aldo Leopold (1921) insisted that        extensive, aboriginal fire and hunting joined other sources of
 wilderness be “devoid of roads,” while his son Starker’s           ignition and mortality, making it very difficult to distinguish
 Commission on Wildlife Management in the National Parks            between aboriginal control and “the will of the land.” In this
 considered the roadgrader to be “the most dangerous tool of        case, if only for practical purposes, we should consider
 all” (Leopold and others 1963). Marshall’s (1933) definition       extensive aboriginal influences to be part of the processes
 required wilderness to “possess no means of mechanical             altered by the invasion of modern technological society.
 conveyance” in order that wilderness remain “free from                Alteration of processes is probably the most difficult to
 mechanical sights and sounds and smells.” Environmental            measure of the six attributes that contribute to wildness.
 historian Michael Cohen (1984) believes road construction is       The science of historical ecology is just beginning to reveal
 the first act of “trammeling” the wilderness. He writes, “I am     the degree to which disturbance, hydrology, nutrient cy­
 troubled by the term ‘untrammeled’. At what point have we          cling, long-range migration and other ecological processes
 caught and trapped the wilderness? I would presume that a          have been changed over the past few centuries. And even
 process of capturing or trapping begins when men try to            when we know something about rates of change, it is difficult
 ‘open out routes’ among the mountains.” Thus, the very             to ascribe that information to the broader landscape. Never­
 presence of a road diminishes the freedom of the land, and         theless, progress has been made in mapping altered fire
 distance from roads is clearly a time-honored measure of           regimes, indices of watershed integrity and other metrics
 wildness.                                                          that may allow us to quantify land’s freedom from control of
    The measurement of remoteness is fairly straightforward         ecological processes.
 where we know the location of the road system. Land may be
 assigned a value depending on the distance from roads of           Natural Composition
 various types, assuming that roads vary in their impact on
 remoteness. For example, an interstate highway is louder              Composition, the relative abundance of genes, species,
 and will bring more people near an area than will a dirt road.     communities and other components of ecosystems, is one of
 Of course, measuring remoteness requires an accurate de­           the defining characteristics of ecosystems. An ecosystem
 scription of an area’s road system, which often is not avail­      that has lost its native species or has been invaded by non­
 able for the most remote lands.                                    natives has been altered in a fundamental way. In general,
                                                                    we recognize as most natural those ecosystems that have
                                                                    retained their full complement of native species and harbor
  Uncontrolled Processes                                            no exotics.
    The most free land is the least controlled land. With the          The protection of intact native ecosystems has long been
 invasion of new technologies that attended the recent settle­      recognized as a goal of wilderness designation. The Wilder­
 ment of North America, ancient ecological processes were           ness Act specifically intended to protect “the earth and its
 radically altered in many parts of the country. Where once         community of life...” The protection of species that are easily
 fires (whether lightning-caused or anthropogenic), floods          harmed by, or are harmful to, human contact is a role often
 and migrations marked the passage of the seasons, fire             relegated to wilderness. Eliminated from much of their
 suppression, dams and extermination replaced them. If              historical range, native predators, especially, are considered
 wilderness is to live up to one of its definitions, “self-willed   by many to be a vital part of the wilderness experience. As
 land” (Turner 1996), its historical ecological processes must      Turner (1996) says, “Predators are perhaps our most acces­
 be maintained.                                                     sible experience of the wild.”
    The importance of uncontrolled processes to wilderness is          The invasion of non-native species also can decrease the
 amply noted in the literature. Wilderness has been de­             naturalness and therefore the wildness of an area. Severe
 scribed as a place where “a diversity of beings [flourish]         invasions can even alter the structure and function of eco­
 according to their own sorts of order” (Turner 1996) and           systems. As wilderness manager Andy Kulla (1998) has said
 “where nature prevails or might prevail given the passage of       about invasive exotic plants, “Weeds take the wild out of the
 time...so long as active ecological succession, structural         wilderness.” Growing realization of the damage to native
 diversity, and naturalness are permitted” (Frome 1997).            ecosystems done by exotic species has led many managers to
 Wilderness pioneer Arthur Carhart (1961) asserts, “[L]ands         implement weed control programs, halt stocking of fish,
 called ‘wild’ have retained the attribute of freedom. They         especially non-natives, and to insist on the use of weed-free
 have their own integrity intact. They have not been skinned,       hay and revegetation mixes.
 scraped, dug up, regimented and pounded into shapes and               The measure of natural composition is reasonably straight­
 services desired and demanded by ‘civilized’ man.” Even the        forward, to a point. Most species are understood to be either
 Wilderness Act itself insists that wilderness “retain its          native or the result of recent artificial introduction. The
 primeval character and influence” (emphasis added).                species composition of any area, therefore, can be quantified


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in terms of proportion of native species. Determining the        deposition; others, such as the influence of city lights, affect
degree to which native species composition has changed as        mostly the quality of the visitor experience. Even where the
a result of human agency is more difficult. Recent develop­      effect is only on experience, pollution remains a measurable
ments in historical ecology and (recent) paleobotany are         attribute of the land that affects its wildness.
shedding light on changes in species composition.                   Because of national laws like the Clean Air Act and the
                                                                 Clean Water Act, pollution is one of the best studied and best
                                                                 documented of the indicators of wildness. Depending on the
Unaltered Structure                                              part of the country, good maps are available for a number of
   Ecosystem structure refers to the spatial arrangement of      air pollutants and for the quality of surface waters. The
the components of ecosystems. This can refer to the gross­       Environmental Protection Agency monitors sources of pollu­
scale features of geomorphology, the arrangement of vegeta­      tion across the country and maintains data in a Geographic
tion patches or the arrangement and spacing of trees in a        Information System. In addition, NASA has used remote
forest stand. The degree to which ecosystem components           sensing to measure from space the light emitted to the night
retain their historical arrangement contributes to the natu­     sky. It should be possible to quantify the degree to which any
ralness of the system.                                           piece of land remains free from pollution.
   The maintenance of unaltered structure has long been a           Each of these attributes contributes to the freedom or the
litmus test of wilderness character and is the most familiar     naturalness of a place and therefore to its wildness. But just
criterion for designation. The Wilderness Act requires wil­      because they contribute does not mean there will not be
derness to be “without permanent improvements or human           cases when they conflict. For example, the maintenance of
habitation...with the imprint of man’s work substantially        highly anthropogenic vegetation types (such as indigenous
unnoticeable.” Bob Marshall’s (1933) definition stressed         agricultural fields), which would be natural by the above
that “all roads, settlements, and power transportation are       definition, would require such intensive manipulation that
barred.”                                                         it would diminish freedom. Nevertheless, these attributes,
   Again, the standard against which alteration is to be         when considered in aggregate, should indicate much about
judged is the condition of the ecosystem prior to the invasion   the wildness of any given area.
by modern technological society, begun in North American
300-400 years ago. As has been noted, pre-Columbian North
America was a network of trails and settlements (Denevan
                                                                 Mapping Wildness
 1992; Snyder 1990). Some structures, such as the earthworks        In this section, we present results of an application of the
of the Southeast, were large by any standard. These struc­       attributes discussed above to the measurement of relative
tures were part of the historical ecosystem and should be        wildness at one scale - that of the contiguous United States.
considered natural. Interestingly, Marshall (1933) recog­        Though there are no hard and fast rules guiding how to apply
nized historical structures as entirely consistent with his      these concepts, their application does require the selection of
view of wilderness: “Trails and temporary shelters, features     a consistent approach. In this case, our approach was to
such as were common long before the advent of the white          locate the best spatial data we could find to represent each
race, are entirely permissible.”                                 attribute in a GIS data layer, assign each raster cell of the
   As with composition, the measurement of alteration of         data layer a value for each attribute and, finally, sum the
structure is fairly straightforward. Roads, dams, airstrips,     values to derive the “wildness index” for each cell. To accom­
mines, stockponds and other built structures diminish natu­      modate work at a continental scale, we represented the
ralness. Also, the substitution of square blocks of perfectly    United States as a matrix of just less than 8 million one-
spaced plantations for natural forest, even if they comprise     square-kilometer cells for analysis. The analysis was con­
native species, alters ecosystem structure and diminishes        ducted with the GRID module of Arc/Info GIS software. Each
naturalness. The science of landscape ecology has developed      attribute was represented with a value ranging between one
rapidly in the past few decades and has yielded a number of      and five. Some attributes (for example, solitude) were de­
metrics that can be applied to land to measure its departure     rived from a single data set; others resulted from a combina­
from historical structure.                                       tion of several data sets (see below). Although our wildness
                                                                 index suffers from many of the same shortcomings attending
                                                                 other indices (such as the addition of unlike units as though
Pollution
                                                                 they were commensurate), we feel it represents much of
   Wilderness carries with it an expectation of purity: clean    what contributes to the wildness of a place.
water, fresh air, clean soil, darkness. When air, streams and
the night sky are dirtied with coal exhaust, road dust, bovine
                                                                 Solitude
feces and distant industrial light, it diminishes the natural­
ness of the land and the experience it provides. The poet           Ideally, the spatial representation of opportunity for soli­
Mark Strand (1996) makes clear the relationship between          tude would display the probability distribution of encounter­
pollution and wilderness when he writes, “First we pollute       ing another person over a landscape. It would account not
the wilderness, then we pollute our minds with the belief        only for the presence of occupants of the land, but for visitors
that we’ve done the right thing. Then we pollute the wilder­     to popular locations like national parks. Unfortunately,
ness more because we’ve lost our ability to see it. Soon the     there are no such data sets available for the entire continen­
wilderness ceases to exist.” Some forms of pollution have        tal United States. However, the U.S. Bureau of the Census
direct effects on the ecosystem, such as ozone and nitrogen      keeps track of the distribution of the resident population



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 across the country. Map 1 shows the distribution of census             versions may dissolve the five distance classes into one
 block groups assigned to five classes, where the value 1               continuous distance “surface.”
 (lightest) was assigned to cells with a 1990 population
 density greater than 1,000 persons/km2, the value 2 was
 assigned to cells with a population density between 100 and             Uncontrolled Processes
 1,000 persons/km2 and so on to the value 5 (darkest), which
                                                                           Ecological processes are inherently difficult to measure,
 was assigned to census block groups with a population                  since we rarely are able to measure rates directly; instead,
 density of less than one person/km2. Not surprisingly, the
                                                                        we generally measure states at different times and infer
 results show high population densities along the Eastern               rates. Mapping processes is even more difficult, as it re­
 seaboard and very few residents in vast parts of the West.             quires tying process measurements to particular places.
 This map represents only where people live; it does not                Such data with national coverage are extremely difficult to
 consider the accessibility of the land to visitors. Future             obtain. One of the few data sets that suggests process
 renditions of the data may take accessibility into account by          impacts is the national inventory of dams available from the
 representing distance from population centers as well as               USGS. To account for changes in hydrologic function, we
 their location.                                                        evaluated the number of dams in major hydrologic units
                                                                        (watersheds) and divided the nation into five classes We
  Remoteness                                                            assigned a value of 5 to cells within watersheds with no dams;
                                                                        a value of 4 to watersheds with 1-6 dams; a value of 3 to
    An ideal road data set would include all roads from                 watersheds with 7-20 dams; a value of 2 to watersheds with 21­
 interstate highways to natural surfaces and include all of             50 dams; and a value of 1 to watersheds with more than 50
 the attributes needed to assess their relative influence on            dams per watershed.
 remoteness. Unfortunately, such a data set does not exist for             In future renditions, we plan to build on concepts devel­
 the continental United States. Instead, we used a “major               oped by The Nature Conservancy (1998) to develop a surro­
 highways” (essentially paved intercity routes) data set com­           gate for terrestrial processes based on patch metrics (area,
 piled by the U.S. Geological Survey (USGS). To assign a                distance to edge, major axis) for polygons of natural vegeta­
 remoteness value to each cell, we “buffered” the road system           tion (see below) delimited by major highways, agricultural
 at five different distances. Cells within 2 km of a road were          lands and urban areas. The approach assumes that ecologi­
 assigned a value of 1; between 2 and 5 km a value of 2; 5-10           cal processes in larger, well-connected patches are under
 km a value of 3; 10-25 km a value of 4; and greater than 25            less human control than in smaller, disconnected patches.
 km a value of 5. The results are displayed in map 2. Future




               Map 1—Opportunity for solitude. Population density by census block group.




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             Map 2—Remoteness. Distance from major highways.




Natural Composition                                                Pollution
   There are a number of ways in which ecosystem composi­             Despite the abundance of data on pollution compiled for
tion can be measured. Conceptually, one of the most straight­      various locations, there exist very little data describing the
forward is species composition. Data sets should provide           distribution of pollution across the entire country in a GIS
information on the degree to which ecosystems retain the           format. The EPA maintains a “national priority list” in GIS
species typical of the area and the degree to which exotic         format, recording the locations of all sites they regulate as
species have displaced natives. One of the few data sets           sources of pollution. In order to assess the influence of light
available with coast-to-coast coverage of species composition      pollution, we evaluated NASA’s image of “lights at night” for
is the North American Land Cover Characteristics satellite         the U.S. Again, cells were assigned a value from one to five
image classification conducted by the USGS, which assigns          based on a combination of these data sets. As we further refine
surface vegetation to over 200 different classes of natural        the map, we intend to bring in data that reflect actual air and
and anthropogenic vegetation. We combined this data set            water quality, not simply sources.
with the urban classes from a separate USGS Land Use and              To construct the map of wildness (map 4), we summed the
Land Cover data set. To conduct our analysis, we assigned          values of the six attributes into an overall “wildness index”
each one-square-kilometer cell to one of five classes, from        and displayed that index spatially. Beyond the trivial result
unnatural (urban and cropland) to natural vegetation types.        showing that the West is notably more wild than the East,
Cells exhibiting a mixture of use/cover fell in between.           some results were somewhat surprising. Because the map
Map 3 illustrates the distribution of natural (darkest) and        was generated without regard for ownership or physiogra­
unnatural (lightest) vegetation across the United States.          phy, it bears little resemblance to maps of the distribution of
                                                                   wilderness areas, federal lands, mountain ranges or river
                                                                   basins. Instead, the map exhibits “features,” such as the
Unaltered Structure                                                swaths of wild land running from southwestern Arizona to
   Humans alter ecosystem structure in a number of ways,           eastern Utah and from Death Valley to southwest Idaho,
from the construction of buildings, dams and roads to the          that have nothing in common but their wildness. Other
leveling of agricultural fields and the clearcutting of forests.   places, like eastern New Mexico and central Nebraska, jump
An ideal data set would account for all these effects. Unfor­      out as particularly wild, though they are traditionally un­
tunately, available data for the nation as a whole are limited     heralded. The map also confirms what we already knew
to “built structures.” We mapped the location of cities, towns,    about places like the Boundary Waters, northern Maine,
highways, dams and airstrips across the country. Cells that        Okefenokee and the Everglades: These are very special wild
included built structures were assigned a value of one; all        places in an otherwise highly developed landscape.
others were assigned a value of five.


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             Map 3—Natural composition.Natural and artificial land cover.




             Map 4—Wildness.




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   As interesting as this map is, it is important to remember            At the same time that we are moving forward with these
that it is simply one analysis at one scale. Wild land exists          other analyses, we will be working to improve our analytical
in all landscapes at all scales. Aldo Leopold said it best when        approach. Currently, the analysis is plagued by a number of
he wrote, “[W]ilderness exists in all degrees, from the little         problems. For example, by displaying the data in a one-
accidental wild spot at the head of a ravine in a Corn Belt            square-kilometer grid, we have implied a level of precision to
woodlot to vast expanses of virgin country... Wilderness is a          the data that is inappropriate for an index based on data
relative condition” (Leopold 1925). Figure 2 illustrates this          collected at a number of scales, some of them quite coarse.
sentiment by showing that the wild land continuum does not             We are currently working to identify an appropriate level of
exist only at the scale of large landscapes from city to               precision for display. Also, the current approach has the
wilderness. Within the portion of the land that we call rural          potential to overemphasize the influence of some factors. For
are land uses ranging from agribusiness to ranch. We may               example, roads factor in the estimation of remoteness, un­
determine that tilled or developed land is not wild, but that          controlled processes and unaltered structure. We are work­
a large ranch is. Even on the nonwild farm landscape, land             ing toward a more sophisticated way to combine data sets to
can range from developed homesites to uncultivated pasture             account for all six attributes without unduly emphasizing
and forest. Within this landscape, these uncultivated areas            any particular factor.
provide a glimpse of the natural and free and are highly
prized for their wildness.
   The next step in our process will be to repeat this type of         Relationship to Other Efforts
analysis at the scale of a region (a state) and a subregion to
                                                                         The approach to mapping wildness described above is
show that patterns of wildness emerge at all scales. At these
                                                                       based on an understanding that wildness inheres in varying
scales, new (and hopefully better) data sets will be applied to
                                                                       degrees in all lands as a function of the relative freedom and
show that relatively wild land exists all around us. For
                                                                       naturalness of the place. This allows the mapping of all lands
example, though it appears as a highly developed patch at
                                                                       as possessing some degree of wildness and the production of
the scale of the nation, the city of Chicago is home to
                                                                       a continuous surface describing the wildness of any land­
hundreds of thousands of acres of precious wild places whose
                                                                       scape. Such an approach allows us to discern connections
protection is being sought by a coalition known as “Chicago
                                                                       across wild landscapes that are not readily apparent in maps
Wilderness.” The next stage of our analysis will demonstrate
                                                                       based on any one of the attributes (for example, land use/
that the wildness of places like these can be illustrated
                                                                       land cover) or on land ownership. As a result, our method
through the application of the very same approach to smaller
                                                                       represents a new approach to the study of wild lands,
landscapes.
                                                                       complementary to other existing efforts.




                                               Xon-wildland     Wildland
                                                       Rural    “Multiple-use




                                            Barnyard           Rowcrops


                                                        Wildness

         Figure 2—Wild lands can be found in any landscape at any scale.


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    Generally, efforts to map wild places have been of two sorts:    buffer zones, The Wildlands Project begins to address some
 those that focus on biological diversity and those that identify    of the shortcomings of traditional wild land mapping, but
 special wild places. Traditionally, mapping efforts have iden­      because mapping generally begins with existing designated
 tified special wild places such as nature sanctuaries (Kendeigh     areas and builds out, it is a very “bottom-up” approach in the
 and others 1950-51) and wilderness areas (The Wilderness            traditional mode of wild land identification. Our approach,
 Society 1989), with the implication that lands not identified in    in contrast, is very “top down,” representing wildness
 the map are not wild. Similarly, a 1997 report by the World         unanchored by existing land designations. We believe our
 Resources Institute characterized the world’s forests as either     approach complements the “bottom-up” approach and will
 “frontier” or “non-frontier,” based on their ability to support a   bring a new perspective to understanding the context of
 full complement of native species and ecological processes          wilderness.
 (Bryant and others 1997). Our method allows us to identify
 lands of particularly high value, while acknowledging the
 wildness inherent in all lands.                                     Wild Land Mapping: Toward a
    One of the most sophisticated wildland mapping efforts is        Blueprint for Wilderness
 the National Wilderness Inventory of Australia (Lesslie and
 Maslen 1995). This effort represents a significant advance             The identification of quantifiable attributes of wildness
 over previous efforts because it provides an objective proto­       makes possible the representation of wildness and the map­
 col for evaluating the wildness (“Total Wilderness Quality          ping of wildness across the landscape. The mapping of
 Index”) of any particular place based on four indicators:           wildness is important for a number of reasons. First, it
 “remoteness from settlement, remoteness from access, ap­            allows us to point to specific places, places that are impor­
 parent naturalness, and biophysical naturalness.” The ap­           tant because they are wild, whether those places occur at the
 proach described in the Australian National Wilderness              scale of a region, as they do in southern Utah, or at the scale
 Inventory Handbook (Lesslie and Maslen 1995) shares much            of open space in such urban gems as L.A.’s Santa Monica
 in common with ours but still must be considered in the             Mountains or Washington, D.C.’s Rock Creek Park. Maps
 traditional mode, as it evaluates the wilderness quality of         help make places tangible and the subject of action. They can
 distinct land units identified as “natural.”                        help educate about wilderness, and they can help conserva­
    The past decade or so has witnessed great progress in the        tionists visualize the scope of their work. Maps can also
 mapping of areas critical to biological diversity. Efforts like     serve as a graphic record of our success.
 the Gap Analysis Project of the USGS Biological Resources              Second, a map of where the wild places are can help us, as
 Division (Caicco and others 1995, Edwards and others 1995)          conservationists, set priorities for our limited resources. The
 and similar initiatives, such as that undertaken by the             wildest places are not necessarily the highest priorities for
 Florida Game and Freshwater Fish Commission (Cox and                attention, but we should understand the context of the
 others 1994), have sought to identify lands of particular           places that we do work to protect. Also, maps that show the
 conservation value for protecting wildlife in each state.           relative importance of various wild land tracts can provide
 Studies like these improve on traditional conservation map­         convincing arguments for wild land protection. Maps that
 ping initiatives because they acknowledge a continuum or            show a tract or subregion (for example, Okefenokee or the
 gradient in wildland quality, irrespective of ownership. By         Grand Staircase-Escalante National Monument) to be the
 including natural composition and uncontrolled processes in         “wildest in the land” contribute to the argument for protection.
 our analysis, we, too, recognize biodiversity as critical to           Third, maps of wild places can be powerful tools of inclu­
 wildland quality (although we do not pretend to achieve the         sion. Wild land maps can help direct people who wish to
 level of detail of these other approaches). However, by also        contribute to wilderness protection toward high-priority
 recognizing factors like solitude and unaltered structure, we       lands. They can also help recruit new voices for wild land
 assert that biodiversity is a necessary, but not a sufficient       protection by showing people who otherwise think of wild
 component of wildness.                                              lands only in the abstract just how close these places are.
    One particularly noteworthy biodiversity-oriented map­              Finally, maps can help illuminate possibility. As The
 ping effort is The Wildlands Project, whose founders believe        Wildlands Project has shown, dreaming with a map and
 that “wilderness is absolutely essential to the comprehen­          crayon can motivate people to work toward a future that is
 sive maintenance of biodiversity” (The Wildlands Project            better than the present. A wild land map can show not just
 1992). Such a philosophy turns the liabilities of other             where the wild lands are, but where they could be. If done
 biodiversity mapping approaches into assets for the map­            well, wild land maps based on the attributes described above
 ping of wild places. Because wilderness is essential to             can help identify the specific changes necessary to restore
 biodiversity, protecting biodiversity necessarily must result       wildness to degraded landscapes and begin the job of build­
 in the protection of nonbiological wilderness values.               ing a system of wild lands, rather than simply defending an
    Mapping under The Wildlands Project begins with the              ever-shrinking wild land base.
 identification of “core reserves” essential to the conservation
 of wildlife - often large predators that have been exploited to
 extinction elsewhere. To these core reserves are added              Acknowledgments
 nonwilderness “buffer zones” and “corridors” to connect the
                                                                       This paper was originally presented at the Sixth World
 core reserves. Core reserves are usually national parks and
                                                                     Wilderness Congress in Bangalore, India, in October 1998
 existing wilderness areas, augmented with roadless areas
                                                                     and was greatly improved by the feedback received from
 and places of particular conservation concern. By adding
                                                                     Congress delegates.



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                                Appendix C




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   BLANCA PEAK SPECIAL INTEREST AREA (CULTURAL)

   Proposed Designated Area
   Rio Grande National Forest                            4,300 acres
   Conejos Peak Ranger District



   General Description

   Blanca Peak holds tremendous cultural significance for many of the indigenous cultures in
   southwest Colorado and the upper Rio Grande valley. Navajo, Ute, Jicarilla Apache, and the
   Upper Rio Grande Pueblos all place great value on maintaining the pristine integrity of Blanca
   Peak.

   The proposed Blanca Peak Special Interest Area comprises that portion of the massif located on
   the Rio Grande National Forest. The mountain is under overlapping jurisdictions with other
   portions administered by the Pike-San Isabel National Forest, the Bureau of Land Management,
   and the private Trinchera Blanca Ranch.

   In addition to its cultural significance, Blanca Peak possesses outstanding recreational and
   scenic values as well. The Blanca Peak SIA includes three well-known Colorado fourteeners -
   Blanca Peak, Little Bear Peak, and Ellingwood Point - which attract several thousand
   mountaineers each year. All are drawn in large part by the dramatic alpine scenery of the high
   glacial basins and rugged granitic peaks.




   The Rio Grande National Forest's Assessment of Areas of Tribal Importance provides a thorough
   and compelling summary of Blanca Peak's cultural significance to regional tribes:

          “Mount Blanca, Sierra Blanca or Blanca Peak is sacred to the Navajo, Ute and Jicarilla
          Tribes. It is also an important anchor point within the cultural landscape of the Upper
          Rio Grande pueblos, known as Pintsae'i'i or “White Mountains” in Tewa. It is of
          particular significance to the Navajo Tribe, or Dineh of the American Southwest. To
          them it is known as Sisnaajini or “White Shell Mountain”. The peak marks the eastern
          boundary of the Dinetah, or Navajo homeland. The mountain is considered a living
          breathing entity. The wetlands (Bureau of Land Management, U.S Fish and Wildlife




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          Service) and the sand dunes (National Park Service) that flank the mountain are revered
          as critical components of the life force of the mountain.

          The Jicarilla Apache call the mountain Nishnojini, “Black Belt” Monster Slayer, Ni'o nas ga
          ne, directed Jicarilla and Navajo peoples on where to go from the top of the mountain
          and it is thought that the clouds retain spirits that bring the water. The mountain is a
          place of medicine power.

          The Kaputa (Capote) Ute consider the mountain a holy place and call it Peeroradarath,
          “the monster's back”, “great grandmother serpent” or “dragon's back”; Blanca Peak as
          the head and the Sangre de Cristo range to the north, the body. Near the mountain was
          an old lake, Aripit, where Ute ancestors hunted the mastodon and the big buffalo, the
          Hooche.




          The Historic Preservation Department of the Navajo Nation recommends designating
          Sisnaajini as a Traditional Cultural Property to recognize its cultural significance and to
          maintain its integrity as a critical component of Navajo cosmology and overall well-being
          of the Navajo people.” (Rio Grande NF, Assessment 12, Areas of Tribal Importance,
          2015)

   Recreational and Scenic Values

   The Blanca Peak Special Interest Area at its highest point rises almost 7,000 feet above the San
   Luis Valley. The area's soaring elevation, precipitous alpine ridges, and secluded glacial valleys
   and lakes draw mountaineers, hikers, campers, and photographers keen on experiencing
   unforgettable mountain scenery.

   In particular, Blanca Peak, Little Bear Peak, and Ellingwood Point draw thousands of
   mountaineers annually hoping to reach the summits, test their mountaineering abilities in
   highly challenging circumstances and enjoy viewscapes that can extend to points up to 100
   miles away. Little Bear Peak ranks among the most exposed routes to the summit among
   Colorado's 54 fourteeners, which enhances the challenge of this primitive recreational pursuit.
   An estimated 1,000-3,000 climbers attempt Blanca Peak and Ellingwood Point annually, while
   less than 1,000 pursue Little Bear's summit (Colorado Fourteeners Initiative, 2015). The Blanca
   Peak and Ellingwood Point trails from Como Lake were two of only three Fourteener trails in
   Colorado that received an “A” rating by the Colorado Fourteeners Initiative in 2015. This was
   due to work completed on these trails in 2011 and 2012.

   Boundary, Size, and Access

   The proposed Blanca Peak Special Interest Area consists of about 4,300 acres that are adjacent
   to and outside of the existing Sangre de Cristo Wilderness. The SIA boundary could alternatively




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   be drawn to also incorporate the entirety of the Blanca Peak massif, including that portion
   within the designated wilderness area. This would not increase protective management to
   maintain the pristine character of the mountain, but it would better reflect the intact
   wholeness of the mountain in recognition of its cultural significance and apply a management
   obligation to the entire cultural area to protect its special character and purpose. The SIA is
   bounded to the north and northeast by the Pike-San Isabel National Forest, to the south by the
   private Trinchera Blanca Ranch managed under a conservation easement held by the U.S. Fish
   and Wildlife Service, and to the west by BLM lands.

   A rough four-wheel-drive road (Forest Road #975) provides motorized access to Lake Como in
   the center of the area. FR 975 is known as one of the roughest and most challenging, if not the
   most difficult, 4WD roads in Colorado. There are some who value the road for its challenging
   nature, and prefer to try to drive a vehicle to its end point. However, the tribes have concerns
   with oil or other automotive fluid spills, littering, and abandoned car parts desecrating the
   values for which they hold the area sacred. And, many mountaineers and hikers choose to hike
   the road because it is too rough.

   Proposed Management

   Specific management direction is proposed to protect Blanca Peak's unique cultural values, as
   well as it remarkable recreational and scenic values. These recommendations are based upon
   desired experiences of visitors wanting to enjoy specific aspects of the SIA (including cultural
   aspects) that support the stated reasons for the creation of the SIA. These include:

      •   Make the Blanca Peak SIA administratively unavailable for oil and gas leasing and
          mineral material sales, and recommend a mineral withdrawal for locatable minerals.

      •   Management direction must include prohibition on timber harvest and new road
          construction.


      •   Restrict motorized and mechanized travel to only the Lake Como access road. Prohibit
          motorized game retrieval off designated routes. Implement existing travel management
          designations by installing and enforcing a barrier and signage west of Como Lake to end
          motorized use at that location.


      •   Education is recommended for motorized recreationists traveling on the Blanca road to
          discourage littering, abandonment of broken vehicle parts, and also what type of vehicle
          and modifications are necessary to safely and responsibly drive on the road. The area
          should be managed using adaptive management. If monitoring finds more than three
          examples of oil or other automotive fluid spills, littering, abandoned car parts, or similar
          left behind each year, additional action will be considered, including permanently
          closing the road to motor vehicle use.




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      •    Do not allow competitive events on the road or trail, or within the SIA.


      •    Do not allow communication facilities/infrastructure within this area.


      •    Monitor the natural soundscape to ensure that noise stays under specified decibel limits
           (the non-standard motorized vehicles that the road attracts may not be designed to
           meet sound limits). If necessary, establish specific sound limits to protect the natural
           soundscape.


      •    Coordinate closely with the Native American tribes when developing specific
           management direction that protects and interprets the pristine character of the
           mountain and determines access to the resources of particular cultural significance.

      •    Develop an interpretive plan in consultation with the Native American tribes that
           interprets the area's special character and unique values.



   Information Resources

   Topic                                Data Source
   Cultural                             Rio Grande NF Assessment 12, Areas of Tribal Importance,
                                        2015
   Recreation                           Colorado Fourteeners Initiative hiker use estimates, 2015




                                                                        Rvsd Plan - 00002591
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   CHAMA BASIN WATERSHED PROTECTION AREA


   Proposed Designated Area
   Rio Grande National Forest                             22,900 acres
   Conejos Peak Ranger District



   General Description

   Chama Basin is a large, intact roadless area that encompasses the entirety of the Chama River's
   headwaters not already included within the South San Juan Wilderness. The Chama River is the
   largest source of municipal water supply for the majority of New Mexico's urban population.
   Vast tracts of aspen cover much of the basin, and the Rio Chama at its center is a healthy
   montane riparian forest of willow, cottonwood, and alder.

   Chama Basin has been the focus of prior management actions to enhance its value as an intact
   and undisturbed headwaters watershed. In 2011, the Rio Grande NF completed acquisition of
   the mineral rights, consolidating surface and mineral estates under federal jurisdiction and
   thereby assuring compatible management. Chama Basin has previously been evaluated as
   possessing high potential for oil and gas resources. Federal ownership of the mineral estate
   allows complete discretion to the Forest Service about future mineral leasing.



   Watershed values

   The proposed Chama Basin Watershed
   Protection Area consists primarily of the
   21,600-acre Chama Basin Colorado Roadless
   Area, which is primarily an Upper Tier area.
   The area is managed for both non­
   motorized and motorized recreation, and
   cattle and sheep grazing occurs. The basin is
   a compact, confined watershed bounded on
   three sides by high ridges and escarpments,
   with only a single road providing access to
   the southern edge of the basin. (USDA
   Forest Service Colorado Roadless Rule,
   2012)

   The uppermost headwaters of the East Fork of the Rio Chama are situated in the adjacent,
   upstream South San Juan Wilderness. The uppermost headwaters of the West Fork arise within
   the adjacent, upstream Banded Peak Ranch, which is managed compatibly for watershed
   protection under a conservation easement.




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   Over 10 miles of streams within Chama Basin have been determined eligible for inclusion with
   the Wild and Scenic Rivers System. These include both the East Fork and West Fork of the Rio
   Chama, as well as 5 miles of Archuleta Creek. The streams were categorized under the Scenic
   classification, even though the entirety of these segments is inaccessible by road. The 4-5 miles
   of the Rio Chama mainstem should similarly be recognized as eligible for inclusion as a scenic
   river. (Rio Grande LRMP FEIS, 1996)

   Wildlife and Botanical Values

   The area sees high use by lynx, a threatened species. Boreal owl and goshawk, two sensitive
   species, have been documented in the area. Bald eagles use the area in the summer.

   The Rio Chama Potential Conservation Area identified by Colorado Natural Heritage Program is
   entirely contained within the proposed watershed protection area. The Rio Chama PCA is a 191-
   acre site of High Biodiversity Significance identified for its montane riparian forest. The basin's
   broad floodplain has large amounts of alluvium, abandoned river channels, and downed logs
   that create a very dynamic, active riparian system. Biodiversity elements of specific interest
   include mountain willow (Salix monticola)/mesic graminoid montane riparian willow carr, and a
   narrowleaf cottonwood/thinleaf alder (Populus angust.folia/Alnus incana) montane riparian
   forest. (CHNP Potential Conservation Area Report, 2015)

   Boundary, Size, and Access

   The proposed Chama Basin Watershed Protection Area is a well-defined and confined
   watershed. The watershed protection area encompasses 22,900 acres, of which about 21,600
   acres is an Upper Tier Colorado Roadless Area. The western rim and eastern rim of the area are
   the watershed divides. The northern boundary is the national forest boundary or the wilderness
   boundary, with the uppermost mile or two of the West Fork and East Fork located within
   adjacent conserved private land (Banded Peak Ranch) or adjacent designated wilderness (South
   San Juan). The southern boundary is the national forest boundary. Forest Road 121 provides
   access to the southern, lower reaches of the Rio Chama at the forest boundary. A system of
   motorized trails (Archuleta Creek and West Fork) and non-motorized trails (Rio Chama and East
   Fork) provide access to the area's interior.

   Proposed Management

   Specific management direction is proposed to ensure primacy of watershed protection as
   follows:


      •   The Chama Basin Watershed Protection Area must be found unsuitable for oil and gas
          leasing and mineral material sales, and made discretionary no lease for watershed
          protection purposes. The area also needs to be withdrawn from mineral entry.




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      •    Management direction must include prohibition on road construction and limitations on
           tree removal consistent with Upper Tier management prescribed by the Colorado
           Roadless Rule, 36 CFR Part 294.43(b), 294.42(b).


      •    Motorized and mechanized vehicle use can only occur on designated routes that are
           located and managed to minimize impacts to watershed values. Best management
           practices are in place on all access routes and monitored regularly to ensure
           effectiveness.


      •    Eligible Wild and Scenic Rivers must be managed to preserve their eligibility for
           designation under the Wild and Scenic Rivers Act. Management direction must include
           no new roads or expanded motorized access, no water impoundments or diversions, no
           mineral leasing or extraction, and no new surface disturbing activities.
               o The classification of the East Fork of the Rio Chama should be changed to Wild to
                    reflect its condition as a primitive watershed inaccessible by motorized access.
               o The Rio Chama mainstem, from the confluence of the two forks downstream to
                    the national forest boundary, should additionally be identified as an eligible river
                    under the Scenic or Recreational classification.

      •    Develop an interpretive program for the area that educates visitors on the special
           character and watershed values of the area.

   Information Resources

   Topic                                 Data Source
   Biodiversity                          CHNP PCA Report, 2015
   Roadless area                         USDA Forest Service Colorado Roadless Rule, 2012
   Wild and Scenic Rivers                Rio Grande LRMP Final EIS, 1996




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                      Chama Basin Watershed Protection Area




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   SPRUCE HOLE/OSIER/TOLTEC LANDSCAPE CONNECTIVITY ZOOLOGICAL AREA


    Proposed Designated Special Interest Area
    Rio Grande National Forest                          39,500 acres
    Conejos Peak Ranger District



   General Description

   Restoring and maintaining wildlife habitat connectivity within and beyond the National Forest is
   vital for allowing wildlife to migrate, and recover wide-ranging carnivore populations.
   Connectivity is especially important in the face of climate change because it enables species
   that are already stressed to move more easily through the landscape. The proposed corridor
   provides crucial connected habitat for large game species including mule deer, elk, pronghorn,
   and Rocky Mountain bighorn sheep as well as large carnivores such as Canada lynx, mountain
   lions, and black bears. The Rocky Mountain bighorn sheep is a Species of Conservation Concern
   (SCC), and the Canada lynx is protected as threatened under the U.S. Endangered Species Act.
   The proposed corridor connects to a similar proposal made by New Mexico citizens to the
   Carson National Forest and the Rio Grande del Norte National Monument. Through an “all
   lands” approach to coordination, the Forest Service and partners have a unique and inspiring
   opportunity to establish a landscape-scale linkage that can benefit wildlife on into the future.

   Wildlife Habitat Connectivity Values

   The proposed connectivity zoological
   area is a key movement path for wide-
   ranging species between southern
   Colorado and Northern New Mexico.
   Natural Heritage New Mexico identified
   this area as the northern reach of the
   Northern Taos Plateau Wildlife
   Movement Focal Area that spans through
   the RGNF, Carson National Forest, and
   the Rio Grande del Norte National
   Monument that is managed by the
   Bureau of Land Management (Muldavin
   and McCollough 2016). Mule deer and elk
   migrate through the area, and Rocky
   Mountain bighorn sheep make seasonal
   shifts to summering and wintering            A newly released Canada lynx explores his new home in the Rio
   habitat there.                               Grande National Forest. © Richard Reading


   Protecting remaining intact habitat large enough to allow freedom of movement for these
   iconic species has never been more important. Habitat loss, deterioration, and fragmentation




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   have caused Colorado's mule deer population to decline. This is cause for concern, because
   significant numbers of families, particularly in the local area, rely on the species for food.
   Disease and habitat loss have put Colorado's bighorn population in jeopardy. Designation of the
   corridor as Zoological Area would help maintain and restore ecological conditions necessary for
   bighorn to persist in the Forest and beyond the plan area.

   Canada lynx have used this corridor since they were reintroduced by Colorado Parks and
   Wildlife in 1999. Having an established population of lynx back in Colorado is a source of pride
   for all wildlife lovers in the state. Protecting linkages for lynx is incredibly important for their
   long-term viability, and especially now following the large spruce bark beetle outbreak on the
   forest. Lynx are stressed by climate change, timber harvesting, roads, and winter recreation.
   Establishing the corridor will reduce some of these stresses on lynx.

   Additional Biodiversity Values

   Managing the Spruce Hole/Osier/Toltec Landscape Connectivity Zoological Area to maintain
   and restore habitat connectivity would benefit an array of at-risk and special interest species
   along with those identified above. Several RGNF SCCs are likely to occur in the area including
   boreal owl, peregrine falcon, Brewer's sparrow, flammulated owl, golden eagle, olive-sided
   flycatcher, bald eagle, Rio Grande cutthroat trout, Gunnison's prairie dog, among others,
   Ripley's milkvetch, slender cliffbreak, Plumber's cliff fern, Colorado divide whitlow grass, and
   many flowered gilia. The area may provide recovery habitat for federally protected species such
   as Mexican spotted owl, Southwestern willow flycatcher, yellow-billed cuckoo, and New Mexico
   meadow jumping mouse. Some of the migratory birds that likely use habitats in the area on a
   seasonal basis include ferruginous hawks (though some are non-migratory), black swifts, sage
   sparrows, burrowing owls, Cassin's finches, Grace's warblers, Gray vireos, juniper titmouse,
   Lewis's woodpeckers, loggerhead shrikes, long-billed curlews, mountain plovers, pinyon jays,
   and Virginia's warblers.

   Three Colorado Natural Heritage Program Potential Conservation Areas (PCAs) overlap with
   proposed connectivity zoological area. These include the Cascade Creek PCA at Osier and Osier
   Creek PCA, which were identified for Rio Grande cutthroat trout habitat, and the Rito Hondo
   Creek PCA, identified for its occurrences of Ripley's milkvetch.

   The proposed connectivity zoological area overlaps the Spruce Hole - Sheep Creek Upper Tier
   Roadless Area which contains over 3,000 additional acres of ecosystems types that are not well
   represented in the Forest's designated protected areas system. Under-represented ecosystems
   include grasslands and dry mixed conifer forest (The Wilderness Society, 2016).

   Boundary, Size, and Access

   The Spruce Hole/Osier/Toltec Landscape Connectivity Zoological Area contains 39,500 acres of
   the Rio Grande National Forest. It is bounded on the north by the Conejos River as well as Highway 17,
   which also creates the western boundary. For the purposes here, the southern boundary is the




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   Colorado-New Mexico state line where the Rio Grande National Forest meets the Carson National
   Forest. Of course, this political boundary does not demarcate where wildlife movement stops, and a
   shared management strategy for maintaining and restoring habitat connectivity between the Forests is
   encouraged.


   Proposed Management

   The Spruce Hole/Osier/Toltec Landscape Connectivity Zoological Area is proposed for
   designation in order to enhance landscape-level habitat connectivity for large game and large
   carnivores, such as Canada lynx. Specific management direction includes:

      •   Management actions should be driven by the primary need to ensure continued or
          enhanced habitat connectivity and viability of the zoological area for wildlife movement.

      •   Activities currently authorized by the agency in this zoological area shall coexist with
          wildlife movement, migration and dispersal. Changes to current activities and
          infrastructure may be required if found incompatible with the area's wildlife values.

      •   Where possible, augment wildlife values through purchase from willing sellers,
          exchange, transfer or donation of additional acreage of crucial wildlife habitat for their
          migration, movement and dispersal. Acquired lands are to be managed consistent with
          the corridor's standards and guidelines.


      •   Winter, including over-snow vehicle use, and summer recreation activities should
          conform to best available scientific knowledge for mitigating impacts to at-risk and
          other sensitive wildlife species.

      •   Do not authorize new permanent roads within the corridor in order to maintain
          unfragmented habitat for wildlife migration and dispersal.

      •   Establish road and motorized trail density standards within the management area to
          conform to the best scientific recommendations, generally less than one mile per square
          mile (Lyon 1979; Van Dyke et al. 1986a, b; Fox 1989; Trombulak and Frissell 2000; Reed
          et al. 1996; Strittholt and DellaSala 2001; Davidson et al. 1996). Ensure that there will be
          no net increases in densities above a scientific credible threshold. If these densities do
          not exist today, the Forest Service will develop a strategy to achieve them.

      •   All temporary roads are removed and the lands and waters on which they were located
          are restored to natural conditions within one year of the termination of the purpose for
          which they were established.

      •   Decommission and reclaim unauthorized routes and unneeded system roads.




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      •   Establish and implement in a timely manner mitigation standards for existing roads and
          Highway 17 to facilitate movement of wildlife including a reduction in mortality of
          wildlife from vehicle collisions (modified from BLM 2012: 2-55). Coordinate with CDOT
          on planning and projects.

      •   Limit disturbance footprint resulting from vegetation management activities within the
          corridor spatially and temporally (e.g., establish maximum width and acres of any one
          ground disturbance, and limit total acreage of ground disturbance at any one time)


      •   Minimize fencing for livestock and make all fences wildlife friendly. Coordinate with
          permittees to identify fencing that is not critical for livestock operations; fencing that is
          not critical for livestock operations and that is impeding wildlife movement is removed.
          Any new livestock fencing that is installed should be constructed in a manner that will
          minimize disruption to wildlife movement, taking into consideration seasonal migration
          and water resources.


      •   Preclude the granting of new right-of-ways for energy development that would
          negatively impact wildlife, their habitat and its connectivity.

      •   Withdraw the corridor from location and entry under the Mining Law, subject to valid
          existing rights.

      •   Access to inholdings must be maintained at no greater than current standards, and
          reduced or avoided entirely if possible.

      •   The Connectivity Zoological Area must be discretionary no oil and gas leasing, although
          there is low likelihood of oil and gas occurrence in this location. It should be withdrawn
          from mineral entry.




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   Information Resources

    Topic or Data                Data Source
    wildlife movement and        Muldavin, E. and R. McCollough. 2016. Wildlife Doorways: Supporting Wildlife
    wildlife connectivity        Habitat Connectivity Across Borders in the Upper Rio Grande Watershed. Natural
    opportunity data             Heritage New Mexico and University of New Mexico. March.
                                 Center for Native Ecosystems. 2006. Linking Colorado’s Landscapes Species
                                 Movement Arrows.
                                 https://databasin.org/datasets/16d4904566f7446e99768175af07b1e5 .
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                                 Appendix 2 to letter submitted by The Wilderness Society et al on September 6, 2016
                                 on the Wilderness evaluation preliminary report.
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                                 NatureServe Explorer: An online encyclopedia of life [web application]. Version 7.1.
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                                 U.S. Fish and Wildlife Service. Information for Planning and Conservation (IPaC).
                                 https://ecos.fws.gov/ipac/.
    CNHP Potential               Colorado Natural Heritage Program. CNHP Potential Conservation Areas Reports.
    Conservation Areas           http://www.cnhp.colostate.edu/download/gis/pca reports.asp#_c.
    Colorado human population    Svaldi, Aldo. 2015. Colorado’s population jumped by 101,000 in 12 months. Denver
                                 Post. June 13: http://www.denverpost.com/2015/12/22/colorados-population-
                                 jumped-by-101000-in-12-months-2/.
    mule deer and elk wildlife   Big Game Movement, NM Dept. of Game & Fish
    movement data                Elk Migration Patterns, CO Parks and Wildlife 2014
                                 Mule Deer Migration Patterns, CO Parks and Wildlife 2014
                                 Elk Linkage Modeled Southern, Rockies Ecosystem Project/Center for Native
                                 Ecosystems 2009
                                 Colorado Parks and Wildlife. The Story of Colorado’s Mule Deer.
                                 https://cpw.state.co.us/Documents/MuleDeer/ColoradosMuleDeerStory.pdf.
    Rocky Mountain bighorn       Bighorn Overall Range, CO Parks and Wildlife 2014
    sheep                        Bighorn Severe Winter Range, CO Parks and Wildlife 2014
                                 Bighorn Summer Concentration Area, CO Parks and Wildlife 2014
    pronghorn                    Pronghorn Overall Range, CO Parks and Wildlife 2014
                                 Lynx Denning and Winter Habitats, SW CO U.S. Forest Service
    Canada lynx                  Lynx Habitat Other, SW CO U.S. Forest Service
                                 Lynx Potential Habitat, CO Parks and Wildlife 2014
                                 Lynx Linkage Modeled, Southern Rockies Ecosystem Project/Center for Native
                                 Ecosystems 2009
    mountain lion                Mountain Lion Overall Range, CO Parks and Wildlife 2014
    black bear                   Black Bear Fall Concentration, CO Parks and Wildlife 2014
    wolf                         All Species Movement Arrows, Southern Rockies Ecosystem Project
    peregrine falcon nesting     Colorado Natural Heritage Program 2014
                                 Colorado Oil and Gas Conservation Commission 2008
                                 Colorado Parks and Wildlife 2014
    Gunnison’s prairie dog       Gunnison’s Prairie Dog Overall Range, CO Parks and Wildlife 2014
    Brazilian free-tailed bat    Overall Range, CO Parks and Wildlife 2014
    Rio Grande cutthroat trout   Colorado Natural Heritage Program




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                              to Conserve Utah’s Biological Diversity. Great Basin Naturalist 56(2):95-118.
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                              of North Dakota. Grand Forks, ND.
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                              Lindzey, F. G. (1986b). Reactions of Mountain Lions to Logging and Human Activity.
                              Journal of Wildlife Management. 50(1): 95-102.
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    SUMMER COON LA VENTANA GEOLOGIC AREA


   Proposed Designated Area
   Rio Grande National Forest                           22,400 acres
   Divide Ranger District



   General Description

   The proposed Summer Coon La Ventana Geologic Area offers a unique opportunity to see well-
   preserved outcrops representing the earliest evidence of the Rio Grande continental rifting. The
   proposed area incorporates much of an ancient stratovolcano (a composite layered structure
   built up from sequential outpourings of eruptive materials), a nearly perfect pattern of radial
   dikes, and the La Ventana Natural Arch eroded into the center of one of the most prominent
   dikes. The area includes significant cultural, botanical and ecological values in addition to its
   notable geological importance.

   The Summer Coon La Ventana Geologic Area expands the existing 8,441-acre Elephant Rocks
   Special Interest Area to incorporate the entirety of the Summer Coon volcanic field, particularly
   the well-developed radial dikes originating from the area's center. The existing SIA was
   designated in the prior Forest Plan for a portion of the Summer Coon volcanic features as well
   as rare botanical features in the form of a Forest Service sensitive species, the rock-loving
   Neoparrya.

   The Natural Arch is a traditional cultural property considered sacred to the Ute and Jicarilla
   Apache. Extension of the SIA to include the La Ventana Natural Arch expands the represented
   values to include cultural as well as geologic and ecological values. The expanded boundary
   encompasses lower elevation 8,880-foot ecosystem types representative of the foothills
   surrounding the San Luis Valley, with grassland, pinyon-juniper and ponderosa pine woodlands
   transitioning to higher elevation Douglas-fir
   and aspen at over 11,000 feet.

   Geologic and ecological values

   Summer Coon is an eroded Oligocene-aged
   stratovolcano located in the eastern San
   Juan Mountains of Colorado, on the
   western edge of the San Luis Valley. It is
   noteworthy because it marks the beginning
   of the Rio Grande rift - about 34 million
   years ago - when rising magma was
   threatening to pull the continental plate
   apart. The volcano is tilted slightly; this
   probably occurred after eruption as the rift




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   system grew and lifted. The volcano has well developed radial dikes, but no ring dikes. La
   Ventana is a natural arch eroded into the long, narrow wall of one of the most prominent dikes.
   The central intrusive complex appears as a group of low hills running north-northwest in the
   center of the volcano. The hills are surrounded by an approximately circular alluvium-filled
   valley about two miles in diameter. This volcano is part of a larger volcanic complex in the area
   that erupted from about 31 million years ago to 22 million years ago and is now represented by
   a series of calderas.

   Erosion has uncovered the former stratovolcanco down to its base, revealing a complete basal
   section of the 8-10 mile diameter cone. A geology driving tour along Saguache County Road A32
   provides an educational introduction to readily accessible and interesting stops. (Noblett and
   Loeffler, 1987), and could be expanded into an engaging interpretive tour for forest visitors.

   The Summer Coon La Ventana Geologic Area includes a portion of the Elephant Rocks Potential
   Conservation Area identified by Colorado Natural Heritage Program. This PCA is a complex of
   volcanic boulders, rock outcrops, and shrublands separating the prairie of the valley floor from
   the San Juan Mountains and contains both rare plant and animal species, which results in its
   rank of High Biodiversity Significance. Specific biodiversity elements present include a medium­
   sized population of the rock-loving Neoparrya - an herb that is restricted to south-central
   Colorado; a rare milkvetch (Astragalus cerussatus) with only 20 known occurrences; and a silky
   pocket mouse subspecies population found here that is restricted to the San Luis Valley and is
   rare within its range. (CHNP Potential Conservation Area Report, 2015)

   The Eagle Mountain PCA is also located within the proposed Summer Coon La Ventana Geologic
   Area. The PCA includes the cliffs around Eagle Mountain and Eagle Rock, and is identified as of
   General Biodiversity Interest because of its nesting habitat for peregrine falcons. (CHNP
   Potential Conservation Area Report, 2015)

   Cultural Values

   The Natural Arch is considered sacred to the Jicarilla Apache and Ute people. The Forest Service
   presently manages it as a traditional cultural property because of significance to the indigenous
   peoples. The Rio Grande NF's Assessment of Areas of Tribal Importance describes the arch's
   significance in cultural ceremonies and as a rendezvous location. (Rio Grande NF Assessment
   12, 2015)

   Boundary, Size, and Access

   The proposed Summer Coon La Ventana Geologic Area consists of 22,400 acres, which
   incorporates the entirety of the existing 8,441-acre Elephant Rocks Special Interest Area. The
   geologic area is contiguous on the east with a portion of BLM's popular Penitente Canyon
   Special Recreation Management Area. The geologic area is defined by La Garita Creek on the
   north, by the national forest boundary on the east and south, and generally by Old Woman
   Creek or private land along the west. Saguache County road A32 provides access directly to the




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   interior of the area, and Forest Road #659 leads to the La Ventana Natural Arch. The expanded
   boundary better captures the geologic, ecological, and cultural features than the previous
   Elephant Rocks Special Interest Area boundary and is more appropriate for conserving this
   unique landscape.

   Proposed Management

   Specific management direction is proposed to protect and interpret the area's scenic character,
   botanical and geologic features, and cultural and recreational values. These recommendations
   are based upon desired experiences of visitors wanting to enjoy specific aspects of the Geologic
   Area (including cultural aspects) that support the stated reasons for the creation of the area.
   These include:


      •    The Summer Coon La Ventana Geologic Area must be administratively unavailable for oil
           and gas leasing and mineral material sales, and a mineral withdrawal needs to be
           recommended for locatable minerals.

      •    Management direction must include prohibition on timber harvest and new road
           construction.

      •    Motorized and mechanized travel must be restricted to designated routes and
           motorized game retrieval off designated routes must be prohibited.

      •    The Forest Service should develop an interpretive program for the area that at a
           minimum includes and interpretive driving tour that teaches about the area's unique
           and special qualities. The Forest Service should consider developing non-motorized
           interpretive trails as well. Interpretation of cultural values should be done in close
           cooperation with Native American tribes.


      •    Prohibit rock climbing on the dike on which the arch is located to protect cultural values.




   Information Resources

   Topic                                Data Source
   Geology                              Noblett & Loeffler, Summer Coon Volcano Geology, Colorado
                                        College, 1987
   Cultural                             Rio Grande NF Assessment 12, Areas of Tribal Importance,
                                        2015
   Biodiversity                         CHNP PCA Reports, 2015




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                      Summer Coon La Ventana Geologic Area




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   WOLF CREEK PASS LINKAGE LANDSCAPE ZOOLOGICAL AREA


   Proposed Designated Area
   Rio Grande National Forest                             22,300 acres
   Divide Ranger District



   General Description

   The Wolf Creek Pass Linkage Zoological Area is the most important wildlife linkage zone in the
   San Juan Mountains. It is situated in the very heart of the San Juan Core Area for lynx, which
   comprises the core reintroduction area and the most expansive lynx habitat in the Southern
   Rockies. The Wolf Creek Pass linkage has been frequently utilized by lynx, and presumably may
   be important for other species such as pine marten, boreal owl, and wolverine in the future.

   The proposed Zoological Area includes the most complex management landscape on the Rio
   Grande National Forest. Much of the area has experienced severe mortality from spruce beetle,
   and the largest wildfires in the recent history of the San Juan Mountains have occurred in close
   proximity. The linkage area includes designated wilderness, Colorado Roadless Areas, and the
   Continental Divide National Scenic Trail, but it also incorporates a permitted ski area, a busy
   highway corridor, private inholdings, water impoundments, high recreation use both winter
   and summer, and past and present timber harvests. Moreover, the viability of the linkage area
   will be tested in the future by rapidly changing habitat conditions. The combination of spruce
   beetle epidemic, large intense wildfires, and climate change will impose new stresses in this
   area.

   A Zoological Area designation will
   focus the needed management
   attention on this crucial landscape
   for wildlife and landscape
   connectivity and emphasize the
   priority of juggling many competing
   human activities in order to
   preserve the viability of the linkage.
   The area was originally identified in
   the Southern Rockies Lynx
   Management Direction as a “lynx
   linkage area,” which are “areas of
   movement opportunity” and “can
   be maintained or lost by
   management activities.” (Forest
   Service 2008 at Appendix D)




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   Linkage values

   The Forest Service has previously succinctly defined the critical significance to lynx of the Wolf
   Creek Pass linkage:

          Lynx are heavily using the Wolf Creek Pass Lynx Linkage area as a dispersal corridor and
          the viability of this linkage is important to the recovery of lynx in Colorado. The linkage
          spans a forested swath over the Continental Divide between large blocks of highly
          effective subalpine habitat. Lynx denning and established home ranges have been
          identified to the north and south of the Wolf Creek Pass Lynx Linkage. The linkage is part
          of the Colorado Division of Wildlife's “Core Research Area” in the San Juan Mountains,
          recognized as the largest continuous block of high quality lynx habitat in the state and
          where the CDOW focused their 10-year lynx monitoring and research efforts. (Village at
          Wolf Creek FEIS, 2014)

   Managers concur that maintaining landscape-level habitat connectivity may be paramount to
   maintaining a viable population because of the patchy, discontinuous distribution of lynx
   habitat in the Southern Rockies Ecosystem. For that reason, landscape linkages must be
   available to allow lynx movements between adjacent mountain ranges. Linkage areas are areas
   of movement opportunities. They exist on the landscape and can be maintained or lost by
   management activities or developments. (Village at Wolf Creek FEIS 2014; Southern Rockies
   Lynx Amendment 2008)

   The Wolf Creek Pass Linkage Zoological Area includes significant portions of two Colorado
   Roadless Areas, both managed as Upper Tier. A portion of the Trout Mountain-Elk Mountain
   roadless area is located immediately north of Highway 160, and the western half of the Fox
   Mountain roadless area is incorporated within the southern half of the linkage area.

   The Continental Divide National Scenic Trail corridor defines the southern border of the linkage
   area. The trail corridor is managed to provide high-quality scenic, primitive hiking and
   equestrian opportunities. (Forest Service Manual 2350, 2009)

   Two Potential Conservation Areas identified by the Colorado Natural Heritage Program are
   located largely within the Wolf Creek Pass Landscape Linkage Special Interest Area boundary.
   The Haven of the Reflected Moonwort PCA is in the subalpine zone near the Continental Divide.
   It is ranked as High Biodiversity Significance for its occurrences of the moonwort family. The
   Pass Creek at South Fork Rio Grande PCA is ranked as a Moderate Biodiversity Significance site
   owing to an historic Rio Grande cutthroat trout population. (CHNP PCA Reports, 2015)

   Boundary, Size, and Access

   The proposed Wolf Creek Pass Linkage Zoological Area is bounded on either side of Highway
   160 eastern approach to Wolf Creek Pass by major watershed and topographic divides. It
   includes about 22,300 acres on the Rio Grande National Forest, and there are additional lands




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   on the adjacent San Juan National Forest.

   Proposed Management

   The Wolf Creek Pass Linkage Zoological Area is proposed for designation in order to ensure its
   conservation as a landscape-level habitat connectivity for lynx and other wildlife. Specific
   management direction includes:


      •   Management actions must be driven by the primary need to ensure continued or
          enhanced habitat connectivity and viability of the linkage area for wildlife movement.

      •   The Wolf Creek Pass Linkage Zoological Area must be discretionary no oil and gas
          leasing, although there is low likelihood of oil and gas occurrence in this location. It
          should be withdrawn from mineral entry.

      •   Management direction must include prohibition on road construction and limitations on
          tree removal for the two roadless areas consistent with Upper Tier management
          prescribed by the Colorado Roadless Rule, 36 CFR Part 294 Subpart D.


      •   Do not authorize new permanent roads within the corridor in order to maintain
          unfragmented habitat for wildlife migration and dispersal.


      •   Decommission and reclaim unauthorized routes and unneeded system roads.

      •   Establish road and motorized trail density standards within the management area to
          conform to the best scientific recommendations, generally less than one mile per square
          mile (Lyon 1979; Van Dyke et al. 1986a, b; Fox 1989; Trombulak and Frissell 2000; Reed
          et al. 1996; Strittholt and DellaSala 2001; Davidson et al. 1996). Ensure that there will be
          no net increases in densities above a scientific credible threshold. If these densities do
          not exist today, the Forest Service will develop a strategy to achieve them.

      •   All temporary roads are removed and the lands and waters on which they were located
          are restored to natural conditions within one year of the termination of the purpose for
          which they were established.


      •   Establish and implement in a timely manner mitigation standards for existing roads and
          Highway 160 to facilitate movement of wildlife including a reduction in mortality of
          wildlife from vehicle collisions (modified from BLM 2012:2-55). Coordinate with CDOT
          on planning and projects.


      •   Limit disturbance footprint resulting from vegetation management activities within the
          corridor spatially and temporally (e.g., establish maximum width and acres of any one
          ground disturbance, and limit total acreage of ground disturbance at any one time)




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      •    Winter and summer recreation activities must conform to best available scientific
           knowledge for mitigating impacts to lynx and other sensitive wildlife species, and, if
           necessary be limited spatially and/or temporally.

      •    Changes in operation or permit boundaries of Wolf Creek Ski Area must be designed to
           avoid new impacts to use of linkage corridor.


      •    Access to inholdings and new recreation developments must be maintained at no
           greater than current standards, and reduced or avoided entirely if possible.


      •    Coordinate with grazing permittees to identify fencing that is not critical for livestock
           operations. Fencing that is not critical for livestock operations and that is impeding
           wildlife movement is removed. Any new livestock fencing that is installed should be
           constructed in a manner that will minimize disruption to wildlife movement, taking into
           consideration seasonal migration and water resources.

   Information Resources

   Topic            Data Source
   Lynx             Village at Wolf Creek FEIS, 2014
   Biodiversity     CHNP PCA Report, 2015
   Roadless area    USDA Forest Service Colorado Roadless Rule, 2012
   Wildlife         Bureau of Land Management. 2012a [BLM]. Lower Sonoran and Sonoran National
   crossings        Monument Proposed Resource Management Plan and Final Environmental Statement. June
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                VanDyke, F. G., Brocke, R. H., and Shaw, H. G. (1986a). Use of Road Track Counts as Indices
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                      Wolf Creek Pass Landscape Linkage Area




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                                Appendix D




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   DECKER CREEK GUNNISON SAGE GROUSE PROTECTION AREA

    Proposed Designated Area
    Rio Grande National Forest                               3980 acres
    Saguache Ranger District


   General Description
   This area contains currently occupied habitat for the only remaining population of Gunnison
   Sage Grouse (Centrocercus minimus) in the San Luis Valley area. This species is critically
   imperiled on a global scale, and was listed as a threatened species by the US Fish and Wildlife
   Service in November of 2014.

   Designation of this area as a Special Interest Area (SIA) would ensure that appropriate and
   necessary increased management actions would occur in order to protect this species and its
   known and potential habitat.

   Biodiversity values
   The Gunnison Sage Grouse in this area are one of only seven separate populations of this
   species. It is important to maintain these separate populations in order to preserve and develop
   genetic variability for this species.

   Gunnison Sage Grouse were first reintroduced into historic habitat in this area in the early 1970s
   to augment an existing population. The small population of grouse in this area initially thrived
   and remained stable. This population has waxed and waned over the years due to management,
   mismanagement and unknown factors, but tenuously remains.

   Gunnison Sage Grouse are seldom seen. Accurate population numbers are difficult to determine
   and are estimates primarily based upon observations at lek sites.

   The proposed Decker Creek Special Interest Area includes approximately 3980 acres of non­
   Wilderness Forest land identified as overall range and historic habitat for Gunnison Sage Grouse,
   including 2012 acres identified as a part of a grouse production area, according to 2015 Colorado
   Parks and Wildlife GIS data. The forest land is adjacent to and contiguous with a much larger
   area of area of land managed primarily by the Bureau of Land Management, which contains an
   active grouse lek site and additional habitat for this species.

   Sage Grouse are dependent upon sagebrush for nesting, cover and food, and national forest lands
   in this area contain sagebrush and other known and potential habitat for this species.

   Boundary, Size, and Access
   The proposed Decker Creek Special Interest Area consists of about 3980 acres that are adjacent
   to and outside of the existing Sangre de Cristo Wilderness. This area is located on the slopes of
   the Sangre De Cristo Mountains southeast of Poncha Pass. It is bordered by USFS land to the
   east, Pike San Isabel National Forest land to the north, and BLM land (with some private land) to
   the west.




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   The SIA is split into two units of national forest land which are separated by Sangre de Cristo
   Wilderness Area lands which extend all the way down to the BLM land boundary to the west
   near Merkt Creek.

   The northern unit of this SIA is about 2550 acres in size. Most of land within this unit of the SIA
   is within the Dorsey Creek Roadless Area. A dead end 1.6 mile long segment of the Forest Road
   990 the Dorsey Creek road is within this area.

   The southern unit of this SIA is about 1430 acres in size. Most of the land within this unit is
   within the Butterfly Roadless Area. Segments of Forest Road 980 the Rock Creek road and
   Forest Road 982 the Ditch Road pass through this unit. In the southern part of this unit there is
   an unused dead end section of the Butterfly Creek Road #982, and a non-existent and closed on
   the ground segment of the Eaglebrook Road #980.

   North Decker Creek flows through this SIA roughly in the middle of this area.

   Both of these units contain land within a Gunnison Sage Grouse Production Area, defined as
   land within four miles of the known active lek site in this area

   Proposed Management
   We propose specific management to protect the population and habitat of Gunnison Sage Grouse
   in this area. We believe increased management of this area is necessary in order to mitigate and
   reverse estimated population declines of grouse here.

   Only within the last couple years has the BLM implemented any substantive management
   actions to protect habitat for grouse in this area, such as implementing seasonal closures of roads.
   Additional management on adjacent USFS lands would compliment BLM actions and improve
   conditions for this species in this area.

   Desired conditions
      Populations of Gunnison Sage Grouse in this area are stable or increasing.
      Management activities in this area are designed to maintain or enhance biological diversity
   and to preserve the habitat of all native species of plants and animals, especially threatened
   species such as Gunnison Sage Grouse. Management activities maintain or enhance Sage
   Grouse habitat quality and reproductive success. For the most part, the landscape appears
   natural. Insect and disease losses generally are accepted.
      Permitted, administrative and public use of this area does not negatively impact Gunnison
   Sage Grouse or its habitats.
      Motorized travel within this area is restricted to a limited number of designated routes.

   Standards
   1. For management activities in sage grouse habitat, retain or enhance existing habitat by:
       • Managing for native vegetation,
       • Retaining a minimum of five percent of sagebrush over 48 inches in height where site
           characteristics allow, and




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       •   Maintaining the existing canopy cover of sagebrush.

   2. Restrict the use of insecticides in sagebrush habitat to maintain adequate insect populations for
   grouse.

   3. Maintain and manage to retain a continuous canopy cover of herbaceous plants of the highest
   average height possible in sage grouse nesting habitat during the sage grouse nesting and early
   brood-rearing season (generally from April 1 to July 31).

   4. Restrict activities that have the potential to impact sage grouse breeding activities from April 1
   to July 31 in this area to minimize any negative impacts to reproductive success or survival.

   5. New travel routes, temporary routes and facilities are located outside of this SIA to preserve
   habitat integrity and effectiveness.

   6. Off route motorized and mechanized travel is prohibited within this SIA, including travel for
   game retrieval, firewood gathering, dispersed camping or recreation. Over snow vehicle use is
   restricted to designated routes.

   7. This SIA is not part of the suitable timber land base.

   8. This area will be withdrawn from mineral entry and is not available for oil and gas leasing.

   9. New water developments, corrals, or holding pens for livestock are located outside of this
   SIA.

   Guidelines
    1. Restrict burning of sagebrush patches to maintain an adequate seed source for sagebrush
   regeneration.

   2. If restoration of habitat in occupied sage grouse habitat is deemed necessary, design treatments
   to meet the goals as described in current literature on sage grouse habitat.

   3. When implementing any vegetation management activities in this SIA:
       • Incorporate actions to remove invading conifers in order to maintain and expand the
         sagebrush cover type.
       • Incorporate actions to reduce or eliminate non-native plant species and promote the re­
         establishment of native plant species.
       • Limit the use of herbicides to direct application when necessary for eliminating or
         reducing non-native plants in sagebrush areas in order to minimize impacts to sagebrush.

   4. Limit the installation of new fences, power lines, and other structures in this SIA to reduce
   possible raptor perches and maintain sagebrush.




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   5. Manage livestock activity near known or suspected sage grouse nesting areas from April 1 to
   June 30 to reduce the likelihood of livestock trampling of sage grouse nests. Actions to consider
   include, but are not limited to:
       • Seasonally prohibiting livestock driving and presence in this SIA.
       • Using pastures or areas during the nesting season that are not near sage grouse
   nesting areas.
       • Providing livestock mineral supplements and water sources away from sage grouse
   nesting areas.

   6. Manage developments and activities within or adjacent to springs, seeps, and riparian areas
   that may reduce water availability or soil moisture in order to maintain or improve sage grouse
   habitat. Actions to consider include but are not limited to:
        • Livestock enclosures
        • Natural barriers to ungulates
        • Limiting or prohibiting water diversions

   7. Reduce temporary and permanent modifications to sagebrush cover type, including, but not
   limited to, roads, and livestock improvement developments

   8. Properly implement travel restrictions. Unauthorized and non-system routes are closed and
   rehabilitated. Coordinate with the BLM and adjacent land owners to help ensure compliance.

   9. Remove all unnecessary infrastructure.

   10. Restrict and/or prohibit any dispersed recreational activities, such as recreational target
   shooting, drone use, etc. as necessary in order to protect Sage Grouse and their habitat.



   Innformation Resources
   Threatened Status for Gunnison Sage-Grouse: Final Rule, Federal Register, 79 Fed Reg 69192
   et seq., November 20, 2014.

   Colorado Natural Heritage Program Decker Creek Potential Conservation Area




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                      Decker Creek SIA depicted in light blue shading




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             Wolverine Study Maps
             NDVI Values

             Recreation Intensity Classes: Northern 2010-2012

             Recreation Intensity Classes: Southern 2010-2012

             Recreation Intensity Classes: Northern 2010

             Recreation Intensity Classes: Northern 2011

             Recreation Intensity Classes: Southern 2012

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             Recreation Intensity Classes: Combined Areas 2010 - 2012

             Landfire Existing Veg Type

             Distance to groomed snowmobile routes

             Ruggedness

             Tasseled Cap Brightness Index


             Wolverine Study Reports
             Investigating the Relationship Between Winter Recreation and Wolverine Spatial Use in
             Central Idaho

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                       AND Winter Recreation

                            2015 Progress report




December 30, 2015




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              Wolverine - Winter Recreation Research Project:
           Investigating the Interactions between Wolverines and Winter Recreation

                                       2015 Progress Report



December 30, 2015


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us Fish and Wildlife Service
IDAHO State Snowmobile Association
Brundage Mountain Resort
grand Targhee Resort
Jackson Hole Mountain Resort
central Idaho Recreation Coalition
Defenders of Wildlife
The Wolverine Foundation
The Sawtooth Society
The winter recreation communities of central Idaho and western Yellowstone.



To obtain additional project information, see www.roundriver.org/wolverine




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indebted to Mark Hebblewhite (University of Montana) for his advice and guidance as a member of our science team. We
also want to thank Mark Drew, IDFG Veterinarian. for his assistance and time in training us and helping us safely
anesthetize wolverines as well as Dr. Don. Betts of Driggs, Idaho and Dr. Mary Wood (Wyoming Game and Fish). Many
others have helped us - we thank you all for your assistance and support.

We have invested a large amount of effort in. the processing, management and organization. of numerous large and
complex spatial data sets generated or needed by the project. Julia Smith, RRCS, has assumed much of this work and we
are grateful for her time, skill and diligence. Similarly, our large field crews, spread across many field sites and study
areas, could have been. a logistical nightmare if it were not for assistance with project and personnel management provided
by Kathleen. Wilson, RRCS.

The backbone of this research is high quality data collection. under often. times challenging winter remote backcountry
conditions. We are very grateful for the fearless but always impeccably safe flying of Mark Packila along his uncanny
ability to find wolverines. We are indebted to our hard-working 2015 field crew, many who have returned to us year after
year and always see the project through to the spring-muddy end: Matt Amick, Anne Blackwood, Grace Carpenter, Chris
Cole, Zack Farley, Tom Glass, Dylan. Hopkins, Lindsay Jones, Matt Kasprzak, Chris Klingler, Tulley Mackey, Cy
McCullough, Josh Metten, Nick Miller, Katy Nelson, Carson. White and Jarrod Zweigart. The commitment,
professionalism and good humor of our field staff have made the project not only successful but also good fun.

We thank the hundreds of recreationists who agreed to carry funny little orange data loggers while out having fun. and
who took the time to return them to us. Your contribution. provides a critical foundation. to the project.

Finally, we thank the wolverines, some who also carried funny, little data loggers for us and who have taught us so much.




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Wolverine - Winter Recreation Research Project
2015 Progress Report




Introduction
The potential effects of winter recreation on wolverine reproduction, behavior, habitat use and populations are unknown
but of concern (Greater Yellowstone Coordinating Committee 1999, Carroll et al. 2001, May et al. 2006, Copeland et al.
2007, Krebs et al. 2007). In Canada, which could be considered the North American stronghold for the species, wolverine
status was changed to ‘Special Concern’ in May 2014 with increased winter recreation, use combined with sensitivity of
denning females listed among the primary reasons for this change (www.cosewic.gc.ca).
The goal of the Wolverine - Winter Recreation. Study is to robustly identify and evaluate wolverine responses to winter
recreation. We have completed the data collection. efforts with our 6th winter field season. in 2015. Our focus now is on.
analyzing the complex array of human. and animal data to evaluate potential responses of wolverines to different types and
intensities of winter recreation. This progress report summarizes the efforts of the last field season.


2015 Summary of Efforts
In 2015, we concluded our major field data collection efforts to document wolverine and backcountry winter recreation
presence, movements and habitat use.

2015 Study Areas
In 2015, we continued the monitoring of wolverines and winter recreations in key study areas in. central Idaho (Payette
and Boise National Forests) while focusing our core effort on. completing the second full year of data collection. in. the
western Yellowstone region. of Idaho, Montana and Wyoming.

The western. Yellowstone study areas fall across five federal jurisdictions and three states. The ‘Island Park’ study area
includes the Centennial and Henry Mountains straddling the Idaho-Montana state line on. the Caribou-Targhee, Custer-
Gallatin. and Beaverhead-Deerlodge National Forests (NFs). The Teton. study area encompasses the Teton. Mountains
which fall within. the Caribou-Targhee and Bridger-Teton NFs and Grand Teton National Park in Idaho and Wyoming
(Figure 1).

Wolverine Monitoring
We undertook both live trapping and camera trap-hair collection monitoring in the western Yellowstone study areas and
camera trap-hair collections to continue monitoring wolverines in the key study areas in central Idaho.


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Figure 1. Idaho Wolverine-Winter Recreation Study Region and Study Areas: Central Idaho study areas on the Payette, Boise and Sawtooth National
Forests indicated by blue circles, western Yellowstone study areas indicated by red circles.




Salmon Mountains Study Area. In central Idaho, we completed camera and DNA (hair) collection, efforts in the Salmon
Mountains near McCall on the Payette and Boise National Forests. This winter represented our 6th year of monitoring
wolverines in this popular winter recreation area. Our efforts in 2010 and 2011 identified four reproductively active
females and four resident males. Based on our subsequent monitoring through 2015, most of these resident animals are no
longer present with the exception. of F5 who is tentatively identified in photographs near Warm Lake Summit in March
2015 on. a station. she has routinely visited in. prior years. In. 2014, we identified and monitored two new wolverines in. the
Salmon. Mountains (one male M12, one female F10) with apparent resident behaviors (e.g., maintain home ranges) with
the female establishing a reproductive den. in. 2014 (Heinemeyer et al. 2014).

We monitored 10 camera-hair snare stations in. the Salmon. Mountain study area from January-March 2015 for over 700
nights of effort. We did not confirm F10 in. the area during 2015 but did have un-identified wolverines visiting the
camera-hair snare sites in. or near her 2014 home range; these visits did not result in. sufficient hair collection. for DNA
analyses and photos were inconclusive on. individual identification. We initially identified and GPS-collared M12 in. the
Salmon. Mountain. study area in. 2013-14 documenting his movements within. the area previously identified as the home
ranges of original M2 and M3, and adjacent to the still resident M1. In. 2015, we did not detect M1 but found M12 at
baited stations within. M1, M2 and M3 original home ranges (Figure 2): M12 was found at 9 of our 10 sample sites. If
indeed he maintains this vast area as a territory, it would potentially encompass over 1,100 sq. miles rivaling the largest
home range we have documented during the study and well exceeding the ‘typical’ male home range of 500-800 sq. miles.
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Based on our camera stations, it appears that the number of wolverines in our Salmon Mountain study area is currently
lower than when we initiated the project in 2010. Most notable has been the incremental loss of resident animals without
identifying new animals filling these vacant home ranges at densities we initially saw. The probability that we simply did
not detect new or resident animals is relatively low given the monitoring effort we invest in the region. Recent analysis
suggests that the probability of detecting a wolverine with a baited camera station within its home range over one winter is
86% (Inman et al. 2015). The density of camera - hair snare stations that we deployed and maintained would equate to
two or more stations within a typical female home range and more than that within a typical male home range.
Additionally, the known resident wolverines readily come into the baited stations and we typically have identified them
multiple times over any winter season.




Figure 2. Home ranges of wolverines monitored in the winter of 2014 in the Salmon Mountains near McCall, Idaho. One female F12 was collared on
2014 (location shown), but was never relocated and was likely a transient; another female, F10, denned in late February and her approximate den site
is shown. In 2015, M1, F10 and F3 were not detected and are likely no longer present and M12 was identified at baited camera stations in both his
2014 area and the area occupied by M1 in prior years.




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Western Yellowstone Study Areas. In our western Yellowstone study areas (Centennials, Henrys, Tetons), we undertook a
mix of live trapping and camera-hair snare monitoring to build on efforts started in 2014.

We deployed 5 camera-hair snare stations in the Centennial Mountains at sites that were live traps in 2014. These camera
traps were run for a total of 399 trap nights between early January and late March 2015. In this second year of focused
effort, we again did not detect a wolverine in the Centennial Mountains (Table 1). We also attempted to undertake an
aerial track survey in the Centennials in March 2015 but weather prohibited completing the effort. The Centennials
historically were known to support wolverines. Inman (2007) reported five mortalities (3 female, 2 males) between 2001
and 2005 in or near the Centennial Mountains; his work represents the last confirmed observations of wolverines in the
mountain range.

In 2014, 2 wolverines (1 male M14, 1 female F11) were captured in the Henry Mountains along the Montana-Idaho
border north of the Centennial Mountains. Genetic analysis indicates that F11 is the mother of M14, likely a kit from
2013. She did not den in 2014 and we re-deployed the trap effort in the Henry Mountains in 2015 with the hope of
monitoring her through a denning cycle. We did successfully GPS collar her along with a new male M15. We did not
detect M14. The female established a reproductive den in late February and we were able to monitor activity at the den
through fixed wing flights. Her collar malfunctioned and we were unable to obtain GPS data. This den represents the ninth
reproductive den that we have documented. We visited the den site in August after F11 abandoned it, and recorded habitat
and structure information. The den was located on the lower slope of a headwall in an area composed of extremely large
talus boulders (Figure 3).

We obtained DNA results that show that M15 is also the son of F11 and the sibling of M14. The father is unknown. The
male M15 shows movements characteristic of a resident animal and he maintained a home range covering 619 sq. miles
including the Henry Mountains and the southern portion of the Madison Range (Figure 4).

We increased our trapping efforts in 2015 in the Tetons after only capturing a single male (M13) in 2014. We established
research teams on both sides of the mountain range and undertook a significant trap effort logging 460 total trap nights
over the January-March trapping season using both live traps and camera traps. In addition to live traps (239 trap nights),
we set up camera-hair snare traps (221 trap nights) for all or part of the winter season (Table 1). The only wolverine
detected was again was M13 (nicknamed “Jed”). From DNA analysis, we know he was initially captured in 2002 in
another study in the area when he was identified as a subadult at that time. That original capture makes Jed an estimated
14+ years old - well past prime age and it would be expected that he should have been displaced by a younger, prime-age
male if one were present. His relatively small home range of 355 sq. miles may be a reflection, of his age (Figure 5). We
did not identify any females in the Tetons.

We closed trapping in the Tetons in mid-March due to early spring conditions, in late March in the Centennials and by the
end of April in the Henry Mountains, prior to grizzly bear emergence. We made a concerted effort through the end of
April to recapture F11 to retrieve the malfunctioned collar before it fell off but we were not successful.

All data from the 6 previous years of wolverine tracking efforts were harmonized and compiled into a single geodatabase
with final versions of each animal’s points, tracks, and calculated home range for each season in which there was
sufficient data for analysis (Table 2).




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Table 1. Summary of trapping effort during January-April 2015 within each of the primary mountain ranges or study areas: for each area, the total
number of wolverines captured (including recaptures of the same animal) is listed first and the capture success rate is indicated as (captures/100 trap
nights).
Study Area                    Total Trap Nights           Live Trap       Wolverines Captured           Camera Trap             Photo Captures
                                                            Nights                                          Nights
Henrys (2 traps)                      125                     85                   41 (0.05)                  40                    63 (0.15)
Centennials (5 traps)                399                       0                       0                     399                        0
Salmons (10 traps)                   718                       0                       0                     718                    174(0.02)
Tetons (10 traps)                    460                     239                   32 (0.01)                 221                    35 (0.01)
1 “M15” (x3), “F11” (1x); 2 “M13” (3x); 3 “F11” (3x); 4 “M12” (5x; maybe 6); 5 “M13” (1x)




Figure 3. The denning area of F11 is shown in the upper photo - for scale, look in the lower left quadrat for the field technician lying in the grass. In
the lower photo, Kim walks below the large boulder that formed the entrance to the den under the snow.




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Figure 4. Home ranges of F11 (from 2014 location data) and M15 (2015 location data) in the Henry Mountains with the relative intensity of
snowmobile recreation estimated based on an early spring aerial recreation survey; GPS tracking of winter recreationists was limited to the southern
portion of this area.




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Figure 5. The 2015 minimum convex polygon home range of M13 in the Tetons showing the concentration of winter recreation activity (documented
through GPS handouts at all major trailheads) is in the southern portions of his territory and to the south of his territory.




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Table 2. Summary of wolverine location and home range data collected over 6 years of field work; only animals with at least 3 weeks of monitoring
are included.
Sex                  N         Years                 n        Days      MCP Ave (range) in km2          MCP Ave (range) in mi2

F                     10           1-3         818-2976        25-95                  357 (162-563)                 138 (63-217)
M                      9           1-4         316-3217        21-79               1138 (440-2365)                439 (170-1170)




Recreation Monitoring
We continued recreation, monitoring in both the Henry and the Teton Mountains including handouts of GPS trackers to
backcountry recreationists in the 2015 winter field season. A total of 1,239 GPS tracks were collected from January-
March: 83 in the Henrys (82 snowmobile tracks, 1 backcountry ski track) and 1,156 in the Tetons (77 snowmobile tracks,
1,067 ski/snowboard tracks, and 12 mixed recreation. tracks; Figure 6). The GPS tracks collected in 2015 combined with
the nearly 2,000 collected in. the previous winter will provide high quality location. data that can. be used at multiple spatial
and temporal scales to evaluate wolverine responses in. the Tetons and Henry Mountains, similar to our central Idaho
recreation. data collected in prior years. Based on. our array of remote trail use counters (19 in. the Tetons, 3 in. the Henrys),
these GPS tracks represents a sample from an. estimated 32,500 winter backcountry visits: 29,000 backcountry skier and
snowmobiler visits in the Teton. Mountain study area and more than. 3,500 snowmobiler visits in. the Henry Mountain.
study area.

We also completed an. aerial recreation. survey on. March 20, 2015 in. the Henry and southern. Madison. Range Mountains
using methods described in Heinemeyer et al. 2011. This survey documents relative winter recreation levels in the
northern part of the home range of M15 that encompasses the southern Madison Mountains where we do not have GPS
tracking data from recreationists (Figure 4). Like previous aerial surveys in. our other study areas, this survey used a
standardized sampling approach to provide an. independent estimate of the extent and relative intensity of winter
recreation. In addition to filling information gaps, these data will be used when working with the GPS track data to
identify any inconsistencies or changing use patterns in areas where GPS monitoring efforts have ended.

Over the summer of 2015, we have completed the validating, compiling and harmonizing of these GPS tracks and
combined them with data from all previous years to facilitate analysis and modelling. New recreation. intensity grids were
calculated and the data are attributed to facilitate the creation of more fine-scale analyses such as daily, weekly or
weekend vs weekday spatial layers of recreation intensity.

Base Data Acquisition             and    Processing
The capture and tracking of wolverine M15 necessitated a redefinition. of the West Yellowstone study area boundary and
recompilation of base data layers as he covered regions north into the Madison Range. The new West Yellowstone study
area now spans four National Forests (Gallatin, Beaverhead-Deerlodge, Caribou-Targhee, and Bridger-Teton) and two
National Parks (Grand Teton and Yellowstone). The Central Idaho study area brings in three additional National Forests
(Boise, Payette, and Sawtooth) to the overall study area that spans three states (Idaho, Wyoming and Montana).
Compiling and harmonizing the best available base data between. numerous jurisdictions is a significant and ongoing task.
In addition to forest and parks data (roads, trails, winter travel routes, area use restrictions), other base data were
recalculated to accommodate the expanded study area, including land cover (vegetation. cover, type, seral stage, etc.),
vegetation. characteristics (e.g., NDVI, brightness and greenness indexes), and terrain. variables (elevation, slope, aspect,
ruggedness). We acquired and mosaicked high-resolution (1-2 m) NAIP imagery for the entire study area to provide a
detailed birds-eye view of cover type (circa 2012) and allow for the calculation of high-resolution visual band indices
during peak phenology. We are currently generating a solar insolation covariate as a potential predictor of cooler
microclimates that may be important to wolverines for denning and habitat selection.



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Figure 6. Colored paths are GPS tracks of backcountry recreationists in the Teton Pass area of the southern Tetons; this area is accessible by a paved
highway and is a popular backcountry ski destination.




Figure 7. An example of the GPS recreation tracks collected by backcountry skiers in Grand Teton National Park during the winter of 2014; the male
wolverine monitored in the Tetons travelled through this area.




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Copeland et al 2007 created a 1-variable wolverine niche model based on the annual presence of snow in mid-May. This
model captures 98% of all known wolverine den sites worldwide. As such, it represents a parsimonious model and
indicates that spring snow may be an important covariate in more fine-scale habitat modeling efforts such as we will be
undertaking. Therefore, we have created a spring snow layer for the years 2009-2015 using 250 m resolution. MODIS data
based on the methods described in. Copeland et al (2007). In. addition to providing an. updated covariate for analysis in. our
study area, this spring snow model can also be compared to the Copeland et al. 2007 model which was based on snow
data from 2000-2006 to detect changes in. spring snow cover.

Outreach     and   Education
Throughout this project, we have attempted to be transparent about the research effort and emerging results of the project.
We have completed numerous presentations to public forums across our study region. including in. McCall, Stanley,
Ketchum, Island Park, Idaho Falls, Driggs and Jackson, and have also spent time with elementary, high school and
undergraduate college classes over the past 6 years. Presentations have been made at professional or stakeholder
conferences including at the Annual Meeting of The Wildlife Society, Society of Conservation Biology, Idaho Wildlife
Society Annual Conferences, the Idaho State Snowmobile Association Annual Convention, and the Cross Boundary
Wolverine Working Group (BC-Alberta-US group). We have also provided a number of presentations at state and federal
agency meetings including to Wyoming Game and Fish, Idaho Fish and Game and to the National Forests where we work.


Next Steps
The field data collection for the wolverine-winter recreation project is completed. Our focus is now on the analyzing
responses of wolverines to winter recreation, associated report and publication preparation and presentation, assisting
agencies and stakeholders in interpreting the results of the research and continuing outreach efforts. The majority of the
analysis and reporting is expected to be completed by the end of 2016.


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10/26/2016                                                                  Conservation Economics | Oil and Gas


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              Methane Waste Reduction Economics
             The U.S. Department of the Interior is revising federal oil and gas rules in
             order reduce natural gas waste. Based on our review of the proposed BLM
             methane capture rules and the literature we find that the oil and natural gas
             industry has much to gain by embracing the rules. We conducted a case
             study of two counties in the San Juan Basin of northwest New Mexico. We
             estimate that detecting and repairing leaks at natural gas well pads will
             have a positive effect on production and royalties in the San Juan Basin.
             Our analysis indicates that capturing the methane currently wasted provides
             a win-win scenario for the environment and for industry’s bottom line.



                 Research Repo                                               Op-Ed...
                                                                                                                Credit: Ecoflight




              Oil and Gas Royalties on Public Lands
             Oil and gas development on public lands is threatening the sustainability of wildlife
             and ecosystem service production, and can be detrimental to community
             development. To help inform policy on drilling on public lands, CEI recently
             submitted extensive economic arguments to the BLM describing how royalty rates
             for onshore oil and gas leasing should be calculated and increased. As part of our
             service work, we have provided a summary of our economic arguments to the BLM
             for the public to use and adapt. If you would like the full set of comments,
             please contact us.



                      Summary of Comments to the BLM...




              Increasing Royalties for Mitigation
             The BLM recently announced a proposed rule investigating "Oil and Gas Leasing;
             Royalty on Production, Rental Payments, Minimum Acceptable Bids, Bonding
             Requirements, and Civil Penalty Assessments." As part of our comments provided
             above, we have taken a closer look at expected revenues in five Western states if
             royalty rates were increased. As of now, collected royalties are woefully inadequate
             at covering the costs associated with oil and gas production on public lands.




                  Increasing Royalties to Mitigate Hazard


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                            Technical Support Document: -
     Technical Update of the Social Cost of Carbon for Regulatory Impact Analysis -
                            Under Executive Order 12866 -

            Interagency Working Group on Social Cost of Carbon, United States Government




                                       With participation by

                                    Council of Economic Advisers
                                  Council on Environmental Quality
                                      Department of Agriculture
                                      Department of Commerce
                                        Department of Energy
                                    Department of Transportation
                                  Environmental Protection Agency
                                      National Economic Council
                                 Office of Management and Budget
                               Office of Science and Technology Policy
                                     Department of the Treasury

                                             May 2013




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   Executive Summary

    Under Executive Order 12866, agencies are required, to the extent permitted by law, “to assess both
   the costs and the benefits of the intended regulation and, recognizing that some costs and benefits are
   difficult to quantify, propose or adopt a regulation only upon a reasoned determination that the
   benefits of the intended regulation justify its costs.” The purpose of the “social cost of carbon” (SCC)
   estimates presented here is to allow agencies to incorporate the social benefits of reducing carbon
   dioxide (CO2) emissions into cost-benefit analyses of regulatory actions that impact cumulative global
   emissions. The SCC is an estimate of the monetized damages associated with an incremental increase in
   carbon emissions in a given year. It is intended to include (but is not limited to) changes in net
   agricultural productivity, human health, property damages from increased flood risk, and the value of
   ecosystem services due to climate change.

   The interagency process that developed the original U.S. government's SCC estimates is described in the
   2010 interagency technical support document (TSD) (Interagency Working Group on Social Cost of
   Carbon 2010).     Through that process the interagency group selected four SCC values for use in
   regulatory analyses. Three values are based on the average SCC from three integrated assessment
   models (IAMs), at discount rates of 2.5, 3, and 5 percent. The fourth value, which represents the 95th
   percentile SCC estimate across all three models at a 3 percent discount rate, is included to represent
   higher-than-expected impacts from temperature change further out in the tails of the SCC distribution.

   While acknowledging the continued limitations of the approach taken by the interagency group in 2010,
   this document provides an update of the SCC estimates based on new versions of each IAM (DICE, PAGE,
   and FUND). It does not revisit other interagency modeling decisions (e.g., with regard to the discount
   rate, reference case socioeconomic and emission scenarios, or equilibrium climate sensitivity).
   Improvements in the way damages are modeled are confined to those that have been incorporated into
   the latest versions of the models by the developers themselves in the peer-reviewed literature.

   The SCC estimates using the updated versions of the models are higher than those reported in the 2010
   TSD. By way of comparison, the four 2020 SCC estimates reported in the 2010 TSD were $7, $26, $42
   and $81 (2007$). The corresponding four updated SCC estimates for 2020 are $12, $43, $65, and $129
   (2007$). The model updates that are relevant to the SCC estimates include: an explicit representation of
   sea level rise damages in the DICE and PAGE models; updated adaptation assumptions, revisions to
   ensure damages are constrained by GDP, updated regional scaling of damages, and a revised treatment
   of potentially abrupt shifts in climate damages in the PAGE model; an updated carbon cycle in the DICE
   model; and updated damage functions for sea level rise impacts, the agricultural sector, and reduced
   space heating requirements, as well as changes to the transient response of temperature to the buildup
   of GHG concentrations and the inclusion of indirect effects of methane emissions in the FUND model.
   The SCC estimates vary by year, and the following table summarizes the revised SCC estimates from
   2010 through 2050.




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            Revised Social Cost of CO2, 2010 - 2050 (in 2007 dollars per metric ton of CO2)

                   Discount Rate      5.0%        3.0%         2.5%        3.0%
                       Year           Avg         Avg          Avg         95th
                       2010            11          33           52           90
                       2015            12          38           58          109
                       2020            12          43           65          129
                       2025            14          48           70          144
                       2030            16          52           76          159
                       2035            19          57           81          176
                       2040            21          62           87          192
                       2045            24          66           92          206
                       2050            27          71           98          221




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   I.       Purpose

   The purpose of this document is to update the schedule of social cost of carbon (SCC) estimates from
   the 2010 interagency technical support document (TSD) (Interagency Working Group on Social Cost of
   Carbon 2010).1 E.O. 13563 commits the Administration to regulatory decision making “based on the best
   available science.”2 Additionally, the interagency group recommended in 2010 that the SCC estimates
   be revisited on a regular basis or as model updates that reflect the growing body of scientific and
   economic knowledge become available.3 New versions of the three integrated assessment models used
   by the U.S. government to estimate the SCC (DICE, FUND, and PAGE), are now available and have been
   published in the peer reviewed literature. While acknowledging the continued limitations of the
   approach taken by the interagency group in 2010 (documented in the original 2010 TSD), this document
   provides an update of the SCC estimates based on the latest peer-reviewed version of the models,
   replacing model versions that were developed up to ten years ago in a rapidly evolving field. It does not
   revisit other assumptions with regard to the discount rate, reference case socioeconomic and emission
   scenarios, or equilibrium climate sensitivity. Improvements in the way damages are modeled are
   confined to those that have been incorporated into the latest versions of the models by the developers
   themselves in the peer-reviewed literature. The agencies participating in the interagency working group
   continue to investigate potential improvements to the way in which economic damages associated with
   changes in CO2 emissions are quantified.

   Section II summarizes the major updates relevant to SCC estimation that are contained in the new
   versions of the integrated assessment models released since the 2010 interagency report. Section III
   presents the updated schedule of SCC estimates for 2010 - 2050 based on these versions of the models.
   Section IV provides a discussion of other model limitations and research gaps.

   II.     Summary of Model Updates

   This section briefly summarizes changes to the most recent versions of the three integrated assessment
   models (IAMs) used by the interagency group in 2010. We focus on describing those model updates that
   are relevant to estimating the social cost of carbon, as summarized in Table 1. For example, both the
   DICE and PAGE models now include an explicit representation of sea level rise damages. Other revisions
   to PAGE include: updated adaptation assumptions, revisions to ensure damages are constrained by GDP,
   updated regional scaling of damages, and a revised treatment of potentially abrupt shifts in climate
   damages. The DICE model's simple carbon cycle has been updated to be more consistent with a more
   complex climate model. The FUND model includes updated damage functions for sea level rise impacts,
   the agricultural sector, and reduced space heating requirements, as well as changes to the transient
   response of temperature to the buildup of GHG concentrations and the inclusion of indirect effects of



   1 In this document, we present all values of the SCC as the cost per metric ton of CO2 emissions. Alternatively, one
   could report the SCC as the cost per metric ton of carbon emissions. The multiplier for translating between mass of
   CO2 and the mass of carbon is 3.67 (the molecular weight of CO2 divided by the molecular weight of carbon =
   44/12 = 3.67).
   2 http://www.whitehouse.gov/sites/default/files/omb/inforeg/eo12866/eo13563_01182011.pdf
   3 See p. 1, 3, 4, 29, and 33 (Interagency Working Group on Social Cost of Carbon 2010).

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   methane emissions. Changes made to parts of the models that are superseded by the interagency
   working group's modeling assumptions - regarding equilibrium climate sensitivity, discounting, and
   socioeconomic variables - are not discussed here but can be found in the references provided in each
   section below.

                    Table 1: Summary of Key Model Revisions Relevant to the Interagency SCC

           IAM         Version used in    New             Key changes relevant to interagency SCC
                      2010 Interagency   Version
                          Analysis
           DICE             2007          2010     Updated calibration of the carbon cycle model and
                                                   explicit representation of sea level rise (SLR) and
                                                   associated damages.
           FUND              3.5           3.8     Updated damage functions for space heating, SLR,
                           (2009)        (2012)    agricultural impacts, changes to transient response of
                                                   temperature to buildup of GHG concentrations, and
                                                   inclusion of indirect climate effects of methane.
           PAGE            2002           2009     Explicit representation of SLR damages, revisions to
                                                   damage function to ensure damages do not exceed
                                                   100% of GDP, change in regional scaling of damages,
                                                   revised treatment of potential abrupt damages, and
                                                   updated adaptation assumptions.




          A. DICE

   DICE 2010 includes a number of changes over the previous 2007 version used in the 2010 interagency
   report. The model changes that are relevant for the SCC estimates developed by the interagency
   working group include: 1) updated parameter values for the carbon cycle model, 2) an explicit
   representation of sea level dynamics, and 3) a re-calibrated damage function that includes an explicit
   representation of economic damages from sea level rise. Changes were also made to other parts of the
   DICE model—including the equilibrium climate sensitivity parameter, the rate of change of total factor
   productivity, and the elasticity of the marginal utility of consumption—but these components of DICE
   are superseded by the interagency working group's assumptions and so will not be discussed here. More
   details on DICE2007 can be found in Nordhaus (2008) and on DICE2010 in Nordhaus (2010).                  The
   DICE2010 model and documentation is also available for download from the homepage of William
   Nordhaus.

   Carbon Cycle Parameters

   DICE uses a three-box model of carbon stocks and flows to represent the accumulation and transfer of
   carbon among the atmosphere, the shallow ocean and terrestrial biosphere, and the deep ocean. These
   parameters are “calibrated to match the carbon cycle in the Model for the Assessment of Greenhouse




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   Gas Induced Climate Change (MAGICC)” (Nordhaus 2008 p 44).4 Carbon cycle transfer coefficient values
   in DICE2010 are based on re-calibration of the model to match the newer 2009 version of MAGICC
   (Nordhaus 2010 p 2). For example, in DICE2010, ineach decade, 12 percent of the carbon in the
   atmosphere is transferred to the shallow ocean, 4.7 percent of the carbon in the shallow ocean is
   transferred to the atmosphere, 94.8 percent remains in the shallow ocean, and 0.5 percent is
   transferred to the deep ocean. For comparison, in DICE 2007, 18.9 percent of the carbon in the
   atmosphere is transferred to the shallow ocean each decade, 9.7 percent of the carbon in the shallow
   ocean is transferred to the atmosphere, 85.3 percent remains in the shallow ocean, and 5 percent is
   transferred to the deep ocean.


   The implication of these changes for DICE2010 is in general a weakening of the ocean as a carbon sink
   and therefore a higher concentration of carbon in the atmosphere than in DICE2007, for a given path of
   emissions. All else equal, these changes will generally increase the level of warming and therefore the
   SCC estimates in DICE2010 relative to those from DICE2007.

   Sea Level Dynamics

   A new feature of DICE2010 is an explicit representation of the dynamics of the global average sea level
   anomaly to be used in the updated damage function (discussed below). This section contains a brief
   description of the sea level rise (SLR) module; a more detailed description can be found on the model
   developer's website.5 The average global sea level anomaly is modeled as the sum of four terms that
   represent contributions from: 1) thermal expansion of the oceans, 2) melting of glaciers and small ice
   caps, 3) melting of the Greenland ice sheet, and 4) melting of the Antarctic ice sheet.

   The parameters of the four components of the SLR module are calibrated to match consensus results
   from the IPCC's Fourth Assessment Report (AR4).6 The rise in sea level from thermal expansion in each
   time period (decade) is 2 percent of the difference between the sea level in the previous period and the
   long run equilibrium sea level, which is 0.5 meters per degree Celsius (°C) above the average global
   temperature in 1900. The rise in sea level from the melting of glaciers and small ice caps occurs at a rate
   of 0.008 meters per decade per °C above the average global temperature in 1900.

   The contribution to sea level rise from melting of the Greenland ice sheet is more complex. The
   equilibrium contribution to SLR is 0 meters for temperature anomalies less than 1 oC and increases
   linearly from 0 meters to a maximum of 7.3 meters for temperature anomalies between 1 oC and 3.5 °C.
   The contribution to SLR in each period is proportional to the difference between the previous period's
   sea level anomaly and the equilibrium sea level anomaly, where the constant of proportionality
   increases with the temperature anomaly in the current period.



   4 MAGICC is a simple climate model initially developed by the U.S. National Center for Atmospheric Research that
   has been used heavily by the Intergovernmental Panel on Climate Change (IPCC) to emulate projections from more
   sophisticated state of the art earth system simulation models (Randall et al. 2007).
   5 Documentation on the new sea level rise module of DICE is available on William Nordhaus' website at:
   http://nordhaus.econ.yale.edu/documents/SLR_021910.pdf .
   6 For a review of post-IPCC AR4 research on sea level rise, see Nicholls et al. (2011) and NAS (2011).

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   The contribution to SLR from the melting of the Antarctic ice sheet is -0.001 meters per decade when
   the temperature anomaly is below 3 °C and increases linearly between 3 °C and 6 °C to a maximum rate
   of 0.025 meters per decade at a temperature anomaly of 6 °C.

   Re-calibrated Damage Function

   Economic damages from climate change in the DICE model are represented by a fractional loss of gross
   economic output in each period. A portion of the remaining economic output in each period (net of
   climate change damages) is consumed and the remainder is invested in the physical capital stock to
   support future economic production, so each period's climate damages will reduce consumption in that
   period and in all future periods due to the lost investment. The fraction of output in each period that is
   lost due to climate change impacts is represented as one minus a fraction, which is one divided by a
   quadratic function of the temperature anomaly, producing a sigmoid (“S"-shaped) function.7 The loss
   function in DICE2010 has been expanded by adding a quadratic function of SLR to the quadratic function
   of temperature. In DICE2010 the temperature anomaly coefficients have been recalibrated to avoid
   double-counting damages from sea level rise that were implicitly included in these parameters in
   DICE2007.

   The aggregate damages in DICE2010 are illustrated by Nordhaus (2010 p 3), who notes that “^damages
   in the uncontrolled (baseline) [i.e., reference] case _ in 2095 are $12 trillion, or 2.8 percent of global
   output, for a global temperature increase of 3.4 oC above 1900 levels.” This compares to a loss of 3.2
   percent of global output at 3.4 oC in DICE2007. However, in DICE2010, annual damages are lower in
   most of the early periods of the modeling horizon but higher in later periods than would be calculated
   using the DICE2007 damage function. Specifically, the percent difference between damages in the base
   run of DICE2010 and those that would be calculated using the DICE2007 damage function starts at +7
   percent in 2005, decreases to a low of -14 percent in 2065, then continuously increases to +20 percent
   by 2300 (the end of the interagency analysis time horizon), and to +160 percent by the end of the model
   time horizon in 2595. The large increases in the far future years of the time horizon are due to the
   permanence associated with damages from sea level rise, along with the assumption that the sea level is
   projected to continue to rise long after the global average temperature begins to decrease. The changes
   to the loss function generally decrease the interagency working group SCC estimates slightly given that
   relative increases in damages in later periods are discounted more heavily, all else equal.

           B.   FUND

   FUND version 3.8 includes a number of changes over the previous version 3.5 (Narita et al. 2010) used in
   the 2010 interagency report. Documentation supporting FUND and the model's source code for all
   versions of the model is available from the model authors.8 Notable changes, due to their impact on the



   7 The model and documentation, including formulas, are available on the author's
   webpage at http://www.econ.yale.edu/~nordhaus/homepage/RICEmodels.htm.
   8 http://www.fund-model.org/ . This report uses version 3.8 of the FUND model, which represents a modest update
   to the most recent version of the model to appear in the literature (version 3.7) (Anthoff and Tol, 2013). For the
   purpose of computing the SCC, the relevant changes (between 3.7 to 3.8) are associated with improving

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   SCC estimates, are adjustments to the space heating, agriculture, and sea level rise damage functions in
   addition to changes to the temperature response function and the inclusion of indirect effects from
   methane emissions.9 We discuss each of these in turn.

   Space Heating

   In FUND, the damages associated with the change in energy needs for space heating are based on the
   estimated impact due to one degree of warming. These baseline damages are scaled based on the
   forecasted temperature anomaly's deviation from the one degree benchmark and adjusted for changes
   in vulnerability due to economic and energy efficiency growth. In FUND 3.5, the function that scales the
   base year damages adjusted for vulnerability allows for the possibility that in some simulations the
   benefits associated with reduced heating needs may be an unbounded convex function of the
   temperature anomaly. In FUND 3.8, the form of the scaling has been modified to ensure that the
   function is everywhere concave and that there will exist an upper bound on the benefits a region may
   receive from reduced space heating needs. The new formulation approaches a value of two in the limit
   of large temperature anomalies, or in other words, assuming no decrease in vulnerability, the reduced
   expenditures on space heating at any level of warming will not exceed two times the reductions
   experienced at one degree of warming. Since the reduced need for space heating represents a benefit of
   climate change in the model, or a negative damage, this change will increase the estimated SCC. This
   update accounts for a significant portion of the difference in the expected SCC estimates reported by
   the two versions of the model when run probabilistically.

   Sea Level Rise and Land Loss

   The FUND model explicitly includes damages associated with the inundation of dry land due to sea level
   rise. The amount of land lost within a region is dependent upon the proportion of the coastline being
   protected by adequate sea walls and the amount of sea level rise. In FUND 3.5 the function defining the
   potential land lost in a given year due to sea level rise is linear in the rate of sea level rise for that year.
   This assumption implicitly assumes that all regions are well represented by a homogeneous coastline in
   length and a constant uniform slope moving inland. In FUND 3.8 the function defining the potential land
   lost has been changed to be a convex function of sea level rise, thereby assuming that the slope of the
   shore line increases moving inland. The effect of this change is to typically reduce the vulnerability of
   some regions to sea level rise based land loss, thereby lowering the expected SCC estimate. 10

   Agriculture




   consistency with IPCC AR4 by adjusting the atmospheric lifetimes of CH4 and N2O and incorporating the indirect
   forcing effects of CH4, along with making minor stability improvements in the sea wall construction algorithm.
   9 The other damage sectors (water resources, space cooling, land loss, migration, ecosystems, human health, and
   extreme weather) were not significantly updated.
   10 For stability purposes this report also uses an update to the model which assumes that regional coastal
   protection measures will be built to protect the most valuable land first, such that the marginal benefits of coastal
   protection is decreasing in the level of protection following Fankhauser (1995).

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   In FUND, the damages associated with the agricultural sector are measured as proportional to the
   sector's value. The fraction is bounded from above by one and is made up of three additive components
   that represent the effects from carbon fertilization, the rate of temperature change, and the level of the
   temperature anomaly. In both FUND 3.5 and FUND 3.8, the fraction of the sector's value lost due to the
   level of the temperature anomaly is modeled as a quadratic function with an intercept of zero. In FUND
   3.5, the coefficients of this loss function are modeled as the ratio of two random normal variables. This
   specification had the potential for unintended extreme behavior as draws from the parameter in the
   denominator approached zero or went negative. In FUND 3.8, the coefficients are drawn directly from
   truncated normal distributions so that they remain in the range [0,«) and (-^,0], respectively,
   ensuring the correct sign and eliminating the potential for divide by zero errors. The means for the new
   distributions are set equal to the ratio of the means from the normal distributions used in the previous
   version. In general the impact of this change has been to decrease the range of the distribution while
   spreading out the distributions' mass over the remaining range relative to the previous version. The net
   effect of this change on the SCC estimates is difficult to predict.

   Transient Temperature Response

   The temperature response model translates changes in global levels of radiative forcing into the current
   expected temperature anomaly. In FUND, a given year's increase in the temperature anomaly is based
   on a mean reverting function where the mean equals the equilibrium temperature anomaly that would
   eventually be reached if that year's level of radiative forcing were sustained. The rate of mean reversion
   defines the rate at which the transient temperature approaches the equilibrium. In FUND 3.5, the rate
   of temperature response is defined as a decreasing linear function of equilibrium climate sensitivity to
   capture the fact that the progressive heat uptake of the deep ocean causes the rate to slow at higher
   values of the equilibrium climate sensitivity. In FUND 3.8, the rate of temperature response has been
   updated to a quadratic function of the equilibrium climate sensitivity. This change reduces the sensitivity
   of the rate of temperature response to the level of the equilibrium climate sensitivity, a relationship first
   noted by Hansen et al. (1985) based on the heat uptake of the deep ocean. Therefore in FUND 3.8, the
   temperature response will typically be faster than in the previous version. The overall effect of this
   change is likely to increase estimates of the SCC as higher temperatures are reached during the
   timeframe analyzed and as the same damages experienced in the previous version of the model are now
   experienced earlier and therefore discounted less.

   Methane

   The IPCC AR4 notes a series of indirect effects of methane emissions, and has developed methods for
   proxying such effects when computing the global warming potential of methane (Forster et al. 2007).
   FUND 3.8 now includes the same methods for incorporating the indirect effects of methane emissions.
   Specifically, the average atmospheric lifetime of methane has been set to 12 years to account for the
   feedback of methane emissions on its own lifetime. The radiative forcing associated with atmospheric
   methane has also been increased by 40% to account for its net impact on ozone production and
   stratospheric water vapor. All else equal, the effect of this increased radiative forcing will be to increase
   the estimated SCC values, due to greater projected temperature anomaly.


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            C.   PAGE

   PAGE09 (Hope 2013) includes a number of changes from PAGE2002, the version used in the 2010 SCC
   interagency report. The changes that most directly affect the SCC estimates include: explicitly modeling
   the impacts from sea level rise, revisions to the damage function to ensure damages are constrained by
   GDP, a change in the regional scaling of damages, a revised treatment for the probability of a
   discontinuity within the damage function, and revised assumptions on adaptation. The model also
   includes revisions to the carbon cycle feedback and the calculation of regional temperatures.11 More
   details on PAGE09 can be found in Hope (2011a, 2011b, 2011c). A description of PAGE2002 can be found
   in Hope (2006).

   Sea Level Rise

   While PAGE2002 aggregates all damages into two categories - economic and non-economic impacts -,
   PAGE09 adds a third explicit category: damages from sea level rise. In the previous version of the model,
   damages from sea level rise were subsumed by the other damage categories. In PAGE09 sea level
   damages increase less than linearly with sea level under the assumption that land, people, and GDP are
   more concentrated in low-lying shoreline areas. Damages from the economic and non-economic sector
   were adjusted to account for the introduction of this new category.

    Revised Damage Function to Account for Saturation

   In PAGE09, small initial economic and non-economic benefits (negative damages) are modeled for small
   temperature increases, but all regions eventually experience economic damages from climate change,
   where damages are the sum of additively separable polynomial functions of temperature and sea level
   rise. Damages transition from this polynomial function to a logistic path once they exceed a certain
   proportion of remaining Gross Domestic Product (GDP) to ensure that damages do not exceed 100
   percent of GDP. This differs from PAGE2002, which allowed Eastern Europe to potentially experience
   large benefits from temperature increases, and which also did not bound the possible damages that
   could be experienced.

   Regional Scaling Factors

   As in the previous version of PAGE, the PAGE09 model calculates the damages for the European Union
   (EU) and then, assumes that damages for other regions are proportional based on a given scaling factor.
   The scaling factor in PAGE09 is based on the length of a region's coastline relative to the EU (Hope
   2011b). Because of the long coastline in the EU, other regions are, on average, less vulnerable than the
   EU for the same sea level and temperature increase, but all regions have a positive scaling factor.
   PAGE2002 based its scaling factors on four studies reported in the IPCC's third assessment report, and
   allowed for benefits from temperature increase in Eastern Europe, smaller impacts in developed
   countries, and higher damages in developing countries.


   11 Because several changes in the PAGE model are structural (e.g., the addition of sea level rise and treatment of
   discontinuity), it is not possible to assess the direct impact of each change on the SCC in isolation as done for the
   other two models above.

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   Probability of a Discontinuity

   In PAGE2002, the damages associated with a “discontinuity” (nonlinear extreme event) were modeled
   as an expected value. Specifically, a stochastic probability of a discontinuity was multiplied by the
   damages associated with a discontinuity to obtain an expected value, and this was added to the
   economic and non-economic impacts. That is, additional damages from an extreme event, such as
   extreme melting of the Greenland ice sheet, were multiplied by the probability of the event occurring
   and added to the damage estimate. In PAGE09, the probability of discontinuity is treated as a discrete
   event for each year in the model. The damages for each model run are estimated either with or without
   a discontinuity occurring, rather than as an expected value. A large-scale discontinuity becomes possible
   when the temperature rises beyond some threshold value between 2 and 4°C. The probability that a
   discontinuity will occur beyond this threshold then increases by between 10 and 30 percent for every
   1°C rise in temperature beyond the threshold. If a discontinuity occurs, the EU loses an additional 5 to
   25 percent of its GDP (drawn from a triangular distribution with a mean of 15 percent) in addition to
   other damages, and other regions lose an amount determined by the regional scaling factor. The
   threshold value for a possible discontinuity is lower than in PAGE2002, while the rate at which the
   probability of a discontinuity increases with the temperature anomaly and the damages that result from
   a discontinuity are both higher than in PAGE2002. The model assumes that only one discontinuity can
   occur and that the impact is phased in over a period of time, but once it occurs, its effect is permanent.

   Adaptation

   As in PAGE2002, adaptation is available to help mitigate any climate change impacts that occur. In PAGE
   this adaptation is the same regardless of the temperature change or sea level rise and is therefore akin
   to what is more commonly considered a reduction in vulnerability. It is modeled by reducing the
   damages by some percentage. PAGE09 assumes a smaller decrease in vulnerability than the previous
   version of the model and assumes that it will take longer for this change in vulnerability to be realized.
   In the aggregated economic sector, at the time of full implementation, this adaptation will mitigate all
   damages up to a temperature increase of 1°C, and for temperature anomalies between 1°C and 2°C, it
   will reduce damages by 15-30 percent (depending on the region). However, it takes 20 years to fully
   implement this adaptation. In PAGE2002, adaptation was assumed to reduce economic sector damages
   up to 2°C by 50-90 percent after 20 years. Beyond 2°C, no adaptation is assumed to be available to
   mitigate the impacts of climate change. For the non-economic sector, in PAGE09 adaptation is available
   to reduce 15 percent of the damages due to a temperature increase between 0°C and 2°C and is
   assumed to take 40 years to fully implement, instead of 25 percent of the damages over 20 years
   assumed in PAGE2002. Similarly, adaptation is assumed to alleviate 25-50 percent of the damages from
   the first 0.20 to 0.25 meters of sea level rise but is assumed to be ineffective thereafter. Hope (2011c)
   estimates that the less optimistic assumptions regarding the ability to offset impacts of temperature and
   sea level rise via adaptation increase the SCC by approximately 30 percent.

   Other Noteworthy Changes




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   Two other changes in the model are worth noting. There is a change in the way the model accounts for
   decreased CO2 absorption on land and in the ocean as temperature rises. PAGE09 introduces a linear
   feedback from global mean temperature to the percentage gain in the excess concentration of CO2,
   capped at a maximum level. In PAGE2002, an additional amount was added to the CO2 emissions each
   period to account for a decrease in ocean absorption and a loss of soil carbon. Also updated is the
   method by which the average global and annual temperature anomaly is downscaled to determine
   annual average regional temperature anomalies to be used in the regional damage functions. In
   PAGE2002, the scaling was determined solely based on regional difference in emissions of sulfate
   aerosols. In PAGE09, this regional temperature anomaly is further adjusted using an additive factor that
   is based on the average absolute latitude of a region relative to the area weighted average absolute
   latitude of the Earth's landmass, to capture relatively greater changes in temperature forecast to be
   experienced at higher latitudes.




   III.    Revised SCC Estimates

   The updated versions of the three integrated assessment models were run using the same methodology
   detailed in the 2010 TSD (Interagency Working Group on Social Cost of Carbon 2010). The approach
   along with the inputs for the socioeconomic emissions scenarios, equilibrium climate sensitivity
   distribution, and discount rate remains the same. This includes the five reference scenarios based on the
   EMF-22 modeling exercise, the Roe and Baker equilibrium climate sensitivity distribution calibrated to
   the IPCC AR4, and three constant discount rates of 2.5, 3, and 5 percent.

   As was previously the case, the use of three models, three discount rates, and five scenarios produces
   45 separate distributions for the global SCC. The approach laid out in the 2010 TSD applied equal weight
   to each model and socioeconomic scenario in order to reduce the dimensionality down to three
   separate distributions representative of the three discount rates. The interagency group selected four
   values from these distributions for use in regulatory analysis. Three values are based on the average SCC
   across models and socio-economic-emissions scenarios at the 2.5, 3, and 5 percent discount rates,
   respectively. The fourth value was chosen to represent the higher-than-expected economic impacts
   from climate change further out in the tails of the SCC distribution. For this purpose, the 95th percentile
   of the SCC estimates at a 3 percent discount rate was chosen. (A detailed set of percentiles by model
   and scenario combination and additional summary statistics for the 2020 values is available in the
   Appendix.) As noted in the 2010 TSD, “the 3 percent discount rate is the central value, and so the
   central value that emerges is the average SCC across models at the 3 percent discount rate”
   (Interagency Working Group on Social Cost of Carbon 2010, p. 25). However, for purposes of capturing
   the uncertainties involved in regulatory impact analysis, the interagency group emphasizes the
   importance and value of including all four SCC values.

   Table 2 shows the four selected SCC estimates in five year increments from 2010 to 2050. Values for
   2010, 2020, 2030, 2040, and 2050 are calculated by first combining all outputs (10,000 estimates per

                                                                                                           12


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   model run) from all scenarios and models for a given discount rate. Values for the years in between are
   calculated using linear interpolation. The full set of revised annual SCC estimates between 2010 and
   2050 is reported in the Appendix.

            Table 2: Revised Social Cost of CO2, 2010 - 2050 (in 2007 dollars per metric ton of CO2)

                          Discount Rate   5.0%         3.0%         2.5%         3.0%
                              Year        Avg          Avg          Avg          95th
                              2010         11           33           52            90
                              2015         12           38           58           109
                              2020         12           43           65           129
                              2025         14           48           70           144
                              2030         16           52           76           159
                              2035         19           57           81           176
                              2040         21           62           87           192
                              2045         24           66           92           206
                              2050         27           71           98           221

   The SCC estimates using the updated versions of the models are higher than those reported in the 2010
   TSD due to the changes to the models outlined in the previous section. By way of comparison, the 2020
   SCC estimates reported in the original TSD were $7, $26, $42 and $81 (2007$) (Interagency Working
   Group on Social Cost of Carbon 2010). Figure 1 illustrates where the four SCC values for 2020 fall within
   the full distribution for each discount rate based on the combined set of runs for each model and
   scenario (150,000 estimates in total for each discount rate). In general, the distributions are skewed to
   the right and have long tails. The Figure also shows that the lower the discount rate, the longer the right
   tail of the distribution.

   Figure 1: Distribution of SCC Estimates for 2020 (in 2007$ per metric ton CO2)




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   As was the case in the 2010 TSD, the SCC increases over time because future emissions are expected to
   produce larger incremental damages as physical and economic systems become more stressed in
   response to greater climatic change. The approach taken by the interagency group is to compute the
   cost of a marginal ton emitted in the future by running the models for a set of perturbation years out to
   2050. Table 3 illustrates how the growth rate for these four SCC estimates varies over time.

   Table 3: Average Annual Growth Rates of SCC Estimates between 2010 and 2050

                  Average Annual Growth         5.0%        3.0%         2.5%         3.0%
                         Rate (%)               Avg         Avg          Avg          95th
                        2010-2020               1.2%        3.2%         2.4%         4.3%
                        2020-2030               3.4%        2.1%         1.7%         2.4%
                        2030-2040               3.0%        1.8%         1.5%         2.0%
                        2040-2050               2.6%        1.6%         1.3%         1.5%

   The future monetized value of emission reductions in each year (the SCC in year t multiplied by the
   change in emissions in year t) must be discounted to the present to determine its total net present value
   for use in regulatory analysis. As previously discussed in the 2010 TSD, damages from future emissions
   should be discounted at the same rate as that used to calculate the SCC estimates themselves to ensure
   internal consistency - i.e., future damages from climate change, whether they result from emissions
   today or emissions in a later year, should be discounted using the same rate.

   Under current OMB guidance contained in Circular A-4, analysis of economically significant proposed
   and final regulations from the domestic perspective is required, while analysis from the international
   perspective is optional. However, the climate change problem is highly unusual in at least two respects.
   First, it involves a global externality: emissions of most greenhouse gases contribute to damages around


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   the world even when they are emitted in the United States. Consequently, to address the global nature
   of the problem, the SCC must incorporate the full (global) damages caused by GHG emissions. Second,
   climate change presents a problem that the United States alone cannot solve. Even if the United States
   were to reduce its greenhouse gas emissions to zero, that step would be far from enough to avoid
   substantial climate change. Other countries would also need to take action to reduce emissions if
   significant changes in the global climate are to be avoided. Emphasizing the need for a global solution to
   a global problem, the United States has been actively involved in seeking international agreements to
   reduce emissions and in encouraging other nations, including emerging major economies, to take
   significant steps to reduce emissions. When these considerations are taken as a whole, the interagency
   group concluded that a global measure of the benefits from reducing U.S. emissions is preferable. For
   additional discussion, see the 2010 TSD.

   IV.     Other Model Limitations and Research Gaps

   The 2010 interagency SCC TSD discusses a number of important limitations for which additional research
   is needed. In particular, the document highlights the need to improve the quantification of both non-
   catastrophic and catastrophic damages, the treatment of adaptation and technological change, and the
   way in which inter-regional and inter-sectoral linkages are modeled. While the new version of the
   models discussed above offer some improvements in these areas, further work remains warranted. The
   2010 TSD also discusses the need to more carefully assess the implications of risk aversion for SCC
   estimation as well as the inability to perfectly substitute between climate and non-climate goods at
   higher temperature increases, both of which have implications for the discount rate used. EPA, DOE, and
   other agencies continue to engage in research on modeling and valuation of climate impacts that can
   potentially improve SCC estimation in the future.




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   Appendix


                 Table A1: Annual SCC Values: 2010-2050 (2007$/metric ton CO2)

                     Discount Rate   5.0%      3.0%      2.5%      3.0%
                         Year        Avg       Avg       Avg       95th
                         2010         11        33        52        90
                         2011         11        34        54        94
                         2012         11        35        55        98
                         2013         11        36        56        102
                         2014         11        37        57        106
                         2015         12        38        58        109
                         2016         12        39        60        113
                         2017         12        40        61        117
                         2018         12        41        62        121
                         2019         12        42        63        125
                         2020         12        43        65        129
                         2021         13        44        66        132
                         2022         13        45        67        135
                         2023         13        46        68        138
                         2024         14        47        69        141
                         2025         14        48        70        144
                         2026         15        49        71        147
                         2027         15        49        72        150
                         2028         15        50        73        153
                         2029         16        51        74        156
                         2030         16        52        76        159
                         2031         17        53        77        163
                         2032         17        54        78        166
                         2033         18        55        79        169
                         2034         18        56        80        172
                         2035         19        57        81        176
                         2036         19        58        82        179
                         2037         20        59        84        182
                         2038         20        60        85        185
                         2039         21        61        86        188
                         2040         21        62        87        192
                         2041         22        63        88        195
                         2042         22        64        89        198
                         2043         23        65        90        200
                         2044         23        65        91        203
                         2045         24        66        92        206
                         2046         24        67        94        209
                         2047         25        68        95        212
                         2048         25        69        96        215
                         2049         26        70        97        218
                         2050         27        71        98        221




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          Table A2: 2020 Global SCC Estimates at 2.5 Percent Discount Rate (2007$/metric ton CO2)

   Percentile             1st       5th      10th      25th     50th    Avg       75th   90th   95th   99th
   Scenario12                                                       PAGE
   IMAGE                   6        11        15           27    58     129       139    327    515    991
   MERGE                   4        6         9            16    34      78       82     196    317    649
   MESSAGE                 4        8         11           20    42     108       107    278    483    918
   MiniCAM Base            5        9         12           22    47     107       113    266    431    872
   5th Scenario            2        4         6            11    25      85       68     200    387    955

   Scenario                                                           DICE
   IMAGE                   25       31        37           47   64           72   92     123    139    161
   MERGE                   14       18        20           26   36           40   50     65     74      85
   MESSAGE                 20       24        28           37   51           58   71     95     109    221
   MiniCAM Base            20       25        29           38   53           61   76     102    117    135
   5th Scenario            17       22        25           33   45           52   65     91     106    126

   Scenario                                                           FUND
   IMAGE                  -17        -1        5           17   34           44   59     90     113    176
   MERGE                   -7         2        7           16   30           35   49     72     91     146
   MESSAGE                -19        -4        2           12   27           32   46     70     87     135
   MiniCAM Base            -9         1        8           18   35           45   59     87     108    172
   5th Scenario           -30       -12       -5           6    19           24   35     57     72     108


           Table A3: 2020 Global SCC Estimates at 3 Percent Discount Rate (2007$/metric ton CO2)

   Percentile              1st      5th      10th      25th     50th    Avg       75th   90th   95th   99th
   Scenario                                                         PAGE
   IMAGE                   4         7        10           18    38      91        95    238    385    727
   MERGE                   2         4        6            11    23      56        58    142    232    481
   MESSAGE                 3         5        7            13    29      75        74    197    330    641
   MiniCAM Base            3         5        8            14    30      73        75    184    300    623
   5th Scenario            1         3        4            7     17      58        48    136    264    660

   Scenario                                                           DICE
   IMAGE                   16        21       24           32    43          48    60     79     90    102
   MERGE                   10        13       15           19    25          28    35     44     50    58
   MESSAGE                 14        18       20           26    35          40    49     64     73    83
   MiniCAM Base            13        17       20           26    35          39    49     65     73    85
   5th Scenario            12        15       17           22    30          34    43     58     67    79

   Scenario                                                           FUND
   IMAGE                  -14        -3         1          9     20          25    35     54     69    111
   MERGE                   -8        -1         3          9     18          22    31     47     60    97
   MESSAGE                -16        -5        -1          6     16          18    28     43     55    88
   MiniCAM Base            -9        -1         3          10    21          27    35     53     67    107
   5th Scenario           -22       -10        -5          2     10          13    20     33     42    63


   12 See 2010 TSD for a description of these scenarios.

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         Table A4: 2020 Global SCC Estimates at 5 Percent Discount Rate (2007$/metric ton CO2)

   Percentile        1st     5th     10th    25th     50th    Avg       75th   90th    95th      99th
   Scenario                                               PAGE
   IMAGE              1        2       2       5       10      28        27    71      123       244
   MERGE              1        1       2       3       7       17        17    45      75        153
   MESSAGE            1        1       2       4       9       24        22    60      106       216
   MiniCAM Base       1        1       2       3       8       21        21    54      94        190
   5th Scenario       0        1       1       2       5       18        14    41      78        208

   Scenario                                                 DICE
   IMAGE              6       8        9       11      14          15    18     22      25       27
   MERGE              4       5        6       7       9           10    12     15      16       18
   MESSAGE            6       7        8       10      12          13    16     20      22       25
   MiniCAM Base       5       6        7       8       11          12    14     18      20       22
   5th Scenario       5       6        6       8       10          11    14     17      19       21

   Scenario                                                 FUND
   IMAGE              -9      -5      -3       -1      2           3     6      11      15       25
   MERGE              -6      -3      -2        0      3           4     7      12      16       27
   MESSAGE           -10      -6      -4       -1      2           2     5      9       13       23
   MiniCAM Base       -7      -3      -2        0      3           4     7      11      15       26
   5th Scenario      -11      -7      -5       -2      0           0     3      6        8       14




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                                           Table A5: Additional Summary Statistics of 2020 Global SCC Estimates

Discount rate:                      5.0%                                           3.0%                                           2.5%
   Statistic:    Mean    Variance      Skewness    Kurtosis   Mean      Variance      Skewness     Kurtosis   Mean     Variance      Skewness        Kurtosis
     DICE         12        26             2          15       38         409             3           24       57        1097            3              30
    PAGE          22      1616             5          32       71        14953            4           22       101      29312            4              23
    FUND           3       560           -170       35222      21        22487           -85        18842      36       68055           -46           13105




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                                 Policy Brief
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More than Meets the Eye
The Social Cost of Carbon in U.S. Climate Policy,
in Plain English
RUTH GREENSPAN BELL AND DIANNE CALLAN




 Summary
 Presidents since Ronald Reagan have required that signifi­       other effects that climate change can impose on humanity.
 cant rules issued by the federal government be accompa­          The benefit to society of avoiding those costs is summed up
 nied through intra-governmental review by a cost-benefit         in the social cost of carbon.
 analysis. In addition, the Obama administration (like the
                                                                  In 2009 an interagency team of U.S. government specialists,
 Bush administration before it) has imposed a requirement
                                                                  tasked to estimate the SCC, reported a range of values from
 to assess climate regulation through the lens of a figure (or
                                                                  $5 to $65 per tonne of carbon dioxide. The choice of a final
 range of figures) known as the “social cost of carbon” (SCC).
                                                                  figure (or range of figures) is, in itself, a major policy decision,
 The SCC estimates the benefit to be achieved, expressed
                                                                  since it sets a likely ceiling for the cost per tonne that any fed­
 in monetary value, by avoiding the damage caused by each
                                                                  eral regulation could impose on the economy to curb CO2. At
 additional metric ton (tonne) of carbon dioxide (CO2) put
                                                                  $5 a tonne, government could do very little to regulate CO2;
 into the atmosphere.
                                                                  at $65, it could do significantly more. Higher SCC numbers,
 The impact of SCC numbers is not theoretical and has con­        such as the United Kingdom’s range of $41-$124 per tonne
 sequences for the government regulatory process and there­       of CO2 with a central value of $83,1 would justify, from an
 fore for the strength of regulations on climate change that      economics perspective, even more rigorous regulation.
 emerge from it. Application of this tool can be problematic
 to achieving optimum outcomes for society.                       This paper discusses the limitations that the special nature
                                                                  of climate change imposes on cost-benefit analysis and its
 A growing literature indicates that developing the SCC re­
                                                                  constituent parts, primarily focusing on the estimation of
 quires assumptions that go well beyond the usual boundaries
                                                                  the SCC. It explains in plain English the various steps in
 of science or economics. It requires many judgment calls that
                                                                  calculating the SCC, the weaknesses and strengths of those
 are hidden in complex economic models and largely invisible
                                                                  calculations, and how they are used to inform climate policy.
 to policymakers and stakeholders.
                                                                  The aim is to help policymakers, regulators, civil society,
 The Obama administration has formulated a standardized           and others judge for themselves the reliability of using the
 approach to estimating the SCC for all new federal rules         resulting numbers in making policy decisions. Framed as a
 issued that would regulate greenhouse gases. In the case of      series of questions and answers, it also allows these stakehold­
 climate change, the government calculates the cost imposed       ers to understand the current debate within the economics
 on society globally by each additional tonne of carbon diox­     community as to whether climate policy is a special case for
 ide (CO2), the main greenhouse gas. These include health         which standard cost-benefit and SCC tools of the trade are
 impacts, economic dislocation, agricultural changes, and         not adequate to assess policy options.




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Introduction                                                             Box 1        Carbon, CO2, or Greenhouse Gases?
As the U.S. federal government uses its rulemaking authority to
address greenhouse gas emissions, it is important to understand         Since many different greenhouse gases of varying strengths contrib­
the social cost of carbon (SCC) and its role within the process.        ute to climate change, scientists use the concept of COi equivalent
When the federal government considers regulation, many                  (CO2 -eq) to sum their climate change impacts. In calculating the
values are at play, and the process engages various expertise           CO2 -eq, scientists also consider timescale because various green­
including law, climate science, engineering, economics, and             houses gases differ widely in their persistence in the atmosphere.
                                                                        However, in making the calculation of social cost of carbon, U.S.
public policy as well as reaching out to consider the views of
                                                                        regulators as of mid-2011 have considered only the effects of regu­
stakeholders. SCC provides a dollar figure, or range of dol­            lating CO2, largely because of a lack of data on compound-specific
lar figures, that estimate the value of social benefits accrued         impacts of climate damages (although efforts have been undertaken
by acting to reduce climate change. Because of the internal             to expand the scope beyond just CO2;.'2 CO2 alone accounts for
government process for evaluating proposed regulations, the             roughly 70% of the climate effects from greenhouse gases.
SCC dollar figure, which is a tool devised by economists, can           Notes
have significant impacts on decisionmakers if they approach             1. Alex L. Marten and Stephen C. Newbold, Es-t'i'mating the Soc-ial
regulation from the point of view that the cost per tonne to               Cost of Non-CO2 GHG Emissions: Methane and Nitrous Oxide
curb CO2 should not be greater than its presumed effectiveness             (U.S. EPA National Center for Environmental Economics,
                                                                           Working Paper No. 11-01, 2011).
in achieving the result. The SCC value can also be misused if
the limitations and caveats inherent in its estimation are not          2. U.S. Dept of Energy, Final Rule Technical Support
                                                                            Document: Energy Efficiency Program for Commer­
considered.
                                                                           cial and Indus. Equipment: Small Electric Motors,
                                                                           Appendix 15A. Social Cost of Carbon for Regulatory
This paper takes no direct position on the merits of using cost­
                                                                           Impact Analysis under Exec. Order 12866 13 (Mar. 9,
benefit analysis or estimating the social cost of carbon. Instead,         2010) [hereinafter IWG Report], available at http://www1.eere.
it seeks to give non-economists a basic understanding of why               energy.gov/buildings/appliance_standards/commercial/sem_fin-
and how SCC is calculated and to raise important points about              alrule_tsd.html.
its use, limitations, and assumptions.

1. What Is the Social Cost of Carbon?
The SCC is an estimate of the monetized damages associated            Economists do not second-guess the scientists. But they do
with an incremental increase in greenhouse gas emissions in           pick and choose among the latter’s many estimates, making
a given year. Another way of saying this is that the SCC is a         judgments about which to include in the economic modeling
measure of the benefit of reducing greenhouse gas emissions           of damages, and funneling the climate science through their
now and thereby avoiding costs in the future. As a very simple        own methods of modeling the world. As explained in more
example, if emissions damage coral reefs, which in turn dis­          detail in Section 4, SCC estimates are calculated by taking—or
courages tourists from visiting Australia, one cost incurred          trying to take—into consideration learning from climate sci­
will be lost revenue to the tourist industry. Avoiding that cost      ence about a wide variety of factors such as net agricultural
is a benefit.                                                         productivity loss, human health effects, and property damage
                                                                      from sea-level rise and changes in ecosystems. Economists
When economists seek to estimate the SCC, they must find a
                                                                      fit some subset of these factors into one or more “integrated
way to estimate the physical and human damages caused by
                                                                      assessment models” (IAMs), as described later in this paper,
CO2 emissions and the resulting climate change. This enters
                                                                      to provide a single consistent framework for evaluating a total
the realm of scientists researching how growing greenhouse
                                                                      system response to rising carbon dioxide emissions, including
gas emissions are likely to affect the climate system. Climate
                                                                      interactions between various component parts of the various
scientists endeavor to understand a wide variety of harms
                                                                      dynamic human and environmental subsystems.2
that can range from more frequent extreme weather events
to changes in normal, local climate patterns, to the direct and       Regardless of the modeling approach, a fundamental challenge
indirect consequences of ice-free summers in the Arctic.              to this enterprise is uncertainty. Scientists cannot definitely
                                                                      state that certain pollution levels will lead to particular im­



                                                                                                                              WORLD
2                                        MORE        THAN            MEETS       THE        EYE                               RESOURCES
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pacts, which means that the consequences for humans could            Given the importance placed on the economic efficiency of
be much less or much more severe than the median estimate.           regulatory decisions, the social cost of carbon could have a
For example, the loss of a forest to pine-bark-beetle infestation    major impact upon the U.S. government’s approach toward
removes those trees from their role in sequestering carbon           combating climate change.
dioxide and purifying air, but the root system from the same
forest might also have been helping to filter and clean water
                                                                     3. How Does the SCC Influence U.S. Government
used by downstream human populations, or might have pre­
                                                                        Policy Decisions?
                                                                     The SCC estimates used by the federal government before
vented landslides. In addition, the forest might have harbored
                                                                     2009 were expressed as a range of numbers, and not applied
vegetation used in medicines. The total loss in this example
                                                                     consistently. Different values were used in different rulemak­
is not simple; a single loss (i.e., the loss of forest) might lead
                                                                     ings, even within the same agency.6 For instance, the Depart­
to multiple unexpected effects (i.e., air-quality impacts, loss
                                                                     ment of Energy in a 2008 regulation of air conditioners and
of clean water, and future landslides), the nature and cost of
                                                                     heat pumps estimated that the SCC was in the range of $0
which we are currently uncertain.
                                                                     and $20 per tonne but then failed to include this estimate in
2. Why Estimate the Social Cost of Carbon?                           its cost-benefit analysis, arguing that the proposed regulation
Executive Orders since 1981 have required that proposed fed­         passed a cost-benefit test regardless of the SCC.7
eral regulations undergo review by the White House’s Office of
                                                                     In 2009, the Obama Administration created an interagency
Management and Budget (OMB) prior to being proposed and
                                                                     working group (IWG) to standardize the estimate of SCC to
prior to adoption.3 For “significant rules”, the review must be
                                                                     be used across federal agencies as they conduct Regulatory
accompanied by a formal Regulatory Impact Analysis (RIA).
                                                                     Impact Analyses.8 The working group included the EPA, the
One required part of the RIA is a Cost-Benefit Analysis (CBA),
                                                                     Departments of Agriculture, Commerce, Energy, Transporta­
which attempts to gauge whether a particular regulation is
                                                                     tion, and Treasury, and six other federal bodies.9 Using mod­
economically efficient by looking at the benefits (in economics
                                                                     eling developed by economists and other analyses and tools
language, the avoided costs) relative to the estimated costs of
                                                                     described in detail in the following sections, the IWG panel
complying with the regulation.
                                                                     report recommended a range of SCC values—$5, $21, $35,
The Office of Information and Regulatory Affairs (OIRA)              and $65 (in 2007 dollars)—per tonne of carbon dioxide with
within OMB manages the two-stage review process, acting              the intent that these values be used in individual rulemakings
essentially as traffic cop, with the authority to send a regula­     across government involving the regulation of CO219 $21 is
tion back to the agency for revisions or reconsideration when        the “central number” and carries the most weight in analysis.
the regulation is deemed not to “comport with the Executive
                                                                     So far these SCC values have been used in the Regulatory
Order’s principles and the President’s priorities.”4
                                                                     Impact Analysis for DOT/EPA rules imposing miles-per-gallon
Broadly, the SCC informs policymakers from a cost-efficiency         automobile fleet standards (CAFE) and Department of Energy
point of view how stringent to make regulations, by providing        regulations concerning energy efficiency standards.11
them with a figure that purports to estimate the monetary
                                                                     The interagency working group produced a range of numbers
value of the damages caused by each additional tonne of CO2
                                                                     to reflect the fact that numerous important judgments must be
put into the atmosphere. In the review of federal regulations
                                                                     made to calculate the SCC for any given rulemaking. The first
involving greenhouse gas emissions, the SCC estimates the
                                                                     three values reflect the use of three different discount rates (as
benefits side of the cost-benefit equation. From that perspec­
                                                                     discussed below, the choice of discount rate is controversial; the
tive, to conserve limited resources, society as a whole should
                                                                     IWG sidestepped the issue by using three); the fourth shows
not pay any more for these restrictions than is justified by the
                                                                     the cost of worst-case impacts.12 The IWG does not instruct
benefits received from compliance with the regulation. Thus,
                                                                     federal agencies which discount rate to use, suggesting $21
regulators seek to determine whether greenhouse emission
                                                                     per tonne of CO2as the “central” value but emphasizing “the
standards for cars, which might cost $10 per tonne of reduced
                                                                     importance of considering the full range.”13
emissions, for example, will bring about benefits from reduced
emissions that are worth that cost or more.5                         To put the U.S. numbers in perspective, when the U.K. govern­
                                                                     ment last calculated the SCC in 200914, its analysis yielded a

                                                                                                              WORLD
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      Box 2       The Stern Review                                              Box 3        Optimal Carbon Price or Shadow Price


    In 2006, the U.K. government released a report from Sir Nicholas          In an estimation distinct from the SCC, economists may also try to
    Stern, the Head of the Government Economic Service and former             calculate the optimal carbon price to achieve a given policy objec­
    World Bank chief economist. The influential report reviewed the           tive. In the economists’ toolbox, this reflects a preference to use
    potential impacts of climate change and the economics of climate          price (for example, a tax rather than direct regulation) to reduce so­
    policy. Although its scope was much more wide-ranging than that           ciety’s use of carbon dioxide. The model on which they work is the
    of U.S. efforts to calculate a social cost of carbon, the report did      “rational economic actor”—someone whose actions are predicated
    include an estimated central number social cost of carbon of $85          on weighing the relative costs and benefits of different options
    per tonne of CO21 The reasons for the wide disparity between SCC          and making a choice entirely based on these values (other relevant
    calculations are discussed in Section 4.c below.                          values reflecting other perspectives might include ethics, science,
                                                                              or political feasibility). Thus, they ask: what is the optimal price to
    Note                                                                      change behavior—the rate that would cost the economy no more
    1. Nicholas Stern, The Economics of Climate Change
                                                                              in reduced productivity than the climate damage it would prevent.
       XIV, 287 (2007). $85/tonne is the Stern review number based on
                                                                              Estimates of the Optimal Carbon Price are being deployed by U.K.
       business-as-usual projections, year 2000 prices. Id.                   decisionmakers who want to understand how much it will cost to
                                                                              reduce a tonne of carbon dioxide to the levels their policy requires.
                                                                              This is a similar exercise to determining the price that carbon
range of $41-$124 per tonne of CO2 with a central value of $83.15             should trade at in carbon markets. The United Kingdom has shifted
The U.K. analysis used very different assumptions, including a                to this approach and away from the SCC because domestically, and
much lower discount rate. Their resulting central value supports              as part of the European Union, it is committed to achieving 20%
                                                                              GHG reductions below 1990 levels by 2020.1
regulation four times as stringent as the U.S. central value.
                                                                              The United Kingdom has a clear policy objective and is estimating
In other words, the impact of the IWG’s 2009 SCC calculation                  the costs and benefits of carrying it out. In contrast, the United States
on federal policy and U.S. climate actions is substantial. With               has no official greenhouse gas emissions reduction requirements
an SCC estimate of $21, only rules that, when implemented,                    (except for the presidential commitment made in Copenhagen to
would cost less than $21 per tonne of CO2 reduced would be                    reduce emissions 17% by 2020) and must justify action, regulation by
                                                                              regulation, based on cost-benefit analysis, using the SCC.
considered economically efficient. Economists Frank Acker­
man and Elizabeth Stanton of the Stockholm Environment                        Note
Institute point out that the U.S. central SCC number in 2010                  1. The U.K. government pledged in May 2011 to adopt a carbon
translates to roughly 20 cents per gallon of gasoline, in their                  budget of 50% emissions cut averaged across the years 2023
                                                                                 to 2027, compared with 1990 levels, but this has yet to be en­
view “far too small a price incentive to prompt substantive
                                                                                 shrined in law.
mitigation measures.”16

4. How Is the Social Cost of Carbon Estimated?
The SCC is estimated using complex economic models that                     • a household’s use of electricity every six weeks;
seek to mimic or approximate the real-world factors that im­                • a microwave oven in typical use for seven years or a re­
pose both costs and benefits on society, and thereby to examine                frigerator for 15 months.
the economic processes at play. The basic unit of emissions
                                                                            These are only a small sampling of the vast array of human
for the SCC calculation is a metric ton (tonne) of CO2.17 U.S.
                                                                            activities that contribute to GHG emissions. Given their ubiq­
residents emitted on average 21 tonnes of CO2 per person in
                                                                            uitous nature, efforts to reduce GHG emissions will impose
2005, as shown in Figure 1.18
                                                                            costs on society, the extent of which is debated. These include
Across the United States, one tonne of CO2 is emitted, on                   the price of new energy technologies and more efficient ap­
average, by:19                                                              pliances, vehicles, and heating and cooling systems, as well as
                                                                            the costs of replacing or upgrading existing infrastructure (for
• a family car every two and half months;
                                                                            example, to replace or retire coal-burning power plants). Some
• a household’s use of heating and cooking fuel every four
                                                                            households may face higher electricity bills; drivers may face
    months (if energy use were spread equally throughout
                                                                            higher costs of transportation and decide to switch to alterna­
    the year and throughout the country);20
                                                                            tive forms of transport.


                                                                                                                                        WORLD
4                                            MORE          THAN            MEETS        THE         EYE                                 RESOURCES
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                                                                   that temperature rises equally around the globe, even though
                     Percentage Emissions per
     FIGURE 1
                     U.S. Resident, by Sector, 2005                there will be differences geographically; or that there will be
                                                                   a rise in average temperatures, rather than calculating the
                                                                   number of days above a temperature threshold and its potential
                                                                   impact for some major crops.22

                                                                   a. How do the SCC Models Work?
                                                                   The particular models used for calculating SCC are called
                                                                   “integrated assessment models” (IAMs). They attempt to in­
                                                                   corporate knowledge from a number of fields of study, such as
                                                                   engineering, technology, behavior, and climate science, with
                                                                   the ultimate purpose of deciding whether particular climate
                                                                   change policies are economically efficient in the context of a
                                                                   cost-benefit analysis. The IAM uses mathematical formulas to
                                                                   simulate the relationships between economic activity, measures
                                                                   to control emissions, and the desired environmental outcomes.
                                                                   In so doing, it facilitates the estimation of benefits (the SCC)
                                                                   as well as the comparison of the costs and benefits of emission
                      Home heating                                 changes in monetary terms.
                       and cooling
                                                                   The three models most prominently used by mainstream
                           6%
                                                                   economists and by the U.S. government’s interagency working
                                                                   group to estimate social cost of carbon are DICE,23 PAGE,24
These changes will also produce benefits (and can be consid­       and FUND.25 Although there is some overlap between these
ered investments in energy productivity). As noted earlier,        models, each uses its own methods to import the climate sci­
economists define the benefits of reducing GHGs in terms of        ence to make estimations of “climate damage functions.” The
the avoided damages to be incurred from climate change in          “climate damage function” is shorthand for estimating the
the future and estimate the social cost of carbon accordingly.21   relationship between CO2 emissions and the damage caused,
                                                                   in order to approximate how future damages might be reduced
For non-economists, this can be hard to grasp. Some of the
                                                                   if CO2 emissions fell.
real-world costs avoided are relatively obvious, although
perhaps difficult to translate into monetary damages. These        Each modeler selects his or her own method to represent
include increasingly more intense floods and droughts, which       each of the relevant factors. This requires many simplifying
are producing corresponding increases in damage and costs, as      assumptions.26 For example, it is common for models to simply
recorded by the insurance industry. However, since there have      represent global climate change as an increase in global or re­
always been floods and droughts, the challenge is to estimate      gional average temperature. The more accurate, but harder to
which of these can be connected to a changing climate. Where       implement, alternative would be to try to capture in the model
it gets even harder is to identify and monetize the potential      every detail of expected change in the climate system, and the
wider, ripple-effect consequences of extreme weather events        consequences of those changes. In other cases, modelers make
such as famine, dislocation, mass migrations, civil instability,   a variety of assumptions about the severity of the damages
potential conflicts, and wars. How can one price loss of life,     from changing weather, trying to approximate details of the
or cultures, such as those of small island states, that might be   dynamic process whereby natural systems interact on Earth
displaced and possibly made extinct?                               and the way carbon-cycle feedbacks have been distorted by
                                                                   anthropogenic GHG emissions.
As discussed below, economists estimating these numbers
must, by necessity, simplify representations of impacts. Often,    Making such approximations is difficult. The carbon cycle, for
they must use a proxy, which may not adequately calculate the      example, naturally operates in a relatively balanced state, with
real harms being inflicted. For example, it is easier to assume    seasonal shifts moving carbon from the land to the atmosphere


                                                                                                           WORLD
                             MORE        THAN         MEETS         THE      EYE                           RESOURCES              5

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                                                                             Each of the IAMs tries to capture the carbon cycle, but with its
      Box 4        IAMs and their Application Explained
                                                                             own approach to distilling the particular physical phenomena
                                                                             into manageable bites for the model to digest.
    “The user enters a set of economic parameters, including pre­
     existing baseline projections of economic growth and technological      DICE assumes fixed rates of flow between major carbon-
     improvements, developed within the standard economic literature.
                                                                             system reservoirs (ocean, atmosphere, and biosphere) and
     These projections include predictions of future greenhouse gas
     emissions, which are a function of GDP and a society’s ‘carbon          then totals impact estimates for six sectors into an aggregate
     intensity’: the amount of carbon a nation’s economy must generate       global estimate of damages. DICE also tries to account for un­
     in order to produce wealth.                                             predictable but possible abrupt climate changes. These might
                                                                             include, for example, a shutdown of ocean currents responsible
    “From these projected emissions, the climate models predict
     changes in the concentration of greenhouse gases in the atmo­           for warming or cooling coastal regions of the continents, large-
     sphere. These . . . are in turn used to predict changes in tempera­     scale melting of ice sheets leading to dramatic ocean level rise,
     ture, and the models then project economic harms (in the form           or the rapid release of methane from arctic permafrost regions,
     of diminished worldwide GDP) from the expected temperature              which would further accelerate warming.
     increases. . . .
                                                                             PAGE relies on reports from the IPCC. PAGE—and FUND—
    “. . . In order to generate values for the social cost of carbon, the
                                                                             attempt to capture the uncertainty of the science using a tech­
     Interagency Group ran the PAGE, DICE and FUND models
                                                                             nique called Monte Carlo analysis.27 Its designers try to build
     using standard baseline projections of economic growth and tech­
     nological development . . . and determined the models’ predicted        into the model the possibility that climate scientists have either
     effects of warming on GDP . . . . The Group then re-ran the same        under or overestimated the impacts. They use probability
     models using the same baseline projections, but with one addi­          distributions (laypeople might understand this as essentially
     tional ton of carbon emissions, in order to determine the marginal      a Bell curve, although there is theoretical work underway
     effect on global GDP of that additional unit of carbon. . . . [This]
                                                                             examining whether the Bell curve is an appropriate way to
     is the social cost of carbon: the amount of money saved for every
                                                                             describe the probabilities) as a way of systematically address­
     marginal ton of atmospheric carbon that is not emitted.”1
                                                                             ing the likelihood of each effect happening. The 2002 version
    Note                                                                     of PAGE assumes a 1% chance of catastrophe, such as the
    1 . Jonathan S. Masur & Eric A. Posner, Climate Regulation and           melting of a major ice sheet, should global temperatures rise
       the Limits of Cost-Benefit Analysis (John M. Olin Law & Econ.,        above 2 degrees C (3.6 degrees F) compared to preindustrial
       Working Paper No. 525, Pub. Law and Legal Theory, Working             levels. A newer version assumes a 10% chance of catastrophe
       Paper No. 315, 17 (August 2010), available at http://papers.ssrn.
                                                                             for the same threshold.28
       com/sol3/papers.cfm?abstract_id=1662147##.
                                                                             FUND includes sector- and region-specific calculations of
                                                                             damage to agriculture, forestry, water resources, energy con­
and then back again. The ocean acts as a buffer, one that can                sumption, sea-level rise, ecosystems, and health. FUND does
readily take up or release carbon, depending on the circum­                  not take abrupt, catastrophic changes such as those outlined
stances. However, with the rapid rise in CO2 emissions, as a                 above into consideration.
result of human activities, the balance has been significantly
                                                                             It is beyond the scope of this guide to provide detailed com­
disrupted. Ocean and land carbon sinks (also known as reser­
                                                                             parisons of individual models, the factors they consider, and
voirs) cannot absorb all the excess levels of CO2, leading to
                                                                             how each approximates the potential damages from climate
rising concentrations in the atmosphere. Dynamic carbon-cycle
                                                                             change. Moreover, models are constantly updated to increase
feedbacks can occur naturally or as a result of human influence
                                                                             their sophistication and to supplement the analysis.
affecting the flow of carbon between the different reservoirs.
For example, because gases are less soluble in warmer liquids,               However, important factors that all economic modelers should
rising ocean temperatures may have the effect of slowing the                 consistently take into account if they are to be faithful to the
rate at which the ocean can take up CO2 from the overlying                   climate science include:
air, leaving more CO2 in the atmosphere, which, in turn, raises
                                                                             • the impacts of increased temperature from altering the
air temperatures and heats the ocean further.
                                                                                balance of incoming and outgoing energy in the Earth­


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6                                              MORE          THAN           MEETS       THE       EYE                            RESOURCES
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   atmosphere system as a result of rising concentrations of       rise, storm damages, droughts and floods, human deaths and
   greenhouse gases (“radiative forcing”)                          diseases, extinction of species, and forced migration of huge

• possible cooling effects (for example, certain pollutants        numbers of climate refugees at only $4 per tonne of CO2, with

   create a form of haze that reduces the warming impact           water-supply problems and extinction of species accounting

   of the sun although they have harmful impacts on human          for $2 per tonne of CO2. It excludes catastrophes, which could
   health)                                                         include the collapse of major ice sheets, accelerated methane
                                                                   releases from melting permafrost, collapse of rainforests, and
• regional temperature effects (since, as noted, different
                                                                   drastic changes in ocean currents. Reasonable people could
   parts of the Earth may react in different ways)
                                                                   and do disagree with these conclusions. In other words, it is
• the possibility that changes in the climate system occur in      as important to understand the assumptions behind a model
   “nonlinear” ways via feedback cycles, tipping points, and/      as it is to understand its final results.32
   or cascading effects that are irreversible
                                                                   c. How Do SCC Models Handle Complexity and
• economic as well as environmental and social impacts29
                                                                      Uncertainties?
• the possibility of humans engaging in adaptive measures          The world that models seek to simulate is highly complex.
   to buffer or mitigate the impacts of an increasingly hotter     Consequently, many climate and economic change models
   world, for example, engineering agriculture to survive in       are also complex, and many simplifying assumptions are re­
   changed environments                                            quired. Constructing these models is not a mere mechanical
In sum, the models used by the federal government to esti­         exercise. The modeler must make numerous judgments about
mate the SCC apply a variety of approaches to estimate the         real-world behavior and how to represent it within the model.
economic harms that might be caused by climate change, with        The modeler must also distill the various elements down into
each model adopting a unique approach. These models are            equations in order to compare one against another33 and to
not always transparent, may not take into account catastrophic     capture interactions between different component parts.
climate change, contain many extrapolations and assumptions,       As the model cannot include every possible factor in either
and do not factor in all aspects of climate science. 30            a real-world economy or a real physical world, the modeler
                                                                   must make judgments about appropriate levels of detail, which
b. How Accessible Are the Assumptions Contained in the
                                                                   factors to include, and which to exclude. Likewise, because
   Models?
                                                                   important aspects of human behavior and the Earth system
A further complication in understanding and comparing mod­
                                                                   are dynamic by nature, they are often unpredictable or dif­
els is that in some cases, such as DICE, the authors have made
                                                                   ficult to represent accurately through the equations that make
the component parts, and the tools to run the model, publicly
                                                                   up models. Among the challenges in any modeling exercise
accessible, whereas others are proprietary.
                                                                   (whether science or economics) is the possibility of surprises
Still other models are essentially black boxes because of their    and how they interact with other factors. Paul Slovic, a leading
complexity and the obscure programming language used. For          researcher of risk perception, noted the difficulties of under­
example, the FUND model, which is growing in acceptance            standing the indirect consequences of an unexpected event.
as a standard for evaluation of climate economics, was until       He analogizes this to a stone dropped in a pond, which causes
recently run only by the model’s creator, Richard Tol, and his     ripples that expand outward to affect related areas.34
coauthors. A recent effort by a group of researchers to decon­
                                                                   The degree of complexity of modeling to estimate the social
struct the FUND model revealed many of the unique features
                                                                   cost of carbon is further exacerbated by the complexities of
that drive its outcomes.
                                                                   climate science, such as the potential for unexpected events
Researchers learned, for example, that FUND assumes that           (cascading effects, feedback loops, tipping points) that are
agriculture can tolerate huge temperature changes. In the case     largely unpredictable based on our current knowledge. Never­
of South America, FUND’s 95% confidence interval31 on the          theless, the SCC cannot be reliably calculated without making
ideal temperature for crop production extends to a wide swing      some attempt to understand the climate system and to estimate
of 17 degrees C (30.6 degrees F) above and below historical lev­   the possible impacts that changes to that system could have on
els. The model values cumulative damages including sea-level       human life (including to the “ecosystem services” that serve

                                                                                                                 WORLD
                             MORE         THAN        MEETS         THE       EYE                                RESOURCES        7
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and support human development and sustenance and the other         ing disrupted by climate change.41 The loss of such species is
forms of life on Earth35).                                         inherent but also connected with other losses that are difficult
                                                                   to quantify.
Critics of economic modeling have expressed concern about
the way economists filter the significant complexities of Earth    Another example is the impact of extreme weather—for ex­
and human systems and the inherent uncertainties in them.          ample, severe flooding in prime agricultural areas that washes
Scientists MacCracken and Richardson, for example, point to        out crops and reduces or delays production or shifts it to more
problems “inherent to the complexity of the Earth system,”         climate-tolerant places. There are hundreds of such examples,
which they think very difficult if not impossible to capture in    some of which involve plants and animals, others that involve
the context of an IAM.36 As they summarize, these include:         human lives and communities. Moreover, since humans have
                                                                   always experienced extreme weather events, it is scientifically
1. challenges arising from characteristics of the atmospher­
                                                                   dubious to attribute any single weather event to a changing
    ic, oceanic, cryospheric, and biospheric components of
                                                                   climate system. This in itself introduces additional complexi­
    the climate system, including limits in scientific under­
                                                                   ties of analysis.
    standing of how to project the future climate
2. challenges arising from the interactions of [people and         The intellectual puzzle for economists calculating the SCC

    institutions] with the climate system37                        is how to attach a numeric value to this loss, or to the costs
                                                                   avoided should species survive or even relocate, or should
Climate science informs what impacts emissions are likely to
                                                                   weather cause major changes in the way humans produce food.
have on the natural world, and the potential for damage to
                                                                   Even tougher are the methodological challenges associated
human society. But climate science is itself a dynamic process.
                                                                   with monetizing what economists call nonuse environmental
Climate scientists try continually to improve their understand­
                                                                   benefits. People who may never visit the Himalayas might still
ing through research, observations, and models specific to the
                                                                   be troubled aesthetically or from a geopolitical point of view
disciplines that make up climate science.
                                                                   if glaciers melt. Simply because this is so hard to value, there
To point to one example, a warmer atmosphere and ocean are         are benefit categories that get left out in SCC estimates or are
causing the summer Arctic sea ice to melt. Scientists know         valued very conservatively.42
this is happening (although the evidence for erosion from a
                                                                   None of these are uncertainties about whether climate change
warming ocean has been fairly recent).38 However, because this
                                                                   is happening. Rather, they are uncertainties in calculating the
is an event outside of previous human experience and direct
                                                                   speed of change. Some science projections relating to climate
instrumental measurement, scientists cannot know ahead of
                                                                   change have been conservative (reflecting the complexity of
time the pace at which future melting will occur, much less the
                                                                   analysis) and have subsequently been contradicted by experi­
impacts on other natural systems that an ice-free Arctic Ocean
                                                                   ence, such as the swiftly accelerating melt rate for summer
might cause. Estimates in 2004 were that the Arctic would be
                                                                   Arctic ice.43
ice free in the summer of 2100; current estimates predict this
could happen much earlier, some say as early as this decade.39     In truth, human beings have not been very good at predicting
And, it remains to be seen what additional changes to the          either natural or human-made disasters, and therefore have
climate system result from associated radiative forcing—for        not been prepared for them. The world has recently seen
example, the impacts of increasingly larger areas of dark ocean    significant examples of miscalculation of risk. In Japan, highly
replacing white sea ice, and how this might affect other parts     qualified people made calculations of risk of an earthquake,
of the climate system.40                                           and of a tsunami, but they did not fully understand how the
                                                                   two might work together, and they did not predict a severe
Another degree of complexity is found in the difficulty of esti­
                                                                   enough earthquake or a devastating enough tsunami.
mating particular damages that are not usually monetized—for
example, the loss of endangered species and of certain kinds       In short, economists who model the SCC must grapple with
of vegetation. The defining image in the popular psyche is         hugely complex systems and exceptional levels of uncertainty,
the polar bear, but other arctic species such as seals are also    translating many natural and human variables into monetary
endangered. And a number of species more directly connected        values that represent the benefits of acting to control the
to natural resources that allow humans to grow food are be­        growth of greenhouse gas emissions. This situation confronts

                                                                                                                     WORLD
8                                      MORE         THAN          MEETS        THE     EYE                           RESOURCES
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them with a moving target, as climate scientists are continu­        This range of discount rates, which span those commonly used
ally learning more about how the natural world is responding         in calculating the SCC, leads to differences in net present value
to the constantly changing array of human influences. The            after 300 years that vary by a factor of 100,000.
effort through IAMs to impose order on a rapidly evolving
                                                                     In the calculation of costs, benefits, and the SCC, the choice
set of observations, facts, and data should not obscure the
                                                                     of discount rate has enormous impact, influencing whether
significance of the uncertainties and assumptions inherent
                                                                     economists recommend to invest today or much later. From
in these calculations, and the monetization in these models
                                                                     the policy perspective of the economists who value this calcu­
should be understood within this context as a wide-ranging
                                                                     lation, the higher the discount rate, the less significant future
estimate of costs.
                                                                     costs become. The choice of discount rate for investments in
d. Why Is the Discount Rate So Important?44                          managing greenhouse gas emissions, following publication of
A key variable in calculating the social cost of carbon is the       the Stern Review, ignited intense debates in the economics
“discount rate.” Also known as the “rate of time preference,”        profession.47 Stern used a low discount rate, approximately
the discount rate reflects the challenge of capturing the time       1.4%. By contrast, William Nordhaus, a professor at Yale Uni­
factor in climate policy.                                            versity, currently uses a discount rate of about 3% in calculating
                                                                     SCC.48 Three percent values an environmental cost or benefit
There are three assumptions built into the discount rate: that
                                                                     occurring 25 years in the future at about half as much as the
humans prefer to receive benefits in the present rather than
                                                                     same benefit today.
the future; that future generations will be richer and a dollar
is worth less to them as a result; and that there are a variety of   The school of thought represented by Nordhaus looks at the
investment options for any given sum of money. In addressing         evidence that successive generations have been increasingly
climate change, it is an unfortunate truth that the costs of re­     wealthier and questions why current “poorer” people should
ducing greenhouse gas emissions (“mitigation”) must typically        in effect reduce their own standard of living and consumption
begin earlier, while the benefits—in the form of catastrophes        patterns to essentially subsidize future generations. They as­
or costs avoided—accrue many years, decades, and even cen­           sume that our progeny will be more able to carry the financial
turies in the future. Economic analyses sum the costs current        burden (and possibly that future generations will invent tech­
generations might impose on themselves to benefit future             nology that we cannot currently imagine).
generations in the form of a discount rate. The IWG selected
                                                                     An underlying assumption is a continually growing economy.
discount rates of 2.5 to 5% a year.
                                                                     The higher discount rate that Nordhaus and his followers advo­
The discount rate represents the value of a certain future           cate shifts more of the burden to future generations, supported
quantity, translated into today’s dollars.45 Because money earns     by the belief that real rates of return indicate that the world
interest, if one assumes a growing economy with a 6% interest        in the future will be better able to make climate investments.
rate—a rate that hasn’t been seen in quite a long time—and
                                                                     Another approach drawn from this perspective argues that
no inflation, one can expect an investment of $100 to have
                                                                     current generations should invest money rather than purchase
increased to $106 after one year. Thus a cost of $106 next
                                                                     the technology that would today start the process of reducing
year is equivalent to $100 today. Other ways of expressing this
                                                                     greenhouse gas emissions. The return on those investments
concept are the present value or the time value of money. It
                                                                     would then be applied in the future to mitigation activities.49
makes a big difference to the SCC, and its policy application,
                                                                     The difficulty with this argument is that, as climate change
which interest rate or discount rate is used. RFF’s Burtraw
                                                                     science becomes increasingly concerning, it becomes a weaker
and Sterner provide a vivid example:
                                                                     bet that future generations will be better off.50 If they are not,
    At a discount rate of one percent, the discounted value of       lower or negative discount rates are justified.51 A high discount
    $1 million 300 years [from today] is around $50,000 today.       rate also requires another risky wager, namely that engineers
    But if the discount rate is five percent, the [current]. . .     and technicians will know how to roll back challenging impacts
    value is less than a mere 50 cents.46                            of climate change, such as the thawing of the Greenland ice
                                                                     sheets. Even if future generations are richer, they will be stuck
                                                                     with the physical world we bequeath them.


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Applying a low discount rate represents a judgment not to defer     tion Agency, have encouraged some economic modelers to
these decisions and their related costs to future generations,      undertake efforts to try to improve the ways their models
despite the general assumption that a dollar is worth more          incorporate climate science.55 It remains to be seen whether
today than a dollar tomorrow. Those in favor of a low discount      these improvements will produce a more reliable set of num­
rate point out the unusual nature of climate change. Thus,          bers to inform OMB review.
they focus on the need to set a ceiling now and then to reduce
                                                                    In addition, a deeper general critique is surfacing of the very
greenhouse gas emissions to avoid atmospheric concentrations
                                                                    use of these models in the context of assessing and making
rising to levels that might trigger unpredictable and unsolvable
                                                                    climate-change policy. Three examples follow.
catastrophes farther down the road.
                                                                    Economist Frank Ackerman and lawyer Lisa Heinzerling have
But the choice of discount rates involves myriad social and
                                                                    long questioned the use of cost-benefit analysis to inform envi­
moral judgments, not simple economic calculations. OMB has
                                                                    ronmental policymaking in general.56 More recently, Ackerman
acknowledged this in guidance on using discount rates, which
                                                                    critiqued these tools as applied to climate change, including
provides that “it may not be appropriate for society to dem­
                                                                    how the basic tools are used to calculate SCC57:
onstrate a similar [time] preference when deciding between
the well-being of current and future generations.”52 Richard            Cost-benefit analysis assumes that costs and benefits can
Howarth of Dartmouth College explains why we should care                be expressed in monetary terms with a reasonable degree
about this somewhat arcane discussion among economists and              of confidence . . . The benefits of environmental protec­
why it is important to make explicit the consequences of using          tion, however, are generally more difficult to quantify. In
particular discount rates. As he points out, if countries were to       the case of climate change, economists confront a double
use the discount rates advocated by Nordhaus, “[g]reenhouse             problem: the benefits of mitigation are both unpredictable
gas emission [would] be allowed to grow at a robust rate.”53            and unpriceable.58

Economists wrestling with these issues admit that many of           University of Chicago Law School professors Jonathan S.
the elements that either are or ought to be considered to rank      Masur and Eric A. Posner, in Climate Regulation and the Lim­
the desirability of action against climate change, and at what      its of Cost-Benefit Analysis, approach current practices from
level, require “normative” judgments; one example is how we         another angle, criticizing the methods used to calculate the
weigh the welfare of future generations compared to our own.        SCC, and examining the relationship between cost-benefit
But many of these value judgments are deeply engrained in           analysis and politics.59 They conclude that policy responses to
the approach neoclassic economics54 takes to analysis. Deci­        climate change—far from being “data driven” decisions—are
sionmakers outside the profession, and indeed the public, if        inherently political questions “involving contested normative
they entered the debate, might make different assumptions           issues.”60 Policymakers, they argue, will have to find alternative
about the present generation’s responsibility to future genera­     tools when those questions predominate.61 They recommend
tions and their assumed relative wealth. What may make this         that cost-benefit analysis be reserved for situations that are
conversation particularly confusing to people who don’t work        politically neutral “in the sense of drawing on widely shared
with these tools on a daily basis is that the analysis results in   intuitions about human well-being.”62
a mathematical “answer” comparing benefits and costs, po­
                                                                    Finally, Harvard economics professor Martin Weitzman has
tentially masking the large number ofjudgments made in the
                                                                    systematically called into question the adequacy of cost-benefit
estimation process. It is vital that the SCC be understood with
                                                                    analysis, including its component, SCC, as a tool to examine
these significant limitations and caveats in mind.
                                                                    climate-policy alternatives. His initial work focused on the
5. What Roles Should SCC and/or Cost-Benefit                        so-called “fat tail.”63 In climate science, the fat tail is the right
   Analysis Play in Assessing Climate Policy Options?               edge of a distribution of, for example, potential temperature
The discussion above identifies important caveats about             variations caused by climate change. Economists often cut off
various factors employed in IAMs to estimate the SCC. The           both extreme sides of the curve (5% on each side) for conve­
objections of various climate scientists, expressed in the          nience of analysis. But Weitzman says the fat tail is where they
literature and also in recent workshops conducted by the            should be looking carefully, because it expresses the probability
U.S. Department of Energy and the Environmental Protec­             of extreme events.

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    Standard [cost-benefit] analysis trims off the worst-case      How these models assess future damages and harms that
    outcomes with less than a one in twenty chance of hap­         might occur from climate change is a major issue. Climate
    pening . . . but Weitzman tells us that seemingly remote       scientists research the damage that increasing temperatures
    possibility is exactly where we should be looking—because      and their consequences are imposing on all facets of nature,
    the costs are so high they overwhelm other elements of         a uniquely complex undertaking. The economic models es­
    the cost-benefit analysis.64                                   sentially selectively filter the climate science, and translate
                                                                   it into numerical representations. An incomplete list of these
Thus, Weitzman questions whether standard economic mod­
                                                                   judgments includes:
els can provide sound advice on the kinds of decisions that
policymakers must make about greenhouse gas emissions. In          • which parts of climate science to factor into the model
a 2010 paper, Weitzman appeared to question the very use              and at what level of severity
of cost-benefit analysis for evaluating climate-change policy,     • whether to use a discount rate and what rate to use
arguing for a broader public debate on the subject:
                                                                   • how to account for potentially “catastrophic” climatic
    In my opinion, economists need to emphasize more openly           events
    to the policy makers, the politicians, and the public that,
                                                                   • how to identify and monetize potential consequences of
    while formal climate-change [benefit-cost analysis] may
                                                                      climate change such as loss of species, mass migrations,
    be helpful, there is a danger of possible overconfidence
                                                                      spread of disease, and agricultural disruptions and shifts
    from undue reliance on subjective judgments about the
                                                                   Perhaps the most important and debated judgment made by
    probabilities and welfare impacts of extreme events.65
                                                                   modelers is the selection of the discount rate. The IWG se­
Conclusion                                                         lected discount rates of 2.5 to 5% a year. At 3%, a damage that
U.S. federal agencies are required to conduct a Regulatory         is valued today at $100 in damages shrinks to as little as $5 in a
Impact Analysis to monetize the anticipated costs and benefits     century, suggesting those costs will be less onerous to people
of their proposed actions. In terms of rulemaking related to       in 100 years,66 and discouraging current regulatory action.
climate change, the SCC essentially puts a de facto ceiling
                                                                   The opacity of the SCC calculation process risks giving poli­
on the stringency of executive-branch regulation of carbon
                                                                   cymakers and stakeholders the impression that the numbers
dioxide. If analyses of specific rules produce SCC figures
                                                                   are more reliable than they actually are. The assumptions
indicating the rule might impose costs outside the range cur­
                                                                   behind the calculation of SCC are not always transparent to
rently established as acceptable by the federal government
                                                                   policymakers, climate scientists, the public, and sometimes
interagency working group, namely greater than $65 per tonne
                                                                   even other economists and economic modelers.
of carbon dioxide at the high end, the regulatory agency faces a
tough burden of intra-governmental persuasion. In such cases,      It is a seductive idea that SCC and cost-benefit analysis pro­
the choice of SCC can result in weaker control of greenhouse       duce precise numbers backed by hard science. In truth, no
gases, although some advocates for SCC estimates argue that        single value should be accepted by policymakers unless all
a low positive value is better than zero and can help improve      the assumptions and choices that underpin the calculation are
the ambition of a regulation.                                      transparent and well understood. Otherwise the regulatory
                                                                   process risks being held hostage to choices made by unelected
The judgments of the IWG—$5, $21, $35, and $65 (in 2007
                                                                   experts, rather than grappling with the inherently political and
dollars) per tonne of carbon dioxide—appear on their face to
                                                                   ethical questions posed by climate-change policy.
be very concrete. The difficulty with these seemingly rigorous
numbers is that they mask a series of choices and value judg­      One way to remedy this problem is through more robust dia­
ments made by the people who run the economic models that          logue between economists developing the SCC and climate
produce the final figures.                                         scientists and others working to understand the damages that
                                                                   climate change is imposing. Climate and social scientists should
                                                                   have a direct role in the SCC calculation process.67




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Notes
1. Converted from U.K. pounds to U.S. dollars in 2000.                  8. The interagency working group states its objective as “mak­
                                                                           ing it possible for agencies to incorporate the social benefits
2. William D. Nordhaus, A Question of Balance:
                                                                           from reducing carbon dioxide emissions into cost-benefit
   Weighing the Options on Global Warming Policies
                                                                           analyses of regulatory actions that have small, or ‘marginal,’
   (2008).
                                                                           impacts on cumulative global emissions. Most federal regula­
3. Exec. Order No. 12,291, 3 C.F.R. 127 (1982); Exec. Order                tory actions can be expected to have marginal impacts on
   No. 12,866, 3 C.F.R. 638 (1994).                                        global emissions.” U.S. Dept of Energy, Final Rule Tech­
                                                                           nical Support Document: Energy Efficiency Program
4. Dominic J. Mancini, Office of Inform. & Regula­                         FORCommercial and Indus. Equipment: Small Electric
   tory Affairs, U.S. Office of Mgmt & Budget, The                        Motors, Appendix 15A. Social Cost of Carbon for Regula­
   Am. Experience in Regulatory Review and Reform                         tory Impact Analysis under Exec. Order 12866 13 (Mar. 9,
   (2006), available at http://ec.europa.eu/agriculture/events/sim-        2010) [hereinafter IWG Report], available at http://www1.eere.
   plification/mancini.paf (“During our review, we examine the             energy.gov/buildings/appliance_standards/commercial/sem_final-
   RIA and the regulation and make suggestions to improve                  rule_tsd.html.
   both the RIA and the rule’s cost-effectiveness and to make
                                                                       9. Council of Economic Advisors, Council on Environmental
   sure that it comports with the Executive Order’s principles
                                                                          Quality, National Economic Council, Office of Energy and
   and the President’s priorities. If the agency refuses to make
                                                                          Climate Change, Office of Management and Budget, and
   changes or needs more time to make the changes, we can
                                                                          Office of Science and Technology Policy.
   return the rule to the agency for reconsideration.”) James
   F. Morrall, III, a retired career official at OMB, describes        10. There was no specific guidance on which value to use in
   the process and calls the head of the OIRA, the regulatory              specific rulemakings. This lack of guidance is understand­
   arm of OMB, the “regulatory Czar.” JOHN F. MORRALL,                     able, given that the differences are mostly related to using a
   Ill, U.S. Experience with Regulatory Oversight                          variety of discount rates.
   History and Use of RIA (2010), available at http://www.
                                                                       11. Final Rule, Average Fuel Economy Standards, Passenger
     gWu.edu/~clai/recent_events/20I0/Spring_Regulatory_Program/
                                                                           Cars and Light Trucks, supra n. 6; Corporate Average Fuel
     Speaker%20Present^ti^ns/US_Ex'perience_with_Regulatory_
                                                                           Economy Standards, 75 Fed. Reg. 25,324, 25,520 (May 7,
     Oversight_2010/paf.
                                                                           2010); Energy Conservation Program: Energy Conservation
5. The benefits can be estimated by multiplying the change in              Standards for Small Electric Motors, 75 Fed. Reg. 10,874,
   GHG emissions in a year by the SCC value appropriate for                10,909 (Mar. 9, 2010); Energy Conservation Program: En­
   that year. The net present value (in other words, the value             ergy Conservation Standards for Residential Water Heaters,
   in today’s dollars) of the benefits can then be calculated by           Direct Heating Equipment, and Pool Heaters, 75 Fed. Reg.
   multiplying each of these future benefits by an appropriate             20,112, 20,177 (Apr. 16, 2010).
   discount factor and summing across all affected years.
                                                                       12. IWG Report, supra n. 8, at 40.
6. For example, the National Highway Traffic Safety Admin­
                                                                       13. Id. at 34.
   istration (NHTSA) used an SCC value ranging on the low
   end from $2 (a domestic value) to $80 (a global value) in its       14. Climate Change Economics, Dept. of Energy and Cli­
   March 2009 final rule for vehicle fuel economy. Final Rule,             mate Change, Carbon Valuation in UK Policy Appraisal: A
   Average Fuel Economy Standards, Passenger Cars and Light                Revised Approach (July 2009), available at http://w’tvtv.decc.
   Trucks, 74 Fed. Reg. 14,196, 14,346 (Mar. 30, 2009). In                gov.uk/assets/decc/what%20we%20do/a%20low%20carbon%20
   2008, NHTSA used an SCC value of $7 in its proposed fuel               uk/carbon%20valuation/1_20090715105804_e_@@_carbonvalu-
   economy standard. Notice of Proposed Rulemaking, Average               ationinuk-policyappraisal/paf
   Fuel Economy Standards, Passenger Cars and Light Trucks;
   Model Years 2011-2015, 73 Fed. Reg. 24,352, 24,414 (May
   2, 2008).
7. Commercial Standard Sized Packed Terminal Air Condition­
   ers and Packed Terminal Heat Pumps, 73 Fed. Reg. 58,772
   (Oct. 7, 2008).




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15. Frank Ackerman & Elizabeth A. Stanton, The                        26. This section relies heavily on Michael D. Mastrandrea,
    Social Cost of Carbon 17 (2010), available at http://                 Representation of Climate Impacts in Integrated
    sei-international.org/mediamanager/documents/Publications/            Assessment Models, Workshop Proceedings (2010),
    Climate-mitigation-adaptation/socialcost(/fcarbon_sei_20100401.       available at http://www.pewclimate.crg/dccUplcads/mastran-
    pdf (citing figures used in Climate Change Economics, supra          drea-integrated-assessment-modelsepaf.
   n. 14, at 119). In 2002, the U.K. Government Economic
                                                                      27. Monte Carlo analysis is a form of probabilistic testing us­
   Service (GES) recommended an illustrative estimate for
                                                                          ing computerized mathematical formulas to do repeated
   the SCC of £70/tonne of carbon (tC), within a range of £35
                                                                          random sampling. Doing this allows the modeler to consider
   to £140/tC (for year 2000 emissions), for use in policy ap­
                                                                          a range of possible outcomes and the probabilities they will
   praisal across government, and that these values should be
                                                                          occur for any choice of action, including extreme possibili­
   increased at the rate of £1/tC per year. R. Clarkson and K.
                                                                          ties from the most radical to the most conservative decision.
   Deyes, Estimating the Social Cost of Carbon Emissions 41
                                                                          This is a technique that was devised by scientists working on
   (Govt. Econ. Serv. Working Paper 140, Jan. 2002), available
                                                                          the atom bomb, named for the Monaco casino resort mecca.
   at http://www.hm-treasury.gov.uk/d/SCC.pdf. The GES also
   recommended that these values should be subject to peri­           28. Douglas Fischer & Nicole Heller, Revised Figures Show
   odic review. Id. at 42.                                                Federal Economists Understate the Costs of Climate
                                                                          Impacts, Climate Central (Jan. 26, 2011), http://www.
16. Ackerman & Stanton, supra n. 15, at 1.
                                                                          climatecentral.org/news/revised-figures-show-federal-econo-
17. IWG Report, supra n. 8, at 2.                                         mists-understate-the-cost-of-climate/.
18. Ackerman & Stanton, supra n. 15, at 4.                            29. For example, although most economists assume that wealth
                                                                          will continue to increase, as it has historically, changing
19. This discussion relies heavily on Ackerman & Stanton, supra
                                                                          weather might lower economic growth and human well­
    n.15.
                                                                          being; future generations could be considerably poorer than
20. Because of seasonal differences, the figure is every four             current ones (see discussion below concerning discount rate
    years in Hawaii or every six weeks in Maine.                          at Section 4.d). Also, extreme weather changes may trigger
                                                                          human migrations from less habitable to more habitable
21. Some have pointed out that that this ignores some of the
                                                                          parts of the Earth, a trend that could provoke social conflict.
    non-climate related co-benefits of reducing CO2, including
    immediate health benefits. More research is showing those         30. Elizabeth A. Stanton, Frank Ackerman, & Sivan Kartha,
    estimates of benefits to be very high. For example, scientists        Inside the Integrated Assessment Models: Four Issues in
    have found that introducing low-emissions cookstoves in               Cl-imate Economics, 1 CLIMATE AND Dev. 166-84 (2009).
    India would significantly reduce premature deaths caused
                                                                      31. A 95% confidence interval means that in the statistical
    by acute lower respiratory infections, ischemic heart disease,
                                                                          model, the “true” value has a 95% chance of being within
    and chronic obstructive pulmonary disease. Paul Wilkinson
                                                                          the interval.
    et al., Public Health Benefits of St-r^tiegies to Reduce Green­
    house-Gas Emissions: Household Energy, 374 Lancet                 32. Ackerman & Munitz, supra n. 22.
    1917-29 (2009).
                                                                      33. Frank Ackerman et al., Limitations of Integrated Assessment
22. Frank Ackerman & Charles Munitz, Climate Dam­                         Models of Climate Change, 95 Climatic Change 297-315
    ages IN THE FUND Model: A Disaggregated Analy­                        (2009).
    sis (2011), available at http://www.e3network.org/papers/
                                                                      34. Paul Slovic, Perception of Risk, 236 Science 280-85 (1987).
   Cli'mate_Da'mages_in_FUND_Model_March2011/paf.
                                                                      35. Ecosystems are the systems in the natural world that provide
23. The Dynamic Integrated Climate Change (DICE) model
                                                                          benefits (“services”) to human beings. Services can include
    was developed at Yale University by William Nordhaus,
                                                                          clean water or the insects that pollinate to allow food to be
    David Popp, Zili Yang, Joseph Boyer, and colleagues.
                                                                          grown. Rudolf S. de Groot, Matthew A. Wilson, & Roelof
24. The Policy Analysis of Greenhouse Effect (PAGE) model                 M.J. Boumans, A Typology for the Classification, Descrip­
    was designed by Dr. Chris Hope, Reader in Policy Model­               tion and Valuation of Ecosystem Functions, Goods and
    ling at University of Cambridge Judge Business School.                Services, 41 Ecological Econ. 393-408 (2002).
25. The Climate Framework for Uncertainty, Negotiation and
    Distribution (FUND) was developed by Richard Tol and
    David Anthcjf.




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36. Michael C. MacCracken & L. Jeremy Richardson,                       42. The methodology economists use to perform this function is
    Challenges to Providing Quantitative Estimates                          called willingness to pay assessments or contingent valuation
    OF THE Environmental and Societal Impacts of                            methodologies. For a critique of such methods, see John
    Global Climate Change (2010), available at http://www.                  Broome, Valuing Policies in Response to Climate Change:
     pewclimate. org/docUploads/maccracken-richardson-challenges-           Some Ethical Issues, available at http://webarchive.nationalar-
     quantitative-estimates.pdf.                                            chives.gov.uk/+/http://www.hm-treasury.gov.uk/stern_review_
                                                                            supporting_documents.htm.
37. Id.
                                                                        43. See supra n. 39.
38. T.B. Salles, C.M. Griffiths, C.P. Dyt & F. Li, Australian Shelf
    Sediment Transport Responses to Climate Change-Driven               44. This section depends very heavily on Chris Hope & David
    Ocean Perturbations, 282 Marine Geology 268-74                          Newbery, Calculating the Social Cost of Carbon (May 3,
    (2011); E. Rignot et al., Acceleration of the Contribution of           2006), available at http://www.eprg.group.cam.ac.uk/wp-
    the Greenland and Antarctic Ice Sheets to Sea Level Rise, 38            content/uploads/2008/11/eprg0720.paf, and Stephen Newbold
    Geophysical Research Letters L05503 (2011).                             et al., The “Social Cost of Carbon” Made Simple (U.S. EPA
                                                                            National Center for Environmental Economics, Working
39. Ice-Free Arctic Sum'mer:s Likely Sooner Than Expected, Na­
                                                                            Paper No. 10-07, 2010).
    tional Oceanic and Atmospheric Association (Apr.
    2, 2009), http://^wtwtv.noaanews.noaa.gov/stories2009/20090402_     45. Dallas Burtraw & Thomas Sterner, Climate Change Abate­
    seaice.html. For the earlier prediction, see, e.g., Richard             ment: Not ‘Stern’ Enough?, RESOURCES FOR THE Future
    Black, New Warning on Arctic Sea Ice Melt, BBC News                     (Apr. 4, 2009), http://www.rif.org/Publications/WPC/Pag-
    (Apr. 7, 2011), http://www.bbc.co.uk/news/science-environ-              es/09_04_06_Climate_Change_Abatement.aspx.
    ment-13002706; David Ljunggren, Arctic Summer Ice Could
                                                                        46. Id.
    Vanish by 2013: Expert, Reuters (Mar. 5, 2009), http://
    wivw.reuters.com/article/idUSTRE52468B20090305; February            47. The debate and the consequences of the discounting rate
    Arctic Ice Exienl Ties 2005for Record Low; Extensive Snow               are illustrated by economist Hal R. Varian in Recalculat­
    Cover Persists, National Snow and Ice Data Center                       ing the Costs of Global Climate Change, N.Y. Times, Dec.
    (Mar. 2, 2011), http://nsidc.org/arcticseaicenews/2011/030211.          14, 2006, available at http://www.nytimes.com/2006/12/14/
    html.                                                                   business/14scene.html.

40. J.E. Overland et al., National Oceanic and Atmo­                    48. In 1994, Nordhaus advocated for a discount rate of about
    spheric Association, Arctic Report Card: Update                         6%. William D. Nordhaus, Managing the Global
    FOR 2010: Atmosphere (2011), available at http://www.                   COMMONS: THE ECONOMICS OF CLIMATE CHANGE (1994).
    arctic.noaa.gov/reportcard/atmosphere.html.
                                                                        49. Howarth makes the point that there is not only one rate of
41. See, e.g., Food and Agriculture Organization of the United              return on capital. Richard B. Howarth, Discounting and
    Nations, Rome, Italy, Feb. 13-14, 2008, Climate Change                  Uncertainty in Climate Change Policy Analysis, 79 Land
    and Biodiversity for Food and Agriculture 2-3 (2008)                    Economics 369-81 (2003).
    (“climate change may lead to loss of functional biodiver­
                                                                        50. Richard B. Howarth, Discounting, Uncertainty, and Re­
    sity and to localized impacts in the delivery of ecosystem
                                                                            vealed Time Preference, 85 Land Economics 24-40 (2009).
    services such as lack of pollination, loss of soil biodiversity
    and capacity for nutrient cycling, or loss of natural biological    51. Partha Dasgupta, Discounting Climate Change, 37 J. RISK
    control leading to potential new pest outbreaks”), available            AND Uncertainty 141-69 (2008).
    at ftp:/,ftp.fao.org/docrep,fao/meeting/013/ai784e.paf; GLOBAL
                                                                        52. Office of Mgmt and Budget, Circular A-4 (2003),
    Climate Change Impacts in the United States 71-78
                                                                            available at http://www.whitehouse.gov/omb/circulars_a004_a-
    (Thomas R. Karl, Jerry M. Melillo, & Thomas C. Peterson
                                                                            4/#e.
    eds., 2009), available at http://www.globalchange.gov/publica-
    tions/reports/scient.fic-assessments/us-impacts.                    53. Howarth, supra n. 50, at 1.




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54. Loosely, neoclassical economics rests on three assumptions:       59. Jonathan S. Masur & Eric A. Posner, Climate Regulation and the
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16                                          MORE          THAN         MEETS           THE       EYE                              RESOURCES
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5/19/2014                                 Global warming: Improve economic models of climate change : Nature News & Comment

  NATURE | COMMENT


  Global warming: Improve economic models of climate
  change
  Richard L. Revesz, Peter H. Howard, Kenneth Arrow, Lawrence H. Goulder, Robert E. Kopp,
  Michael A. Livermore, Michael Oppenheimer & Thomas Sterner

  04 April 2014

  Costs of carbon emissions are being underestimated, but current estimates are still valuable for
  setting mitigation policy, say Richard L. Revesz and colleagues.

  Subject terms:            Climate sciences           Economics          Policy




                                                                                                                         Danny Lawson/PA Wire

            Floods brought parts of Britain to a standstill earlier this year.


  On 31 March, the Intergovernmental Panel on Climate Change (IPCC) released its latest report on the
  impacts of climate change on humans and ecosystems (see go.nature.com/ad5v1b). These are real risks
  that need to be accounted for in planning for adaptation and mitigation. Pricing the risks with integrated
  models of physics and economics lets their costs be compared to those of limiting climate change or
  investing in greater resilience.

http://www.nature.com/news/global-warming-improve-economic-models-of-climate-change-1.14991
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  Last year, an interagency working group for the US government used three
  leading economic models to estimate that a tonne of carbon dioxide emitted now
  will cause future harms worth US$37 in today’s dollars1. This ‘social cost of                                     Top picks
  carbon’ represents the money saved from avoided damage, owing to policies                                          from nature news
  that reduce emissions of carbon dioxide.
                                                                                                                       • Stem-cell method
                                                                                                                          carries low risk of
  Governments, agencies and companies use such estimates to guide decisions
                                                                                                                          tumours
  about how much to invest in reducing emissions. In the United States, a previous
                                                                                                                       • What cosmologists
  estimate2 made in 2010 informed the stricter fuel-economy requirements for
                                                                                                                          could still learn from
  new cars. The latest value is motivating President Barack Obama’s plan to                                               the CMB
  impose greenhouse-gas limits on coal-fired power plants by next year. Canada,                                        • Russia to end Space
  Mexico, the United Kingdom, France, Germany and Norway have used similar                                                Station collaboration in

  numbers to guide regulatory decisions, as has the International Monetary Fund                                           2020

  to analyse fossil-fuel subsidies.


  Yet the social-cost benchmark is under fire. Industry groups, politicians — including leaders of the energy
  and commerce committee of the US House of Representatives — and some academics say that
  uncertainties render the estimate useless.


  As legal, climate-science and economics experts, we believe that the current estimate for the social cost of
  carbon is useful for policy-making, notwithstanding the significant uncertainties. The leading economic
  models all point in the same direction: that climate change causes substantial economic harm, justifying
  immediate action to reduce emissions. In fact, because the models omit some major risks associated with
  climate change, such as social unrest and disruptions to economic growth, they are probably understating
  future harms. The alternative — assigning no value to reductions in carbon dioxide emissions — would lead
  to regulation of greenhouse gases that is even more lax.


  Instead, climate-economic models need to be extended to include a wider range of
  social and economic impacts. Gaps need to be filled, such as the economic
  responses of developing countries and estimates of damages at extreme
  temperatures. Today, only a handful of researchers in the United States and
  Europe specialize in such modelling. A broader programme involving more people
  exploring more phenomena is needed to better estimate the social cost of carbon
  and to guide policy-makers. Otherwise policies will become untethered from
  economic realities.
                                                                                                                        Nature special:
                                                                                                                        Outlook for Earth
  Social cost
  The models in question aim to integrate estimates of the costs of greenhouse-gas emissions and of steps to
  reduce them. First, they translate scenarios of economic and population growth, and resulting emissions,

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  into changes in atmospheric composition and global mean temperature. Then the models apply ‘damage
  functions’ that approximate the global relationships between temperature changes and the economic costs
  from impacts such as changes in sea level, cyclone frequency, agricultural productivity and ecosystem
  function. Finally, the models translate future damages into present monetary value.


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            Q PROJECTED DAMUIES                                                                            Q SOCUl COSTS FPQM LIS GQVERNMCHl ANALYSIS
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                                        SOURCE: A, REF.1 (DICE, FUND, PAGE)/Roson, R. & Mensbrugghe, D. V. D. Int. J. Sus. Econ. 4, 270-285 (2012)
                                              (ENVISAGE)/Ackerman, F., Stanton, E. A. & Bueno, R. Ecol. Econ. 85, 166-176 (2013) (CRED); B, REF.1




  Sources of uncertainty are numerous3. They include: how the climate responds to carbon dioxide
  concentrations; positive and negative feedback loops in the climate system; emissions growth rates for
  various socio-economic scenarios; the completeness and accuracy of damage functions (especially with
  regard to catastrophic harms, migration and conflict, weather variability and feedbacks on economic growth);
  the ability of future generations to adapt to climate change; and the economic ‘discount rate’ used to
  translate future costs to current dollars.


  The 2013 US analysis1 used the then-most recent vintages of three long-standing models: FUND 3.8,
  DICE 2010, and PAGE09. Each model applies different climatic and economic functions to simplify the
  complex picture. Despite the range of approaches and uncertainties, each one predicted sizeable economic
  damage from greenhouse-gas emissions for warming beyond 2 °C above pre-industrial levels. Two models,
  ENVISAGE and CRED, published since the US analysis was structured in 2010, have broadly similar
  projections to these three (see ‘Carbon’s costly legacy’). The analysis suggested that — depending on
  assumptions about how future damages are valued in today’s money — the expected global cost of one
  tonne of carbon dioxide emitted in 2020 is between $12 and $64 (with $43 as the central value).


  Greater harm

http://www.nature.com/news/global-warming-improve-economic-models-of-climate-change-1.14991
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  The future costs of climate change could be even higher, for four reasons. First, the impacts of historic
  temperature changes suggest that societies and economies may be more vulnerable than current models
  predict and that weather variability is more important than average weather in determining impacts,
  particularly for crop growth and food security. For example, the yields of some crops may decline rapidly
  above certain temperatures4.


  Second, the models omit damages to labour productivity, to productivity growth, and to the value of the
  capital stock, including buildings and infrastructure. By lowering the annual growth rate, these damages
  could have deeper and longer-lasting effects on the global economy than the static losses of annual
  economic output currently represented in the three main models5, 6. A significant decline in human welfare is
  possible in the medium and long run owing to the compounding effects of lost growth. Also not taken into
  account are the risks of climate-induced wars, coups or societal collapses and the resulting economic
  crises7.


  Third, the models assume that the value that people attach to ecosystems will remain constant8. Yet as a
  commodity becomes more scarce, its value increases. In the desert, water is extremely valuable. During a
  flood, dry land is highly prized. Because the services provided by ecosystems are likely to decline as
  warming degrades them, the costs of future ecosystem damage from climate change will rise faster than the
  models predict.




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                                                                                                     ALESSANDRO GAROFALO/Reuters/Corbis

            Storms caused chaos on roads in northwestern Italy in 2011.


  Fourth, the US analysis assumes a constant discount rate to translate future harms into today’s money.
  However, for impacts that are both highly uncertain and occurring in the distant future, economists have
  shown9 that a discount rate that declines over time should be used, with discount rates for the far future


http://www.nature.com/news/global-warming-improve-economic-models-of-climate-change-1.14991
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  significantly below those that were used in the 2013 analysis. This approach would yield a higher present
  value to the long-term impacts of climate change and thus a higher value for the social cost of carbon.


  It is true that future technological developments might better equip society to cope with climate change. And
  of course overall bias cannot be determined simply by adding biases in each direction. But the bulk of the
  literature and arguments indicates that social-cost models are underestimating climate-change harms.


  Better models
  What now? Modellers, scientists and environmental economists must continue to step outside their silos and
  work together to identify research gaps and modelling limitations.


  Climate hot spots in the developing world are one such gap, because
                                                                                                              Related stories
  economic responses in these regions cannot be extrapolated simply from
                                                                                                              • Climate policy: Streamline
  estimates made for developed countries. The impacts of extreme
                                                                                                                  IPCC reports
  temperatures are also uncertain. Current damage estimates are generally
  calibrated for warming of less than 3 °C (ref. 6). Yet without mitigation, the                              • Climate change: The
  IPCC projects that we could see warming in excess of 4 °C by the end of                                        case of the missing heat
  the century. Such conditions would be beyond human experience. If                                           • History: Pushing the
  warming continues unchecked into the twenty-second century, it could                                           climate frontier
  render parts of the planet effectively uninhabitable during the hottest days
  of the summer, with consequences that would be challenging to                                                         More related stories

  monetize10.


  The models should be revised more frequently to accommodate scientific developments. Researchers
  commonly test model sensitivity to new parameters. But the structure and in some cases the calibration of
  the damage models is stuck in the 1990s, when the original versions were created, owing to a lack of
  funding.


  IPCC reports help to set the research agenda on climate. The release of the Fifth Assessment Report
  reminds us of the progress so far. It is important to ensure that the sixth assessment takes a substantive
  step forward. By facilitating efforts to refine estimates of the social cost of carbon, the IPCC will be
  performing its most important function: informing the global political conversation about how best to address
  the looming threat of climate change.


  Nature 508, 173-175 (10 April 2014)                       doi:10.1038/508173a

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   O        Geoffry Smith • 2014-04-08 10:59 PM
            http://www.nature.com/nclimate/journal/v3/n9/full/nclimate1972.html?WT.ec_id=NCLIMATE-201309




   O        Wilson Hendal • 2014-04-08 04:06 AM
            Todd, if you have new information this is incredibly important. Please post references for the
            following information - we don't want people to think you have just made them up: 1. "The total global
            warming since 1904, yes 1904, is 2/10 of 1 degree F." 2. "There has been absolutely no global
            warming in over 17 years" Of course, if the earth was due to enter a cooling cycle and we prevented
            this by heating the earth, then we could still be heating the earth without the temperature actually
            increasing, right? 3. "There is not one global warming model that can account for how far off all the
            computer models have been" - (not sure this one makes sense? How can you model a model?
            Please clarify) 4. "When these alarmists can show us all proof of their assertions, they might regain
            some credibility" - please clarify what proof you would like (beyond the hundreds of papers already
            published). Regards, Wilson.




   O        Todd Nelson • 2014-04-08 02:51 AM
            This article is full of ifs, mays, and coulds. There are 2 indisputable truths this article conveniently
            leaves out. The total global warming since 1904, yes 1904, is 2/10 of 1 degree F. There has been
            absolutely no global warming in over 17 years. There is not one global warming alarmist computer
            model that can account for how far off all the computer models have been. When these alarmists
            can show us all proof of their assertions, they might regain some credibility. But, as this is all being
            written, there is no proof at all of any of their claims, so there is no credibility in what has been
            written in this article. Science either is or isn't, there is no belief foundation in any scientific fact, and
            there are no scientific facts in this article.




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10/26/2016                                      U.S. GAO - Regulatory Impact Analysis: Development of Social Cost of Carbon Estimates


     REGULATORY IMPACT ANALYSIS:
     Development of Social Cost of Carbon Estimates
     GAO-14-663: Published: Jul 24, 2014. Publicly Released: Aug 25, 2014.



     What GAO Found
     To develop the 2010 and 2013 social cost of carbon estimates, the Office of Management and Budget (OMB) and Council of Economic Advisers convened and led an informal
     interagency working group in which four other offices from the Executive Office of the President (EOP) and six federal agencies participated. Participating agencies were the
     Environmental Protection Agency (EPA) and the Departments of Agriculture, Commerce, Energy, Transportation (DOT), and the Treasury. According to several working group
     participants, the working group included relevant subect-matter experts and the agencies likely to use the estimates in future rulemakings. According to OMB staff, there is no
     single approach for convening informal interagency working groups and no requirement that this type of working group should document its activities or proceedings. However,
     OMB and EPA participants stated that the working group documented all major issues discussed in the Technical Support Document, which is consistent with federal
     standards for internal control. According to the Technical Support Document and participants GAO interviewed, the working group's processes and methods reflected the
     following three principles:

         • Used consensus-based decision making. The working group used a consensus-based approach for making key decisions in developing the 2010 and 2013 estimates.
           Participants generally stated that they were satisfied that the Technical Support Document addressed individual comments on draft versions and reflected the overall
           consensus of the working group.

         • Relied on existing academic literature and model s. The working group rel ied largely on existing academic literature and model s to devel op its estimates. Specifical ly,
           the working group used three prevalent academic models that integrate climate and economic data to estimate future economic effects from climate change. The group
           agreed on three modeling inputs reflecting the wide uncertainty in the academic literature, including discount rates. Once the group reached agreement, EPA officials—
           sometimes with the assistance of the model developers—calculated the estimates. All other model assumptions and features were unchanged by the working group,
           which weighted each model equally to calculate estimates. After the academic models were updated to reflect new scientific information, such as in sea level rise and
           associated damages, the working group used the updated models to revise its estimates in 2013, resulting in higher estimates.

         • Took steps to disclose limitations and incorporate new information. The Technical Support Document discloses several limitations of the estimates and areas that
           the working group identified as being in need of additional research. It also sets a goal of revisiting the estimates when substantially updated models become available.
           Since 2008, agencies have published dozens of regulatory actions for public comment that use various social cost of carbon estimates in regulatory analyses and,
           according to working group participants, agencies received many comments on the estimates throughout this process. Several participants told GAO that the working
           group decided to revise the estimates in 2013 after a number of public comments encouraged revisions because the models used to develop the 2010 estimates had
           been updated and used in peer-reviewed academic literature.


     Why GAO Did This Study
     Executive Order 12866 directs federal agencies to assess the economic effects of their proposed significant regulatory actions, including a determination that a regulation's
     benefits justify the costs. In 2008, a federal appeals court directed DOT to update a regulatory impact analysis with an estimate of the social cost of carbon—the dollar value
     of the net effects (damages and benefits) of an increase in emissions of carbon dioxide, a greenhouse gas.

     In 2009, the Interagency Working Group on Social Cost of Carbon was convened to develop estimates for use governmentwide, and it issued final estimates in its 2010
     Technical Support Document. In 2013, the group issued revised estimates that were about 50 percent higher than the 2010 estimates, which raised public interest.

     GAO was asked to review the working group's development of social cost of carbon estimates. This report describes the participating entities and processes and methods they
     used to develop the 2010 and 2013 estimates. GAO reviewed executive orders, OMB guidance, the Technical Support Document, its 2013 update, and other key documents.
     GAO interviewed officials who participated in the working group on behalf of the EOP offices and agencies involved. GAO did not evaluate the quality of the working group's
     approach.

     GAO is making no recommendations in this report. Of seven agencies, OMB and Treasury provided written or oral comments and generally agreed with the findings in this
     report. Other agencies provided technical comments only or had no comments.

     For more information, contact J. Alfredo Gomez at (202) 512-3841 or gomezj@gao.gov.




http://www.gao.gov/products/GAO-14-663
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                                 What’s Missing From the Social Cost of Carbon

                                                                                                            March 13, 2014
                                                                                                            Peter Howard
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                                                                                      The Cost of Carbon Project is a joint project
                       Institute for                                                    of the Environmental Defense Fund, the
                       Policy Integrity                                                     Institute for Policy Integrity, and the
                       new york university school of law
                                                           The Earth's Best Defense
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                                                                        ABSTRACT
          he 2013 Interagency Working Group on the Social Cost of Carbon (IWG) updated the U.S. social


     T    cost of carbon (SCC) for 2015 from a central value of $24 to $37 using three integrated assessment
          models (IAMs): DICE-2010, FUND 3.8, and PAGE09. The SCC is the additional economic damage
          caused by one ton of carbon dioxide. While some have questioned the increase in the SCC as too
     high, a thorough examination of the latest scientific and economic research shows that $37 should
     be viewed as a lower bound. This is because the studies available to estimate the SCC omit many
     climate impacts—effectively valuing them at zero. Where estimates are available for a given type of
     impact, they tend to include only a portion of potential harms. This paper represents the first attempt
     to systematically examine and document these omissions for the latest versions of the three IAMs
     used by the IWG, as well as earlier versions when they are used in calibrating the updated models.

     The table on the following page summarizes hot spot damages including increases in forced
     migration, social and political conflict, and violence; weather variability and extreme weather
     events; and declining growth rates. A better accounting of catastrophic damages is also needed, as
     well as many other impacts.

     While there is a downward bias to the U.S. SCC estimates due to these omissions, the Office of
     Management and Budget (OMB) and other executive branch agencies should move forward to
     finalize proposed rules with the 2013 IWG’s current SCC estimates, as measuring at least some of
     the costs of carbon dioxide is better than assuming they are zero. At the same time, the OMB should
     more thoroughly document downward biases of the current U.S. SCC estimates, potentially using
     this report to list in detail all of the currently omitted damages.




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Missing or Poorly Quantified Damages Needed to Improve SCC Models*

    General Impact    Category                                                                    Pages

                      Respiratory illness from increased ozone pollution, pollen, and wildfire
                      smoke                                                                         30

                      Lyme disease                                                                  30
        Health
                      Death, injuries, and illnesses from omitted natural disasters and mass
                      migration                                                                     30

                      Water, food, sanitation, and shelter                                          30
                      Weeds, pests and pathogens                                                    20

      Agriculture     Food price spikes                                                           Note 83

                      Heat and precipitation extremes                                               41
                      Acidification, temperature, and extreme weather impacts on fisheries,       18-20,
        Oceans        species extinction and migration, and coral reefs                           41-42
                      Storm surge interaction with sea level rise                                  37-38
                      Ecosystem changes such as pest infestations and pathogens, species
                                                                                                    20
                      invasion and migration, flooding and soil erosion
        Forests       Wildfire, including acreage burned, public health impacts from smoke
                      pollution, property losses, and fire management costs (including injuries   20, 30
                      and deaths)
                      Biodiversity**, habitat**, and species extinction**                           29
                      Outdoor recreation** and tourism                                              23
      Ecosystems      Ecosystem services**                                                         27-28

                      Rising value of ecosystems due to increased scarcity                         31-32
                      Accelerated decline due to mass migration                                     34




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   General Impact         Category                                                                                   Pages
                          Impacts on labor productivity and supply from extreme heat and weather,
                                                                                                                      24-25
                          and multiple public health impacts across different damage categories
      Productivity        Impacts on infrastructure and capital productivity and supply from
     and economic         damages from extreme weather events and infrastructure and diversion of                      25
        growth            financial resources toward climate adaptation
                          Impact on research and development from diversion of financial resources
                                                                                                                       25
                          toward climate adaptation
                          Availability and competing needs for energy production, sanitation, and
                                                                                                                     21, 41
         Water            other uses
                          Flooding                                                                                     41
    Transportation        Changes in land and ocean transportation                                                    21-22
         Energy           Energy supply disruptions                                                                    21

                          Rapid sea level rise**                                                                      8, 36
     Catastrophic         Methane releases from permafrost**                                                          8, 36
     impacts and
   tipping points**       Damages at very high temperatures***                                                      Note 23

                          Unknown catastrophic events                                                                36-37

    Inter- and intra-     National security                                                                          39, 41
        regional          Increased violent conflicts from refugee migration from extreme weather,
         conflict                                                                                                    34-35
                          and food, water and land scarcity

*This table catalogues climate impacts that have been largely unquantified in the economics literature and are therefore
largely omitted from SCC models. Quantified impacts represented in the models include: changes in energy (via cooling
and heating) demand; changes in agricultural and forestry output from changes in average temperature and precipitation
levels, and CO2 fertilization; property lost to sea level rise; coastal storms; heat-related illnesses; and some diseases (e.g.
malaria and dengue fever).

* * These impacts are represented in a limited way in one or more of the SCC models: 1) they may be Included in some mod­
els, and not others; 2) they may be included only partially (e.g., only one or several impacts of many in the category are es­
timated); 3) they may be estimated using only general terms not specific to any one damage—in these instances, estimated
damages are usually very small relative to their potential magnitude, and relative to the impacts explicitly estimated in the
models. See complete report for details.

*** While technically represented in SCC models through extrapolations from small temperature changes, there are no
available climate damage estimates for large temperature changes, and these may be catastrophic.




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                                                                OMITTED DAMAGES:
                                              What’s Missing From the Social Cost of Carbon+
                                                                              Peter Howard*

   n 2008, the United States Court of Appeals for the Ninth Circuit ruled that executive branch agencies must


I  include the climate benefits of a significant regulatory action in federal benefit-cost analyses (BCA) to comply
   with Executive Order 12,866. In response, an Interagency Working Group on the Social Cost of Carbon was
   formed in 2010 to develop a consistent and defensible estimate of the social cost of carbon (SCC) using models
drawn from the literature (Masur and Posner 2011). The SCC is the global cost to all future generations from one
additional unit of carbon pollution in a given time period; forest fires, drought, and disease are just some of the
costly consequences of climate change that are ideally included within it.1 Thus, the SCC captures the benefit of
reduced carbon pollution from a policy in terms of expenses avoided.

The SCC is estimated using Integrated Assessment Models (IAMs), which integrate a simplified climate model
and a simplified economic model into a cohesive numerical model to capture the feedback effects between the
two.2 Using a methodology specified in the 2010 Technical Support Document (IWG, 2010), the 2010 Interagency
Working Group developed a central estimate (corresponding to a constant discount rate of 3 percent) of $24 for
a 2015 emission of carbon using three Integrated Assessment Models (IAMs): DICE-2007 (Nordhaus 2008), FUND
3.5 (Anthoff and Tol 2010), and PAGE2002 (Hope 2006). Using an identical methodology and updated versions of
these three models—DICE-2010 (Nordhaus 2010), FUND 3.8 (Anthoff and Tol 2012),3 and PAGE09 (Hope 2011)—
the 2013 IWG re-estimated the central SCC estimate at $37 in 2015.4 See Tables 1-3 for a full comparison of the
2010 and 2013 SCC estimates.

With its release by the 2013 Interagency Working Group on the Social Cost of Carbon (IWG), the U.S. government’s
updated social cost of carbon estimate catapulted into the national political debate. This surge in interest is
mostly the result of the approximately 54 percent increase in the federal government’s central 2015 SCC estimate
from 2010 to 2013. Because the 2013 IWG used the same methodology to estimate the global SCC as the 2010 IWG
(IWG 2013),5 all changes in the SCC estimates are the result of updates to the three IAMs used for estimation.
Regardless, considerable debate has ensued due to the significant implication this increase has on current and
future U.S. policies.

While some conservative politicians and industry groups question the increase saying it is too high, this report
shows more generally that, if anything, these SCC estimates are biased downward, probably significantly so.
This downward bias is the result of modeling decisions by the 2010 IWG and modeling decisions by the authors
of the current IAMS, including the use of outdated damage estimates and the omission of several climate


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change impacts. This report focuses primarily on omitted damages due to the likelihood that their inclusion
would have a significant effect on the SCC.6 These omissions include climate impacts on the following market
sectors: agriculture, forestry, and fisheries (including pests, pathogens, and weeds, erosion, fires, and ocean
acidification); ecosystem services (including biodiversity and habitat loss); health impacts (including Lyme
disease and respiratory illness from increased ozone pollution, pollen, and wildfire smoke); inter-regional
damages (including migration of human and economic capital); inter-sector damages (including the combined
surge effects of stronger storms and rising sea levels), exacerbation of existing non-climate stresses (including the
combined effect of the over pumping of groundwater and climate-driven reductions in regional water supplies);
socially contingent damages (including increases in violence and other social conflict); decreasing growth rates
(including decreases in labor productivity and increases in capital depreciation); weather variability (including
increased drought and in-land flooding); and catastrophic impacts (including unknown unknowns on the scale
of the rapid melting of Arctic permafrost or ice sheets).

Despite these downward biases to federal SCC estimates, this report argues that the Office of Management and
Budget (OMB) and other executive branch agencies should move forward to finalize proposed rules with the
2013 IWG’s current SCC estimates; they are underestimates, but we should, at a minimum, count the damages
we can. At the same time, the OMB should emphasize more strongly the downward bias of the current SCC
estimates and commit to addressing this bias in future updates of the estimates.

This report focuses on identifying the important categories of harm from climate change that are omitted from
current IAMs. We first review the general categories of climate damages. Second, we describe how the latest
versions of the three IAMs (DICE-2013, FUND 3.6, and PAGE09) are calibrated.7 Third, we discuss a frequent
cause of omitting damages: a lack of sound damage estimate(s) in the literature resulting from scientific and
economic uncertainty in determining the magnitude of the effect. Fourth, using the previous two sections as
a basis, we discuss the important categories of damages that are omitted. Fifth, we discuss the treatment of
adaptation in these models, and whether omitted damages are likely to be incurred. Finally, we conclude with a
discussion of the findings and what our results imply for the future estimation of climate damages.



DAMAGES
The rising temperatures and ecological shifts brought on by global climate change are expected to affect myriad
aspects of natural ecosystems and human civilization. Though climate change may create benefits in some
regions and sectors, the long-term effects of climate change are projected to be overwhelmingly negative.
To help policymakers weigh the costs of climate mitigation and adaptation, these impacts are monetized by
economists as damages. Damages can be broadly segmented into market damages, which manifest as a loss
of gross domestic product (GDP) and non-market damages, which manifest in terms of lost welfare. Damages
also include shocks to political stability, massive ecological regime changes (such as tipping points and mass
species extinction), and impediments to sustained economic growth, none of which are easily predicted or
quantified (U.S. Climate Change Science Program, 2008; Yohe and Tirpak 2008).


Market Damages
Market damages refer to changes in welfare due to changes in income or the availability, quality, or price of a
market commodity or input. Most market damages result from shifts in productivity and a corresponding shift


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in output and GDP. Market damages can also be the result of the loss or depreciation of capital such as land or
infrastructure (Goulder and Pizer 2006; Mendelsohn 2003).8

Sectors in which market damages from climate change are forecast include agriculture, due to increased
temperatures, CO2 fertilization, changing rainfall patterns, pests, and pathogens; energy demand, largely
due to the increased cost of space cooling and the decreased cost of space heating associated with global
temperature rise; energy supply, due to changing energy supply costs (such as increasing power plant cooling
costs) and extreme weather energy supply interruptions; transportation and communication, due to delays
and infrastructure losses from extreme weather events; forestry, due to shifting suitable habitat ranges, pests,
pathogens, and fires; fisheries, due to higher water temperatures, invasive species, and ocean acidification;
and water resources, due to increased evaporation rates and changing rainfall patterns. Market damages in the
form of land, property, and infrastructure loss and degradation are also expected as a result of sea level rise
and extreme weather events. While health damages have market (for example, labor availability and increased
healthcare costs) and non-market (such as suffering and the value of human life) aspects, the market damages
from health are relatively small compared the non-market damages because households place a high value on
human life (Tol 2009; Jorgenson et al., 2004).9

In some of these market sectors, climate change is projected to create a net benefit in some countries for
low-level temperature increases. For example, increased temperature will increase agricultural and forestry
productivity in some regions and increased CO2 concentrations can improve the nutritional value of soil (via
the CO2 fertilization effect). In some models, the benefits in some sectors are significant enough to result in
initial net benefits to the globe from climate change. These sector benefits and the resulting global net benefits,
however, are expected to be short-lived as temperatures continue to rise (Warren et al., 2006; Jorgenson et al.,
2004). While Tol (2009) finds evidence of net global benefits from climate change up to a 2.2 degrees Celsius
increase in temperature, this threshold differs between the three IAMs and even within variants of the same
IAM.10 Some IAMs, such as many of the more recent variants of DICE, find no such evidence of initial benefits.11


Non-market Damages
Non-market damages refer to damages affecting goods or services for which no established market exists,
but which still provide value to humans. These non-market goods and services, also referred to as non­
market commodities, can generally be thought of as environmental good and services (such as ecosystem
services). Environmental goods can be divided into use values, including direct-use values (for example, the
pharmaceutical value of biodiversity) and indirect use values (such as the values of ecosystem, recreational, and
aesthetic services), and non-use value (including existence, bequest, option, and altruistic values). Another way
to subdivide non-market damages is into tangible damages, which by definition can be valued, and intangible
damages, which by definition are extremely difficult to value given current methods. While economists have
established valuation techniques for tangible damages, the accuracy of these estimates vary by the type of good
and service. For example, use values, particularly direct-use values, are more easily quantified than non-use
values.12

Projected damages to non-market goods from climate change that are included in one or more IAM include
the loss of species and habitat, increases in rates of human mortality and morbidity, and changes in amenity
values (that is, the direct welfare change from a more or less hospitable climate) (Anthoff and Tol 2012; Warren
et al., 2006; Smith et al., 2003). All tangible damages from climate change are not included in IAMs, such as the



6                                                                            Rvsd Plan - 00002693 N-ORG
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medical value of biodiversity. Intangible benefits, including larger societal implications of climate change, have
yet to be meaningfully addressed or incorporated into IAMs (Yohe and Tirpak 2008).


Socially Contingent Damages
Socially contingent damages are damages that result from changes in social dynamics due to climate change.
Warmer temperatures, sea level rise, and changing water availability can affect how societies function. For
example, mass migration will become more likely as some regions become more inhospitable. Similarly,
interpersonal violence and social and political conflict will rise with increased food, water, and resource scarcity.
The values of social dynamics are, in most cases, intangible (that is, unmeasured) given current valuation
methods; it is difficult to quantify the social effect, let alone value it. As a consequence, socially contingent
damages from climate change are almost completely excluded from IAMs.


Catastrophic Impacts
One of the most concerning aspects of climate change is the potential for catastrophic damages. Catastrophic
damages are characterized as low probability-high damage events. These damages come from

    •   tipping points (also known as discontinuities)—“an environmental threshold over which small changes
        in the environmental state can causes rapid, frequently irreversible changes in ecosystem characteristics”
        (EDF, NRDC, Policy Integrity, and UCS comments, 2013);
    •   fat tails—uncertainty in the underlying economic and environmental parameters in IAMs that result in
        underlying “fat-tailed” distributions, which are distributions (often right skewed) characterized by an
        extended and fat tail on the upper end of the distribution relative to the normal (bell curve) distribution;
        and
    •   black swan events—(that is, unknown unknowns) that refer to currently unknown tipping points or
        parameter distributions.

While tipping points, fat tails, and black swan events are distinct concepts, they are overlapping issues; this is
discussed further below. Furthermore, while IAMs often categorize catastrophic damages as a distinct type of
damage from the previous three, they should actually be thought of as damages to market goods, non-market
goods and services, and society via cataclysmic climate events—often thought of in this case as rapid and/or
extreme climate change.

Catastrophic impacts are often cited as a key reason for immediate action on climate change. Using PAGE09,
Hope (2013) demonstrates that tipping point damages, the first of these three types of damages, alone can be as
important as economic damages in determining the social cost of carbon.

TIPPING POINTS. As mentioned above, an ecological tipping point is broadly defined as a threshold beyond which
a small change in conditions causes rapid, often irreversible changes in ecosystem characteristics. Tipping
points are generally more common in intricate systems with many interacting parts, such that even small
changes in the system can potentially have large impacts through a snowball effect.13 A simple but illustrative
example of an ecological tipping point is the effect of deforestation in tropical rainforests. The large trees in
the rainforest depend upon nutrient-rich topsoil to thrive. That topsoil is held in place by the root network
of the plants it supports and can take centuries to accumulate. The removal of trees accelerates the rate of


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Crowning fire in spruce forest. Photo: Murphy Karen, U.S. Fish and Wildlife Service



topsoil erosion while topsoil erosion impedes tree survival rates. Deforestation, then, creates a chicken-and-egg
conundrum as reforestation efforts are doomed by a lack of topsoil and topsoil cannot be sustained without an
established root network (Brahic 2009).

Within the context of climate change, a tipping point generally refers to a temperature or CO2 concentration
threshold beyond which (even by small perturbations) the future state of Earth’s climate system is significantly
and irreversibly altered. In other words, a tipping point is an abrupt change in the climate system between
stable climate states at the regional scale (at the subcontinental scale or higher) or global scale (Overpeck and
Cole 2006). Beyond the temperature or CO2 concentration threshold that causes this abrupt change, ecological
changes would be irreversible on human time scales even if temperature could be returned to pre-threshold
levels (Overpeck and Cole 2006; Lemoine and Traeger 2011).

A global tipping point would likely be driven by a series of region-specific or system-specific tipping points
(that is, tipping elements), which, taken collectively, would dramatically reduce the Earth’s natural capacity to
withstand climate change. Lenton et al., (2008) identifies the following tipping elements:

     •    Arctic sea-ice (decreased areal extent),
     •    Greenland ice sheet (decreased ice volume),
     •    West Antarctic ice sheet (decreased ice volume),
     •    Atlantic thermohaline circulation (decreased overturning),
     •    El Nino-southern oscillation (increased amplitude),
     •    Indian summer monsoon (decreased rainfall),
     •    Sahara/Sahel and West African monsoon (increased vegetation fraction),
     •    Amazon rainforest (decreased tree fraction), and
     •    boreal forest (decreased tree fraction).14

The probability and damages of tipping point scenarios are poorly understood (Weitzman 2011). Due to the
considerable uncertainty surrounding these events, some IAMs exclude them altogether. This will be discussed
later.



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Tipping point damages can be modeled either explicitly or implicitly. If tipping point damages are modeled
explicitly, the damages from the crossing of tipping points are modeled using an additional damage function
(for example, Hope 2002; Hope 2009; Nordhaus and Boyer 2000; Nordhaus 2008). If tipping point damages are
implicitly modeled, tipping points are modeled in IAMs through the choice of climate parameters, specifically
the probability distribution functions that represent them, as in Lemoine and Traeger (2011), Weitzman (2009),
and Anthoff and Tol (2013a).15 In this case, tipping point damages are implicitly captured through assumed
increases in market and non-market damages resulting from higher temperature from crossing climate tipping
point.

Fat Tails. Fat tails refer to the upper ends (that is, the right sides) of the probability density functions of a
range of climate change-related variables. Tail fatness is an indicator of how quickly the probability of an event
declines relative to the severity of that event, with fatter tails corresponding to lower rates of decline.16

Martin Weitzman has argued that existing climate models fail to adequately account for the extreme risks of
climate change. In Weitzman’s eyes, prevailing “structural uncertainties” (that is, unknown unknowns) abound
in the economics of climate change, and existing benefit-cost analyses (BCAs) and IAMs have yet to deal
adequately with these uncertainties. While IAM modelers often choose thin tailed distributions (for example,
the uniform distribution) and medium-tailed distributions (for example, the normal distribution) to represent
uncertain climate variables, Weitzman argues that fat-tailed distributions (for example, Student-t-distribution)
are more appropriate due to these structural uncertainties in climate change (that is, unknown unknowns) and
the “unlimited” potential for the scale of damages (Weitzman 2011).17 Fat tails arise due to the finite amount of
information on catastrophic impacts (due to their rarity in historical record keeping) forcing analysts to specify
probability distribution functions of probability distribution functions. In other words, Weitzman believes that
existing IAMs and BCAs under account for the potential of extreme, irreversible impacts of climate change
by assuming thin-tailed and medium-tailed distribution functions,18 which render the likelihood of extreme
damages from climate change small enough to write off (Weitzman 2009; Nordhaus 2012).

Weitzman (2011) identifies multiple sources of structural uncertainty in existing climate modeling literature
and models; he emphasizes that these sources are not exhaustive, and more likely exist. The five structural
uncertainties that he identifies are: (1) the unprecedented rate and scope of increases in atmospheric greenhouse
gas (GHG) concentrations, (2) the uncertainty surrounding the response of global temperatures to this dramatic
increase in GHG emissions, (3) the potential for positive feedback mechanisms to accelerate the release of GHGs
such as methane, (4) uncertainty of the effects (that is, damages) of extreme climate change,19 and (5) the proper
discounting of the distant future (Weitzman 2011). At each of these steps in the climate model, parameters are
highly uncertain and potentially represented by fat tails. As a consequence of the “cascading” uncertainties at
each step in the climate model and the potentiality of fat tails at each step, climate impacts are also likely fat
tailed. As Weitzman (2011) emphasizes, this is the fat tail that truly matters to climate economics—not the fat
tails of the climate sensitivity parameter and the other parameters—for the Dismal Theorem to arise.

As a result of the potential for climate impacts having a fat tail, Weitzman develops a theory now dubbed the
Dismal Theorem. According to Weitzman (2009), if IAMs were to model fat-tailed distributions, the expected
marginal utility of consumption would “explode.” In other words, the “limiting [willingness to pay] to avoid
fat-tailed disasters constitutes all of output (Weitzman, 2011).” As a consequence of this result, traditional BCA
collapses as the SCC becomes infinite.

While Weitzman (2009) suggests such events can have such large costs as to overwhelm the discount rate,


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Nordhaus (2009) finds Weitzman’s results are exceptions to the rule. In particular, Nordhaus (2009) find that
the Dismal Theory holds, that is, the expected cost of climate change is infinite, only under limited conditions:
the tails are “very” fat or society is “very” risk adverse. In other words, “[the probability of a catastrophic event]
must not go to zero and [marginal utility of consumption] must be indefinitely large as consumption declines”
towards zero (Nordhaus 2012); Nordhaus argues that the former condition may not hold (particularly if there
is an upper bound on climate parameters), and the latter condition does not hold. Furthermore, using DICE-
2007, Nordhaus (2009) demonstrates that catastrophic outcomes are potentially avoided, even if the climate
sensitivity parameter is high and major tipping points exist, if policymakers can learn about the risks of climate
change before irreversible, catastrophic damages occur and policymaking works correctly. However, Nordhaus’
rebuff of the Dismal Theory (and its implication that BCA does not apply to climate change) should not be
construed as a rejection of fat tails—these he believes are important for inclusion in IAMs (Nordhaus 2012).

In response, Weitzman (2011) argues that the infinite number should not become a distraction, but merely
emphasize the larger willingness to pay to avoid these structural uncertainties discussed above. To produce
a finite SCC for BCA to continue, Weitzman argues for the inclusion of the value of civilization. Like the value
of a statistical life, the value of civilization captures the “rate of substitution between consumption and the
mortality risk of a catastrophic extinction of civilization or the natural world as we know these concepts
(Weitzman 2009).” Crudely calculated, the value of civilization equals the present value of global income in the
year that civilization would end divided by the probability that civilization would end in that year (Weitzman
2009; Weitzman 2011).20

The empirical work on catastrophic damages, that is, the willingness to pay to avoid structural uncertainty,
finds mixed results. On the one hand, Newbold and Daigneault (2009) find large catastrophe risk premiums. In
this case, the use of the value of civilization may be essential. On the other hand, Pindyck (2009) finds only a
modest risk premium. Similarly, Nordhaus (2009) only finds large catastrophic damages when climate policy
fails in the presence of high climate sensitivity and major tipping points. In these cases, the inclusion of a value
of civilization may be unnecessary because benefit-cost analysis does not collapse.

Note that there is some overlap between tipping point events and fat tails. If tipping point damages are modeled
explicitly, the probability of incurring tipping point damages can be modeled using a fat-tailed distribution if
the probability distribution function of the event occurring is unknown. Similarly, the corresponding magnitude
of the damages can be modeled using fat-tailed distributions if this probability distribution function (PDF)
is also uncertain. If tipping point damages are modeled implicitly, that is, climate parameters are used to
model tipping points explicitly, fat-tailed distributions can be used for the corresponding climate parameters’
probability distribution functions. However, tipping points do not require fat-tail distributions if they are known
unknowns. In other words, the use of fat tails to model the probability of tipping points or their damages is not
necessary to the extent that their probability distribution functions are known, and they can be captured by
thin- or medium-tailed distributions. Undoubtedly, some tipping points are unknown unknowns and require
the use of fat tails in that probability and damages of tipping point scenarios are poorly understood (Weitzman
2011).

BLACK SWAN EVENTS.    Black swan events refer to unknown catastrophic impacts, via unknown tipping point
events or parameters within unknown probability distribution functions. Currently, black swan events still
go unaddressed by IAMs. Along with the view that omitted climate damages likely outweigh omitted climate
benefits (Mastrandrea 2009), there exists a general opinion that bad surprises are likely to outweigh good
surprises in the case of climate change (Tol 2009b; Mastrandrea 2009).21


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Just as tipping points and fat tails are related concepts, so are fat tails and black swan events. Fat tails can
be thought of as a general way to capture unknown unknowns in the SCC. However, the choice of fat-tailed
distributions, that is, the rate that the tail declines, is unknown. In other words, specifying a fat-tailed distribution
is guessing at unknown unknowns. Furthermore, in terms of real practical applications, IAMs that include fat
tails may still omit other unknown unknowns. In this sense, the inclusion of fat-tailed distributions into IAM
models may not fully capture unknown unknowns.



CALIBRATION
Through the choice of damage sectors and the choice of calibration estimates, IAM developers determine what
damages from climate change are included and excluded in the social cost of carbon.22 Using damage estimates
(measured as a percentage change in GDP) for a specified temperature increase (measured as the degree Celsius
increase in regional or global average temperate from the pre-industrial temperature) drawn from the literature,23
IAM developers calibrate damage functions in three ways: sector-region analysis, survey, or meta-analysis.

First, a sector-regional analysis is when studies are found that provide sector-specific damage estimates by
region; extrapolation from observed regional damages to missing regions is often necessary. If an aggregate
damage function is utilized, damages are summed across sectors and regions. Earlier versions of DICE (DICE-
1999 and DICE-2007) fall within this category, as does FUND.24 Second, a survey of the literature is when a
consensus work, like the IPCC studies, is utilized, or when the author uses his discretion to decide on the level
of damages. In either case, though no statistical analysis is performed, the damage estimates are based upon
a survey of particular studies. PAGE relies on this methodology combined with uncertainty analysis.25 Third, a
meta-analysis is when a damage curve is fit to various damage estimates that vary in damage magnitude and
future temperature level. The most recent version of DICE relies on this method. The latter two methods are
problematic in that they make it difficult to determine the actual source behind the damage function, and thus,
to determine what particular climate damages are included and excluded from the model.

In the following section, we discuss how each IAM is calibrated by its developer using the default version of
each of these models.26 This is done to reflect the version of the model that each modeler provides to the public
and documents most thoroughly. Furthermore, the IWG uses the default versions of these IAMs. In the case of
DICE-2013, which has not been utilized by the IWG, the default version is utilized for purposes of consistency.


Calibration of the DICE damage function
Since 2000, William Nordhaus has released four versions of the DICE model: DICE-99, DICE-2007, DICE-2010,
and DICE-2013. Of these four models, DICE-2010 is not considered a major update of the DICE model but rather
an aggregation of the RICE-2010 model, a regionalized version of DICE. Across all versions of DICE, William
Nordhaus calibrates an aggregated global damage function that is quadratic in temperature.27 The sources
used to calibrate the DICE-RICE damage functions have changed over the various versions of the model. For the
quadratic damage functions of the initial models, that is, DICE-99, DICE-2007, and DICE-2010, Nordhaus used
damage estimates by sector drawn from specific sources and studies. For the more recent version of the model,
that is, DICE-2013, Nordhaus utilizes a meta-analysis approach.



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EARLY VERSIONS OF DICE. The DICE-99 damage function was calibrated against region-sector damage estimates
for a 2.5 degree and 6 degree Celsius increase in global mean surface temperature above the pre-industrial
level.28 The sectors in the DICE-1999 model are: agriculture; other vulnerable markets—forestry, fisheries,
water transportation, hotels and other lodging places, outdoor recreation, and energy; coastal—sea level rise
and storms; health—malaria, dengue fever, other tropical diseases, and pollution; non-market amenities—
the allocation of time to leisure activities; settlements and ecosystems; and catastrophic impacts. Thus, the
DICE-1999 model includes market, non-market, and catastrophic damages. See Table 4 for sources of damage
estimates and Table 5 for DICE-1999 region-sector specific damage estimates.29 See forthcoming Appendix A for
a full discussion of the calibration of DICE-1999.

Instead of DICE-1999, the 2010 Interagency Working Group utilized DICE-2007 in the estimation of the U.S. Social
Cost of Carbon, as documented in the 2010 Technical Support Document. There are no major changes from DICE-
1999 to DICE-2007. In particular, as with DICE-1999, Nordhaus uses sector-based damage estimates to calibrate
the aggregate DICE-2007 damage function. There is no change in the types of damages.30 See forthcoming
Appendix B.

The 2013 Interagency Working Group utilized DICE-2010 to estimate the U.S. Social Cost of Carbon, as documented
in the 2013 Technical Support Document. The actual calibration method is almost identical to DICE-2007. The
main difference is that for the 2010 version of the model, Nordhaus explicitly specifies the aggregate damage
function as a quadratic function of both sea-level rise and temperature, instead of only temperature (Nordhaus,
2010; Nordhaus and Sztorc, 2013). See forthcoming Appendix C.

Given the similarities between DICE-1999, DICE-2007, and DICE-2010, this paper focuses on the omitted damages
from DICE-1999. Of these three versions of DICE, DICE-1999 is chosen because it is used by Hope as one of the
calibration sources of the PAGE09 damage function.

RECENT VERSION OF DICE. Nordhaus states that DICE-2013 is the first major update of the DICE model since the
2007 version. There are three major updates from 2007 to 2013 in the DICE aggregate damage function. First,
Nordhaus updates the sources of his damage estimates used for calibration. Instead of using Nordhaus and
Boyer (2000) as the basis of this calibration, he uses the damage estimates in Table 1 of Tol (2009), as seen
in Table 7 below and Figure 2 in Nordhaus and Sztorc (2013). Second, he increases these damage estimates
by 25 percent to account for omitted non-monetized benefits, such as “several important factors (biodiversity,
ocean acidification, and political reactions), extreme events (sea-level rise, changes in ocean circulation,
and accelerated climate change), impacts that are inherently difficult to model (catastrophic events and very
long-term warming), and uncertainty (of virtually all components from economic growth to damages).” Last,
Nordhaus no longer utilizes a sector-region analysis to calibrate DICE’s aggregate damage function, but instead
switches to the meta-analysis technique; see forthcoming Appendix D.

Determining what damages are included and excluded from the DICE-2013 damage function is difficult. This
is because Nordhaus switches from a sector-region analysis to calibrate DICE’s aggregate damage function to
the meta-analysis technique, which relies on 13 studies cited in Tol (2009); see Table 7. For several reasons, this
makes determining the damages included in the DICE-2013 model nearly impossible. First, many of the studies
cited in Tol (2009) rely on a multitude of studies to produce their estimates, resulting in the need to go through a
large number of papers in detail to decipher what damages are included and excluded from DICE. Second, when
these studies do not rely on a multitude of cited papers, they utilize author discretion or statistical techniques
to determine damage estimates. Both of these methods make it difficult to determine which sectors are included


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in the damage estimates, and the latter estimates, which include cross-national regressions, can often suffer
from statistical inference problems. Last, it is difficult to determine what damages are included in the damage
function because the 13 studies differ in what damages they include and exclude in their analyses. Specifically,
what does it mean to have one of 13 studies include catastrophic damages or three out of 13 studies explicitly
model the effect of climate change on vector-borne diseases? It seems reasonable to argue that the inclusion of
these damages by a minority of studies implies their general exclusion from the DICE-2013 damage function.
However, two studies exclude non-market damages and another two studies exclude market damages. Are non­
market damages and market damages completely accounted for in DICE-2013? The answer to this question is
debatable.

The DICE-2013 damage function was not used by either the 2010 or 2013 Interagency Working Group because the
model was not yet peer-reviewed. It is our view that the IWG should be wary of using DICE-2013 in the future,
given the inherent difficulty in understanding its foundations. Furthermore, if a meta-analysis is used, it should
be conducted at either the sector or region-sector levels where more data are available. This is discussed further
in the conclusion.


Calibration of the FUND 3.6 damage functions
FUND 3.6 is the only model of the three to model damages as functions of physical processes. Specifically,
in FUND, Tol calibrates sector-specific damages functions to a 1 degree Celsius increase in temperature, and
assumes dynamic equations to extrapolate damage estimates to higher temperature levels and different future
states (rate of climate change, CO2 levels, and socio-economic scenarios). These equations depend on various
assumptions about physical and economic processes, and also rely on additional parameter calibration. Unlike
DICE and PAGE, some sector damages, that is, agriculture and ecosystem services, are functions of the rate of
temperature change, in addition to the level of temperature change, sea-level rise, and amount of CO2 in the
atmosphere.

FUND includes market and non-market damages, but fails to explicitly model catastrophic damages. The
model’s damage sectors include: agriculture, energy consumption, forestry, (fresh) water resources, sea level
rise, human health, ecosystem degradation, and extreme weather (Anthoff and Tol, 2012). While FUND does not
explicitly model catastrophic damages, FUND captures catastrophic damages via uncertain parameters.31 Of
the three IAMs utilized by the IWG, FUND 3.6 is the only one to model a socially contingent response to climate
change: migration from sea level rise.

For FUND 3.6, Anthoff and Tol (2012) calibrate multiple damage functions per sector. Tol and Anthoff (2013)
calibrate three agricultural damage functions using agricultural damage estimates derived using a general
equilibrium approach; the three damage functions model the effect of rate of climate change (the cost of
farmer mal-adaptation), level of climate change (effect of temperature level on crop production), and carbon
dioxide fertilization on agricultural production (potential increases in agricultural production due to a rise in
the atmospheric concentration of CO2), respectively. In energy, Anthoff and Tol include the cost to the energy
sector due to increased demand for space cooling and decreased demand for space heating from a rise in
temperature. In forestry, Anthoff and Tol (2012) include the cost of climate change impacts on industrial wood
manufactured products from changes in mean temperature and atmospheric concentrations of carbon dioxide
relative to pre-industrial levels. In water resources, Anthoff and Tol (2012) include the effect of climate change
on fresh water resource. For sea level rise, Tol accounts for losses of dry land and wetland, the coastal protection


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and migration costs. In health, Tol accounts for the mortality and morbidity costs of diarrhea, vector-borne
diseases (malaria, schistosomiasis, and dengue fever), and heat and cold related illnesses (cardiovascular and
respiratory disorders) due to a rise in temperature. With respect to ecosystems, Anthoff and Tol (2012) estimate
a value for species loss. Finally, with respect to storms, Tol estimates the economic costs of the destruction and
the value of life lost from tropical storms (hurricanes, typhoons) and extratropical storms (cyclones).

Due to the extensive use of data sources necessary to calibrate the physical processes, this section does not
contain an extensive discussion of data; see forthcoming Appendix E.


Calibration in the PAGE-2009 damage functions                          32




PAGE09 models damage functions for four generalized impact sectors: market, sea-level rise, non-market, and
non-linear (or tipping point) damages. Hope (2011a; 2011b; 2013) specifies a triangular distribution for each of
the parameters in the damage function.

The non-catastrophic damage functions in PAGE09 (market, non-market, and sea-level rise) are calibrated using
various versions of DICE and FUND. Thus, PAGE09 omits similar damages as do these two models. In PAGE09,
Hope calibrates the distribution of economic (that is, market), non-economic (that is, non-market), and sea­
level rise damages as a percentage of GDP for a 3 degree temperature increase (corresponding to a 0.5 meter
sea-level rise) using a range of damage estimates from Warren et al (2006) and the IPCC 4th Assessment Report
(IPCC, 2007). Warren et al (2006) discusses DICE-1999, FUND2.9, PAGE02, and MERGE; PAGE2002 is calibrated
based on DICE-1999 and FUND 2.0.33 Fig 20.3a from AR4 WGII on page 822 (Figure 1 below), which is used to
inform the range (the minimum and maximum combined effect) of market and non-market damages (a range
between 0.3 percent to 1.8 percent GDP decline for a 2.5 degree Celsius increase), cites Nordhaus and Boyer
(2000) - DICE-1999, Tol (2002b) - FUND 2.0, and Mendelsohn et al (2000); this figure is identical to Figure 19.4
in IPCC (2001a, Chapter 19) upon which the PAGE2002 damage estimates were partially based. In other words,
the market, non-market, and sea-level damage functions in the PAGE09 model are “highly” dependent on DICE
and FUND, though Hope uses his discretion to specify a range of estimates to allow for the possibility that these
models have underestimated impacts.




Flooding in downtown Binghamton, New York due to the remnants of Tropical Storm Lee. Photo: National Weather Service, Binghamton



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Hope (2011) also reduces the magnitude of these damages by including initial climate benefits, which can
result in some regions experiencing positive net benefits from climate change at low temperature increases,
and by placing a limit on climate damages so that they can be no greater than 100 percent of GDP at high
temperature increases. In addition to damages, Hope (2011b) includes an additional terms in each of the three
non-catastrophic impact sectors based on the findings of Tol (2002) to capture initial climate benefits for lower
temperature increases; these initial benefits are set equal to zero for sea-level rise in the default version of the
PAGE09 model.34 These expressions are defined such that these benefits dissipate as temperature increase
until they become zero (that is, do not yield any actual benefits) at some temperature threshold, and then they
become damages (in addition to the previously discussed calibrated damages) for further temperature increases.
Assuming no adaptation, the temperature thresholds for both market and non-market damages are 3 degrees
Celsius.35 Hope (2011) also limits damages to 100 percent of GDP in any given time period. Instead of maintaining
polynomial damage functions across all temperature levels, damage functions shift from polynomial functions
to logistic functions at certain damage levels to constrain damage to 100 percent of GDP. Following Weitzman
(2009), the saturation point (that is, the point where damages as a percentage of consumption starts to become
limited) is characterized by a triangular distribution with range 20 percent to 50 percent, a mean of 33.33 percent,
and a mode of 30 percent (Hope, 2011a; 2011b). Given the modeling assumption of PAGE09, the initial benefit
terms do not yield any actual benefits (that is, are equal to zero) and the damage functions are still polynomial
functions for a 3 degree Celsius increase and a 0.5 meter sea-level rise. In other words, non-catastrophic damages
equal their calibration value of 2.03 percent of GDP at the calibration temperatures increase of 3 degrees Celsius
when there is no adaptation (Hope 2011).

In PAGE09, Hope explicitly models climate tipping points as a singular, discrete event that has a probability
of occurring in each time period. This probability increases in temperature. If this event occurs, a decline of 5
percent to 25 percent of GDP occurs; See Table 9 below.36

PAGE09 calculates climate damages for the European Union, and then scales these damages to other regions.
PAGE09 uses the relative length of coastline to inform the corresponding ranges of scaling factors; Anthoff et
al., (2006) is the data source for the weighting factors. While these scaling factors do no differentiate between
developed and developing countries, Hope includes equity weights in PAGE09 that account for differences in
GDP per capita between European Union and other regions (Hope 2011b). Finally, Hope specifies regional damage
functions in PAGE09, which are functions of regional temperature, not global mean surface temperature. Thus,
PAGE09 captures some regional differences in climate damages using several mechanisms. See forthcoming
Appendix F for further discussion.


Damages generally included in IAMs
From this discussion about how the three latest IAMs are calibrated, we can make some general statements
about what types of damages are accounted for by IAMs. Currently, they cover a number of direct effects of
climate change, that is, a rise in global average surface temperature, on economic (that is, market) activity,
and to a lesser extent the direct effects of climate change on the environment and human settlements. The
three Integrated Assessment Models (IAMs) capture the direct effects of higher temperature levels and higher
CO2 levels (via soil fertility) on agriculture and forestry yields (but excluding climate change effects on pests,
pathogens, and fires), and the effects of trade through general equilibrium effects. The models only capture
the effects of higher temperature on fisheries to a very limited extent, and exclude the effects of habitat loss
(particularly mangroves and coral reefs), ocean acidification, and invasive species all together. The models



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also capture some effects of climate change on energy demand and fresh water resources, though these are still
limited in important ways (see discussions on fisheries, energy supply, ecosystem services, and destabilizers
of existing non-climate stressors below). While IAMs capture the effects of heat and cold related illnesses
(cardiovascular and respiratory disorders) to different extents, all three capture some effects of climate on
vector-borne diseases, including malaria and dengue fever. For example, the direct cost of vector-borne diseases
on human life is included, but not the effects of such diseases on labor supply or productivity (as discussed
below). To different extents, all three models capture the effects of increased storm strength on coastal property
values and sea level rise on preventative expenditures, lost property, and lost ecosystems. To the extent possible
with current models, all IAMs consider some effect of climate change on ecosystems and biodiversity—though
improved estimates are needed with respect to both of these damage estimates. Finally, there are a variety
of damages that are captured by only one or two of the IAMs, but not all three: effects of climate change on
morbidity; mortality from storms, pollution, and diarrhea; recreational activities; climate amenities (that is, the
willingness to pay to live in a location with more sunny days); and catastrophic damages.
As is discussed more thoroughly in the conclusion of this report, many of the smaller climate damages are not
considered by the authors of IAMs because they are considered cancelled out by omitted climate benefits. The
views of Tol (2009) and Yohe and Tirpak (2007) are that a better job has to be done with respect to including only
major damage categories: catastrophic damages, socially contingent damages, and weather variability. See the
conclusion of this paper for more of a discussion.



CAUSES OF THE OMISSION OF DAMAGES
In general, the more difficult a climate impact is to estimate in the natural sciences (which measure the physical
impact) and/or value in economics, the more likely that climate impact is to be excluded from IAMs (Yohe
and Tirpak, 2008); see Figure 2. With respect to the natural sciences, damages corresponding to more certain
(that is, known) climate trends (for example, average temperature increases and sea level rise) are included
in IAMs; bounded trends, that is, climate change for which a range and/or distribution is specified, such as
extreme weather events and weather variability (for example, droughts, floods, storms, and so on), are less
likely to be included; and abrupt changes, in general, are the least likely to be included because they are the
effects characterized by the greatest uncertainty. With respect to economics, damages that are easier to value
are more likely to be included, such that many more market damages are included than non-market damages.
Environmental goods and services are more likely to be omitted from IAMs by analysts than market damages
because the former does not have observable market prices and instead must be valued by the analysts. While
the value of some environmental goods and services can be indirectly observed in market data (for example,
housing sales) using revealed preference techniques, other environmental goods and services (for example,
biodiversity) can only be valued using stated preference techniques;37 this latter group of environmental goods
and services are more likely to be omitted. Socially contingent damages (for example, famine, political unrest,
migration, and so on), which are often the result of multiple stressors, are usually omitted because they are
difficult to quantify, predict, and value (Yohe and Tirpak, 2008). Figure 2 below, taken from Yohe and Tirpak
(2008), organizes all types of climate damages into nine categories of damages corresponding to three levels
of scientific uncertainty (that is, three rows) and three levels of economics uncertainty (that is, three columns)
discussed above.

The nine categories of climate of climate benefits and damages in Figure 2 (and discussed in the previous




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paragraph) can be further organized into three groups of damages based on their levels of representation in
IAMs:

    •   Group 1: Included damages—market damages from certain climate trends. Area I in Figure 2.
    •   Group 2: Partially included damages—bounded and tipping-point market damages and certain and
        bounded non-market damages. Areas II, III, IV, and V in Figure 2.
    •   Group 3: Excluded damages—socially-contingent damages and non-market tipping point damages.
        Areas VI, VII, VIII, and IX in Figure 2.

Group 1 damages, that is, certain market damages, are included, but can still be improved by accounting for
geographic variability. Other market damages, for all real purposes, are excluded: fisheries, energy supply,
transportation, communication, and recreation and tourism.

Group 2, which includes bounded and tipping-point market damages and certain and bounded non-market
damages, has been less successfully included into IAMs. The three IAMs have included certain and bounded
non-market damages, but in a less than comprehensive manner due to data and method limitations. In other
words, while many of these damages have been included in IAMS (for example, heat stress, loss of wetlands,
biodiversity, and loss of life), the included estimates require significant improvement.38 Similarly, while some
IAMs (earlier versions of DICE and PAGE), have explicitly accounted for catastrophic market damages, Yohe and
Tirpak (2008) argue that these estimates have been less than comprehensive, and most likely omit non-market
and socially contingent consequences of these changes.39 Furthermore, while IAMs have included market
sectors that are affected by climate variability (agriculture, fresh water resources, forestry), little has been done
to account for the damages of increased climate variability in these sectors. It is critical to account for increased
climate variability because average changes mask extreme events, such as droughts, heavy rains, heat waves,
and cold spells.

Group 3, that is, socially contingent damages and non-market tipping point damages, has only recently been
investigated (or has not been investigated at all) by impact papers. As a consequence, they are completely
omitted from IAMs (Yohe and Tirpak, 2008).

With each generation of IAM, a discussion ensues over whether climate damages are accurately captured. While
several studies have identified missing damages in earlier versions of these three IAMs (Warren et al., 2006;
Dietz et al., 2007; Yohe and Tirpak, 2008; Tol, 2009), this report is the first to thoroughly identify and discuss
the various damages omitted from the most recent versions of these three IAMs (specially the default versions):
DICE-2013, FUND 3.6 (which is identical to FUND 3.7 and FUND 3.8 in terms of damage captured), and PAGE09.
By analyzing the calibration methods and data sources of the latest version of the three IAMs, as discussed in
the previous section, this report is able to provide a comprehensive discussion of which important categories
of harm are included and excluded from these IAMs. Please see Appendices A through F for a more thorough
discussion of the calibration of each IAM, and which damages are included and excluded from the default
version of each of these models.




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OMITTED DAMAGES
Based on the analysis of the three IAMs in the previous two sections, this section will discuss the damages
currently omitted from IAMs: market damages—fisheries, pests (IWG, 2010), pathogens (IWG 2010), erosion
(Vose et al., 2012), weeds (Rosenzweig et al., 2001), air pollution (Warren et al., 2006; Cline, 1992), fire (Cline,
1992), energy supply (Tol, 2009; IPCC, 2007b), transportation (IPCC, 2007b; Koetse and Rietveld, 2009),
communication, ecological dynamics (Gitay et al., 2001; Norby et al., 2005), and decreasing growth rate
(Fankhauser and Tol, 2005; Tol, 2009; Dell, Jones, and Olken, 2013; Moyer et al., 2013); non-market damages—
recreational value (Tol, 2009), ecosystem services, biodiversity and habitat (IWG 2010; Tol, 2009; Nordhaus and
Sztorc, 2013; Freeman and Guzman, 2009), omitted health costs (Tol, 2002a; Warren et al., 2006), and relative
prices (IWG, 2010; Sterner and Persson, 2008; Hoel and Sterner, 2007); socially contingent damages— migration,
social and political conflict, and violence (Stern, 2007-Chapter 6; Yohe and Tirpak, 2008; Tol, 2009; Dell, Jones,
and Olken, 2013); catastrophic impacts (IWG 2010; Yohe and Tirpak, 2008; Tol, 2009); inter-regional damages
(IWG 2010); and across sector damages—inter-sector damages (IWG, 2010; Warren et al., 2006), exacerbation of
existing non-climate stresses (Free man and Guzman, 2009), ocean acidification (Brander et al., 2009; Cooley
and Doney, 2009; Guinotte and Fabry, 2009), and weather variability (Yohe and Tirpak, 2008; IWG, 2010).4°

Omitted damages can involve omitted damage sectors, such as fisheries, or omitted effects of climate change
within and across sectors, such as ocean acidification. This poses a taxonomy problem in that it is hard to classify
damages within the simple market, non-market, socially contingent, and catastrophic damage categories
that we have laid out earlier. For clarification purposes, we highlight when this is a particular problem with
respect to omitted effects of climate change: ocean acidification; wildfires; and pests, pathogens, and weeds.41
In addition, we add two additional types of omitted damages to the taxonomy: inter-sector damages and cross­
sector damages. The former captures the damages that arise due to the interaction of climate change effects
between two or more damage sectors, and the latter captures omitted damages that affect multiple sectors.
See Table 10 for the taxonomy of omitted damages used in this paper, and Table 11 for an alternative taxonomy
based on omitted damage sectors and omitted climate effects.


Market damages
There exist several market damages that remain unaccounted for in the market damage literature. As mentioned
earlier, Yohe and Hope (2013) argue that few updates to market damages will have a significant effect. However,
there are several potential additions that should be considered for having potentially large effects: fisheries (and
relatedly, including effects of ocean acidification more broadly), market sector disturbances (pests, pathogens,
air pollution, erosion, and fires), energy supply, transportation, and economic growth.

FISHERIES. Fisheries are, for the most part, excluded from IAMs. DICE-1999, which is utilized as a damage source
in DICE-2010 and PAGE09 (both are used by the 2013 IWG), includes fisheries in a generalized “other market”
sector, along with forestry, energy systems, water systems, construction, and outdoor recreation. Citing Cline
(1992), Nordhaus (1991), and Mendelsohn and Neumann (1999) damages estimates to these sectors for the United
States, Nordhaus and Boyer (2000) argue that damages not related to energy are equal to zero. Implicitly, this
assumes that climate damages to fisheries are equal to zero even though the sources he cites do not explicitly
discuss damages to fisheries, particularly Cline (1992) and Nordhaus (1991). As a consequence, Nordhaus
and Boyer (2000) essentially fail to account for fisheries. In FUND 3.6, freshwater and saltwater fisheries are
excluded. Consequently, PAGE09, which heavily relies on early versions of DICE and FUND to calibrate its

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market damage function, excludes fisheries as well. Finally, DICE-2013, at most, partially captures fisheries.
Many of the enumerative studies upon which DICE-2013 relies in the calibration of its damage function, exclude
fisheries altogether.42 Similarly, in the statistical studies, the effect on fisheries, particularly offshore salt-water
fisheries, may be excluded; see forthcoming Appendix D.43

Fisheries support a significant portion of the world’s population. Many individuals rely on fishing and
aquaculture for employment. Also, many individuals rely on seafood as their primary source of protein. Climate
damages to fishery resources will cause particular harm to those regions most reliant on fisheries (WFC, 2007).
According to Allison et al., (2009), the most vulnerable fisheries are located in developing nations, which are the
most dependent on fisheries in terms of livelihood and nutrition.

Climate change will affect fisheries in several ways. First, rising sea surface temperatures will damage coral
reefs, an important habitat for many fisheries, and result in more frequent algae blooms, which negatively affect
fish stocks via decreased oxygen availability. Rising temperatures will also positively affect the growing season,
winter mortality rates, and growth rates. Second, rising land temperatures will increase the temperatures of fresh
water systems, resulting in declined fish stocks through reduced water quality, invasive species and pathogens,
and decreased food abundance; again, warmer temperatures in cold waters may have some benefits in terms
of increased growth rates. Third, rising sea levels will negatively affect coastal habitats, including mangroves
and salt water marshes, and freshwater water habitats via saltwater intrusion; rising sea levels may also benefit
shrimp and crab aquaculture. Fourth, increased weather variability and extreme events, including floods and
droughts, and decreased water availability in some regions is likely to negatively affect fish stocks, particular
fresh water and aquaculture; changing precipitation patterns may affect marine populations via water salinity
(WFC 2007). Fifth, changes in ocean chemistry, including ocean acidification, which is discussed more below,
and decreased oxygen content from increased algae blooms, which is discussed above, will negatively affect
fish stocks, particularly mollusks. Sixth, melting sea ice may increase access to Arctic fisheries. Last, climate
change will likely compound the negative effect that human activity, including over fishing, has on future fish
stocks.44 These damages and benefits will vary regionally, particularly as fish shift locations. They are also
highly uncertain due to uncertainty over climate change and its effects (particularly on the scale that is relevant
to marine life and fisheries - continental shelves), complex aquatic food web and ecosystem dynamics, the
ability of species to adapt, and the range of human and environmental impacts fisheries (WFC, 2007; Hollowed
et al., 2013; Sumaila et al., 2011).

Adaptation by species and humans may be able to reduce these negative effects. Fish species will be able to adapt
to some of these change by moving toward the Poles and into deeper water (Sumaila et al., 2011). However, these
changes may still result in habitat loss for some freshwater and saltwater fish, even with this ability to adapt,
such that some species will experience declines and extinction (Hollowed et al., 2013). Furthermore, these shifts
imply regional effects, such that some regions benefit and others are harmed (Hollowed et al., 2013), and quality
effects, as fisherman are forced to switch to new species. Finally, humans may be able to adapt to mitigate losses
and meet increased demand by expanding aquaculture to replace decreased wild catch and increasing trade
(Brander 2010). However, human adaptation at the local level will come at an increased capital cost, and a loss
of capital as some fisherman scrap their vessels (Sumaila et al., 2011).

In addition to climate change affecting fish stocks, climate change will also affect human capital and infrastructure
necessary for production. Increased storm strength and frequency will negatively affect infrastructure,
particularly aquaculture, located near coastal areas. Coupled with rising sea levels that will negatively affect
coastal ecosystems that act as a buffer from coastal storms, storm effects could be significant (WFC, 2007). The


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ability of regions to adapt to these events will vary regionally.

There is a lack of estimates for the impacts of climate change on fisheries (Sumaila et al., 2011). This is partially
due to the difficulty of estimating the net impacts on production across multiple species and uncertain
future environments, which results in highly uncertain estimates. While it is clear that damages will vary
regionally—hurting tropical regions and possibly benefiting artic regions—these regional results are uncertain
given the large scale effects of climate change on oceans; this includes ocean acidification and higher ocean
temperatures—both of which effect phytoplankton (Toseland et al., 2013).45 Because developing nations are
focused predominately in tropical and subtropical subclimates, fishing industries in poor nations are likely to
be disproportionately affected. These nations are often already at an open-access equilibria due to overfishing
and lack of management, and, as a consequence, are unlikely to experience a significant change in profits due
to climate change. However, in developing nations, large portions of the population rely on subsistence fishing
for calories and protein. Thus, the effects of climate change on consumer welfare via fisheries are likely to be
substantial in developing nations.

NATURAL DISTURBANCES: PESTS, PATHOGENS, AND WEEDS, EROSION, AIR POLLUTION, AND FIRES. Pest (weeds and insects)
and pathogens (Rosenzweig et al., 2001), erosion (Vose et al., 2012), air pollution (for example, the effects of
climate change on increased ozone pollution, which affects crops and public health),46,47 and fire are natural
disturbances that affect agriculture and forestry. While these disturbances are currently being excluded from
the agricultural and forestry sectors (Ackerman and Stanton, 2011, Cline 1992), these disturbances are likely
to be substantially affected by climate change (IPCC, 2007b, Chapter 5). Climate may expand the geographical
extent of pests, pathogens, and weeds (particularly for livestock and forests) and increase the likelihood and
severity of pest and pathogen outbreaks due to earlier springs and more extreme events. Forestry may be
negatively affected by increased erosion from higher precipitation and other extreme weather events (Vose et
al., 2012). Increased ozone exposure will also decrease timber production and crop yields, while increasing crop
susceptibility to pest outbreaks. Increased fire risks may decrease forestry production and costs (IPCC, 2007b),
and have significant impacts on human health and infrastructure (Fowler, 2003). While each of these natural
disturbances may have only modest effects, their interactions (along with drought) and their combined effects
are likely to be substantial.

These natural disturbances also affect agricultural and forestry via the fertilization effect, which is the increase
in plant growth, and thus production, from an increase of carbon dioxide in the atmosphere. Current estimates
of the CO2 fertilization effect are from laboratory experiments where plants are not subject to competition from
pests, pathogens, and weeds that may also benefit from CO2 fertilization.48 More recent estimates, known as
Free-Air CO2 Enrichment (FACE) experiments, are field experiments where plants are subject to these pressures;
the resulting benefits from increased CO2 are lower under FACE experiments (Hanemann, 2008, IPCC, 2007a).
Furthermore, air pollution (ozone), which is completely unaccounted for, may further limit the CO2 fertilization
effect (IPCC, 2007b Chapter 5).

Increased pests, pathogens, and weeds, erosion, air pollution, and fires will also affect ecosystems, wildlife,
and human settlements. These costs are also currently excluded from the default versions of these IAMs.

ECOLOGICAL DYNAMICS. Ecological dynamics are omitted from the analysis despite their significance in timber
production. In addition to disease and insects (Gitay et al., 2001; Norby et al., 2005) and wildfires, studies of
climate change impacts on ecological dynamics of forests cited by Gitay et al., (2001) include those concerning,
seasonality, timing of freeze-thaw patterns, length of growing season, nutrient feedbacks, disturbance, diurnal
temperature patterns, local climatic extremes, late and early frost, changes in precipitation, and extreme
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weather events. Climate change will further affect forestry to the extent that these dynamics contribute to forest
ecology and will be impacted by climate change.

ENERGY SUPPLY. Tol (2009) argues that energy costs may decrease due to climate change relative to a future world
without climate change. This is due to decreased costs of supplying renewable energy from wind and wave
sources, and the increased availability of oil due to higher temperatures in the Arctic. However, warmer water
temperatures will increase the cooling costs of thermal power plants (conventional and nuclear), and decreased
water availability in some regions may increase the cost of hydro-electric energy (IPCC, 2007b Chapter 1 and
Chapter 7). The increased frequency and intensity of extreme weather events (heat waves, droughts, and storms)
have the potential to further disrupt energy supplies, particularly coastal energy and energy transmission
infrastructures, while the melting of permafrost is also threatening energy infrastructure in Arctic regions (IPCC,
2007 Chapter 7). It is difficult to determine whether the net effects of climate change on the cost of supply energy
will be positive or negative.

TRANSPORTATION.   Transportation is critical for the movement of populations and goods, including energy
resources. However, the effects of climate change on the transportation sector in terms of lost infrastructure,
costs, delays, and safety (including fatalities) are rarely emphasized according to Koetse and Rietveld (2009).
This may partially be due to the sparse literature in this area and the general ambiguous effects of climate
change on transportation due to countervailing effects (Koetse and Rietveld, 2009).

On the one hand, higher temperatures imply fewer transportation delays from snow and ice (Tol 2009, IPCC
2007). While traffic congestion and accidents result from adverse weather conditions (including rain, snow, and
poor visibility), less snow overall will result in less traffic congestion and fewer accidents. Furthermore, many
areas will experience decreased costs of dealing with these cold weather events, including less salting of roads
and plowing equipment. While higher temperatures will also come with some costs, including buckled rails
and roads, these costs can likely be overcome gradually with updating of the road and railway systems during
their regular maintenance schedule. Higher temperatures also decrease ice cover in rivers, lakes, and oceans,
which decreases shipping costs during the winter. In particular, higher Arctic temperatures may make shipping
through the Northwest Passage possible at some times during the year; this has the potential to lower overall
shipping costs (Koetse and Rietveld, 2009; IPCC, 2007).49




The BLM and the U.S. Forest Service work together to manage wildfires. Photo: Bureau of Land Management



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On the other hand, greater weather variability and a higher frequency of extreme weather events (droughts, heavy
precipitation events, floods, high winds, and storms) will potentially hurt traffic and disrupt transportation.
While higher temperatures and less snow decrease some effects of climate change on traffic congestion, delays,
and accidents, the overall effects are unclear because increased precipitation variability due to climate change
will likely have a countervailing effect, as precipitation following a dry spell significantly increases the number
of accidents (Koetse and Rietveld, 2009). Similarly, while decreased ice cover due to higher temperatures
reduces shipping costs, extreme weather events significantly disrupt transportation and destroy transportation
infrastructure. Flooding is particularly problematic for the transportation systems of coastal communities (and
potentially the most costly of the transportation effects), while droughts will be more of a concern for inland
waterway transportation.50 In addition to the inconvenience to travelers, these events could disrupt trade due
to the temporarily shutting down of trade routes, road and port closings, and train and airport delays and
cancellations. While ports are more affected (in terms of area and numbers effected) by flooding and storm surges
than roads, railways, and airports, even small effects to these latter three infrastructures may have significant
costs due to network effects.51 Due to the increase in exposure to extreme weather events, particularly along
the coasts, without adaption, the costs from transportation delays and infrastructure losses will undoubtedly
be substantial. Furthermore, changing weather patterns may change trade patterns, which may require
infrastructure investment, and require that Arctic regions update their transportation infrastructure in response
to melting permafrost (Koetse and Rietveld, 2009; IPCC, 2007).

Traffic safety in terms of the frequency of accidents and changes in mortality and injury rates due to accidents
is also another important component of transportation costs. While adverse weather increases the likelihood of
aircraft accidents, the bulk of deaths related to travel are road traffic related. However, calculating the change in
related deaths due to climate change turns out to be complicated because of the complex number of effects: (1)
higher temperatures increase the number of accidents due to heat-stress, (2) increased precipitation increases
the frequency of accidents, (3) adverse weather decreases the severity of damages due to reduced traffic speed,
(4) snowfall causes more accidents than rainfall, and (5) precipitation after a dry spell has a greater effect
on accidents and fatal accidents than precipitation alone. Therefore, the effects of climate change on traffic
mortalities and injuries are ambiguous, as is the case for traffic safety in general, congestion, and shipping
costs. Effects will likely vary regionally (Koetse and Rietveld, 2009).

Adaptation is also likely to reduce some of the costs associated with extreme weather events. In particular,
damages due to sea level rise and floods may be preventable through adaptation, including the building of sea
walls. As a consequence, many of the current cost estimates available in the literature, which mainly focus on
the eastern United States, may be upper bounds.

Current IAMs do not explicitly model climate damages to the transportation sector. DICE-1999 explicitly assumes
transportation is negligibly effected by climate change (with the exception of water transportation), though it
is possible in early versions of DICE that transportation costs may be captured indirectly through damages to
human settlements and sea level rise. Similar to DICE, FUND does not explicitly address transportation costs,
though climate damages due to storms and sea level rise may already include some of these costs. Because the
market and sea level rise damages in PAGE09 are greatly informed by DICE and FUND, it is unclear the extent to
which PAGE09 includes transportation costs. Similar issues arise for DICE-2013.

COMMUNICATION.    Communication infrastructure will experience similar disruptions as the energy and
transportation infrastructures due to extreme weather. While a possible adaptation is to bury these infrastructures


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underground, this strategy is costly (IPCC, 2007). Like energy and transportation, these costs are excluded from
IAMs. However, Nordhaus and Boyer (2000) categorize damages to the communication sector as insignificant.

RECREATION. The recreation sector will also be affected by climate change, and is omitted from IAMs according to
Tol (2009). While there are clearly redistribution effects across regions, its ultimate effect is uncertain according
to Tol (2009). Similarly, Bigano et al (2007) find that climate change has unclear, but generally negligible, effects
on global tourist expenditures.52 Alternatively, using a general equilibrium model, Berrittella et al., (2006) find
that “climate change will ultimately lead to a non-negligible global loss” in 2050. This estimate includes only
the direct impacts of climate change on recreation, and it omits the indirect impacts such as the loss of some
beaches and islands due to sea level rise and the loss of particular ecosystems (such as coral reefs) and species
(such as polar bears). The inclusion of these indirect impacts will likely further increase the recreational cost of
climate change.

CHANGES IN OUTPUT GROWTH.     There is evidence that higher temperatures effect labor productivity (Kjellstrom
et al., 2009), the growth rate of economic output (Dell, Jones, and Olken, 2009; Dell, Jones, and Olken, 2012;
Hsiang, 2010), and the growth rate of exports (Jones and Olken, 2010), and some of these negative effects on
growth continue into the medium-run and long-run (Dell, Jones, and Olken, 2009; Dell, Jones, and Olken, 2012).
However, as discussed earlier, the popular IAMs are built on enumerative studies that estimate climate damages
to a particular economic (or non-economic) sector of a geographical region in a specific time period. These
studies, for the most part, omit dynamic considerations with respect to damages. As a consequence, the current
IAMs based upon these estimates fail to model the potential effects of climate change on economic growth—a
dynamic phenomenon—and instead focus on the effect of climate change on the level of output (Fankhauser
and Tol, 2005, Tol, 2009; Moyer et al., 2013).53

In their default versions, the popular IAMs (DICE, FUND, and PAGE) all assume the relentless march of output
growth. In FUND and PAGE, regional GDP per capita growth rates (and total factor productivity growth) are
exogenous inputs into the models that are determined by the economic and population scenarios chosen by the
modeler. As a consequence, climate change affects consumption only. In DICE, economic growth (increased GDP
due to all factors including changes in inputs—labor and capital—and technological progress) is endogenous
and total factor productivity growth (increased GDP due solely to technological progress) is exogenous. As
a consequence, climate change potentially affects the growth path by decreasing the marginal production
of capital (and as a consequence the optimal savings rate) and decreasing output (and as a consequence
decreasing the total amount of investment and capital accumulation) for a given savings rate (Fankhauser and
Tol, 2005).54 However, in DICE, climate change still only has an indirect effect on growth because there are no
direct effects of climate change on the inputs of production or total factor productivity. Just as climate change
cannot significantly affect the economic trajectory of the global economy in DICE as currently specified, Moyer
et al., (2013) shows that climate damage eight to 17-fold higher does not contract economic output by 2300 in
DICE. Furthermore, in the U.S. government analysis, the IWG modify DICE to have an exogenous savings rate,
such that, like FUND and PAGE, climate change affects only consumption.55

The consequence of this unthreatened growth path is that it is not optimal to divert resources for mitigation
purposes in the short-run, but rather to continue higher levels of current consumption (and, according to DICE,
current investments in capital) (Moyer et al., 2013). In this scenario, the future is always richer than the present
due to a growth path of per capita consumption that is rarely overwhelmed by climate change. As a consequence,
the discount rate (through the Ramsey equation) almost never declines rapidly, though this prospect is unlikely
according to Fankhauser and Tol (2005).57,58


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While most IAMs provide estimates of declines in output in the present period and do not analyze the implications
of climate change for stable, long-term economic growth, climate change may also affect economic growth of
economies (Tol, 2009). In general, the risk of climate change creating long-term implications for economic
growth are particularly relevant for less developed countries characterized by low reserves of financial capital
(Dell, Jones and Olken, 2008; Aziadaris and Stachurski, 2005). In other words, recent research asks whether the
exogenous growth assumption is valid, particularly for developing nations. Dell, Jones, and Olken (2012) find
a 1.3 percent decline in the economic growth rate of poor countries for a 1 degree Celsius increase in annual
average temperature.59 Hsiang (2010) finds an overall decline of 2.4 percent for a 1 degree Celsius increase in
Caribbean and Central American countries resulting from declines in the agricultural and non-agricultural
sectors. Even small changes in the growth rate, such as 0.6 percent to 2.9 percent declines in the annual growth
rate in poor countries would dominate all other economic damage estimates over the three-century timeline of
IAMs (as specified in the IWG analysis). In further support of these findings, Jones and Olken (2009) find that a
1 degree Celsius increase in the temperature of a developing nation reduces exports by 2 percent to 5.7 percent.

There are several mechanisms through which climate change can directly affect economic growth. First,
poor regions may suffer from further depleted funds due to climate change and be unable to adapt to rising
temperatures and other climatic changes. This could result in a poverty trap (Tol 2009). Second, climate change
could affect growth rates via a rise in social conflict (Tol 2009). While social conflict may affect economic growth,
particularly political violence (Butkiewicz and Yanikkaya 2005), it is unclear by which mechanism this effect
may occur.60

Third, there is evidence that climate change will directly affect labor productivity through work capacity limits
(that is, a physical and/or mental limit on the amount of time or effort that individual can expend in a given
day),61 irritation, and disease (Lecocq and Shalizi, 2007; Tol, 2009).62 Dell, Jones, and Olken (2012) summarize
much of this literature, including lab experiments and natural experiments, to find that “labor productivity
losses ^ center around 2 percent per additional 1 degree when baseline temperatures exceed 25 degrees.” These
studies generally focus on indoor employment where adaptation is possible, but productivity losses are more
substantial for outdoor labor, such as agriculture, and labor intensive industries in non-climate-controlled
environments where adaptation to higher temperature and/or avoidance of rain is difficult (Hsiang 2010;
Dell, Jones, and Olken 2012). Furthermore, decreased output from climate change could also decrease labor
productivity via investments in labor productivity and/or human capital (Fankhauser and Tol, 2005).

In recent work that assumes no adaptation (including increased use of air conditioning), Kjellstrom et al., (2009)
estimates labor productivity losses from climate change (resulting from work capacity limits and not an increase
in the number of sick days) of up to 11.4 percent to 26.9 percent in some developing regions of the world by 2080.
These losses are somewhat reduced when accounting for shifts in regional labor forces between the agriculture
sector to industry and service sectors. Using regionalized estimates from Kjellstrom et al., (2009), the authors of
ENVISAGE, an alternative IAM, find that declines in labor productivity are of paramount importance in terms
of economic damages (accounting for at least three-quarters of all damages). Labor productivity accounts for
about 84 percent of total global damage in 2050 and 76 percent in 2100, which is equivalent to a 1.5 percent
decline in GDP in 2050 and a 3.5 percent decline in GDP in the year 2100 (Roson and van der Mensbrugghe, 2010).

Fourth, labor supply may potentially fall as labor productivity declines. Most IAMS assume an exogenous labor
supply equal to population, such that the labor supply grows according to an exogenous path. However, in
labor intensive industries, Zivin and Neidell (2010) find a decrease in the labor supply by as much as one hour


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at temperatures above 85 degrees Fahrenheit.63 While there is evidence of partial acclimation and the strong
potential for adaptation, accounting for adaptation fully may be difficult because it includes: temporal choices
(shifting activities to different times of the day and/or different days of the week), activity choice (for example,
shifting activities indoors), location choice (for example, moving), and climate neutralizing technologies (for
example, using an air conditioner). Furthermore, the labor supply may further decline if a rise in morbidity from
climate change forces individuals out of the labor force, or a rise in mortality from climate change decreases the
potential labor force (Fankhauser and Tol, 2005).

Fifth, higher temperatures, increased intensity of storms, rising sea-levels, and tipping point events will increase
the capital depreciation rate through losses of the capital stock and decreases in the longevity of capital (Hall
and Behl, 2006; Fankhauser and Tol, 2005). Losses in capital stock are likely to result from sudden changes,
such as from storms and tipping points, rather than slow changes that would allow for adaptation via the
movement of capital (Hall and Behl, 2006). For example, Freeman (2000) cites potential capital stock losses
of 1 percent, 5 percent, 12 percent, and 31 percent for a one in 10-, 50-, 100-, and 500-year storm, respectively,
for Honduras. Another example is Hurricane Andrew and Hurricane Iniki in 1992, which combined to reduce
the U.S. capital stock by $55 billion (Cashell and Labonte, 2005). While the overall economic effect of natural
disasters is debated (due to positive effects of reconstruction and remittances), it is clear that storms negatively
affect growth through declines in the capital stock and that larger storms (which are more common under
climate change) have overall negative effects (Fomby, Ikeda, and Loayza, 2011; Hochrainer, 2009).64

Sixth, climate change could also affect economic growth via the capital stock through investment decisions. On
the one hand, climate change could influence the relative prices of investment and consumer goods. Climate
change is expected to affect a variety of market sectors that produce consumer goods and is generally expected
to raise prices and decrease output in these sectors. Higher prices for consumer goods and lower levels of
per capita output would lead to lower levels of consumption, while increased future prices could influence
investment levels upward (Jorgenson et al., 2004). On the other hand, climate change could lower the amount
of output available for investment, which would decrease the amount of capital via capital accumulation.
Furthermore, decreases in the labor force and population from climate could decrease the amount of savings
available for investment (Fankhauser and Tol, 2005).

Seventh, forward-thinking agents may also change their investment decisions due to the expected effects of
climate change. However, it is unclear in which direction. On the one hand, forward-thinking agents may invest
more now due to expected declines in future incomes. On the other hand, they may invest less due to lower
expected returns on investments (Fankhauser and Tol, 2005; Moyer et al., 2013).

Eighth, increases in temperature may decrease capital productivity if we believe that the electricity grid becomes
more unreliable with climate change. Ninth, according to Fankhauser and Tol (2005), Scheraga et al., (1993)
argue that climate change could have structural effects on the economy by changing the relative size of sectors.
This could have an effect on the composition of GDP. Tenth, the combination of declining tax revenue, due to
declines in output, and increased investment in adaptation could decrease non-adaptation investments that
grow the economy. In other words, climate change adaptation, particularly in terms of restoring or producing
lost ecosystem services, drains capital and labor from research and development (Fankhauser and Tol, 2005;
Moyer et al., 2013).

Last, an argument can be made for adding land to the production function. While this is not an input into
production in the neoclassical growth model, it is one of the three factors of production in most political-
economic work that predates the marginal analysis revolution. This would add additional channels through
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which climate change could affect economic growth: declining land due to sea level rise and the loss of ecosystem
services. This would allow for the loss of ecosystems to have more than a temporary effect on the economy.

Only DICE can be easily modified to capture these changes in growth. In FUND and PAGE (and DICE in the IWG
analysis), it is difficult to model changes in the GDP growth rates due to climate change because economic
growth rates are determined by an exogenous socio-economic scenario, as discussed above. In these models,
the inclusion of the effects of climate change would require a change in the socio-economic scenario; this would
make modeling the marginal effects of an additional unit of CO2 more difficult. However, it is possible.

Modeling the effects of climate change on economic growth in an endogenous growth model, like DICE, is much
easier although it requires the specification of a particular mechanism through which climate change may affect
growth. As discussed above, DICE, as specified by Nordhaus and not IWG, is the only one of the three IAMs
to use an endogenous growth model to estimate climate damages. DICE, as originally intended by Nordhaus,
examines climate change using a variation of the Cass-Koopmans model with a single good that can be used
for either consumption or saving/investment.65 However, while DICE does allow for endogenous economic
growth, all shocks are to consumption via a general shock to GDP; there are no shocks to labor, capital, or
total factor productivity. Thus, modeling the effects of climate change on economic growth via the mechanisms
discussed above will require modifications of DICE’s structure. As currently specified, the endogenous economic
growth structure of the DICE model, which allows for capital investment through an increased savings rate
and investment in carbon abatement, allows for some mitigation of climate damages via: (1) increased capital
investment that can offset climate damages to output, and (2) substitution of consumption for a reduction in
carbon emissions (Nordhaus, 2011; Nordhaus and Sztorc, 2013).66

Moyer et al., (2013) modifies DICE-2007 in two different ways to capture the effect of climate change on total factor
productivity corresponding to the Cobb-Douglas production function that represents global economic output.
First, Moyer et al., (2013) modify DICE such that a portion of climate damages affects the level of total factor
productivity. As a consequence, climate damages affect output and economic growth. The authors find that
even a small diversion of damages to total factor productivity can produce negative economic growth rates, such
that even one-quarter of damages affecting total factor productivity can result a devastatingly high social cost of
carbon dioxide of $1,600. Second, they modify DICE such that climate damages reduce the growth rate of total
factor productivity. As specified, total factor productivity cannot shrink as to produce economic contractions,
and instead is limited to stalling economic growth. While this specification of the damage function does not
result in economic collapse from climate change, like the previous specification, it implies an unequivocal
increase in the SCC. From these results, Moyer et al., (2013) conclude that modeling the effects of climate change
on economic growth can be as important as the discount rate in determining the magnitude of the SCC.

Two alternative IAMs, ENVISAGE and ICES, model the effects of climate change on economic growth (via shocks
to labor, capital, and total factor productivity) in a general equilibrium model, GTAP. The authors of ENVISAGE
model several damage sectors: agricultural, sea level rise, water, tourism, energy demand, human health and
heat-related labor productivity.67 Unlike DICE, FUND, and PAGE where climate damages affect consumption
directly, climate change affects economic output through effects on labor, capital, and land productivity and
stock, multi-factor productivity (that is, total factor productivity), and energy and tourist demand (Van der
Mensburgghe, 2008). Depending on the damage sector, these shocks to productivity, input availability, and
consumer demand can be heterogeneous and homogenous across economic sectors, that is, economic activities
(Van der Mensburgghe and Roson, 2010). Using ENVISAGE, Roson and van der Mensbrugghe (2010) estimate
damages of 1.8 percent and 4.6 percent of global GDP for increases of 2.3 degrees Celsius and 4.9 degrees Celsius,


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Gonaives, Haiti, after the hurricanes. Photo: Roosewelt Pinheiro/ABr


respectively, above 2000 temperatures; as noted earlier, labor productivity accounts for about 84 percent of total
global damage in 2050 and 76 percent in 2100 (Roson and van der Mensbrugghe, 2010). The authors of ICES
model several damage sectors: agricultural, sea level rise, forestry, floods, tourism, energy demand, and human
health.68 In ICES, damages affect economic activity through supply side shocks to capital and land stocks and
capital, labor, and land productivity (Bosello, Eboli, and Pierfederici, 2012). Like ENVISAGE, the authors of ICES
also model demand shocks to tourism and energy demand in addition to supply shocks. Bosello et al., (2012)
estimate a 0.5 percent decline on global GDP for a 1.9 degrees Celsius increase in global temperatures relative
to pre-industrial temperatures.


Non-market damages
Yohe and Tirpak (2008) and Tol (2009) note that many non-market damages are still missing from current
estimates and need further study. Among these are the non-market impacts of ocean acidification (as mentioned
earlier), the loss of ecosystem services, the loss of biodiversity, and the omission of some health costs (Tol, 2009).
While not an omitted damage per se, the default versions of the IAMs also fail to capture the increase in the
value of non-market commodities relative to market goods due to their increase in scarcity. This failure results
in a systematic underestimation of non-market damages, particularly biodiversity and ecosystem services, as
the value of losses increase.69

ECOSYSTEM SERVICES.     Natural ecosystems provide a multitude of services that benefit humanity, which are
collectively known as ecosystem services. Many of these services are essential for human existence. The United
Nations Millennium Ecosystem Assessment groups ecosystem services into four types: (1) provision (food­
crops, livestock, fisheries, aquaculture, wild plant and animal products; fiber-timber, cotton, hemp, silk, wood
fuel; genetic resources; biochemical, natural medicines, and pharmaceuticals; ornamental resources; fresh
water), (2) regulating (air quality regulation; climate regulation-global, regional, and local; water regulation;
erosion regulation; water purification and waste treatment; disease regulation; pest regulation; pollination;
natural hazard regulation), (3) cultural (cultural diversity; spiritual and religious values; knowledge systems;
educational values; inspiration; aesthetic value), and (4) supporting services (soil formation, photosynthesis,
primary production, nutrient cycling, and water cycling). The ecosystems that provide these services are known
as natural capital; their value equals the present value of all future streams of ecosystem services.


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By the end of the century, climate change will be the most important driver of natural capital loss, ecosystem
change, and ecosystem service loss. While some regions may experience some initial benefits from climate
change in terms of increased ecosystem service provision, overall, the globe will experience negative effects
and eventually all regions will experience losses (Millennium Ecosystem Assessment; IPCC, 2007). While not all
services are affected by climate change, many of them are. Of these services, only a few are currently included
in the IAMs.

Some ecosystem services are already accounted for in the social cost of carbon via other damage sectors. Some
of these ecosystem services are explicitly captured by all three IAMs. For example, food and fiber services
(particularly crops, livestock, and timber) are explicitly captured via the agricultural, forestry, and “other
market” sectors.70 Some ecosystem services are only captured by some IAMs. For example, only PAGE09 and
early versions of DICE explicitly include climate regulation services (particularly globally) in their estimates
of the social cost of carbon via their tipping point and catastrophic damage functions, respectively; see the
catastrophic damage section below for further discussion.71 Finally, some ecosystem services are clearly excluded
from the default versions of current IAMs, such as pest regulation and pollination as discussed earlier.72 Some
of these omitted services can be thought of as examples of inter-sector services from the non-market sector to
the market sector, and will be discussed indirectly in the subsection on the omission of inter-sector damages.

It can be difficult to determine whether ecosystem services are already captured via existing damage functions
for two reasons. First, whether an ecosystem service is captured in the damage function(s) is dependent on
whether the source of the damage estimate accounted for this service. For example, it could be potentially
argued that water purification and water cycling services of ecosystems are already captured in FUND and early
versions of DICE (and thus PAGE09, which includes estimates from both other IAMs) via the water sector and
the “other market” sectors, respectively. However, this is only true if the water purification and cycling services
of ecosystems are directly measured by the underlying studies used to calibrate these models, and this is not the
case. In the case of water purification services, forested catchments supply 75 percent of the globes fresh water
supplies (Shvidenko et al., 2005; IPCC, 2007 - Chapter 4), and these services could potentially be accounted for
in the underlying forestry damages. While the forestry sectors in both models account for the effect of climate
change on the value of timber sales, the water sector (within the “other market” sector in DICE-1999) fail to
explicitly account for the water purification services of ecosystems. Thus, none of the three IAMs are likely to
capture the effect of climate change on the water supply via its effect on forest ecosystems.73

Second, some of these omitted services, including water purification and cycling services, may be captured
in general attempts by IAMs to capture the value of natural capital. In FUND 3.5 to 3.8, ecosystem damages
from climate change are based on a “warm-glow” effect whereby the population ’s valuations of damages are
independent of any real change in ecosystems (Anthoff and Tol, 2012). The warm glow effect is measured by how
much people say they are willing to pay for services resulting from habitat preservation services (for example,
to preserve wildlife), and Tol (2002) explains that the effect “suggest that people’s willingness to pay reflects
their desire to contribute to a vaguely described ‘good cause,’ rather than to a well-defined environmental
good or service.” However, Anthoff and Tol (2012) calibrate the ecosystem damage function to estimates from
Pearce and Moran (1994), who report a mean willingness to pay of $50 per person in OECD nations for habitat.
While Pearce and Moran use the $50 value to specifically value loss of habitat services (for example, to preserve
species), FUND generalizes this figure to be a warm-glow valuation of people’s willingness to contribute to
the environment as a societal good. However, this extrapolation is not valid: Tol excludes many of the non­
habitat services of ecosystems from FUND because these estimates are based on provision of habitat services


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by ecosystems and not the other tangible and intangible ecosystem outputs.74 Therefore, FUND likely omits the
value of many ecosystem services.

Alternatively, Nordhaus and Boyer (2000) use their own discretion to determine regional economic damages
from climate change to ecosystems in DICE-1999 (also one of the sources used to calibrate the default version
ofPAGE09); the authors develop their own rough estimates of the loss of natural capital because of the highly
speculative nature of estimates. The authors assume that the capital value of the portion of human settlements
and ecosystems sensitive to climate change is between 5 percent and 25 percent of regional GDP depending on
their size, mobility, and robustness and sensitivity. It is further assumed that a region’s annual willingness to
pay to prevent climate damages to human settlements and ecosystems equals 1 percent of their capital value,
“which is one-fifth of the annualized value at a discount rate on goods of 5 percent per year (Nordhaus and
Boyer 2000).” Therefore, the default version of PAGE09 partially captures some of these “omitted” ecosystem
services. However, it is impossible to tell to what extent because (1) the PAGE09 default damage functions are also
greatly informed by damage estimated from FUND, in addition to DICE-1999, which potentially only captures
the value of habitat services (as discussed in previous paragraph), and (2) it is impossible to tell what damages
to ecosystem services are omitted from the DICE-1999 climate damage estimates because of the speculative
nature of this valuation.

In DICE-2013, the value of natural capital is likely excluded (or at best partially captured) due to a failure of many
of the underlying studies to consider them, particularly the studies that only capture market damages.

BIODIVERSITY. The habitat services of ecosystems may or may not include the value of biodiversity in some IAMs.
By the end of the century, climate change will be the single most import driver in biodiversity loss (Millennium
Ecosystem Assessment). According to the IPCC (2007), “approximately 20-30% of plant and animal species
assessed so far are likely to be at increased risk of extinction if increases in global average temperature exceed
1.5-2.5°C.” Given the significant species loss that could occur by the end of the century and the likelihood of
continued biodiversity loss with even higher temperatures thereafter, accurate estimates of the value of
biodiversity loss are essential.

Tol (2009) considers biodiversity loss to be among the largest of the omitted impacts of climate change.
Economists not only struggle to place a value on biodiversity, but they also lack the understanding of how climate
change will affect intricate systems and processes like nutrient cycles. Furthermore, rather than occurring more
gradually as does sea level rise, biodiversity loss is likely to be characterized by a series of system failures
and ecological shocks, making it even more difficult to model (Tol 2009). Thus, current default versions of the
IAMs may be omitting the value of biodiversity loss. This statement may seem inconsistent with Tol’s FUND
model given the inclusion of biodiversity loss in FUND 3.6, as a function of species loss (that is, the value
of biodiversity increases with the loss of species) and temperature change. However, Tol (2009) is essentially
arguing that future work is necessary to improve the accuracy of the estimate of the value of biodiversity, and he
will continue to use the warm glow effect (as discussed in the previous section) in FUND until a better estimate
becomes available.75,76

Like ecosystem services in general, it is unclear how extensively the default versions of the other two IAMs,
DICE-2013 and PAGE09, account for biodiversity. These are for the same reasons as discussed in the previous
subsection.




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OMITTED HEALTH COSTS. According to Tol (2002a), morbidity and mortality can be directly influenced by climate
in six ways: (1) high and low temperature (that is, heat and cold stress), (2) vector-borne infectious disease (3)
non-vector-borne infectious disease (including, zoonotic and waterborne diseases (NIH 2010) (4) air quality,
(5) floods and storms, and (6) inter-sector effects of agriculture and water quality. A seventh path of influence,
which is missed by Tol (2002a), is humanity’s socially contingent response to climate change, including forced
migration, political and civil unrest, and increased violence.

None of the three IAMs discussed by the IWG includes all categories of damages. DICE-1999, which is utilized as a
damage source in the default version of PAGE09, focuses on air pollution and the expansion of the geographical
distribution of tropical diseases, including vector-borne diseases (malaria, dengue fever, trypanosomiasis,
Chagas disease, schistosomiasis, leishmaniasis, lymphatic filariasis, and onchocerciasis) due to higher
temperatures (Nordhaus and Boyer, 2000). Second, FUND 3.6, earlier versions of which were also utilized as a
damage source in the default version of PAGE09, captures mortality and morbidity from four sources: diarrhea,
vector-borne diseases, cardiovascular and respiratory disorders, and storms (Anthoff and Tol, 2012). Within the
causes of health damages considered in FUND, however, modeling assumptions omit relevant damages. For
example, heat-related cardiovascular mortality and morbidity is limited to urban areas, but we see no reason
to ignore these effects within rural populations (Ackerman, 2010). Additionally, “the total change in mortality
is restricted to a maximum of 5% of baseline mortality (per cause)” (Anthoff and Tol, 2012); under high levels
of warming (for example, 6 degrees Celsius), this may be an unjustifiable restriction that will bias social cost of
carbon estimates downward. Last, it is unclear what health damages are included in DICE-2013 because of its
meta-analysis structure, and because several studies utilized in the analysis rely on statistical methods that are
less explicit in what types of health costs are captured.

Early versions of DICE, upon which the default version of PAGE09 is partially based, and recent versions of
FUND are not consistent in what types of health damages are included. On the one hand, DICE-1999 excludes
many negative health effects of climate change captured by FUND: diarrhea (fourth and eleventh leading cause
of death worldwide in 1990 and 2020, respectively, according to Murray and Lopez [1997]), cardiovascular
disorders, respiratory disorders, tropical storms (hurricanes and typhoons), and extra-tropical storms (cyclones).
Additionally, DICE fails to account for the cost of morbidity. On the other hand, FUND fails to account for
declining air quality due to pollution that results from climate change, some of which DICE-1999 captures.

There are many health effects that DICE or FUND, and thus likely PAGE, omit. This includes: mortality and
morbidity from the combined effects of storms and rising sea levels (that is, coastal flooding), flooding more
generally (inland flooding from flash floods and the overflow of rivers), mortality, morbidity and air pollution
effects from forest fires, non-vector-borne infectious diseases, some vector borne infectious diseases (like
Lyme disease), and decreased air quality due to pollination; decreased labor productivity due disease and
increased heat (see the subsection above of the effects of climate change on the economic growth rate for further
discussion); and indirect health damages from climate change via agriculture and water resources (Ackerman
and Munitz, 2012; Hanemann, 2008; IPCC, 2007; Tol, 2002; WMO, 2006). Finally, violence (the 16th and 14th
leading cause of death worldwide in 1990 and 2020, respectively, according to Murray and Lopez, 1997) and war
injuries (the 20th and 15th leading cause of death worldwide in 1990 and 2020, respectively, according to Murray
and Lopez, 1997) may increase if social conflicts arise due to climate change.

There are also general equilibrium effects of health damages that are omitted by the IAMs. Tol (2009) referring to
the results of his own paper, Bosello, Rosen, and Tol (2006), states that “the direct costs are biased towards zero
for health, that is, direct benefits and costs are smaller in absolute value than benefits and costs estimated by a


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general equilibrium model. This is because countries that would see their labor productivity fall (rise) because
of climate change would also lose (gain) competitiveness, so that trade effects amplify the initial impact.”
Therefore, the exclusion of these general equilibrium impacts may further bias the health damages included in
IAMs further downwards.

RELATIVE PRICES. Climate change is predicted to affect market and non-market goods produced outdoors (such
as agricultural, fisheries, forestry, and environmental goods and services) more than market goods produced
indoors; market goods insensitive to climate change account for the majority of GDP (Nordhaus and Boyer,
2000). As a consequence, outdoor produced goods will become relatively scarcer than indoor produced goods
over time. Based on the law of scarcity, the value of outdoor produced goods and services will increase relative
to indoor produced market goods. However, current damage estimates to climate sensitive goods and services
reflect the current ratio of their economic value to climate insensitive goods, which is based on the current
ratio of their quantities. By extrapolating these estimates to future time periods without making any explicit
adjustment for relative prices, that is, without accounting for relative change in value of outdoor produced
goods and services to indoor produced goods over time, the developers of IAMs implicitly assume constant
relative prices, and bias the SCC downward.

A methodically sounds way to address this issue is to explicitly model relative prices. However, most IAMs
(including DICE, FUND, and PAGE) include only an aggregate consumption good, as measured by per capita
consumption, in the social welfare function.77 On the consumer side of the economy, this assumption implies
all goods and services, including market goods and non-market goods, are perfectly substitutable (even in the
long-run), and that they have constant relative prices (Gerlagh and van der Zwaan, 2002; Sterner and Persson,
2008). Constant relative prices imply the ratio of the prices of any two goods must remain constant, regardless
of the amounts available of either good.78 As a consequence, the current IAMs fail to capture the increase in
value of outdoor produced goods and services relative to other traditional consumption goods produced indoor
(Gerlagh and van der Zwaan, 2002; Sterner and Persson, 2008).79 Therefore, the simplifying assumption of
modeling only one generalized consumption good biases the social cost of carbon estimates downward because
future damage estimates to climate sensitive goods and services fail to account for the increase in relative value
of these goods and services, as discussed in the previous paragraph.

Recent work has looked at the effect of disaggregating per capita consumption into market goods and non­
market goods. Developing a simple social welfare function with two sectors (market and non-market) that grow
at different rates, Hoel and Sterner (2007) find that increasing consumption of market goods and constant or
decreasing consumption of environmental services will increase the relative value of environmental services
due to their increasing relative price when the elasticity of substitution is less than one, that is, it is difficult to
substitute market goods for non-market goods.80,81 Hoel and Sterner (2007) demonstrate, as Gerlagh and van der
Zwaan (2002) did before them, that the value of market goods will collapse to zero in the long run if these paths
continue. After deriving an updated equation for the discount rate (similar to the Ramsey equation) resulting
from the new specification, Hoel and Sterner (2007) also find that the combined effect of a newly derived
discount rate and the change in relative prices can result in damage estimates that exceed those calculated
under traditional discounting.82 The work in Hoel and Sterner (2007) applies to any two sectors of the economy,
not just market and non-market goods.83

To capture these effects on the optimal emissions path, Sterner and Persson (2008) modify DICE to restrict
substitutability between non-market and market goods. Like Hoel and Sterner (2007) and Neumayer (1999)
before them, Sterner and Persson (2008) find that allowing a change in relative prices can increase the costs


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of climate change relative to a model assuming constant relative prices. More specifically, the authors find that
damages double from 1.05 percent of GDP for a 2.5 degree Celsius increase to 2.1 percent of GDP; this implies that
the SCC would also increase with a switch away from constant to relative prices. Using their base parameters,
Sterner and Persson (2008) also find that allowing for a change in relative prices achieves a lower optimal
emissions path than the Stern Review (Sterner and Persson, 2008; Heal, 2009).84 In this sense, relative prices
can be as important as the discount rate in determining the optimal climate change prevention policy. However,
their results are highly dependent on the assumed elasticity of substitution. The lower the actual elasticity of
substitution is, that is, the more difficult it is to substitute market goods for lost non-market goods to make
society as equally well off under climate change, the more likely the current integrated assessment models are
to underestimate the environmental cost of climate change by assuming perfect substitutability.

As is common in these models, we are left with uncertain parameters determining the optimal level of
conservation. In this particular case, this is the elasticity of substitution. This recasts the argument about
whether or not to act now from a disagreement about the discount rate into a debate of whether poor (strong)
sustainability or perfect (weak) sustainability, that is, an elasticity of substitution less than or greater than 1 in
the context of the CES utility function, holds in the long run (Gerlagh and van der Zwaan, 2001). Unlike the pure
rate of time preference and the elasticity of the marginal utility of consumption, the elasticity of substitution
is not an ethical parameter. However, there is still considerable uncertainty about this parameter due to a lack
of empirical data (Neumayer, 1999). Sterner and Persson (2008) argue that a lower elasticity of substitution is
more likely because some environmental goods are unique and irreplaceable (for example, drinking water),
and these goods are likely to dominate the calculation of the elasticity of substitution as environmental
goods become more scarce. In a similar argument, Heal (2009) states that market goods and environmental
services are complements because some of the services in the former group are irreplaceable and essential to
life (Heal, 2009; Dasgupta and Heal, 1979). Heal (2009) points out that this has two implications: some level
of environmental services is essential and that the elasticity of substitution is not a constant.85 Gerlagh and
van der Zwaan (2002) demonstrate that even if the substitutability varies with the amount of environmental
services, there often exists a level of environmental services below which poor substitutability occurs in the
long run. While these arguments support an elasticity of substitution below which it is difficult to substitute
consumption goods for environmental goods (elasticity of substitution of less than one), future debate is likely
to ensue as current statements are more a matter of belief due to a lack of empirical evidence (Neumayer, 1999).




Greenland ice loss exceeds that of Ice gain. Photo:Christine Zenino, Chicago, US



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All three lAMs include only an aggregate consumption good in the social welfare function, and so assume
constant relative prices and perfect substitutability. While FUND 3.6 does account for the increase in the relative
value of habitat services due to the loss of species, this is done in a limited way. Therefore, all three IAMs
systematically underestimate climate damages to non-market commodities, possibly by a large margin.


Socially contingent damages
Many social scientists and economists have argued that the ill-effects of damages to commoditized goods from
climate change will extend beyond the calculated loss of value to affect societal dynamics (U.S. Climate Change
Science Program, 2008). For example, agricultural damages account for the value of diminished productivity
and lost crops, but not for the social repercussions of food insecurity and famine. In many regions, shifting
weather patterns, rising sea levels, and increased natural disasters will threaten infrastructure, habitable lands,
crop yields, and water resources. Under the resulting intensified resource competition, individuals will have
to choose among adapting to resource scarcity, relocating to a region with more abundant resources, or using
force to secure a share of the available resources. Each coping pathway has implications for political and social
stability (Buhaug, Gleditsch & Theisen, 2009).

The IPCC, which once included social consequences (such as migration) as direct consequences of climate
change, has since revised its stance, focusing instead on “human vulnerability,” a measure expressing the
relative risk of welfare impacts of climate change for individuals and communities (Raleigh & Jordan, 2010;
IPCC, 2001). Vulnerability is determined both by physical factors (for example, drought likelihood) and social
factors (for example, social status). Highly vulnerable societies are less likely to succeed in their adaptation
efforts, and consequently, more likely to resort to conflict and migration. Adaptation strategies used in poorer
regions such as removing children from school to provide additional income or subsisting on fewer resources,
diminish the welfare of those employing them, and thereby increase the incentives for migration or armed
conflict over time. Homer-Dixon (1999) argues that the developing world is more vulnerable to resource scarcity
because the “innovation gap”—the difference in capacity between those who are able to innovate solutions
to resource scarcity and those who are not—is largely dictated by the financial, physical, and human capital
stores and the capacity to mobilize them. As a consequence, developing countries are much more likely to be
susceptible to social and political instability from climate change (Homer-Dixon, 1999).

The study of climate change’s social impacts is still emerging despite a lack of ability to predict their severity
or likelihood. The risks of these broader, complex social responses to climate change are poorly understood
and difficult to anticipate, and historical studies are of little use given the unprecedented nature of climate
change. In particular, because climate change is a contributing factor and not the direct cause of migration and
conflict, isolating the role and corresponding social damages of climate change is especially difficult (Homer-
Dixon, 1999; Buhaug, Gleditsch & Theisen, 2008). In addition, the identification strategies of many papers are
confounded by various statistical difficulties (Dell, Jones, and Olken, 2013).

Partially as a result of this difficult identification problem, the most recent versions of the three IAMs used by
IWG do not address socially contingent damages, such as migration, social and political conflict, and violence.
The one exception is FUND, which partially accounts for this social cost indirectly by modeling migration from
permanent flooding. However, as discussed under inter-regional damages, FUND ignores most of the costs of
migration, including the social conflict caused by an influx of migrants.




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MIGRATION.  Increases in labor migration and distress migration are likely results of increasing temperatures,
reduced rainfall, shorter growing seasons, and sea level rise. Labor migration, generally driven by the “pull”
force of economic opportunity, is common in many societies and can play an important role in the adaptation
of communities by diversifying income sources and providing supplemental income through remittances.
Distress migration, driven by the “push” force of local calamity, tends to be a coping mechanism of last resort.
Labor migration is particularly sensitive to climate change-related factors, especially those that are gradual or
chronic, which increase the need for income diversification and the allure of economic opportunities elsewhere.
Distress migration only increases under sudden shifts, such as natural disasters (for example, severe storms)
or irreversible changes (for example, permanent flooding from sea level rise). Distress migration is also more
sensitive to social factors than labor migration. The ease of evacuation and availability of relief affect the rates
of distress migrations, while community support, economic opportunities, and governmental policies influence
resettlement rates. The severity and permanence of damage also play important roles in determining rates of
migration and relocation (Raleigh & Jordan, 2010).86

It should be noted that mass migration, as predicted by many analysts, may also have significant effects on
non-market goods and services. Specifically, mass migration into lesser affected areas may result in damages
to environmental goods and services to the incoming nations (Oppenheimer, 2013). This type of damage would
qualify as an inter-sector effect, which is discussed in a following section.

CONFLICT. In large scale crises, such as climate change, conflict tends only to occur in societies with histories
of armed violence and deep political and social fragmentation. The developing world, which is slated to bear
the brunt of climate change due to a lack of adaptive capacity, is considered especially vulnerable to climate­
change-related social crises because their economic and political institutions tend to be less stable than those of
the developed world (Millner & Dietz, 2011; Buhaug, Gleditsch & Theisen, 2008). Lower availability of financial
resources and insurance also tend to increase the rate and permanence of climate change damages in developing
countries, making conflict more likely, and intensifying existing conflicts (Millner & Dietz, 2011).

Buhaug, Gleditsch and Theisen (2008) advance four narratives on how climate change can drive conflict by
contributing to political instability, economic instability, migration, or inappropriate governmental response.
Climate change can exacerbate political instability when weak political institutions fail either to adequately
address climate-related catastrophes (droughts, famines, and so on) or to deliver other public goods (such as
healthcare, education, and infrastructure) because remediating such catastrophes diverts significant resources.
Climate change can contribute to economic instability when decreased availability of a renewable resource drives
down household incomes, which can compound existing intergroup inequalities and reduce the governmental
funds available to adapt to climate change.87 Migration driven by natural disasters or sea level rise could cause
influxes of climate refugees, increasing environmental, economic, social and political stresses in receiving
areas, particularly when the incoming refugees are of a different nationality or ethnic group. Finally, unpopular
responses to climate change, such as draconian emission reduction mandates, could result in social uprisings in
response. Dell, Jones, and Olken, (2013) also highlights the possibility that weather can directly lead to conflict
through “changing the environment” or increasing human aggression.

There is literature studying the effect of weather and social and political conflict that is summarized quite
thoroughly in Dell, Jones, and Olken (2013). In particular, there are a variety of cross-country and subnational
studies which indicated that higher temperatures and lower-than-average precipitation (including droughts)
cause civil conflicts and political instability (for example, coups), particularly via the lower household income
mechanism. While there are various studies showing the effect of weather on social and political conflict, there


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is some ambiguity in the effect because of (1) the low explanatory power of weather of conflict (that is, the noise),
(2) a variety of statistical problems, including endogenous controls and spatial correlation, (3) the difficulty of
measuring weather, particularly precipitation due to the negative effect of too much (for example, floods) and
too little (for example, droughts), and (4) the difficulty of determining if weather changes the timing of conflict
or actually causes conflict.

Two important recent papers identifying the connection between climate change and social and political conflict
are: Hsiang, Meng, and Crane (2011) and Hsiang, Burke, and Miguel (2013). Hsiang, Meng, and Crane (2011) use
more than 50 years of data to show that the probability of conflict doubled in the tropics during El Nino years as
compared with La Nina years. Based on their analysis, El Nino contributed to 21 percent of the civil conflicts in
the tropics taking place between 1950 and 2004, providing some evidence that warmer temperatures do result
in more social conflict. This paper is important in that it provides evidence that weather caused more conflict,
and displaced only a portion of conflicts over time.88

In another study, Hsiang, Burke, and Miguel (2013) conduct a meta-analysis across 60 multi-disciplinary papers.89
The authors find that the median effect of a 1-standard-deviation change in climate variables over time causes
a 13.6 percent change in the risk of intergroup conflict and a 3.9 percent change in interpersonal violence.90,91
Similarly, precision-weighted average effects, in which studies were down-weighted based on their precision,
are 11.1 percent and 2.3 percent, respectively. Even though the magnitude of this effect is heterogeneous (that
is, varies over time and space), given that scientists predict a 2- to 4-standard-deviation change in temperature
by 2050, possible increases in conflict as the result of climate change are likely to be significant this century in
many areas across the globe. In general, the authors find that all types of conflict increase with temperature and
precipitation, regardless of the temporal scale, but intergroup violence is less common in rich countries than
poor countries.92 Furthermore, the evidence indicates that adaptation possibilities are limited in that slow-
moving climate change still adversely affects conflict, and these effects will continue into the next century.
While the authors note that several avenues are possible to connect climate change to social conflict, more
research is necessary to select between competing theories on these linkages.93 Additionally, it is still unclear
whether these mechanisms increase the probability of a conflict occurring or the probability of an existing
conflict becoming violent.

VIOLENCE AND CRIME.    Dell, Jones, and Olken (2013) review the literature studying the effect of weather on
violence. In the criminology literature, there is a well-known relationship between higher temperatures and
crime, particularly as it relates to aggression. Specifically, many authors find that higher temperatures increase
criminal activity, especially as it relates to violent crime. There is an ongoing debate within the literature on
whether the cause is neurologically based or a socially contingent response. With respect to precipitation, there
is more of a mixed result with some evidence that a lack of precipitation may increase crime and violence
through a channel of lower income.


Catastrophic climate change
There is agreement within the literature on the importance of catastrophic damages. However, there is significant
debate within the literature about the extent of their importance; see earlier discussion. Regardless of the side
one takes, it is clear that these catastrophic damages should be included in IAMs, and the current failure to do
so in some IAMs biases their SCC estimates downward. Given Hope’s (2013) finding that tipping-point damages
can be as important as the sum of economic damages included in IAMs in determining the social cost of carbon,
these biases may be significant.

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TIPPING POINTS. The IAMs differ in their treatment of climate tipping points. Earlier versions of DICE, that is, DICE-
1999, DICE-2007, and DICE-2010, include certainty equivalent damages of catastrophic events as estimated in a
survey of experts in Nordhaus (1994a).94 For the most recent version of the model, that is, DICE-2013, Nordhaus
moved to a meta-analysis based on estimates in Table 1 of Tol (2009). Most of these sources do not include
tipping point damages, and it is unclear to the extent that they are included in these newer versions of DICE.95
While DICE-2013 does include the possibility to explicitly model catastrophic damages, it is excluded from the
default version of the model (correspondence with Nordhaus).96

PAGE explicitly models tipping points in the default version of his model. From PAGE2002 to PAGE09, Hope
moved from modeling discontinuous impacts using certainty equivalence to modeling them as a singular,
discrete event that has a probability of occurring in each time period when the realized temperature is above a
specified temperature threshold (with a central value of 3 degrees Celsius in the default version of the model),
and this probability is increasing in temperature. Of the recent versions of the three models, only PAGE09 fully
explicitly models tipping point damages; still a risk premium for aversion to such an event is generally not
included in the default versions of IAMs (Kouskey et al., 2011).

While PAGE09 and early versions of DICE explicitly model tipping point damages, an alternative, as represented
by Lemoine and Traeger (2011), is to implicitly capture tipping point damages by explicitly modeling tipping
points. As stated by the authors, they “directly model the effect of a tipping point on climate dynamics rather than
approximating its effects by shifting the damage function.” Specifically, Lemoine and Traeger (2011) model two
broad types of climate tipping points within DICE: (1) increased climate sensitivity (that is, the increase in global
surface temperature from a doubling of the CO2 concentration in the atmosphere) due to increased strength in
climate feedback effects beyond current predications, and (2) increased greenhouse gas atmospheric longevity
beyond current climate models.97 It should be noted that this is distinct from modeling fat tails because these
modeling changes do not require the use of fat-tailed distributions.

In a similar way, FUND implicitly models tipping points by explicitly modeling the uncertainty of almost 900
parameters in the FUND model.98 According to Anthoff and Tol (2013a), this captures catastrophic damages
more generally by capturing the possibility of catastrophic outcomes, that is, welfare effects. It is unclear to the
extent that this method captures tipping points as evidenced by the decision by Hope to jointly model parameter
uncertainty and a catastrophic damage function in PAGE09. In other words, FUND may not sufficiently capture
catastrophic damages via climate tipping points by simply modeling the uncertainty underlying all parameters
in the model.

FAT TAILS.The popular IAMs differ in their ability to capture the catastrophic damages that result from fat
tails. However, for the most part, those IAMs fail to model fat tails as suggested by Weitzman. This is because
“numerical model(s) cannot fully incorporate a fat-tailed distribution (Hwang, Reynes, and Tol, (2011).”

On the one hand, both FUND and PAGE explicitly model the uncertainty of model parameters by specifying
parameter distributions and run Monte Carlos simulations.99 However, neither model explicitly chooses fat­
tailed distributions in its default version. Hope chooses triangular distributions, which explicitly specify
minimum and maximums for the probability distribution function, for many of the uncertain parameters in
the default version of PAGE; the exception is the climate sensitivity parameter which follows the IPCC (2007)
report. In FUND, Tol tends to choose triangular and gamma distributions; the gamma distribution is thin tailed
(Weitzman, 2009).1°° However, while Anthoff and Tol (2013a) do not explicitly utilize fat-tail distributions to
represent the probability distributions of their 900 uncertain parameters, the distribution of net present welfare


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from a Monte Carlos simulation of 10,000 runs of FUND 3.6 is fat tailed.101 While fat tails arise in the distribution
of welfare in the FUND model, explicitly modeling parameter distributions as fat tailed may further increase the
SCC.

On the other hand, the default versions of the DICE models fail to model any parameter uncertainty. As a
consequence, the default versions of all DICE models fail to capture catastrophic damages via the fat tails of
uncertain parameters. This is particularly significant when parameters have a right-skewed distribution, such
as the climate sensitivity parameter and the possible discontinuity outcomes. Therefore, DICE-2013 mostly
excludes catastrophic damages via tipping points and fat tails when parameter uncertainty is ignored.

There have been several attempts to include fat-tailed distributions in the popular IAMs. First, Hwang, Reynes,
and Tol (2011) found an increase in the optimal carbon tax when accounting for fat tails in DICE; the optimal
carbon tax increases in the uncertainty of the climate sensitivity parameter. Similarly, Ackerman, Stanton, and
Bueno (2010) find that fat tails over the climate sensitivity parameter increases the economic costs of climate
change, and hence the SCC, in DICE, but the magnitude of this increase is highly dependent on the exponent
of the DICE damage function. Second, Pycroft et al., (2011) replaces above the 50th percentile of the original
triangular distributions for the climate sensitivity parameter and the damage function (sea level rise, market,
and non-market) exponents in the PAGE09 model with thin-tailed (specifically, the normal distribution),
medium-tailed (specifically, the log-normal), and fat-tailed (specifically, the Pareto) distributions;102 they switch
off the catastrophic damage function when they modify the distributions of the damage function exponents,
decreasing the PAGE09 SCC estimate from $102 in the default version of PAGE to $76, because tipping points and
fat tails are related concepts, as discussed earlier in this paper. The authors find that the PAGE09 SCC estimate
without a catastrophic damage function increases by 44 percent to 115 percent when medium and fat tails are
integrated into PAGE09; this corresponds to an increase from $76 to $135 (thin), $147 (medium), and $218 (fat).103
Larger percentage increases are observed for the 95th and 99th percentile SCC estimate. In other words, the
use of fat-tailed distributions is possible and will significantly increase the social cost of carbon. At the same
time, because its value is not infinite, as it is using Weitzman’s Dismal Theory analysis, the SCC is still useful for
benefit-cost analysis.

By explicitly modeling the probability distribution function of the climate sensitivity parameter using the Roe­
Baker distribution, the 2013 IWG analysis may partially capture the effects of fat-tailed distributions; the Roe­
Baker distribution used in this analysis is fat-tailed (Pindyck, 2013).

BLACK SWAN EVENTS. All three IAMs may exclude black swan events. While it is unclear how these events could be
integrated into these models, it is clear that their exclusion biases SCC estimates downward because scientists
believe that bad surprises are more likely than good surprises when it comes to climate change. As discussed
earlier, these events may be captured by integrating fat-tail distributions for uncertain parameters into IAMs,
but the “correct” fat-tailed distribution is still unknown.


Inter-sector damages
According to both Kopp and Mignone (2012) and the IWG (2010; 2013) IAMs fail to capture inter-sector damages,
that is, damages from the interaction of damage sectors. There are a variety of potential inter-sector effects of
climate change, and their omission generally tends toward a downward bias. Inter-sector damages include:
agriculture and water quality on human health (Tol, 2009; IPCC, 2007); the effects of water supply and quality



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on agriculture; the combined effects of increased storm strength and rising sea levels (Yohe and Hope, 2013); the
effects of ocean acidification on human settlements; and the effects of ecosystem services on the market sector.
As mentioned earlier, many of these inter-sector damages include damages that arise from the interaction of
climate change effects between sectors in the market-, non-market-, socially-contingent-, and catastrophic-
damage categories.

For the most part, the major integrated assessment models (FUND, PAGE, and DICE) calibrate their damage
functions, and as a consequence estimate the social cost of carbon, using sector specific studies, or, at least,
rely on studies that utilize sector specific damage estimates, that is, enumerative studies.104 Implicitly, the
authors of the IAMs assume that each sector is an island, independent of all other sectors. Therefore, inter­
sector damages are captured by IAMs only if the underlying studies account for these inter-sector damages. For
example, agricultural studies that account for the effect of climate change on precipitation and the water supply
for irrigation will include the effects of the water supply sector on the agricultural sector. However, most damage
studies are incomplete as they omit these inter-sector damages (Yohe and Hope, 2013).105

The developers of PAGE and FUND argue that these models capture inter-sector effects. On the one hand, Hope
(2006) argues that only inter-sector damages between market and non-market sectors, such as ecosystem
services, are excluded. Specifically, he argues that all other inter-sector damages are captured because “PAGE2002
models two damage sectors: economic and non-economic. ^ Using highly aggregated damage estimates from
the literature allows PAGE2002 to capture interaction effects implicitly.” This is something of a tautology - that
is, I utilize generalized aggregate damage functions, and because they are general, I capture interactions. As
stated above, inter-sector damages can only be captured if the underlying damage estimates account for them,
and they do not in the case of the default version of PAGE09. On the other hand, Tol (2009) goes even further
by arguing that IAMs, such as FUND, may be double counting inter-sector damages. For example, the effect of
water supply on the agricultural sector may be captured by both the water and agricultural sector damages.106
Again, this can only be the case if the underlying studies explicitly account for these damages, and this is not
the case in FUND due to its reliance on enumerative studies that do not account for inter-sector damages.107

The latest versions of the three IAMs utilized by IWG omit inter-sector damages. FUND3.6 and DICE-1999 utilize
sector-specific damage estimates (from enumerative studies), and by the arguments above omit most, if not all,
of the inter-sector damages excluded from the underlying studies. Because PAGE09 is greatly informed by FUND
and DICE-1999, it too omits these inter-sector damages even though it relies on aggregate market- and non­
market-damage functions. Finally, DICE-2013 also omits most inter-sector damages. Of the 13 studies underlying
the DICE-2013 meta-analysis, eight (Nordhaus, 1994a; Fankhauser, 1995; Tol, 1995; Nordhaus and Yang, 1996;
Plambeck and Hope, 1996; Nordhaus and Boyer, 2000; Tol, 2002; Hope, 2006) of them rely on sector-specific
calibration techniques (that is, rely on enumerative studies), and omit any inter-sector damages excluded
from the underlying studies. Four of the remaining five studies (Mendelsohn, Schlesinger, and Williams, 2000;
Maddison, 2003; Rehdanz and Maddison, 2005; and Nordhaus, 2006) utilize statistical technique to estimate
the damages from climate change. While statistical methods can capture inter-sector effects, all four of these
studies omit the damages from the interaction of market and non-market sectors; Maddison (2003) and Rehdanz
and Maddison (2005) only include non-market damages, and Mendelsohn, Schlesinger, and Williams (2000)
and Nordhaus (2006) include only market damages. Thus, like the other IAMs, DICE-2013 fails to account for
many inter-sector damages.




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Wind erosion is evident on this rangeland during severe drought in Arriba County, New Mexico.
Photo by Jeff Vanuga, USDA Natural Resources Conservation Service.


Cross-Sector Damages
As discussed earlier, many of the omitted effects of climate change comprise both market- and non-market­
damage sectors. This section discusses omitted climate impacts that affect multiple categories of damages (as
opposed to inter-sector damages, where multiple impacts interact to contribute to damages in a specific sector):
market, non-market, socially contingent, and catastrophic damages. This includes inter-regional damages,
destabilizers of existing non-climate stressors, weather variability and climate extremes, and ocean acidification.

INTER-REGIONAL DAMAGES. Inter-regional damages are spillovers from one region to another. For the most part,
the major integrated assessment models (FUND, PAGE, and RICE) estimate the social cost of carbon assuming
each region of the world is independent of all other regions. There are a variety of potential inter-regional
effects of climate change, and their individual omissions may result in an upward or downward bias. While the
individual biases are in both directions, Freeman and Guzman (2009) argue that the overall effect very likely
leads to an underestimation of the SCC for the United States.

Freeman and Guzman (2009) lay out several international spillover scenarios with respect to the United States.
First, there are potential supply shocks to the U.S. economy in terms of decreased availability of imported
inputs, intermediary goods, and consumption goods. This includes energy and agricultural goods. Second,
there could be demand shocks as affected countries decrease their demand for U.S. imports. Third, there may
be financial market effects as international willingness to loan to the United States dries up and the value
of U.S. firms decline as foreign markets shrink. Fourth, mass migration from heavily affected areas, such as
Latin America, will potentially strain the U.S. economy, and likely lead to increased expenditures on migration
prevention. Fifth, increases in infectious diseases are likely due to the combined effects of ecological collapse,
the breakdown of public infrastructure in poor nations, and declines in the resources available for prevention;
increasing mass migration will intensify the spread of diseases across borders. Last, climate change is likely to
exacerbate security threats to the United States, partially through its potential destabilizing effect on politics.
As a consequence, climate change is a “threat multiplier” in terms of security. In summary, there are a variety
of pathways for the effects of climate change in one region to cause damages in another: trade, capital markets,
migration, disease, and social conflict.



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There are also several potential positive spillover scenarios currently excluded from the SCC. First, trade has
the potential to reduce the SCC by reducing the welfare losses to consumers in particularly hard hit regions
(Darwin, 1995).109 While consumers in exporting nations and producers in importing nations are harmed by
trade, this loss is more than offset by gains to consumers in importing nations and producers in exporting
nations according to economic theory. For example, low elevation nations will experience a decline in domestic
agricultural production, but importing food from higher elevation nations will mitigate some of the consumer
welfare loss from domestic production declines (Darwin, 1995). Through this lens, trade can be thought be as a
form of human adaptation to climate change whereby humans move tradable market goods between the least-
and most-affected regions to satisfy the needs of those with the highest demand.110 However, trade can also
result in general equilibrium costs, which are also currently omitted (Tol, 2009).111 Second, technology spillovers
between nations may reduce the regional costs of mitigation and/or adaptation. Investment by developed nations
into mitigation and adaptation technologies may reduce the costs of mitigation and adaptation in developing
nations (Loschel, 2002; Buonanno et al., 2003; Rao, 2006).1’

The inclusion of inter-regional interactions requires integrating the various regional economic models into
an international model. This is technically complex and requires many additional assumptions (Freeman and
Guzman, 2009). Care must also be taken to avoid double counting of damages. Rather than simply adding inter­
regional damages estimates, modelers have to return to the country-specific damage estimates to examine how
they were constructed.

In general, all three IAMs exclude inter-regional damages. There are a few exceptions. First, all three IAMs (DICE-
2013, FUND 3.6, and PAGE09) capture general equilibrium effects of trade in the agricultural sector. Second,
because GDP measurements include net exports, damage estimates at least partially capture trade indirectly
through GDP. Last, FUND models migration as it relates to sea level rise.

FUND 3.6 migration cost estimates are relatively ad hoc and omit several types of damages. First, the method
of determining the destination of migrants is ad hoc, and this affects the costs of migration because they are
dependent on the destination region.113 Second, the cost of migration to the sending region is three times its
regional per capita income per migrant; Tol (2002) describes three as an “arbitrary” parameter. This approach
will underestimate costs of migration if per capita income in coastal regions is greater than the regional
average, which would be the case if cities with concentrations of economic activity are affected most by sea
level rise. Third, in the region that is receiving migrants, costs per migrant equal 40 percent of per capita income
of the receiving country (Cline, 1992 from Fankhauser (1995) from Anthoff and Tol, 2012b); Cline (1992; 120)
approximates the costs of migration to the United States based on state and local government infrastructure
spending (education, roads, police, sanitation) and taxes paid by immigrants. However, this figure from Cline
(1992) was simply an illustration of the cost of migration to the United States and was hardly a “guesstimate,”
as stated by Fankhauser. Furthermore, these migration-cost estimates exclude the costs of social conflict from
migration pressures (for example, the effect of Syrian migrants on Bulgaria), the potential stress on the receiving
country’s social, environmental, and physical infrastructure under cases of mass migration, the psychological
cost to migrants of losing their homeland, and the potential physical health costs to refugees (Fankhauser,
1995). Last, FUND sets intra-regional migration costs equal to zero though there is still likely to be stress on the
receiving nations (for example, the effect of Syrian migrants on Lebanon and Jordan from the recent Syrian Civil
War).116




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DESTABILIZERS OF EXISTING NON-CLIMATE STRESSORS. Climate change is often referred to as a threat multiplier. For
example, Freeman and Guzman (2009) state that “the consistent message of [national security] studies is that
climate change is a ‘threat multiplier’ (Freeman and Guzman, 2009).” While Freeman and Guzman (2009) are
mainly referring to national security issues worsening due to climate change further weakening already volatile
regions and political unstable nations, their arguments can be generalized to other future challenges that the
world faces with or without climate change: social and political instability (Freeman and Guzman, 2009);
disease, including the flu (Freeman and Guzman, 2009);117 ecosystem and biodiversity loss (United Nations’
Millennium Ecosystem Assessment);118 decreased water availability.119 In other words, just as the multiple
effects of climate change will interact within different economic sectors, as discussed in the previous section
under inter-sector damages, non-climate related economic, societal, and environmental pressures will result in
multiple damages across sectors due to their interaction with the effects of climate change.

Like inter-sector damages, the interaction of non-climatic factors and the effects of climate change must be
captured in the underlying studies utilized to calibrate the IAM damage functions. In most cases, the studies
underlying the calibration of the IAMs’ default damage functions do not account for these interactions. Thus,
the default versions of the early versions of DICE, DICE-2013, FUND3.6, and PAGE09 by and large omit these
damages.

WEATHER VARIABILITY AND CLIMATE EXTREMES.       Climate change does not only affect the long-run averages of
temperature, precipitation, and sea-level, but also the variability of weather around these changing means.
In other words, many more extreme weather events should be expected, including the likelihood of increased:
frequency of heat waves, areas experiencing droughts (and some areas experiencing decreased rainfall during
monsoons and others experiencing increased aridity), frequency and areas experiencing heavy precipitation
events (for example, floods), intensity of tropical cyclones, and extreme high sea level (IPCC, 2007a); see Table
14.

Current IAMs partially capture some of these extremes: tropical storms (hurricanes and typhoons), extra-
tropical storms (cyclones), and heat waves. FUND 3.6 explicitly models the economic destruction in terms of
lost property and human life (mortality and morbidity) of the increased strength of tropical storms, and the cost
to human health (mortality and morbidity) of heat waves, but only to the extent that damages are limited to heat
stress. Early versions of DICE, that is, DICE-1999 and DICE-2007, only make an ad hoc account of the loss property,
such as human settlements, due to storms in the coastal sector. While both models account for sea-level rise,
they fail to account for the interaction between storms and sea level rise, which results in extreme high sea level
rise (Yohe and Hope, 2013). As a consequence, the default version of PAGE09 (the damage function of which is
greatly informed by FUND and DICE-1999) partially accounts for the cost of the increased intensity of storms
and frequency of heat waves. Because most of the underlying studies in DICE-2013 exclude climate extremes,
DICE-2013 appears to exclude the economic costs of weather variability (flooding, droughts, and heat waves).

However, these IAMs may implicitly capture some of these extreme events to the extent that these variables are
correlated with temperature. Nordhaus (1994a) argues that “in thinking about the impact of climate change we
must recognize that the variable focused on in most analyses—globally averaged surface temperature—has little
salience for impacts. Rather, variables that accompany or are the result of temperature change—precipitation,
water levels, extremes of droughts or freezes, and thresholds like the freezing point or the level of dikes and
levees—will drive the socioeconomic impacts. Mean temperature is chosen because it is a useful index of
climate change that is highly correlated with or determines the most important variables.” Given that these
events are not perfectly correlated with temperature, these events are partially omitted from the analysis. As


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Tol (1995) states: “only if the relevant climate parameter relates linearly to the global mean temperature, and
the relationship is perfectly known, is the temperature an adequate proxy.” Therefore, these events are already
included in the IAMs to the extent that global average surface temperature is correlated with these extreme
events. To the extent that they are not, they are excluded.

OCEAN ACIDIFICATION.   None of the most widely adopted IAMs for estimating the SCC (DICE, FUND, and PAGE)
address the multiple damages due to ocean acidification. As defined by Shinryokan (2011): “Ocean acidification
refers to a reduction in the pH of the ocean over an extended period, typically decades or longer, which is caused
primarily by uptake of carbon dioxide from the atmosphere.” In terms of market damages, ocean acidification
impacts fisheries via its effects on marine ecosystems and organisms, particularly shellfish and crustaceans. In
addition to fisheries, ocean acidification will impact ecosystems, biodiversity, and tourism via its effect on coral
and also human settlements. While the economic effects of acidification are likely substantial, few economic
values of the damages are available because scientists only recently recognized the threat of ocean acidification
to marine life (Guinotte and Fabry, 2009) and fisheries, for the most part, are excluded from IAMs; see previous
sub-section.

Though fisheries are expected to suffer significant economic damage as a result of ocean acidification, there
are few studies of the economic costs of these impacts. Since 2009, economists have completed several impact
studies that attempt to more accurately quantify the economic costs of climate change to fisheries. Two such
studies, Cooley and Doney (2009) and Narita et al., (2012), estimate these monetary effects with a focus on
mollusk production; recent scientific literature finds that acidified ecosystems significantly reduce mollusk
populations. Cooley and Doney (2009) conduct a case study of the effect of ocean acidification on U.S. fisheries
revenues, with a focus on mollusks. If there were a reduction of 10 percent to 25 percent in the U.S. mollusk
harvest from the 2007 level, $75 million to $187 million of direct revenue would be lost each subsequent year;120
these values correspond to a net present value loss (that is, the sum of annual losses over all futures years in
terms of its current dollar value) of $1.7 billion to $10 billion through 2060. Similarly, using a partial-equilibrium
model to assess the welfare loss to society from a decline in shellfish supply, Narita et al., (2012) find that the
costs of ocean acidification could exceed $100 billion. Because mollusks represent a small fraction of total
fisheries, the cumulative economic impact of ocean acidification on fisheries will likely be significantly larger.

In addition to fisheries, ocean acidification will impact tourism associated with the ocean, particularly coral
reefs. Coral reefs are expected to be among the worst-affected ecosystems. A study by Brander et al., (2009)
considers the economic damages associated with coral reefs and estimates valuation per area. They expect
losses in this sector to be at least $50 billion annually by 2050. It should be noted that the overall effects of
climate change on tourism are also excluded, but the magnitude and direction of these effects is uncertain (Tol,
2009; Bigano et al., 2007) and potentially negative (Berrittella et al., 2006).


Adaptation
Some policymakers and analysts may argue that the IAMs need not worry about these omitted damages due
to society’s ability to adapt. In other words, adaptation implies that these costs will not be incurred. While
adaptation must be accounted for when including the above damage estimates, an altogether elimination of
these omitted damages (that is, such that they can be ignored) is unlikely. This is particularly the case for non­
market, socially contingent, and catastrophic damages, in general, where adaptation is likely be less effective.
This is also increasingly the case for market damages as temperatures increase (Hope, 2011). Furthermore,


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adaptation will be particularly difficult for faster-than-expected temperature increases (Anthoff and Tol, 2012;
Hope, 2011). The ability to prevent substantial damages through adaptation is limited as evidenced in current
IAM damage estimates.

The current IAMs account for adaptation in different ways. In the early versions of DICE and DICE-2013,
adaptation is implicit in the damage estimates.121 As a consequence, the assumptions about adaptation costs
are captured in the underlying damage estimates used to calibrate their damage functions (Warren et al., 2006).
While Nordhaus implicitly accounts for adaptation to agriculture, other market, health, coastal, and settlement
and ecosystem sectors in the early versions of DICE (DICE-1999, DICE-2007, and DICE-2010) sometimes in an ad
hoc way—he essentially assumes high levels of human adaptation at virtually no cost (IWG, 2010). According
to IWG (2010) and Warren et al., (2006), this is particularly evident for the other market sectors. It is less clear
the extent to which the DICE-2013 damage function captures these adaptation costs due to the use of a meta­
analysis. In all versions of DICE, adaptation is not effective enough to eliminate damages.

In FUND, Tol models adaptation explicitly and implicitly. For adaptation to agriculture, ecosystem, and sea
level rise damages, Tol models adaptation explicitly. In the first two of these sectors, Tol captures adaptation
by modeling damage costs as a function of the rate of climate change (Anthoff and Tol, 2012); see forthcoming
Appendix E. In the case of sea level rise, Tol models the cost of building seawalls. Like in DICE, the assumptions
about adaptation costs in the other FUND sectors are captured in the underlying damage estimates used to
calibrate these damage functions. Additionally, Tol accounts for adaptation implicitly in the energy and human
health sectors by allowing regional sector costs to be a function of regional wealth, such that wealthier societies
are better able to adapt (IWG, 2010). According to Warren et al., (2006), FUND assumes perfectly efficient
adaptation without accounting for adjustment costs, except in the agriculture and ecosystem sectors. Therefore,
Tol may underestimate adaptation costs in some sectors of FUND. While climate change results in net global
benefits at low temperature changes, higher temperature increases result in costs that adaptation cannot
overcome as evidenced by the negative impacts of climate change on consumption by the late 21st century as
predicted by FUND 3.6 (Tol, 2013).

Unlike Nordhaus and Tol, Hope (2011) explicitly models climate adaptation in PAGE09. Hope explicitly models
adaptation and the cost of adaptation. For each non-catastrophic damage sector (sea level rise, market, and
non-market), he specifies a temperature level up to which adaptation is 100 percent effective, a temperature
level up to which adaptation is partially effective, and a level of effectiveness (the percentage of damages not
incurred) for temperature increases between these two levels. For catastrophic damages, there is no adaptation.
Like DICE and FUND, adaptation is not effective enough to significantly eliminate damages.

Given that included damages are significant despite current adaptation assumptions, adaptation as an argument
for ignoring currently omitted damages is not justifiable. Furthermore, the three IAMs used by the IWG are often
accused of being overly optimistic in their adaptation assumptions, particularly for the versions used by the 2010
IWG (Dietz et al., 2007; Ackerman, 2010; Warren et al., 2006; Hanemann, 2008; Ackerman et al., 2009; Masur
and Posner, 2011). In particular, none of the three IAMs explicitly model mal-adaptation. Therefore, omitted
damages are likely to still be significant, and current SCC estimates from DICE-2013, FUND 3.6, and PAGE09 are
likely biased downward due to a tendency to be overly optimistic about adaptation (Masur and Posner, 2011).122




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CONCLUSION - MOVING FORWARD
The IWG SCC estimates are likely biased downward due to the modeling decisions of EPA scientists and lAM
developers, including the use of outdated damage estimates and the omission of a significant number of
damage categories. While some of the damage estimates utilized by IAMs are outdated (Ackerman, 2010; Stern
Review - Chapter 6; Stern, 2007; Dietz et al., 2007; Warren et al., 2006; Warren et al., 2010; Tol, 2009), updating
these estimates is likely to have a minimal effect on the SCC (Yohe and Hope, 2013). Instead, this paper focuses
on cataloging the more significant damages omitted from the recent versions of the three IAMs used by the
Interagency Working Group (DICE-2010, FUND 3.8, and PAGE09), and the latest version of DICE (DICE-2013).’^
These omissions occur due to the omission of sectors (for example, socially contingent damages), the omission
of relationships between regions and sectors (for example, inter-sector and inter-region damages), and the
omission of types of climate damages from the underlying studies used for calibration (for example, fires).

The main question is whether the inclusion of these omitted damages matter. Tol (2009) argues that, for the most
part, many omitted damages are small (saltwater intrusion in groundwater, increased cost of cooling power
plants, adapting urban water management systems, storm frequency, intensity, and range, ocean acidification,
and value of firewood),124 and are balanced out by omitted climate benefits (decreased costs of some traditional
and alternative energies—oil, wind, and wave, lower transport costs, lower expenditures on food and clothing
due to lower demand from higher temperatures, and fewer transportation and other disruptions from cold-
related weather).125 For others, like tourism, the effects are unknown according to Tol (2009). Instead, Tol (2009)
argues that research should primarily focus on estimating and including unknowns that potentially could have
large effects, such as biodiversity loss, catastrophic damages, socially contingent damages, and damages at high
temperature levels.126 In other words, Tol (2009) argues that research should focus on tipping point damages
and socially contingent damages; see row 3 and column 3 in Figure 2. Yohe and Tirpak (2007) for the most part
agree with this assessment, but also include bounded risks (row 2 in Figure 2), which includes the effects of
weather variability (droughts, floods, heat waves, and storms); the effects of weather variability are still greatly
omitted from many of the included market and non-market damages. Furthermore, black swan events, that
is, unexpected effects, related to climate change should further increase the SCC because researchers expect
more negative than positive effects (Tol, 2009b). The inclusion of all omitted damages, including these more
significant omitted damages, is likely to result in an increase in the SCC (Mastrandrea, 2009; Tol, 2009a). Given
the difficulty of deciding a priori what damages are likely to be significant, this report advocates that IAMs
should work to include all available damage estimates, particularly those discussed in this paper. However,
priority for developing new damage estimates should be given to hot spots—regions and damages that are likely
to be significant—for which estimates are not currently available.

There is a general consensus that future IAM research must focus on hot spots. The “hot spot” regions are those
that are geographically predisposed to climate change (for example, low lying nations and island nations),
and those nations with insufficient ability to adapt (for example, developing nations). The “hot spot” sectors
are those discussed above: catastrophic damages, weather variability, and socially-contingent damages.
While studying these sectors is difficult, analysts need to look at multiple metrics and regions. The current
practice is to omit these difficult to estimate damages or to extrapolate damages estimates from developed to
developing nations due to limited data availability. To overcome these shortcomings, future work will require the
development of reliable datasets in developing nations and advancements in the science of climate variability
and tipping points that specify credible scenarios at a regional level (Yohe and Tirpak, 2007). Furthermore,
to develop consistent estimates of damages, the current pipeline of damage estimation, whereby scientists


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estimate potential damages and economists draw on these estimates in their studies independent of input from
scientists, must be replaced with collaborative research between the disciplines.127 This type of research ensures
that economists understand the science behind the climate impacts that they are citing, but also ensures that
the scientific estimates are developed with the final impact measurement, that is, the dollar impact, in mind.

Alternatively, further attempts to utilize meta-analysis at the aggregate scale (across regions and sectors) as is
done in DICE-2013 are ill-advised.128 There are several reasons to advise against this type of damage-function
estimation. First, using meta-analysis makes determining which damages are included and excluded difficult.
It requires an analyst to thoroughly study each of the underlying studies to determine which climate impacts
on a sector are included and excluded. Furthermore, it is difficult to interpret whether an impact is included if
only several studies include the impact. Second, there are too few data points at this scale to properly account
for statistical issues: time trends, omitted damage sectors or impacts within sectors, and correlated standard
errors between studies that include estimates from the same authors and similar estimation methods. Last,
as discussed by Tol (2009), the data points from various studies are not really a time-series, and should not
be treated as such. An alternative is to conduct meta-analyses at the sector level where a sufficient number of
studies are available. For example, there are a multitude of agricultural studies, and a meta-analysis to estimate
a regional-agricultural or global-agricultural damage function would be possible. Another alternative, laid out
by Kopp, Hsiang, and Oppenheimer (2013) is to develop an infrastructure that uses statistical (for example,
Bayesian) methods to update damage functions as new estimates become available.

Though not discussed in this paper, there are several additional compounding aspects of IAMs that are likely to
further bias current SCC estimates downward. In particular, they fail to account for (1) uncertainty in extrapolating
damages to higher temperatures given that IAMS assume only moderate temperature increases,129 (2) a declining
discount rate due to uncertainty over future economic growth (Arrow et al., 2013),130 (3) aggregated and overly
simplified spatial and temporal resolution (IWG 2010; Hanemann, 2008; Stern, 2007), and (4) the option value
that arises from the irreversibility of CO2 emissions. These shortcomings, by and large, point to a further bias
downward of the social cost of carbon.

While there is a downward bias to the federal SCC estimates, this report advocates that the Office of Management
and Budget (OMB) and other executive branch agencies should move forward to finalize proposed rules with
the 2013 IWG’s current SCC estimates, as measuring at least some of the costs is better than assuming there
are none. In doing so, the OMB should emphasize more strongly the downward bias of the current U.S. SCC
estimates and commit to addressing them in future updates of these estimates. Potentially, OMB can utilize the
research provided in this report to list in detail all of the omitted damages in the current U.S. SCC estimates.




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Table 1. 2010 and 2013 SCC Estimates at 3% Discount Rate by Model

                                2010 Global SCC at 3%             2020 Global SCC at 3%
            IAM                                                                               % Change
                               Discount Rate (IWG 2010)          Discount Rate (IWG 2013)
            DICE                            $28                            $38                  34%
           FUND                              $6                            $19                  222%
            PAGE                            $30                            $73                  143%

Source: IWG (2013 Revision)



Table 2. 2010 SCC Estimates, 2010-2050 (in 2007 dollars per metric ton)

 Discount Rate Year             5% Avg                  3% Avg              2.5% Avg          3% 95th

^^^esb^^^h^^^bi^^^b^^^ebi^^^b^^^ess^^^i^^^^^EBS^^^^B
^^^eob^^^i^^^HS^^^H^^^^ebs^^^^h ^^^BH^^^B^^ebs^^m
^^^b02^^^I^^■I^^H^^^^B6I^^^^| ^^^ebs^^^b
^^^eob^^^m                                      bos i
                    ^^^^^E9S^^^^^I ^^^ess^^^b^^^eos^^^b
                                                                                            ^^^ ^^^
^^^eob^^^b          ^^^EiS^^^B^^^eos^^^e^^hOOI^^^I
^^^eOb^^^I^^^esi^^^b^^^ESS^^^B ^^^EBS^^^B^^hObS^^I
^^^E04^^^B^^^ebs^^^e^^^E9I^^^B^^^E8S^^^B^^^BgS^^H
^^^eoi^^^e^^^BS^^^B^^^ebs^^^e^^BES^^B^^^BbI^^^I
^^^eos^^^b^^^bsi^^^b^^^EBS^^^B^^^ess^^^e^^^bbsi^^^b
Source: IWG (2010)



Table 3. 2013 SCC Estimates, 2010-2050 (in 2007 dollars per metric ton)

 Discount Rate Year             5% Avg                  3% Avg              2.5% Avg          3% 95th

^^^ess^^^b        ^^^B^^^B
^^^esb^^^b         ^^^E^^^B^^^E^^^B^^^^^ob^^^^h
^^^eob^^^b         ^^^E^^^E         ^^^hb^^^h
^^^bob^^^b^^^b^^^b                  ^^biee^^h
^^^eob^^^e         ^^^B^^^B^^^E^^^B
^^^eob^^^b         ^^B^^B^^^e^^^b^^^bs^^^b
^^^eob^^^b                  ^^b^^h^^^eb^^^b
^^^ESe^^^E                          ^^^^ess^^^^i
^^^ess^^^e         ^^^E^^^B^^^e^^^b^^^eb^^^b
Source: IWG (2010)



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